     Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 1 of 434


                                                                                 -:@>
                                       2+&1"!011"0!&01/& 1 ,2/1
                                       0,21%"/+!&01/& 1,##),/&!




                      &/()"&*+ :LMA>I>KLHG:E 0"+,
                      K>IK>L>GM:MBO>H?MA>"LM:M>  <O  /
                      H?!:OB=(E>BF:G :G=4(&G?H
                      !>?>GL>/>L>:K<A )) 

                                      -E:BGMB??L

                      O


                        /&$4/&$%1

                                      !>?>G=:GM




                                            3B=>HM:I>!>IHLBMBHGH?
                                               /&$01"3"+4/&$%1

                                          ,G1ANKL=:R MAIKBE


                                            1:D>G:MMA>H??B<>LH?

                                           HB>L0<ABEE>K#E>QG>K))-
                                             +>P0MK>>M0JN:K>
                                                )HG=HG" #

                                          />IHKM>=;R-:NE:#HE>R



Plaintiffs' Designations
'HIHQGDQW
'  I G W V2EMHFWLRQV
               2EM
               2     WL
 'HIHQGDQW V&RXQWHU'HVLJQDWLRQVV
  5HGDFWHG
  5 G W G
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 2 of 434


                                                                            -:@>
             --"/+ "0
             ,G;>A:E?H?MA>-E:BGMB??L
             3")3") !"3&+ #/""!*+ "0.
              HB>L0<ABEE>K#E>QG>K))-
             0"0><HG=0MK>>M 0NBM>
              *B:FB #EHKB=:
         
              (6)"4/, %" "0.
             =FBMM>=-KH%:<3B<>
              HB>L0<ABEE>K#E>QG>K))-
             *:BG0MK>>M
              KFHGD +6
         
             ,G;>A:E?H?MA>!>?>G=:GM
            +!/T0/&3"/,
              7%/%/*/(,"
            /BO>KH*>LMK>))-
              -HG<>=>)>HGEO=
            0M>*B:FB
              #)
        
        
                HNKM/>IHKM>K
        
              -2)#,)"6
            *:@G:)>@:E0>KOB<>L
              *:KD>M0MK>>M
            -ABE:=>EIAB:
              -
            2GBM>=0M:M>L
        
              ELH-K>L>GM
        
              -%&)&-%&)) 3B=>H@K:IA>K *:@G:)>@:E
            0>KOB<>L
            +!/"40/"++"/ "0. HB>L0<ABEE>K
              #E>QG>K))- ?HKMA>-E:BGMB??R1>E>IAHG>
        
              ',%+* !*0 "0. HB>L0<ABEE>K#E>QG>K
            ))- R1>E>IAHG>
            &/()"&*+ -E:BGMB?? R1>E>IAHG>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 3 of 434


                                                                            -:@>
             &+!"5
         
              !>IHG>GM-:@>
         
              !/ /&$01"3"+4/&$%1
         
              .N>LMBHGL;R*/#/""!*+ 
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                      
         
             "QAB;BMLF:KD>==NKBG@MABL=>IHLBMBHG
            "QAB;BM-:@>
            
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            
              
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Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 4 of 434


                                                                            -:@>
             1%"3&!",$/-%"/4>:K>GHPHGMA>

             K><HK=1ABL;>@BGLMA>OB=>H<:K=GNF;>K OHENF>

             BGMA>OB=>H=>IHLBMBHGH?!K K:B@4KB@AM1ABLBL

             M:D>GBGMA>F:MM>KH?&K:(E>BF:G>M:EO>KLNL K:B@

             4KB@AM1ABL<:L>BL;>BG@A>:K=BGMA>2GBM>=0M:M>L

             !BLMKB<M HNKM0HNMA>KG!BLMKB<MH?#EHKB=: :L>

             GNF;>K <O  /1H=:RL=:M>BLIKBE

             1A>MBF>HGMA>OB=>HL<K>>GBL:F)H<:E

             MBF>BL)HG=HG1ABLOB=>H=>IHLBMBHGBLM:DBG@IE:<>

            :MMA>)HG=HGH??B<>LH?HB>L0<ABEE>K#E>QG>K:MMA>

            K>JN>LMH?HB>L0<ABEE>K#E>QG>K1A>OB=>H@K:IA>KBL

            -ABEBI%BEEK>IK>L>GMBG@*:@G:)>@:E0>KOB<>L:G=MA>

            <HNKMK>IHKM>KBL-:NE:#HE>R :ELHK>IK>L>GMBG@*:@G:

            )>@:E0>KOB<>L-E>:L>PBEE<HNGL>EBGMKH=N<>

            MA>FL>EO>L:G=LM:M>PAHFMA>RK>IK>L>GM:MMA>HB>L

            0<ABEE>KH??B<>LBG)HG=HG:G=MAHL>IK>L>GMOB:MA>

            M>E>IAHG><HG?>K>G<>EBGD1A:GDRHN

            */#/""!*+3>E#K>>=F:G?HKMA>

            IE:BGMB??L

            *//, %"(RE>/H<A>?HKMA>

            IE:BGMB??L

            *//&3"/,G=KUL/BO>KH?HK K:B@

            4KB@AM

            *0*/(,"7:A:K:A*:KDH>?HK

            !K4KB@AM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 5 of 434


                                                                            -:@>
             *//"++"/ R1>E>IAHG> G=K>P

             K>GG>K?HKMA>IE:BGMB??

             */#/""!*+!B=P>EHHL>*K*<=:FL

             *//"++"/'HAG*<=:FLBLA>K>

             1%"3&!",$/-%"/-E>:L>PBEEMA><HNKM

             K>IHKM>KLP>:KBGMA>PBMG>LL

             !/ /&$01"3"+4/&$%1 04,/+

             .2"01&,+06*/#/""!*+

             */#/""!*+1A:GDRHNO>KRFN<A

            *0*/(,"-HBGMH?HK=>K;>?HK>P>@>M

            LM:KM>=4>:K>@HBG@MHF:KDMA>>GMBK>=>IHLBMBHG

            <HG?B=>GMB:E:G=MA>GHG<>P>A:O>MA>MK:GL<KBIMP>

            PBEE=> =>LB@G:M>

            */#/""!*+1A:MBL?BG>

            .$HH=FHKGBG@ !K4KB@AM

            $HH=FHKGBG@

            .4>F>M>:KEB>K*RG:F>BL3>E#K>>=F:G

            &K>IK>L>GMMA>IE:BGMB??LBGMABL:<MBHG

            %>EEH3>E

            . :GRHNIE>:L>LM:M>RHNKG:F>:G==:M>

            H?;BKMA?HKMA>K><HK=

            *RG:F>BL K:B@0M>O>G4KB@AM&P:L

            ;HKGBGKBL;:G> NLMK:EB: HGK=,<MH;>K

            . :GRHNM>EENLRHNK

                   
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 6 of 434


                                                                            -:@>
         
             .G=RHNKPHKD:==K>LL

             &F:BGERPHKD?KHFAHF>1HM>EERHNMA>

             MKNMA&=HGHMDGHPMA>H??B<>:==K>LL &CNLMP:ED

             MA>K> BMBLBG,Q?HK= BK<NL:MG A:BG1A>K>BL

             :GHMA>KHG>:M$HE=>G0JN:K>&=HGHM:<MN:EERDGHP

             &:FLHKKR

             .1A:MBL?BG>!H<MHK RHNNG=>KLM:G=

             MH=:RMA:MRHN:K>NG=>KH:MA:G=MA:MRHNA:O>M:D>G:G

            H:MAMHM>EEMA>MKNMA

            &NG=>KLM:G=I>K?><MERP>EEMA>F>:GBG@

            H?:GH:MA

            .6HNNG=>KLM:G=MA:MRHNK>Q:FBG:MBHG

            MH=:RBL;>BG@K><HK=>=;HMAOB:LM>GH@K:IA>K:G=

            OB=>H@K:IA>K:G=MA:M:MLHF>IHBGMMABLM>LMBFHGRF:R

            ;>LAHPGMH:CNKR

            &NG=>KLM:G=MA:MI>K?><MER MA:GDRHN

            .K>RHNM:DBG@:GRF>=B<:MBHGMH=:R

            +H&=HGHMM:D>F>=B<:MBHG

            .&LMA>K>:GRMABG@MH=:RMA:M&=HGHM

            DGHP:;HNMMA:MPHNE=       E>MF>LMKBD>MA:M&LMA>K>

            :GRMABG@MH=:RMA:MPHNE=BG?:<M:??><MRHNK:;BEBMRMH

            M>EEMA>MKNMA:MMABL=>IHLBMBHG

            +H GHMABG@PBEE:??><MFR:;BEBMRMH

            M>EEMA>MKNMA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 7 of 434


                                                                            -:@>
             .&?&:LDRHN:JN>LMBHG:G=RHN=HGHM

             NG=>KLM:G=BM IE>:L>E>MF>DGHP :G=&PBEEK>I>:MBM

             HKK>IAK:L>BM

             &LA:EE

             .&?RHN=HGHM:LDF>MH=HMA:M &PBEE

             :LLNF>RHNNG=>KLM:G=MA>JN>LMBHG:G=&PBEEK>ERHG

             RHNKK>LIHGL>

              1A>PBMG>LLGH==>=

             .&G=>IHLBMBHG M:DBG@ BMBLGHM

            BGMNBMBO> ;NMP>G>>=RHNMHO>K;:EERL:RRHNK

            K>LIHGL>LHGMA>K><HK= LHMA:MMA><HNKMK>IHKM>K<:G

            M:D>MA>F LH&PBEEMKRMHK>FBG=RHNMH=HBM :G=B?

            RHN<HNE=CNLMMKRMH:GLP>KPBMA:G:??BKF:MBO>R>LHK

            GH

            6>L

            .1A:GDRHN&?:M:GRMBF>MH=:RRHNG>>=

            MHM:D>:;K>:DHKRHN?>>EEBD>RHNG>>=MH@>M:=KBGD

            HKLMK>M<ARHNKE>@L CNLME>MF>DGHP:G=P>PBEELMHI

            HD:R

            0A:EE=H1A:GDRHN

            .6HNL:B=RHNP>K>;HKGBGNLMK:EB:!B=

            MA>K><HF>:MBF>PA>GRHNLMHII>=EBOBG@BGNLMK:EB:

            &:FGHMEBOBG@BGNLMK:EB::MMA>

            FHF>GM

            .4A>G=B=RHNLMHIEBOBG@BGNLMK:EB:
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 8 of 434


                                                                            -:@>
             4>FHO>=?KHFNLMK:EB:BG,<MH;>K

             .)>MF>@H;:<DMH:;HNM&G

             PA>K>P>K>RHNEBOBG@BGNLMK:EB:

             &G4BF;E>=HG

             .&G4BF;E>=HG!B=MA>K><HF>:MBF>PA>G

             RHNFHO>=?KHF4BF;E>=HG

             *0*/(,",;C><MBHG1ABLBLGHMI:KM

             H?MA>=>IHLBMBHGMHIB<LMA:MP>:@K>>=MH1ABLBL:

             EBFBM>==>IHLBMBHG&:FGHMK>:EERLNK>AHPMABLEBG>

            H?JN>LMBHGBG@?BMLBGPBMA:GRH?MA>MHIB<LMA:MRHN

            IKHIHL>=

            */#/""!*+0H P>:K>MKRBG@MH

            >LM:;EBLAPA>K>!K4KB@AMP:LLHP><:GB=>GMB?RMA>

            EH<:MBHGH?<HFINM>KL EH<:MBHGLH?L>KO>KL:G=

            EH<:MBHGLH?:EEDBG=LH?HMA>KMABG@LA>F:RA:O>NL>=

            MH<K>:M>BM<HBGMH<HEE:;HK:M>PBMA!:OB=(E>BF:G

            1%"4&1+"00GRMABG@MA:M&A:O>FHO>=

            PBMAA:LFHO>=PBMAF>BG?NEE&A:O>HGERA:=HG>

            K>LB=>G<>:M:GREH<:MBHG LH:GRPA>K>&A:O>;>>GBL

            BKK>E>O:GM"O>KRMABG@A:LFHO>= ?NEELMHI

            6*/#/""!*+

            .!K4KB@AM &:F@HBG@MH:LD B?BMBL

            IHLLB;E> B?RHN<HNE=P:BMNGMBE&:LD:JN>LMBHGMH

            K>LIHG=&DGHPRHNDGHPPA>K>&F:R;>@HBG@:G=RHN

            DGHPPA:M&F:R;>@>MMBG@:M RHNP:GMMHMKRMH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 9 of 434


                                                                            -:@>
             LAHKM <BK<NBMBM ;NMNG?HKMNG:M>ER&A:O>MH:LDMA>

             JN>LMBHG:G=RHNA:O>MHK>LIHG=6HNP>K>EBOBG@BG

             4BF;E>=HGBG!B=MA>K><HF>:MBF>PA>GRHNFHO>=

             ?KHF4BF;E>=HG

             6>L

             .4A>G=B=RHNFHO>?KHF4BF;E>=HG

             *0*/(,"&:F<HGMBGNBG@MHH;C><MMH

             MABLEBG>H?JN>LMBHG

             */#/""!*+K>RHNBGLMKN<MBG@ABF

            GHMMH:GLP>KHK:K>RHNGHMBG@:GH;C><MBHG

            *0*/(,"&:FGHMBG@:GH;C><MBHG:G=

            &:F@BOBG@RHN:EBMME>;BMH?E>>P:R&?P>@>MMH:

            IHBGMPA>K>&?>>ERHN:K>:;NLBG@MA:ME>>P:RMA>G

            &PBEEBGLMKN<MABFGHMMH:GLP>K

            */#/""!*+,D:R

            .4A>G=B=RHNFHO>:?M>K

            &=HGHMK>F>F;>KMA>>Q:<M=:M>

            .4A>K>=B=RHNFHO>MH

                   

                   



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Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 10 of
                                      434

                                                                          -:@>




            6*/#/""!*+

            .G=MA>GMA>

            &LMA>HG>&L:B=&:F:MGHP

            .                BLBGMA>2(

            1A:MBL<HKK><M&A:O>;>>GEBOBG@BG

                                                                      EEH?

            MAHL>:K>BGMA>2(1A:MBL<HKK><M

           .&:F<HG?NL>=1ABLF:R;>FR?:NEM&G

           RHNP>K>EBOBG@BGMA>2(

           &:FLHKKR MA:MBLFR?:NEM&P:L

           MABGDBG@&P:LEBOBG@BGNLMK:EB:

           .,D:R PA>K>BGNLMK:EB:

           GNF;>KH?=B??>K>GMEH<:MBHGL

           . :GRHNE>MF>DGHPPA>K>MAHL>P>K>

           &=HGHMK>F>F;>K&DGHP:IIKHQBF:M>

           EH<:MBHGL&A:O>A:=L>O>K:EAHNL>L

           . :GRHN@BO>F>MA>:IIKHQBF:M>

           EH<:MBHGL

           +>P0HNMA4:E>L

           .#KHF        =B=MA>K><HF>:MBF>PA>G

           RHNE>?M+>P0HNMA4:E>L?HK:GHMA>KI:KMH?NLMK:EB:

           HKP>K>RHNBG+>P0HNMA4:E>LNGMBERHNFHO>=MHMA>2(

           BG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 11 of
                                      434

                                                                          -:@>
            &P:LBG+>P0HNMA4:E>LNGMBEMA>G

            .NMRHN=HGHMK><:EEMA>>Q:<M

            :==K>LL>L

            +HMH??MA>MHIH?FRA>:= GH

            .!HRHNA:O>MAHL>K><HK=L:O:BE:;E>MA:M

            RHN<HNE=EHHDNI:G=MA>GM>EERHNK<HNGL>EE:M>K

            *0*/(,",;C><MBHG

            1%"4&1+"00&A:O>GH<HFINM>KLBG:GR

            HMA>KK>LB=>G<>"O>KRMABG@&A:O>A:=FHO>=PBMAF>

           1A>K>BLGHMABG@MH;>?HNG= MA>K>:K>GH<HFINM>KL

           MA>K> :G= GH &=HGHMMKR:G=K>F>F;>K:==K>LL>L

           6*/#/""!*+

           .0HRHNMHHD>O>KR<HFINM>KLMHK:@>

           =>OB<> >O>KRLRLM>FRHNA:= A:LFHO>=PBMARHN:G=RHN

           <NKK>GMERA:O>BMPBMARHNBG)HG=HG

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           1%"4&1+"00+H MA:MBLGHMPA:M

           &L:B=&=HGHMD>>IF:<ABG>L1A>:O>K:@>:@>H?FR

           <HFINM>KLBLHG>R>:K?M>K:R>:K JNBM>H?M>G

           &MK:LAMA>F&A:O>:G>PIAHG>>O>KRLBG@E>R>:K

           &A:O>:G>P<HFINM>K :MF:QBFNF FHGMAL

           6*/#/""!*+

           .4A:M=HRHN=HPBMAMA>HE=>JNBIF>GM

           &GMA>I:LM&NL>=MH=HG:M>MAHL>MH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 12 of
                                      434

                                                                          -:@>
            <A:KBMR+HP LHF>MBF>LMA>R@HMH<A:KBMR LHF>MBF>L

            MA>RCNLM@>MMK:LA>=

            .4A:M=HRHN=HPBMAMA>=:M:HGMAHL>HE=

            <HFINM>KLHKA:K=P:K>

            &MBLPBI>=

            .!HRHNL:O>:<HIRH?BM

            +HM:EP:RL GH&?&=HGHMG>>=BM &

            =HGHML:O>BM

            .NMPA:M>O>KRHNG>>= RHNL:O>

           6>L

           .4>K>RHN>FIEHR>=;>MP>>G  PA>G

           RHNE>?MNLMK:EB:

           6>L

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .4A>K>P>K>RHN>FIEHR>=

           MPA:MIHBGM

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .#KHF &@N>LLBG PA>K>P>K>

           RHN>FIEHR>=

           &PHKD>=?HK:<HFI:GRHK:I:KMG>KLABI

           <:EE>=!, PAB<AP:L:G:<<HNGMBG@?BKF

           .%HPEHG@P>K>RHNPBMA!,

           #KHFLHF>MBF>BGNGMBE!><>F;>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 13 of
                                      434

                                                                          -:@>
             PA>G&E>?M

            .4A>GRHNE>?M!,BG P>K>RHN

            >FIEHR>=;R:GHMA>KHK@:GBL:MBHGHK>FIEHR>K

            +H

            .!B=MA>K><HF>:MBF>PA>GRHNP>K>

            :@:BG >FIEHR>=;R:G>FIEHR>K

            *0*/(,",;C><MBHG

            1%"4&1+"00&:FGHFBG:EER>FIEHR>=;R

            G A:BG

           6*/#/""!*+

           .1A:MP:LMA>G>QMMBF>:?M>K!,

           &P:L:=BK><MHKH?FRHPG<HFI:GR LHB?

           RHNP:GMMH<:EEMA:M>FIEHRF>GM MA>G

           .1A:MBL:@HH=<KBMBJN>:G=:;:=

           JN>LMBHG>LB=>LPHKDBG@?HKRHNKHPG<HFI:GB>L:G=

           RHNKL>E? A:O>RHNPHKD>=?HK:GRHG>>EL>;>LB=>L!,

           :G=G A:BG

           +H

           .        ?KHFHG4A>K>=B=RHN

           F:BGM:BG    LHRHNL:B=MA:M;>MP>>GRHNE>?M!,

           :G=MA>GBG      PA>G=B=RHN;>@BGPHKDBG@?HK

           G A:BG

           4>EE &=B=GHMK>:EER;>@BGPHKDBG@?HK

           G A:BG &?HNG=>=G A:BG

           .4A>G=B=RHN?HNG=G A:BG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 14 of
                                      434

                                                                          -:@>
            G A:BGP:L?HNG=>=>??><MBO>ERBG:

            GNF;>KH?=B??>K>GM?HKFLBG:KHNG=*:R

            .0H;>MP>>G!><>F;>KH?:G=*:RH?

             RHNPHKD>=?HKRHNKL>E?BG<HFI:GB>LMA:MRHN

            <K>:M>=

            &PHKD>=?HKMA><HFI:GB>L&<K>:M>=

            R>L&=B=GHMPHKD?HKFRL>E?I>KL> &P:LGHM

            PHKDBG@?HKFRHPG;NLBG>LL B?MA:MBLPA:MRHN:K>

            :LDBG@

           .!B=MA>L><HFI:GB>LA:O>H??B<>LBG

           NLMK:EB:

           6>L LHF>H?MA>F=B=

           .!HRHNK><:EEMA>:==K>LL>LH?MAHL>

           H??B<>L

           &G+HKMA/R=>&=HGHMK>F>F;>KMA>>Q:<M

           :==K>LL

           .4>K>MA>K>FHK>MA:GHG>:==K>LL

           &GLHF>H?MA>F R>L

           .4>K>MA>R:EEBG+HKMA/R=>

           +H

           .4A>K>>EL>P>K>MA>R

           &AHG>LMER=HGHMK>F>F;>K&=HGHMMKR

           :G=K>F>F;>K:==K>LL>L&=HGHMK>F>F;>K :L&L:B=

           MA>:==K>LL:M,Q?HK= BK<NLPA>K>&=KBO>BGMHPHKD

           >O>KRP>>D&CNLM@HMA>K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 15 of
                                      434

                                                                          -:@>
            .!HRHNA:O>K><HK=LMA:MRHN<HNE=EHHD

            MABLNI:G=E>MRHNK<HNGL>EDGHPE:M>K

            *0*/(,",;C><MBHG

            1%"4&1+"00+H ;NM&:FLNK>BMBLHG

            MA>BGM>KG>M

            6*/#/""!*+

            .%HPF:GRMBF>LA:O>RHN;>>GF:KKB>=

            1PB<>

            *0*/(,",;C><MBHG

           6*/#/""!*+

           .4A:MBLMA>G:F>H?RHNK?BKLMPB?>

            :KHE)RGG>4KB@AM

           .4A:MP:LA>KF:B=>GG:F>

           E:<D

           .4A>G=B=RHN?BKLMF>>MA>K

           *0*/(,",;C><MBHG4A:MBLMA>

           K>E>O:G<>H?PA>GA>F>M:G>Q PB?>G=AHP=H>LMA:M

           K>E:M>MH:GRH?MA>MHIB<LMA:MRHNA:O>INKIHKM>=MA:M

           RHN:K>IE:GGBG@HG<HO>KBG@MH=:R

           *//&3"/,&GLMKN<MGHMMH:GLP>K

           +>QMJN>LMBHG IE>:L>

           */#/""!*+G=KUL

           6*//&3"/,-E>:L>:LDMA>G>QM

           JN>LMBHG1A:MP>PBEEM:D>NIPBMAMA><HNKMB?RHN

           PBLAMH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 16 of
                                      434

                                                                          -:@>
            */#/""!*+,D:RK>RHN@HBG@MH

            BGLMKN<MABFGHMMH:GLP>K:GRJN>LMBHG:;HNMABL?BKLM

            PB?>

            *//&3"/,*K#K>>=F:G RHNA:O>MA>

            KB@AMMH:LDJN>LMBHGLLDMA>JN>LMBHGL6HN:K>

            P:LMBG@RHNKHPGMBF>&?RHNP:GMMHM:D>NIMA:M

            JN>LMBHGPBMAMA><HNKM&:FK>:=RMH<:EEGHPB?RHN

            P:GMMH?BG=MA>CN=@>4A>G=B=A>F>>MABL?BKLM

            PB?>-E>:L> FHO>HG

           */#/""!*+4>PBEE=>:EPBMABMBG

           MA><HNKM

           *//&3"/,-E>:L>FHO>HG+>QM

           JN>LMBHG

           6*/#/""!*+

           .4A>G=B=RHN@>MF:KKB>=MH

           *L)RGG>E:<D

           &GMA>L&A:O>:GH:MA :LI:KMH?

           FR=BOHK<>L>MME>F>GM MA:M&PBEEGHM=BL<NLL:GRMABG@

           :;HNMFRPB?>HKFR?HKF>KF:KKB:@>&PBEEGHM;K>:D

           MA:M1A:GDRHN

           .4A>G=B=RHN@>M=BOHK<>=

           &A:O>:GH:MAPBMAFRPB?>MA:M&:F

           =BOHK<>=?KHFMA:M&PBEEGHM=BL<NLL:GRMABG@:;HNMA>K

           HKFR?HKF>KF:KKB:@>MA:MBLI:KMH?HNKL>MME>F>GM

           1A:GDRHN
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 17 of
                                      434

                                                                          -:@>
            .&G<EN=BG@MA>=:M>H?MA>=BOHK<>

            &A:O>:GH:MAPBMAFR?HKF>KPB?>MA:M

            &PBEEGHM=BL<NLL:GRMABG@:;HNMA>KHKFR?HKF>K

            F:KKB:@>&PBEEGHM;K>:DMA:M

            .%:O>RHNLM:R>=BGMHN<APBMARHNK

            >Q PB?>:?M>KMA>=:M>H?MA>=BOHK<>

            *0*/(,",;C><MBHG

            1%"4&1+"00&A:O>:GH:MAPBMAFR

            ?HKF>KPB?>MA:M&PBEEGHM=BL<NLL:GRMABG@:;HNMA>K

           BG:GRP:RHKFRF:KKB:@> :G=&PBEEGHM;K>:D:GH:MA

           6*/#/""!*+

           .0HP>=HGHMA:O>MH@HMAKHN@A>O>KR

           LBG@E>JN>LMBHGK>RHNK>?NLBG@MH:GLP>K:GR

           JN>LMBHGL:;HNM*L)RGG>E:<D

           &:FGHMK>?NLBG@MH:GLP>KJN>LMBHGL

           &A:O>:GH:MAMA:MA:L;>>G?BE>=PBMABG:<HNKMBG

           NLMK:EB:&PBEEGHM;K>:<AH:MA:G=I>KCNK>FRL>E?HK

           ;K>:DH:MA6HN:K>:LDBG@F>MH;K>:DH:MA :G=NGE>LL

           BGLMKN<M>=;R:CN=@> >M<>M>K: >M<>M>K: &PBEEGHM=H

           MA:M

           .4A:MBLMA>G:F>H?RHNKL><HG=PB?>

           *RL><HG=PB?>BL<:EE>=/:FHG:

           .4A>G=B=RHNF>>M/:FHG:4KB@AM

           *0*/(,",;C><MBHG

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 18 of
                                      434

                                                                          -:@>
            .4A:MBLA>KE:LMG:F>

            4:MML

            .4:LBM:EP:RL4:MML

            +H

            .4A:MP:LBM;>?HK>BMP:L4:MML

            &MP:LG@

            . :GRHNLI>EEMA:M IE>:L>

             + $

            .4A>G=B=BM<A:G@>MH4:MML

           *0*/(,",;C><MBHG

           1%"4&1+"00&:FGHM:GLP>KBG@

           JN>LMBHGL:;HNMFRPB?>*RPB?>BLIKBOBE>@>=BGMA>

           2(*RF:KKB:@>BLIKBOBE>@>=6HNLAHNE=DGHPMA:M

           :L:E:PR>KK>RHNL>>DBG@MHA:O>F>;K>:<AF:KBM:E

           IKBOBE>@>

           6*/#/""!*+

           .!K4KB@AM BMPBEEGHM;>IKH=N<MBO>?HK

           NLMHA:O>:<HGO>KL:MBHG:;HNMPA>MA>KHKGHMMA>MBF>

           H?PA>GRHNKPB?>LG:F><A:G@>=?KHFG@MH4:MMLBL

           <HO>K>=;RLI>EELH?IKBOBE>@> ;NM

           &=HGHM=BL<NLLFR?:FBER ?NEELMHI

           .!K4KB@AM RHNNG=>KLM:G=MA:MRHN:K>

           ;>BG@LN>=BGMABL<:L>

           &NG=>KLM:G=I>K?><MERP>EEMA:M:<HG

           F:GBGF>KB<:A:LF:=>NI:?K:N=NE>GM<E:BF R>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 19 of
                                      434

                                                                          -:@>
            .G=RHNNG=>KLM:G=MA:MRHNMKB>=MH

            =BLFBLLMABL<:L>

            *0*/(,",;C><MBHG0BK 3>E P>

            A:O>:EBMH?MHIB<L1A>L>P>K>:IIKHO>=;RMA><HNKM

            1ABLBLGHMI:KMH?RHNKEBLMH?MHIB<L

            */#/""!*+&M<>KM:BGERBL

            *L*:KDH>

            *0*/(,""QIE:BGMHF>BGPA:MP:R

            */#/""!*+><:NL>MA>EBLMH?MHIB<L

           :IIKHO>=;RMA><HNKM:IIKHO>=MA>BGJNBKRBGMH

           PBMG>LL>L:G=*L/:FHG:4:MMLBLA>:OBER:G=P:L

           A>:OBERBGOHEO>=PBMA!K4KB@AML;NLBG>LL>L

           *0*/(,"1A:MMHIB<L:RL

           &=>GMB?B<:MBHGH?PBMG>LL>L BG<EN=BG@BG?HKF:MBHG

           :;HNMMA>BKPA>K>:;HNML:G=KHE>LBGMA>LN;C><MF:MM>K

           H?MA>IE>:=BG@L6HNKJN>LMBHGL=HGHM@H

           */#/""!*+0NK>MA>R=H

           *0*/(,"           MHMAHL>BLLN>L6HNK

           JN>LMBHGL=HGHM@HMHMAHL>BLLN>LLDJN>LMBHGLMA:M

           @HMHMAHL>BLLN>L:G=A>PBEE:GLP>KMA>JN>LMBHGLMA:M

           @HMHMAHL>BLLN>LMHMA>>QM>GMMA:MMA>R:K>GHMI:KM

           H?:IKBOBE>@> HGMBGN>

           */#/""!*+4>:K>MKRBG@MH=>M>KFBG>

           :MPA:MIHBGMLA>>GM>K>=BGMHMABL<BK<E>H?<HFI:GB>L

           :G=MABLA>EILNL=>M>KFBG>MA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 20 of
                                      434

                                                                          -:@>
            *0*/(,"4A>GA>KG:F><A:G@>=?KHF

            G@MH4:MMLA>EILRHN=>M>KFBG>

            */#/""!*+%>EILNLB=>GMB?RA>K:G=

            A>KABLMHKR:G=E>:KG:;HNMA>K LHMA:MP><:G

            >O>GMN:EER B?IHLLB;E> M:D>A>K=>IHLBMBHG R>L

            *0*/(,"G=MA:MA:LGHMABG@MH=H

            PBMAMA>L>MHIB<L1A:MA:L:;LHENM>ERGHMABG@MH=H

            PBMAMA>L>MHIB<L6HN<:G:LDMA>JN>LMBHGLMA:M@HMH

            MA>L>MHIB<L:G=@HMHMA>LI><B?B<BLLN>L I>KBH=

           */#/""!*+4>PBEEM:D>BMNIPBMA

           <HNKM

           *0*/(,"1:D>BMNIPBMAMA><HNKM

           6*/#/""!*+

           .!K4KB@AM =HRHNA:O>:GR<HFINM>KL

           MA:M>QBLM>=:LH?MA:M:K>LMBEEBGRHNK

           IHLL>LLBHGMH=:R

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=

           */#/""!*+*L*:KDH> &PHNE=B?RHN

           PHNE=CNLMEBFBMRHNKH;C><MBHGMH?HKF:LI>KMA>

           KNE>L

           1%"4&1+"00+H

           6*/#/""!*+

           .!HRHNA:O>:GR<HFINM>KLBGRHNK

           IHLL>LLBHG?KHF
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 21 of
                                      434

                                                                          -:@>
            +H

            .

            *0*/(,",;C><MBHG

            1%"4&1+"00GR<HFINM>KMA:M&A:O>

            A:=A:L;>>GBF:@>=:G=M:D>G&=HGHMDGHPB?MA>K>

            BL:GRHE=A:K==KBO>LHKPA:M>O>K>EL>?KHF:GR

            I:KMB<NE:K=:M>"O>KRLBG@E><HFINM>KA:L;>>GM:D>G

            BF:@>= >M<>M>K:

            .&NG=>KLM:G= ;NMMA:MBLGHMFR

           JN>LMBHG*RJN>LMBHGBLB?RHNA:O>:GR           E>MF>

           K>IAK:L>BM F:R;>BMBL>:LB>K4A:MBLMA>HE=>LM

           <HFINM>KMA:MRHNA:O>BGRHNKIHLL>LLBHG

           &=HGHMDGHP

           .4A:MBLMA>HE=>LMA:K==KBO>MA:MRHN

           A:O>BGRHNKIHLL>LLBHG

           &=HGHMDGHP

           .4A:MBLMA>HE=>LMF>=B:=>OB<>MA:MRHN

           A:O>BGRHNKIHLL>LLBHG

           &=HGHMDGHP

           .!B=RHNNL>:GR<EHN=LMHK:@>L>KOB<>LBG

           MA>    BG

           6>L

           .4A:MP>K>MAHL>L>KOB<>L

           &=HGHMK>F>F;>K

           .!B=RHNNL>:GR<EHN=LMHK:@>LBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 22 of
                                      434

                                                                          -:@>
            6>L
            .4A:MP>K>MA>G:F>LH?MAHL>LMHK:@>
            L>KOB<>L
            &=HGHMK>F>F;>K
            .!B=RHNNL><EHN=LMHK:@>LBG
            6>L
            .4A:MP>K>MA>G:F>LH?MAHL>LMHK:@>L
            &=HGHMK>F>F;>K
            .!B=RHNNL><EHN=LMHK:@>LBG
           6>L
           .4A:MP>K>MA>G:F>LH?MAHL><EHN=
           LMHK:@>L
           &=HGHMK>F>F;>K
           .!B=RHNNL><EHN=LMHK:@>LBG
           6>L
           .4A:MP>K>MA>G:F>LH?MAHL><EHN=
           LMHK:@>L
           &=HGHMK>F>F;>K
           .!B=RHNNL><EHN=LMHK:@>LBG
           6>L
           .4A:MP>K>MA>G:F>LH?MAHL><EHN=
           LMHK:@>L
           &=HGHMK>F>F;>K
           .!B=RHNNL><EHN=LMHK:@>L>KOB<>LBG
           
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 23 of
                                      434

                                                                          -:@>
            6>L

            .4A:MP>K>MA>G:F>LH?MAHL><EHN=

            LMHK:@>L

            &=HGHMK>F>F;>K

            .!B=RHNNL><EHN=LMHK:@>LBG

            6>L

            .4A:MP>K>MA>G:F>LH?MAHL><EHN=

            LMHK:@>L

            &=HGHMK>F>F;>K

           .#KHFNGMBE =B=RHN>O>KNL>

           <EHN=<HFINMBG@L>KOB<>L

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           6*/#/""!*+

           .4A:MP>K>MA>G:F>LH?MAHL><EHN=

           <HFINMBG@L>KOB<>L

           &=HGHMK>F>F;>K

           .4A:M=B=RHNNL><EHN=<HFINMBG@L>KOB<>L

           ?HK

           *0*/(,",;C><MBHG

           1%"4&1+"001HLMHK>=:M: MH:G:ERL>

           =:M:

           6*/#/""!*+

           .4A:M=:M:=B=RHNLMHK>

           PB=>O:KB>MRH?:EE=B??>K>GMMABG@L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 24 of
                                      434

                                                                          -:@>
            &P:L:G:ERLBG@

            . :GRHNEBLM?HKF>MA>MRI>LH?=:M:RHN

            LMHK>=

            *0*/(,",;C><MBHG

            1%"4&1+"00L:G=L

            6*/#/""!*+

            .G=:M:AB@A>KE>O>E

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMK>F>F;>KMA>>Q:<M

           <HFIHLBMBHGH?=:M:MA:M&A:=:M:GRI>KBH=&=HGHM

           MKR:G=K>F>F;>KMA>L>MABG@L

           6*/#/""!*+

           .!HRHNK>F>F;>K:GRH?MA>=:M:MA:MRHN

           LMHK>==NKBG@MA:MI>KBH=

           & :MFHLMH?MA>L>I>KBH=LMA:MRHN:K>

           M:EDBG@:;HNM A:O>LM:??&:LD?HKMABG@LMHA:II>G

           MABG@LA:II>G

           .0H BLBMRHNKM>LMBFHGRMH=:RMA:M?KHF

           NGMBE RHN=HGHMK><:EE:GRH?MA>=:M:MA:M

           RHNLMHK>=HG<EHN=LMHK:@>=>OB<>L

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           */#/""!*+&:LD>=ABFB?MA:MP:L

           ABLM>LMBFHGR&PHNE=:LD:@:BG *L*:KDH> MA:MRHN

           EBFBMRHNKH;C><MBHGMH?HKF
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 25 of
                                      434

                                                                          -:@>
            *0*/(,"G=&PHNE=:LDMA:MRHN:LD

            IKHI>KJN>LMBHGL HGMBGN>

            1%"4&1+"003>KRLBFIER RHNA:O>MKB>=

            MHMPBLMFRPHK=L MA:MBLGHMPA:M&L:B=

            */#/""!*+*L*:KDH> MABLBLMA>

            BLLN>PBMAH;C><MBG@;>RHG=?HKF ;><:NL>RHN:K>

            <H:<ABG@MA>PBMG>LL:G=BMBLBG:IIKHIKB:M>NG=>KMA>

            EH<:EKNE>L

            *0*/(,"&:FGHM<H:<ABG@MA>

           PBMG>LL:M:EE

           1%"4&1+"00&PHNE=A:O>L:B=MA:M

           >BMA>KP:R

           *0*/(,"&:FM>EEBG@RHNPA:MFR

           H;C><MBHGBL:G=&:F:EEHP>=MHK><HK=FRH;C><MBHG?HK

           MA>K><HK=

           */#/""!*+'NLMMH?HKF&MBLI:KM

           H?MA>EH<:EKNE>L&MBLJNBM><E>:K6HN:K>HGER

           :EEHP>=MHH;C><MMH?HKF

           *0*/(,"1:D>BMNIPBMAMA>CN=@>

           MA>G

           */#/""!*+&PBEE ;NM&:FAHIBG@&

           =HGHMA:O>MH

           .!K4KB@AM BLBMRHNKM>LMBFHGRMH=:R

           MA:M?KHF MA:MRHN=HGHMK><:EE:GRH?MA>

           =:M:RHNLMHK>=HG<EHN=LMHK:@>=>OB<>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 26 of
                                      434

                                                                          -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMK><:EEMA>=:M:

            GH

            6*/#/""!*+

            .&LBMRHNKM>LMBFHGRMH=:RMA:M?KHF

             RHN=HGHMK><:EE:GRH?MA>?NG<MBHGLMA:M

            RHNNL>=<EHN=<HFINMBG@L>KOB<>L?HK

            *0*/(,",;C><MBHG

            1%"4&1+"001A:MBLGHMPA:M&:<MN:EER

           L:B=&L:B=&=H<HFINM>:G=LMHK:@>1A>R:K>

           ?NG<MBHGL

           6*/#/""!*+

           .!HRHNK><:EEPA:M=:M:RHN<HFINM>=

           =NKBG@MA> MBF>I>KBH=

           *0*/(,",;C><MBHG

           1%"4&1+"001A>INKIHL>H?LMHKBG@=:M:

           :G==HBG@<HFINM>BLLHMA:M&=HGHMG>>=MHK><:EEBM

           6*/#/""!*+

           .0H=HRHNK><:EEPA:MRHNLMHK>=?KHF

            

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG &=HGHMK><:EE

           ;><:NL>&=HGHMG>>=MH1A>PAHE>INKIHL>H?LMHKBG@

           BG?HKF:MBHGBLLHMA:MRHN=HGHMG>>=MHMABGD:;HNM

           BM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 27 of
                                      434

                                                                          -:@>
            6*/#/""!*+

            .0HRHN=HGHMK><:EE

            *0*/(,",;C><MBHG

            1%"4&1+"00&CNLML:B=MA:M

            6*/#/""!*+

            .!B=:GRH?MA>=:M:LMHK>= HK:GRH?MA>

            <EHN=<HFINMBG@L>KOB<>LNL>= K>E:M>MHBM<HBG

            6>L

            *0*/(,",;C><MBHG

           6*/#/""!*+

           .!HRHNK><:EEAHPBMK>E:M>=MHBM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00!>?BG>MA:M!>?BG>PA:M

           RHNF>:G;RAHPBMK>E:M>=MHBM<HBG

           6*/#/""!*+

           .!B=BMK>E:M>MHMA>FBGBG@H?BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!B=BMK>E:M>MH;EH<D<A:BG ;:L>=

           BGM>EE><MN:EIKHI>KMR

           *0*/(,",;C><MBHG

           1%"4&1+"00!>?BG>PA:M

           ;EH<D<A:BG ;:L>=BGM>EE><MN:EIKHI>KMRF>:GL IE>:L>

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 28 of
                                      434

                                                                          -:@>
            .4A:M=H>LMA>M>KF;EH<D<A:BGF>:GMH

            RHN

            EH<D<A:BGBL:FBLK>IK>L>GM:MBHGH?MA>

            NL>H?MBF><A:BGMA:MBL=>?BG>=PBMABGMA>PHK=

            BM<HBG&MBL>??><MBO>ER I>HIE>GHMNG=>KLM:G=BG@

            PA:MMA>M><AGHEH@RBL :G=<:EEBG@BMLHF>MABG@MA:MBM

            BLGHM

            .0HPHNE=MBF><A:BG;>:FHK>:<<NK:M>

            M>KFMHNL>

           *0*/(,",;C><MBHG

           1%"4&1+"00#HKMA>@>G>K:E

           K>IK>L>GM:MBHG R>L

           6*/#/""!*+

           .!B=:GRH?MA><EHN=<HFINMBG@:G=<EHN=

           LMHK:@>L>KOB<>LMA:MRHNNL>=;>MP>>GNGMBE

           K>E:M>MHMBF><A:BGBGM>EE><MN:EIKHI>KMR

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG PA:MRHN:K>MKRBG@

           MH=HBLFNEMBIE>MABG@L :G=:K>RHNM:EDBG@:;HNMMA>

           =>O>EHIF>GMH?PA:M;><:F>BM<HBG HK:K>RHNM:EDBG@

           :;HNMLHF>MABG@>EL> LN<A:L=H<NF>GMBG@HKPKBMBG@

           I:I>KLHGMA>MHIB<

           6*/#/""!*+

           .)>MNLLM:KMPBMAMA>=>O>EHIF>GMH?

           BM<HBG!B=:GRH?MAHL><EHN=LMHK:@>L:G=<EHN=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 29 of
                                      434

                                                                          -:@>
            <HFINMBG@L>KOB<>LK>E:M>MHMA>=>O>EHIF>GMH?PA:M

            ;><:F>BM<HBG

            *0*/(,",;C><MBHG

            1%"4&1+"001A><EHN=LMHK:@>L=B=GHM

            K>E:M>MHMA>=>O>EHIF>GMH?BM<HBG1A>=>O>EHIF>GM

            H?BM<HBGP:LGHM=HG>;R<EHN=LMHK:@>L

            6*/#/""!*+

            .4A:MP:LMA>=>O>EHIF>GMH?BM;>BG@=HG>

            ;R

           *0*/(,",;C><MBHG

           1%"4&1+"00%NF:GL

           6*/#/""!*+

           .4:L:GRH?MA>BG?HKF:MBHGK>E:MBG@MH

           MA>=>O>EHIF>GMH?BM<HBGLMHK>=HG<EHN=<HFINMBG@

           L>KOB<>L

           6>L

           .!HRHNK><:EEPA:MMAHL><EHN=<HFINMBG@

           L>KOB<>LP>K><:EE>=

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!HRHNLMBEEA:O>:<<>LLMHMAHL><EHN=

           <HFINMBG@L>KOB<>L

           +H

           .!HRHNA:O><HIB>LH?MA>=:M:MA:MP>K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 30 of
                                      434

                                                                          -:@>
            HGMAHL><EHN=<HFINMBG@L>KOB<>L

            1A>=:M:MA:M&A:O>:MFRAHNL>A:L;>>G

            :G:ERL>=&=HGHMK><:EEPA:M>O>KR;BMH?MA:M=:M:

            BL1A>:G:ERLBLH?MA:M=:M:A:L>BMA>K;>>GM:D>GHK

            GHM&A:O>GHM@HG>MAKHN@APA:MMA>E:PR>KLA:O>

            <HIB>= LH&<:GGHM:GLP>KMA:MJN>LMBHG

            .0H LBMMBG@A>K>MH=:R RHN=HGHMDGHP

            PA>MA>KMA>=:M:MA:MP:LHGMA><EHN=<HFINMBG@LMHK:@>

               LMKBD>MA:M0BMMBG@A>K>MH=:R RHN=HGHMDGHP

           PA>MA>KMA>=:M:MA:MP:LHGMA><EHN=LMHK:@>L>KOB<>L

           K>LB=>LHGMA>=:M:MA:MP:LBF:@>=;RRHNKE:PR>KL

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPPA:MFR

           E:PR>KLBF:@>= LH&<:GGHM:GLP>KMA:MJN>LMBHG

           *:R&A:O>:@E:LLH?P:M>K IE>:L>

           *0*/(,"6>L

           *//&3"/,0I:KDEBG@HKLMBEE

           1%"4&1+"000I:KDEBG@ MA:GDRHN

           6*/#/""!*+

           .!K4KB@AM AHP=B=RHNB=>GMB?R?HKRHNK

           E:PR>KLPA:M=>OB<>LMHBF:@>

           *0*/(," :GRHNK>I>:MMA>JN>LMBHG

           &:FLHKKR

           6*/#/""!*+

           .%HP=B=RHNB=>GMB?R?HKRHNKE:PR>KL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 31 of
                                      434

                                                                          -:@>
            PA:M=>OB<>LMA>RLAHNE=BF:@>?HKMABLEBMB@:MBHG

            *//&3"/,!K4KB@AM RHN<:GGHM@H

            BGMH<HGO>KL:MBHGLPBMARHNKE:PR>KL ;><:NL>MA:MPHNE=

            ;>IKBOBE>@>=0H&:FBGLMKN<MBG@RHNHGMA:M ;NM

            :GLP>KMHMA>>QM>GMMA:MRHN<:GPBMAHNM@HBG@BGMH:GR

            <HFFNGB<:MBHGLPBMA<HNGL>E

            1%"4&1+"00&P:L@BO>G:L>MH?

            BGLMKN<MBHGL&MHE=MA>I>HIE>PA:MF:M<A>=MA>

            BGLMKN<MBHGL

           6*/#/""!*+

           .K>MA>K>=>OB<>L:MRHNKAHF>HKH??B<>

           A>K>BGMA>2GBM>=(BG@=HFMA:MA:O>GHM;>>GBF:@>=

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           6*/#/""!*+

           . :GRHNEBLMMAHL>=>OB<>L?HKF>

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .4ARGHM

           &=HGHMDGHPMA>F

           .4HNE=RHN;>:;E>MHIKHOB=>:EBLMH?

           MAHL>=>OB<>LMHRHNKE:PR>KL

           *0*/(,",;C><MBHG

           1%"4&1+"00+H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 32 of
                                      434

                                                                          -:@>
            6*/#/""!*+

            .4ARGHM

            *RPB?>A:LF:<ABG>L MA>R:K>GHMFBG>

            MA>RA:O>GHMABG@MH=HPBMABM<HBGHKMABL<:L>

            &PBEEGHMEBLMA>KF:<ABG>L&PBEEGHM:LDA>KMH

            EBLMA>KF:<ABG>L

            .!HRHNA:O>:<<>LLMHRHNKPB?>L

            F:<ABG>L

            +H

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .!B=RHNKPB?>NL>MAHL>F:<ABG>L?HKMA>

           

           +H

           .0HKKR

           1A>K>:K>GHF:<ABG>L:MFRAHNL>MA:M

           :K>MA:MHE=1A>K>:K>GHF:<ABG>LMA:MA:O>;>>G

           HE=>KMA:G :LRHN:K>MKRBG@MHBFIER0H MA>

           =:M:MA:M&A:=P:L<HIB>=MH<HFI:GB>L1AHL>

           <HFI:GB>LBGNLMK:EB:A:O>;>>GBF:@>=;RMA>

           NLMK:EB:G1:Q,??B<>?HKPA:M>O>KMA>RA:O>=HG>&=H

           GHMA:O>MA>F

           .#KHFNGMBE =B=RHNF:D>:GR

           MKBILMHMA>2GBM>=0M:M>L

           6>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 33 of
                                      434

                                                                          -:@>
            *0*/(,",;C><MBHG

            6*/#/""!*+

            .%HPF:GRMKBIL=B=RHNF:D>MHMA>2GBM>=

            0M:M>L

            &=HGHMDGHP

            .!B=RHNMK:O>EMHMA>2GBM>=0M:M>LBG

            

            *0*/(,",;C><MBHG@:BG P>:K>

            M:EDBG@:;HNM

           1%"4&1+"00&=HGHMDGHP

           *0*/(,"           :EBLMH?MHIB<L1ABL

           BLGHMK>E:M>=MHRHNKEBLMH?MHIB<L0MB<DMHMA>

           MHIB<LMA:MRHN:@K>>=MH1A>K>P>K>M>GH?MA>F

           1ABLBLGHMHG>H?MA>F

           */#/""!*+1ABLK>E:M>LMHMA>

           ?HKF:MBHGH?MA>I:KMG>KLABIPBMA!:O>(E>BF:G LH

           *0*/(,"%HP=H>LBMK>E:M>MHMA>

           ?HKF:MBHGH?MA>I:KMG>KLABIPBMA!:O>(E>BF:GPA>GRHN

           :K>:LDBG@:;HNMABLMKBILMHMA>2GBM>=0M:M>L?KHF

            

           */#/""!*+><:NL>MA:MBLPA>GP>

           :EE>@>MA>?HKF:MBHGH?MA>I:KMG>KLABI>O>GMN:EERMHHD

           IE:<>

           *0*/(,"4AR=HGHMRHN:LD:;HNMMA>

           ?HKF:MBHGH?MA>I:KMG>KLABIK:MA>KMA:GK:G=HFMKBIL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 34 of
                                      434

                                                                          -:@>
            MA:MA>FB@AMA:O>M:D>GMHMA>2GBM>=0M:M>L

            */#/""!*+*L*:KDH> &=HGHMA:O>

            MH:LDMA>JN>LMBHGLMA>P:RRHNPHNE=EBD>F>MH:LD

            MA>JN>LMBHGL&?RHNBGLMKN<MMA>PBMG>LLGHMMH

            :GLP>KP>PBEEM:D>BMNIPBMAMA><HNKM,MA>KPBL>

            IE>:L>>BMA>KH;C><MHKBGLMKN<M

            .&G =B=RHNMK:O>EMHMA>2GBM>=

            0M:M>L

            *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+

           .&G =B=RHNMK:O>EMHMA>2GBM>=

           0M:M>L

           &=HGHMDGHP

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .&G =B=RHNMK:O>EMHMA>2GBM>=

           0M:M>L

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           1%" ,2/1/"-,/1"/0EHP=HPG IE>:L>

           &<:GGHMD>>INI

           */#/""!*+0HKKR

           .&G RHNMK:O>EE>=MHMA>2GBM>=

           0M:M>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 35 of
                                      434

                                                                          -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"006>L

            6*/#/""!*+

            .4A>K>BGMA>2GBM>=0M:M>L=B=RHN

            MK:O>E

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMK>F>F;>K

            *//&3"/,!K4KB@AM MA>FHLM

            BFIHKM:GMI>KLHGBL:<MN:EERMA><HNKMK>IHKM>K PAH

           F:D>LMA>H??B<B:EK><HK=0HRHNA:O>MH:EEHP:;>:M

           ?HKH;C><MBHGL ;><:NL>HNK<HNKMK>IHKM>K<:GGHMM:D>

           RHN:G=MA>H;C><MBHGLBFNEM:G>HNLER LH&MABGDBMBL

           A>EI?NEB?P>:EEM:D>:;K>:MA&LI>:DO>KRJNB<DER

           LH&A:O>MHM:D>:;K>:MA&MBLO>KRG:MNK:E

           6*/#/""!*+

           .!HRHNK><:EEMA>INKIHL>H?MK:O>EBG

           

           *0*/(,",;C><MBHG

           1%"4&1+"00&P>GMMHO:KBHNL=B??>K>GM

           MKBIL:KHNG=MA>PHKE=&A:O>;>>GMHHO>K

           <HNGMKB>L&MK:O>E >O>GGHP IKH;:;ER <HNGMKB>L

           >O>KRR>:K&=HLBQ<HNGMKB>L:FHGMA LHF>FHGMAL&

           =HGHMK>F>F;>KFRMKBIL&DGHP&=HIK>L>GM:MBHGL

           &F>MPBMA@HO>KGF>GMH??B<B:EL &F>MPBMAMA>#&:M

           HG>IHBGM &F>MPBMAI>HIE>BG:GNF;>KH?MAK>> E>MM>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 36 of
                                      434

                                                                          -:@>
            :@>G<B>L&?RHN:K>:LDBG@=B=&F>>MPBMA!:O>

            (E>BF:GMA>G GH

            6*/#/""!*+

            .6HNK>F>F;>KO>KRLI><B?B<:EERMHA:O>

            M:D>G:MKBIMHMA>2GBM>=0M:M>LBG

            *0*/(,",;C><MBHG

            6*/#/""!*+

            .%HP=HRHNK><:EEMA:MRHNP>K>

            MK:O>EEBG@MHMA>2GBM>=0M:M>LBG

           ,G>H?FRMKBILP:LMHF>>MI>HIE>:M

           *B<KHLH?M

           .4A>K>=B=RHNF>>MI>HIE>:M*B<KHLH?M

           *0*/(,",;C><MBHG

           1%"4&1+"00M*B<KHLH?M

           6*/#/""!*+

           .4A>K>:M*B<KHLH?MM*B<KHLH?M

           A>:=JN:KM>KL

           *0*/(,",;C><MBHG

           1%"4&1+"00M*B<KHLH?MA>:=JN:KM>KL

           *0*/(,"&:F@HBG@MHBGLMKN<MMA>

           PBMG>LLGHMMH:GLP>KMABL&MA:L:;LHENM>ERGHMABG@

           MH=HPBMAMABL<:L>:G=BMA:LGHMABG@MH=HPBMAMHIB<

           GNF;>KPAB<ARHN:K>INKIHKMBG@MABLEBG>H?

           JN>LMBHGBG@BLK>E:M>=MH%>A:L:EK>:=R:GLP>K>=RHNK

           JN>LMBHGMA:MA>=B=GHMF>>MPBMA*K(E>BF:G=NKBG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 37 of
                                      434

                                                                          -:@>
            :GRH?ABLMKBILMHMA>2GBM>=0M:M>LBG

            &;>EB>O> ;NMMA>K><HK=PBEELM:M>PA:MA>L:B=

            */#/""!*+*L*:KDH> &:FGHM@HBG@

            MH:K@N>PBMARHN:;HNMBM;NMP>P>K>@BO>GLHF>E>>P:R

            MHIK>LL!K4KB@AMLBGBMB:EK>IK>L>GM:MBHGH?PA:MA>

            =B=:G==B=GHM=H

            *0*/(,"G=A>:GLP>K>=RHNK

            JN>LMBHG;RM>EEBG@RHNMA:MA>F>MPBMAI>HIE>:M

            *B<KHLH?M1A:MBL>GHN@AIK>LLBG@

           6*/#/""!*+

           .&G =B=RHNMK:O>EMHMA>2GBM>=

           0M:M>L

           6>L

           .#HKPA:MINKIHL>

           &=HGHMK>F>F;>K:EEMA><HG?>K>G<>L

           >M<>M>K: MA:M&P>GMMHBG

           .4A>K>BGMA>2GBM>=0M:M>L=B=RHNMK:O>E

           MH

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMA:O>FRMK:O>E

           K><HK=LBG?KHGMH?F>&<:GGHM:GLP>KMA:M

           6*/#/""!*+

           .!B=RHNMK:O>EMH#EHKB=:BG

           "BMA>KMA>GHK &<:GGHMK>F>F;>K

           MA>>Q:<M=:M>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 38 of
                                      434

                                                                          -:@>
            .!B=RHNMK:O>EMH#EHKB=:BG

            *0*/(,",;C><MBHG

            1%"4&1+"00+H&=HGHM;>EB>O>

            &=B=

            6*/#/""!*+

            .4A>GRHNMK:O>EE>=MH#EHKB=:BGHK

             =B=RHNF>>MPBMA!:O>(E>BF:G

            6>L

            .4A:M=B=RHN=BL<NLLPBMA!:O>(E>BF:G

           4>=K:GD

           .4A>K>=B=RHN=KBGD

           IN;

           .4A>K>P:LMA>IN;EH<:M>=

           &=HGHMDGHP

           .&GPA:M<BMRP:LMA>IN;EH<:M>=

           &MP:LLHF>PA>K>MA:M!:O>=KHO>MH PBMA

           :GHMA>KI>KLHG<:EE>=-:NE%>GKR

           .!B=RHN=BL<NLL:GRMABG@K>E:M>=MH

           BM<HBG

           +H

           .!B=RHN=BL<NLL:GRMABG@K>E:M>=MH

           ;EH<D<A:BGHKMBF><A:BG

           +H

           *0*/(,",;C><MBHG

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 39 of
                                      434

                                                                          -:@>
            .%HPEHG@=B=RHNF>>MPBMA!:O>(E>BF:G

            ?HK

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMK>F>F;>K4>

            =K:GD:EHM

            6*/#/""!*+

            .4:LMA:MMA>HGERMBF>RHNL:P

            !:O>(E>BF:G

            +H

           .1A:MP:L:;:=JN>LMBHG0MKBD>MA:M

           4:LMA:MMA>HGERMBF>RHNL:P!:O>(E>BF:GHGMA:M

           MKBI

           6>L

           .!B=RHNMK:O>EMHMA>2GBM>=0M:M>LBG

           

           *0*/(,",;C><MBHG

           1%"4&1+"00L&L:B= 

           6*/#/""!*+

           .0HKKR R>L RHN:K>KB@AM>RHG=MA>

           MKBIMHMA>2GBM>=0M:M>LPA>K>RHNF>MPBMA

           !:O>(E>BF:G P:LMA>K>:GHMA>KMBF>MA:MRHNMK:O>EE>=

           MHMA>2GBM>=0M:M>L:G=F>MPBMA!:O>(E>BF:G

           +H

           .&G =B=RHNMK:O>EMHMA>2GBM>=

           0M:M>L
        Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 40 of
                                              434

                                                                                  -:@>
                     *0*/(,",;C><MBHG6HN<:G:GLP>K

                     1%"4&1+"006>L

                     6*/#/""!*+

                     .!B=RHNF>>MPBMA!:O>(E>BF:GBG

                     *0*/(,",;C><MBHG

                     1%"4&1+"00KB>?ER

                     6*/#/""!*+

Inc. Desig. -R       .4A>K>=B=RHNF>>MPBMA!:O>(E>BF:G
                            .4A>K>=B=RHNF>>MPBMA!:O>(E>BF:G

                     &G>>=MHH;LMKN<M        MABLBLHG>H?

                    MAHL>F:MM>KL

                    *0*/(,",D:R1ABLBL:F:MM>KMA:M

                    &:F@HBG@MHBGLMKN<MABFGHMMH:GLP>K%>PBEE

                    =BL<NLLMA>;:LBL?HKABLK>?NLBG@GHMMH:GLP>KBG

                    <:F>K:PBMAMA><HNKM&MBGOHEO>LBLLN>LH?G:MBHG:E

                    L><NKBMR:G=A>BLGHMI>KFBMM>=MH:GLP>KMA>L>

                    JN>LMBHGL%><:G@BO>:FHK>?NELHF>>QIE:G:MBHGMH

                    MA><HNKMBG<:F>K::G=MA><HNKM<:GF:D>:KNEBG@

                    ;:L>=HGMA:MBG<:F>K:=BL<NLLBHG

                     :G&CNLM<HGLNEMPBMAFR<EB>GM?HKHG>

                    L><HG=MHL>>B?&<:G@>MRHNLHF>LHKMH?:G:GLP>K

                    MA:MFB@AM;>H?:LLBLM:G<>MHRHN

                    */#/""!*+0NK>

                    *0*/(,")>MNL@HH??MA>K><HK=

                    */#/""!*+6HNP:GMMHM:D>:;K>:D

                    1%"3&!",$/-%"/$HBG@H??MA>K><HK=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 41 of
                                      434

                                                                          -:@>
            1A>MBF>BL

             0AHKMK>:D

            1%"3&!",$/-%"/$HBG@;:<DHGMA>

            K><HK=1A>MBF>BL1A:GDRHN

            6*/#/""!*+

            .!K4KB@AM

            1%"3&!",$/-%"/0HKKR LBK

            */#/""!*+,A FRFB<

            *0*/(,"4AR=HP>GHMK>:=;:<DMA:M

           E:LMJN>LMBHG;>?HK>MA>H;C><MBHG:G=P><:GM:D>BM

           ?KHFMA>K>

           */#/""!*+<MN:EER ;>?HK>P>@H

           MA>K> &CNLMP:GMMH=HN;E>;:<DHGLHF>MABG@&E>?M

           HNMBGBMB:EER PAB<ABL>:KEB>KRHNMHE=F>MA:MRHN

           BGLMKN<M>=>FIEHR>>LAHPMHLMHK>MABG@LHG<EHN=

           LMHK:@>=>OB<>L=HRHNK><:EEMA:M

           *0*/(,",;C><MBHG

           1%"4&1+"00+H MA:MBLGHMPA:M

           &L:B=

           6*/#/""!*+

           .4A:M=B=RHNL:R

           &L:B=&BGLMKN<M>FIEHR>>LMH=HMABG@L

           :G=MABG@LA:II>G>=

           .4AHP>K>MAHL>>FIEHR>>L

           &=HGHMK>F>F;>KMA>G:F>LH?:EEFR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 42 of
                                      434

                                                                          -:@>
            >FIEHR>>L

            .!HRHNK>F>F;>KMA>G:F>LH?MA>

            >FIEHR>>LMA:M=>:EMPBMA<EHN=LMHK:@>=>OB<>L

            +H

            . EHN=LMHK:@>L>KOB<>L

            +H

            . EHN=<HFINMBG@L>KOB<>L

            +H

            .&GRHNF>MPBMA!:O>(E>BF:G

           *//&3"/,,;C><MBHG

           -:NE: PHNE=RHNIE>:L>@H;:<DLP>

           K>JN>LM>= MA>K>P:L:I>G=BG@JN>LMBHG:MPAB<AIHBGM

           MA>K>P:L:K>JN>LMMHM:D>:;K>:D4>:LD>=MA:MMA>

           E:LMJN>LMBHG;>K>:=;:<D&PBEEK>:=;:<D;NM

           &PHNE=:LDMA><HNKMK>IHKM>KMH<HG?BKF1A>G>QMMH

           E:LMJN>LMBHG!B=RHNF>>MPBMA!:O>(E>BF:GBG

           1A>PBMG>LLKB>?ER+>QMJN>LMBHG4A>K>

           =B=RHNF>>MPBMA!:O>(E>BF:G1A:MBLPA>K>MA:M

           MHHDNI4>PHNE=EBD>MH@H;:<DLHBMBL<E>:KHGMA>

           K><HK=PA:MA>BL:G=BLGHM:GLP>KBG@0HB?RHN<:G

           K>:=BM4>P:GMMH=HMABL?HKF:EER1A:MBLPA>K>P>

           P>K>

           */#/""!*+*K/BO>KH MABLBLFR

           =>IHLBMBHG&LMKBD>MA>JN>LMBHG4>PBEE@H;:<D

           GHP
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 43 of
                                      434

                                                                          -:@>
            *//&3"/,+H *K#K>>=F:G

            */#/""!*+*K/BO>KH MABLBLFR

            =>IHLBMBHG&:LDMA>JN>LMBHGL&PHNE=EBD>MH:LD

            *//&3"/,*K#K>>=F:G RHNG>>=MH

            A>:KF>HGMABL1A>K>P:L:I>G=BG@JN>LMBHG4>

            :LD>=?HK:G=MHHDMBF>MH:==K>LLBM4>P:GMMH

            K>LIHG=LHBMBL<E>:KMHMA><HNKMPA:MHNKIHLBMBHGBL

            HGRHNKI>G=BG@JN>LMBHG-E>:L> E>MNL@H;:<D:G==H

            BMKB@AM

           */#/""!*+&=HLMKBD>MA>JN>LMBHG

           :G=RHN<:GM:D>NIFRLMKBDBG@MA>JN>LMBHGPBMAMA>

           <HNKM *K/BO>KH

           *//&3"/,4>:K>GHM@HBG@MH

           */#/""!*+*K/BO>KH &:FGHM@HBG@

           MH<HGMBGN>:K@NBG@

           *//&3"/,*K#K>>=F:G MA>K>P:L:

           I>G=BG@JN>LMBHG4>:LD>=?HKI>KFBLLBHGMH;K>:DMH

           :==K>LLMA>I>G=BG@JN>LMBHG&?RHN:K>PBMA=K:PBG@

           MA>EBG>H?JN>LMBHGBG@ &:FI>K?><MERA:IIRMH@HHG

           ;NM&:FGHM@HBG@MHA:O>:GNG<E>:KK><HK=%>BL

           IK>I:K>=MH:GLP>KMA>E:LMJN>LMBHG

           */#/""!*+&GMA>BGM>K>LMLH?MBF>

           E>MNL@H;:<D :GRHNIE>:L>K>:=;:<DMA>JN>LMBHG

            1A><HNKMK>IHKM>KK>:=;:<D:LK>JN>LM>=

           1%"4&1+"00&A:=:OB=>H<HG?>K>G<>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 44 of
                                      434

                                                                          -:@>
            PABE>BG+>P6HKDMA:MBGOHEO>=*K(E>BF:G

            6*/#/""!*+

            .4A>K>P:L*K(E>BF:GPA>GRHNOB=>H

            <HG?>K>G<>=ABF

            "Q:<MERPA>K>&=HGHMDGHP

            .%HPEHG@=B=MA>OB=>H<HG?>K>G<>E:LM

            -KH;:;ER FBGNM>L

            .!B=MA>OB=>H<HG?>K>G<>A:O>:GRMABG@MH

            =HPBMABM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"001A>OB=>H<HG?>K>G<>P:L

           GHM:;HNMBM<HBG

           6*/#/""!*+

           .!B=MA>OB=>H<HG?>K>G<>A:O>:GRMABG@MH

           =HPBMA;EH<D<A:BGHKMBF><A:BGM><AGHEH@R

           *0*/(,",;C><MBHG

           1%"4&1+"001A>OB=>H<HG?>K>G<>P:L

           GHM:;HNMMAHL>MHIB<L

           6*/#/""!*+

 R         .4:LMA>K>:GRHG>>EL>HGMA><HG?>K>G<>

           6>L

           .4AH>EL>P:LHGMA><HG?>K>G<>

           &<:GGHM:GLP>KMA:M1A:MBLI:KMH?

           PA:MP>G>>=MH

           .,D:R
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 45 of
                                      434

                                                                          -:@>
  R         1A:MBG=BOB=N:EA:LGHMABG@MH=HPBMA
              1A:MBG=BOB=N:EA:LGHMABG@MH=HPBMA

            BM<HBGBG:GRP:R
              BM<HBGBG:GRP:R

            .
              . :GRHNM>EEF>MA>LN;C><MF:MM>KH?MA>

            =BL<NLLBHG
              =BL<NLLBHG

            +H
              +H

            *0*/(,"1A:MBLMA>BG<:F>K:I:KM

            6*/#/""!*+

            .4:LMA>K>:GRHMA>KMBF>BGMA:MRHN

            F>MPBMA!:O>(E>BF:G

           +H

           .&G =B=RHNF>>MPBMA!:O>

           (E>BF:G    LMKBD>MA:M&G P:LMA>K>:GRHMA>K

           MBF>PA>GRHNMK:O>EE>=MHMA>2GBM>=0M:M>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP&MK:O>E:

           EHM&<:GGHMK>F>F;>K>Q:<MERPA>K>&MK:O>EPA>G

           &A:O>;>>GMHMA>20F:GRMBF>L&=HGHMDGHPPA>G

           &A:O>:G=A:O>GHM;>>G:MI:KMB<NE:KMBF>L

           6*/#/""!*+

           .&G =B=RHNMK:O>EMHMA>2GBM>=

           0M:M>L

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG &MK:O>EE>=:EHM

           &=HGHMK>F>F;>K

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 46 of
                                      434

                                                                          -:@>
            .!B=RHNMK:O>EMH#EHKB=:BG

            +H

            .!B=RHNMK:O>E:EHM;>MP>>G

            &MK:O>EE>=:EHM

            .        :G=

            *0*/(,",;C><MBHG

            1%"4&1+"00&A:O>MK:O>EE>=:EHM:EE

            FREB?>

            6*/#/""!*+

           .&G =B=RHNMK:O>EMHMA>2GBM>=

           0M:M>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&;>EB>O>LH&=B=GHM

           MK:O>EMH#EHKB=: AHP>O>K

           6*/#/""!*+

           .4AR=B=RHNMK:O>EMHMA>2GBM>=0M:M>L

           BG

           *0*/(,",;C><MBHG

           1%"4&1+"00&MK:O>E:EHM

           &IK>L>GM>=<HG?>K>G<>L&F>>M@HO>KGF>GMH??B<B:EL

           &=H:EELHKMLH?MABG@L

           6*/#/""!*+

           .!B=RHNF>>MPBMA!:O>(E>BF:GBG

           -ARLB<:EER GH

           .!B=RHNF>>MPBMA!:O>(E>BF:GOB:OB=>H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 47 of
                                      434

                                                                          -:@>
            <HG?>K>G<>BG

            6>L

            .%HPF:GRMBF>LBG=B=RHNF>>MPBMA

            !:O>(E>BF:GOB:OB=>H<HG?>K>G<>

            *HK>MA:G&<:GK>F>F;>K

            .IIKHQBF:M>ERAHP?K>JN>GMERPHNE=RHN

            F>>MPBMA!:O>(E>BF:GOB:OB=>H<HG?>K>G<>BG

            1A>K>P:LHGER:LF:EE:FHNGMH?MBF>

            ;>?HK>A>=B>=

           .%HPF:GRMBF>L:P>>D:IIKHQBF:M>ERPHNE=

           RHNF>>MPBMA!:O>(E>BF:GOB:OB=>H<HG?>K>G<>BG

           *0*/(,",;C><MBHG

           1%"4&1+"00+HMF:GR!:O>=B>=%>

           P:LLB<D

           6*/#/""!*+

           .!:O>=B>=BGIKBEH?

           6>L

           .0H ;>MP>>G':GN:KRH?:G=IKBEH?

            :IIKHQBF:M>ERAHPF:GRMBF>L=B=RHNF>>MPBMA

           !:O>(E>BF:GOB:OB=>H<HG?>K>G<>

           +HMF:GR

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .1>GMBF>L

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 48 of
                                      434

                                                                          -:@>
            1%"4&1+"00)>LL

            6*/#/""!*+

            .#BO>MBF>L

            &=HGHMK>F>F;>K

            .0HF>:FHNGMH?MBF>L;>MP>>G?BO>:G=M>G

            MHMA>;>LMH?RHNKK><HEE><MBHG

            *0*/(,",;C><MBHG

            1%"4&1+"000HF>PA>K>:KHNG=E>LLMA:G

            M>G

           6*/#/""!*+

           .,D:R&G =B=RHNF>>MOB:OB=>H

           <HG?>K>G<>PBMA!:O>(E>BF:G

           6>L

           .IIKHQBF:M>ERAHPH?M>GPHNE=RHNF>>M

           OB:OB=>H<HG?>K>G<>PBMA!:O>(E>BF:GBG

           *0*/(,",;C><MBHG

           1%"4&1+"00!:O>P:LFR;>LM?KB>G=4>

           M:ED>=:EHM

           6*/#/""!*+

           .0H HG<>:P>>D

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK><HEE><M&=H

           GHMMKRMHMABGD:;HNMMA>L>MABG@L&PHKD&PHKD

           AHNKP>>DLMMA>FHF>GMFRPHKDBLAHNKL

           &PHKDE>LLGHPMA:G&NL>=MH&<:EEI>HIE> &=H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 49 of
                                      434

                                                                          -:@>
            MABG@L &IKH=N<>&=HGHMLBMMA>K>K><HK=BG@:G=

            K>F>F;>KBG@PA:M&=B=&=HGHMK>F>F;>KAHPF:GR

            MBF>L&A:O><:EE>=FRFHMA>K&=HGHMK>F>F;>KAHP

            F:GRMBF>L&A:O>M:ED>=MHFRPB?>&=HGHMK>F>F;>K

            :GRH?MA>L>MABG@L

            6*/#/""!*+

            .&G ;>LB=>L?KHFMA>OB=>H

            <HG?>K>G<>P>A:O>CNLM=BL<NLL>=MA:MRHNP:GMMHM:ED

            MHMA><HNKM:;HNMBG<:F>K: AHPF:GRMBF>L=B=RHN

           F>>MOB:OB=>HPBMA!:O>(E>BF:G

           &=HGHMDGHP

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .&LBML:?>MHL:R:EHM

           *0*/(,",;C><MBHG

           1%"4&1+"00!>?BG>:EHM

           6*/#/""!*+

           .6HNL:B=RHNF>MPBMAABF:EHMBG

           4:LMA>?K>JN>G<RH?F>>MBG@PBMA!:O>(E>BF:GOB:OB=>H

           <HG?>K>G<>BGMA>L:F>:LBMP:LBG

           *0*/(,",;C><MBHG1A>K><HK=PBEE

           LI>:D?HKBML>E?

           */#/""!*+)>MF>LMKBD>MA:M:G=

           LM:KM:@:BG

           .IIKHQBF:M>ERAHPF:GRMBF>L=B=RHNF>>M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 50 of
                                      434

                                                                          -:@>
            PBMA!:O>(E>BF:GOB:OB=>H<HG?>K>G<>BG

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHP

            6*/#/""!*+

            .*HK>MA:GM>GMBF>L

            *0*/(,",;C><MBHG

            1%"4&1+"00&;>EB>O>LH

            6*/#/""!*+

            .*HK>MA:GMBF>L

           &=HGHMDGHP

           .&LBML:?>MHL:RBMP:LLHF>PA>K>

           ;>MP>>GM>GMHMBF>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+

           . HNE=BMA:O>;>>GFHK>MA:GMBF>L

           6*0*/(,",;C><MBHG<:EEL?HK

           LI><NE:MBHG

           */#/""!*+-E>:L> *L*:KDH> EBFBM

           RHNKH;C><MBHGLMH?HKF

           *//&3"/,-KH<>>=

           1%"4&1+"00 HNE=MABL;>MA> :KM>LB:G

           :;LMK:<MBHG :IKHC><MBHG R>L MA:MBL:IHLLB;BEBMR

           1A>IHLLB;BEBMRH?FRINMMBG@FRA:G=MAKHN@AMA>P:EE

           >QBLML&LMA:M:IKH;:;BEBMRGH-E>:L>:LDF>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 51 of
                                      434

                                                                          -:@>
            LHF>MABG@MA:MBLGHM?EN??R

            6*/#/""!*+

            .4:LBMIKH;:;E>MA:MRHNLIHD>PBMA!:O>

            (E>BF:GFHK>MA:GMBF>LBG

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHP&MP:L

            =>?BGBM>ERFHK>MA:GMBF>L

            6*/#/""!*+

            .&G AHPF:GRMBF>L=B=RHNF>>MPBMA

           !:O>(E>BF:GOB:OB=>H<HG?>K>G<>

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG >O>GE>LL

           K><HEE><MBHG&=HGHMDGHP

           6*/#/""!*+

           .*HK>MA:GMBF>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+

           .!HRHNA:O>:GRK><HEE><MBHG:M:EEH?

           MA>?K>JN>G<RBGPAB<ARHNM:ED>=MH!:O>(E>BF:GOB:

           OB=>H<HG?>K>G<>BG

           &<HNE=GHM>O>G:GLP>KMA>K><HEE><MBHG

           H?PA:M&A:O>M:ED>=MHFRPB?>BGMA>E:LMLBQFHGMAL

           LH GH4A:M&=HK><HEE><MBL&PKHM>I:I>KLMA:M

           PBEE@HMHI:M>GME:LMFHGMA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 52 of
                                      434

                                                                          -:@>
            .!H<MHK

            &PKHM>I:I>KLMA:MA:O>;>>G

            IN;EBLA>=E:LMFHGMA1A:M&K><HEE><M&K><HEE><MFR

            PHKD

            .&?RHN<HNE=MKRMH:GLP>KMA>JN>LMBHG

            MA:MBLIHL>= MA:MPHNE=A>EINLFHO>JNB<D>K!B=RHN

            LI>:DPBMA!:O>(E>BF:GOB:OB=>H<HG?>K>G<>BG

            KHNMBG>ER

            *0*/(,",;C><MBHG

           1%"4&1+"00!>?BG>MA>PHK=KHNMBG>

           6*/#/""!*+

           .LRHNNG=>KLM:G=MA>PHK=KHNMBG>

           *0*/(,",;C><MBHG

           1%"4&1+"00&A:O>:?NEEOHENF>

           <HIRH?MA>,Q?HK=@K>:M>K=B<MBHG:KR/HNMBG>BL

           :<MN:EER:;HNMI:@>LPHKMAH?=>?BGBMBHGL@HBG@;:<D

           MHMA>MA<>GMNKR4AB<AI:KMB<NE:KNL>H?KHNMBG>

           PHNE=RHNEBD>F>MHA:O>LBGI>KKHNM> :LBG:L:

           =BK><M>= LHF>MABG@MA:MBLGHM:<HFFHGNL>=PHK= HK

           PA:M

           6*/#/""!*+

           .)>MNLCNLMCNFIMH!HRHNK><:EE

           AHPF:GRMBF>LRHNLIHD>PBMA!:O>(E>BF:GOB:OB=>H

           <HG?>K>G<>BG

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 53 of
                                      434

                                                                          -:@>
            1%"4&1+"00LPBMA>O>KRHG>>EL> &=H

            GHMK><:EE>Q:<M=>M:BEL&=HGHM>O>GK>F>F;>KAHP

            F:GRMBF>L&A:O>LIHD>GMHFRFHMA>KBGMA>E:LMLBQ

            FHGMAL

            6*/#/""!*+

            .6HN=B=GHM<K>:M>BM<HBGPBMARHNKPBMA

            FHMA>K =B=RHN

            *0*/(,",;C><MBHG*HO>MHLMKBD>

            6*/#/""!*+

           .&G =HRHNK><:EEAHPF:GRMBF>LRHN

           F>MPBMA!:O>(E>BF:GOB:OB=>H<HG?>K>G<>

           *0*/(,",;C><MBHG

           1%"4&1+"001A>L:F>:GLP>K:IIEB>L

           PBMA>O>GE>LLK><HEE><MBHG&MABGD:;HNMFRPHKD

           ->HIE>=HGHM:EP:RLEBD>BM ;NM&=HGHMMABGD:;HNM

           I>HIE>

           6*/#/""!*+

           .&G =HRHNK><:EEAHPF:GRMBF>LRHN

           A:=OB=>H<HG?>K>G<>LPBMA!:O>(E>BF:G

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG &=HGHMK><HEE><M

           >Q:<MERAHPF:GRMBF>L

           6*/#/""!*+

           .4A>G=B=RHN?BKLMF>>M!:O>(E>BF:G

           "Q:<MERPA>G &=HGHMK>F>F;>K!>?BG>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 54 of
                                      434

                                                                          -:@>
            F>>M

            .4A:MR>:K

            -ARLB<:EERF>>M F>>MHGEBG> F>>M;R

            > F:BE F>>M;ROB=>H<HG?>K>G<> F>>M;RIAHG>

            .4A>GP>K>RHN?BKLMBGMKH=N<>=MH!:O>

            (E>BF:GBG:GR<:I:<BMR BGPA:MR>:K

            &P:LG>O>KBGMKH=N<>=MH!:O>(E>BF:G

            .%HP=B=RHN<HF>MHF>>M!:O>(E>BF:GBG

            :GR<:I:<BMR

           4>LM:KM>=M:EDBG@HGF:BEBG@EBLML &/

           <A:ML:G=HMA>KLN<AMABG@L

           .4A>G=B=RHN;>@BGMA:M<HGO>KL:MBHG

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>K>Q:<MER

           &MA:L;>>GR>:KL

           6*/#/""!*+

           .!HRHNK>F>F;>KMA>R>:K

           +H

           .%HP=B=RHN<HFFNGB<:M>=NKBG@MA:MMBF>

           *0*/(,",;C><MBHGO:@N>

           1%"4&1+"00&G"G@EBLA

           6*/#/""!*+

           .#KHF P>K>RHNBGK>@NE:K<HGM:<M

           PBMA!:O>(E>BF:G

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 55 of
                                      434

                                                                          -:@>
            1%"4&1+"00!>?BG>K>@NE:K

            6*/#/""!*+

            .,G<>:P>>D

            +H

            .1PB<>:P>>D        HG<>:FHGMA

            *HLMEBD>ER R>L

            .%HPP>K>RHNBG<HGM:<MPBMAABF

            :IIKHQBF:M>ERHG<>:FHGMABG

            4>LIHD>HO>K&/         P>LIHD>HO>KOB=>H

           <A:ML P>LIHD>HO>K<A:ML

           .6HNL:B=<A:ML :GRHN=KBEE=HPGHG

           MA:M?HKF>PA:M=HRHNF>:G;R<A:ML

           !B@BM:E<A:MF>=B:&/ BL:G>Q:FIE>H?

           :G>:KER<A:M?HKF:M&MA:LKHHFL LHF>H?MAHL>:K>

           IN;EB< LHF>H?MAHL>:K>IKBO:M>4HNE=RHNEBD>F>MH

           =>M:BEMA>?HKF:MH?MA>IKHMH<HE:GRFHK>

           .+H ;NMPHNE=&EBD>RHNMH=KBEE=HPG:

           EBMME>FHK>HGMA>MRI>H?<A:ML;>LB=>L&/ MA:MRHN

           NL>=MH=BL<NLLPBMA!:O>(E>BF:G

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>K1A>L>

           MABG@LA:O><A:G@>=

           6*/#/""!*+

           .!HRHNA:O>:<<>LLMH:GRH?MA>L>&/

           <A:ML
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 56 of
                                      434

                                                                          -:@>
            +H MA:MBLMA>G:MNK>H?&/ 

            .!HRHNA:O>:<<>LLMH:GRH?MA>L>OB=>H

            <A:ML

            +H MA:MBLG:MNK>H?OB=>H<A:ML

            .!HRHNA:O>:<<>LLMH:GRH?MA>HMA>K

            <A:M?HKFLMA:MRHNNL>=MH=BL<NLLPBMA!:O>(E>BF:GBG

            

            +H P>F:=>LNK>P>M:ED>=HGMABG@LMA:M

            P>K><A:ML

           .*>:GBG@MA>K>P:LGHK><HK=

           *>:GBG@MA:MMA>K>P:LGHK><HK=

           .&G =B=MA>?K>JN>G<RPBMAPAB<ARHN

           LIHD>MH!:O>(E>BF:GBG<K>:L>

           +H

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .!B=BMLM:RMA>L:F>

           &=HGHMA:O>:K><HK=H?AHPF:GRMBF>L

           &LIHD>MHABFL:LM:MBLMB<B:G &PHNE=A:O>MH

           :G:ERL>MA:M:L:ARIHMA>LBLM:DBG@HG>O>KLNLMA>

           HMA>K ;NM&=HGHMA:O>MA>=:M:

           .!B=RHNLI>:DMH!:O>(E>BF:G

           :IIKHQBF:M>ERHG<>:FHGMABG

           &A:O>GHB=>:AHPF:GRMBF>L&LIHD>MH

           :GRHG>:M:GRH?MAHL>MBF>L3>KRLBFIER &:FGHM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 57 of
                                      434

                                                                          -:@>
            :;E>MH:GLP>KMA:M

            .6HNA:O>GHK><HEE><MBHGH?MA>?K>JN>G<R

            PBMAPAB<ARHNLIHD>MH!:O>(E>BF:GBGBLMA:M

            <HKK><M

            *0*/(,",;C><MBHG

            1%"4&1+"00&K>F>F;>KM:EDBG@MH

            I>HIE>&=HGHMK>F>F;>K>:<AH?MA>M:EDL

            6*/#/""!*+

            .NM&:F:LDBG@RHNMH@BO>F>RHNK;>LM

           K><HEE><MBHGH?MA>?K>JN>G<RPBMAPAB<ARHNLIHD>MH

           !:O>(E>BF:GBG

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMA:O>:;>LM

           K><HEE><MBHG&=HGHMMABGD:;HNMI>HIE>MA:MP:R

           &MABGD:;HNMGNF;>KL&MABGD:;HNM:E@HKBMAFL

           &K>F>F;>KMAHL>

           6*/#/""!*+

           .%HPH?M>G=B=RHNLI>:DMH!:O>(E>BF:G

           BG

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>K1A>

           L:F>MABG@:IIEB>L1A>L:F>MABG@PBEE:IIERMH

           6*/#/""!*+

           .%HPH?M>G=B=RHNLI>:DMH!:O>(E>BF:G

           BG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 58 of
                                      434

                                                                          -:@>
            *0*/(,",;C><MBHG
            1%"4&1+"00&=HGHMDGHP
            6*/#/""!*+
            .%HPH?M>G=B=RHNLI>:DMH!:O>(E>BF:G
            BG
            &=HGHMDGHP
            .%HPH?M>G=B=RHNLI>:DMH!:O>(E>BF:G
            BG
            &=HGHMDGHP
           .%HPH?M>G=B=RHNLI>:DMH!:O>(E>BF:G
           BG
           +HMM>KKB;ERFN<A
           .4A>G&L:RLI>:DMH!:O>(E>BF:G
           &:ELHF>:GM>E>IAHGB<:EER!H>LMA:M<A:G@>:GRH?
           RHNK:GLP>KL
           +H &=HGHMNL>M>E>IAHG>FN<A:M:EE
           .!B=MA>K><HF>:MBF>PA>GRHN;>@:G
           > F:BEBG@!:O>(E>BF:G
           *0*/(,",;C><MBHG
           1%"4&1+"006>L
           6*/#/""!*+
           .4A>G=B=RHN;>@BG> F:BEBG@!:O>
           (E>BF:G
           &=HGHMK>F>F;>K
           .!B=RHN> F:BE!:O>(E>BF:GBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 59 of
                                      434

                                                                          -:@>
            &PHNE=A:O>MHL:RFHLMEBD>ER R>L

            .!B=RHN> F:BE!:O>(E>BF:GBG

            !>?BGBM>ERR>L

            .4A:M:;HNM

            &=HGHMK>F>F;>K:EEMA>MHIB<LMA:M

            &LIHD>MH!:O>BG&=B==BL<NLL:<HHDB>K><BI>

            .4AR=B=RHNL:R=>?BGBM>ERR>LBG

            ><:NL>MA>K>P:L:<HHDB>K><BI>

            =BL<NLL>=BGMA:MP:LIN;EBLA>=

           .4AHL><HHDB>K><BI>P:LBM

           *BG>

           .4AR=B=RHN=BL<NLL:<HHDB>K><BI>PBMA

           !:O>(E>BF:G

           *0*/(,",;C><MBHG

           1%"4&1+"00%>P:L:LDBG@:;HNM

           <HHDB>L

           6*/#/""!*+

           .!B=RHN> F:BE!:O>(E>BF:GBG

           6>L

           .!HRHNDGHPAHP?K>JN>GMERRHN> F:BE>=

           ABFBG

           +H

           .!HRHNDGHPPA:MRHNLIHD>:;HNMPBMA

           !:O>(E>BF:GBG

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 60 of
                                      434

                                                                          -:@>
            1%"4&1+"00&=HGHMDGHPMA>K:G@>H?

            MHIB<L&LIHD>MH!:O>BG GH

            6*/#/""!*+

            .!B=RHNLI>:DMH!:O>(E>BF:G            =B=RHN

            > F:BE!:O>(E>BF:GBG

            6>L

            .#KHFNGMBE PA:M> F:BEL=B=

            RHNNL>MH<HFFNGB<:M>PBMA!:O>(E>BF:G

            &=HGHMK>F>F;>K

           .!HRHNK>F>F;>KMA>> F:BELRHNNL>=MH

           <HFFNGB<:M>PBMA!:O>(E>BF:G

           +H

           .!HRHNK>F>F;>KMA>> F:BEL!:O>(E>BF:G

           NL>=

           +H &A:O>NL>=FNEMBIE>> F:BE

           :==K>LL>L &=HGHMMKR:G=K>F>F;>KMA>F

           .&G =B=RHN> F:BE!:O>(E>BF:G

           6>L

           .&G =B=RHN> F:BE!:O>(E>BF:G

           6>L

           .!HRHNK>F>F;>KMA>?K>JN>G<RH?> F:BEL

           MA:MRHN    LMKBD>MA:M!HRHNK>F>F;>KAHP?K>JN>GMER

           RHN> F:BE>=!:O>(E>BF:GBG

           +H

           .!HRHNK>F>F;>KMA>?K>JN>G<RPBMAPAB<A
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 61 of
                                      434

                                                                          -:@>
            RHN> F:BE>=!:O>(E>BF:GBG

            +H

            .!HRHNK>F>F;>KPA:MRHNLIHD>MH!:O>

            (E>BF:GBG:G=:;HNM

            @:BG &LIHD>PBMA:GNF;>KH?MHIB<L

            &=HGHMMKR:G=K><HEE><M:EEMA>MABG@LMA:M:K>

            LIHD>G:;HNM

            .4A:M<:GRHNK><HEE><M

            *0*/(,",;C><MBHG

           1%"4&1+"004>LIHD>:;HNMABLIKH;E>FL

           :G=@HBG@BGMHAHLIBM:EJNBM>:GNF;>KH?MBF>L

           6*/#/""!*+

           .&G       =B=RHN> F:BE!:O>(E>BF:GBG

           

           6>L

           .!B=RHN> F:BE!:O>(E>BF:GBG

           &=HGHMK>F>F;>K

           .!HRHNK>F>F;>KMA>?K>JN>G<RPBMAPAB<A

           RHN> F:BE>=!:O>(E>BF:GBG

           +H

           .!HRHNK>F>F;>KMA>MHIB<LRHN> F:BE>=

           !:O>(E>BF:G:;HNMBG

           +H

           .+HG>H?MA>F

           &DGHPMA>K>P>K>:<HNIE>H?MABG@L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 62 of
                                      434

                                                                          -:@>
            :;HNM<HFI:GB>LMA:M&P:GM>=MHL>MNI;NMGHG>H?MA>F

            BLGHM=H&K>F>F;>KMA>F:EE GH

            .4AB<A<HFI:GB>L=HRHNK><:EELI>:DBG@

            :;HNMBGPBMA!:O>(E>BF:G

            &LIHD>MHABF:;HNM:<HFI:GR<:EE>=

            !>LB@G;R%NF:GMA:MA>P:LLNIIHL>=MHL>MNI?HKF>

            PAB<AA>=B=GHM>G=NII:RBG@?HK

            .4A:M=HRHNF>:GI:RBG@?HK

            1HL>MNI:<HFI:GRRHNG>>=MHI:R?HK

           BM1A>>Q<A:G@>H?@HH=L:G=L>KOB<>L@>G>K:EER

           K>JNBK>LMA>>Q<A:G@>H?FHG>R1A>>Q<A:G@>H?FHG>R

           BL@>G>K:EER<HGLB=>K>=I:RBG@?HKLHF>MABG@

           .!HRHNF>:G:K>@BLMK:MBHG

           6>L

           .!B=RHN> F:BE!:O>(E>BF:G:;HNM

           MBF><A:BG ;EH<D<A:BGHKBM<HBGBG

           6>L

           .%HP=B=RHN<HFFNGB<:M>PBMA!:O>

           LMKBD>MA:M4A:MF>MAH==B=RHNNL>MH<HFFNGB<:M>

           PBMA!:O>(E>BF:GBG:;HNM;EH<D<A:BG

           0HKKR  GH &=B=GHM&P:L

           MABGDBG@:;HNMMA>E:LMR>:K LHKKR :;HNMMA:M

           &MAHN@AMBMP:L&G GH &=B=GHMM:ED

           :;HNM;EH<D<A:BGHKMBF><A:BGHK:GRMABG@EBD>MA:MPBMA

           !:O>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 63 of
                                      434

                                                                          -:@>
            .&G =B=RHNLI>:DPBMA!:O>(E>BF:G

            G=PA>G&L:RLI>:D &P:GMRHNMHBG<EN=>:GR?HKF

            H?<HFFNGB<:MBHG=HP>NG=>KLM:G=>:<AHMA>K

            6>L

            .&G =B=RHNLI>:DPBMA!:O>(E>BF:G

            :;HNM;EH<D<A:BG MBF><A:BGHKBM<HBG

            &=HGHMK>F>F;>KMA>?BKLMMBF>MA:M

            &:<MN:EERF>GMBHG>=BMMH!:O>

            .&M<HNE=A:O>;>>GBG

           &MP:L>BMA>KHK1A>K>L:G

           > F:BEMA:M&;>EB>O>I>HIE>A:O>:<HIRH?&=HGHM

           K>F>F;>KMA>=:M>H?MA>> F:BE

           .4A:M=H>LMA>> F:BEL:R

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>KPA:MMA>

           > F:BEL:RL&MABGDBMLI>:DL?HKBML>E?

           6*/#/""!*+

           .4A:MP:LMA>INKIHL>H?> F:BEBG@!:O>

           (E>BF:G

           *0*/(,",;C><MBHG

           1%"4&1+"00&P:GM>=!:O>MH@BO>F>

           LHF>A>EIPBMA>=BMBG@:I:I>K

           6*/#/""!*+

           .4AB<AI:I>K

           &GMABLI:KMB<NE:K> F:BEMA:M&;>EB>O>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 64 of
                                      434

                                                                          -:@>
            RHN:K>L:RBG@ MA>BM<HBGPABM>I:I>K

            .1A>=:M>H?MA:M> F:BE          =H>LBMA>EI

            RHNK><HEE><MB?&M>EERHNMA:MMA:M> F:BEBLBG*:K<A

            H?

            6>L &PBEE;>EB>O>MA:MMA:MBLMA>

            =:M> MA>G :G=MA>=:M>:;HNMMA:MP:L*:K<AB?

            MA:MBLPA:MBML:RL

            .4:LMA:M> F:BEMA>O>KR?BKLMMBF>RHN

            LIHD>MH!:O>(E>BF:G:;HNMBM<HBG ;EH<D<A:BGHK

           MBF><A:BGM><AGHEH@R

           *0*/(,",;C><MBHG

           1%"4&1+"00&A:=GHM;>>GM:EDBG@MH

           !:O>;>?HK>MA:MIHBGM LHMAHL>MHIB<LP>K>GHM

           LHF>MABG@&=BL<NLL>=PBMA!:O>;>?HK>MA:M> F:BE

           6*/#/""!*+

           .0HMA:MP:LMA>O>KR?BKLMMBF>RHNLIHD>

           MH!:O>(E>BF:G:;HNMBM<HBG ;EH<D<A:BGHKMBF><A:BG

           M><AGHEH@R

           &=HGHMK><HEE><MPA>MA>K&M:ED>=:;HNM

           E:<D+>M:M:GRIHBGM;>?HK>MA:M &=HGHMDGHP

           .4A:MBLE:<D+>M

           E:<D+>MBL:K>L>:K<AIKHC><M&LM:KM>=

           BG

           .4A:M:;HNM

           !B@BM:E>E><MKHGB<<:LA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 65 of
                                      434

                                                                          -:@>
            .&:FEHHDBG@:M:G> F:BE?KHFRHNMH

            !:O>(E>BF:G=:M>=MA*:K<A1A>LN;C><MBL

            #HKP:K==>?HKF:MBHG:G=MA>=B??B<NEMB>LH?E:PHGMA>

            BGM>KG>M&MLM:M>L&G>>=RHNKA>EI>=BMBG@:

            I:I>K&:F@HBG@MHK>E>:L>E:M>KMABLR>:K&A:O>

            ;>>GPHKDBG@HG:G>P?HKFH?>E><MKHGB<FHG>R BM :LA

            BM<HBGG=MA>> F:BE@H>LHG&LMA:MMA>

            > F:BERHN:K>K>?>KKBG@MH

            *0*/(,",;C><MBHG&?RHNP:GMMH

           LAHPABF:=H<NF>GM RHN<:GLAHPABF:=H<NF>GM

           */#/""!*+7:A:K:A IE>:L>EBFBMRHNK

           H;C><MBHGMH?HKF

           *0*/(,"&?RHNP:GMMHLAHPABF:

           =H<NF>GM LAHPABF:=H<NF>GM

           6*/#/""!*+7:A:K:A MABLBLFR

           =>IHLBMBHG

           *0*/(,"&?RHNP:GMMHA:O>ABF

           IK>LNF>

           1%"4&1+"00 :G&L>>MA>=H<NF>GM

           *0*/(,"           MA:MPA:MRHN:K>

           K>:=BG@HG:L<K>>GBL:<<NK:M>:G=<HKK><M MA>GA><:G

           F:D>MA:MIK>LNFIMBHGB?RHN:LDABFMH ;NMB?RHN:K>

           @HBG@MH;>K>?>K>G<BG@:=H<NF>GMRHNA:O>MHLAHPMA>

           PBMG>LLMA>=H<NF>GM

           */#/""!*+1A:GDRHN 7:A:K:A
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 66 of
                                      434

                                                                          -:@>
            .&LMA:MMA>> F:BEMA:MP>:K>K>?>KKBG@

            MH

             :G&L>>MA>> F:BE

            .+HM:MMABLMBF>

            *0*/(,",;C><MBHG&:F@HBG@MH

            BGLMKN<MABFGHMMH:GLP>KMA>JN>LMBHG

            */#/""!*+1A>GBGLMKN<MABF:G=CNLM

            BGLMKN<MABF7:A:K:A >BMA>KH;C><MMH?HKFHK

            BGLMKN<MABFGHMMH:GLP>K1A>K>BLGHG>>=?HK

           =B:EH@N>;>MP>>GNL4><:GM:D>BMNIPBMAMA><HNKM

           HG<>RHNBGLMKN<MABFGHMMH:GLP>K

           *0*/(,"%><:G:GLP>KB?RHN@BO>

           ABFMA>=H<NF>GM%>A:L:LD>=?HKMA>=H<NF>GM:G=RHN

           :K>K>?NLBG@MH@BO>BMMHABF

           */#/""!*+7:A:K:A CNLMBGLMKN<MABF

           GHMMH:GLP>KHKH;C><M

           .!H>LMA>> F:BE&JNHM>=MHRHNK>?K>LA

           RHNKK><HEE><MBHGH?MA>=:M>H?MA>> F:BE

           4BEERHNLAHPF>MA>> F:BE

           .+HM:MMABLMBF>

           1A>G&<:GGHM:GLP>KMA:MJN>LMBHG

           .0HBM=H>LGHMK>?K>LARHNKK><HEE><MBHG

           *0*/(,",;C><MBHG6HN<:GGHMA:O>

           :K><HEE><MBHGK>?K>LA>=PBMAHNMLAHPBG@:=H<NF>GM

           1A:MBL;:LB<>OB=>G<>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 67 of
                                      434

                                                                          -:@>
            */#/""!*+7:A:K:A EBFBMRHNK

            H;C><MBHGMH?HKF

            1%"4&1+"00&?RHNPBLAMHLAHPF>MA>

            =H<NF>GM &PBEE<HFF>GMHGMA>=H<NF>GM

            6*/#/""!*+

            .&G =B=RHN<HFFNGB<:M>PBMA!:O>

            (E>BF:G:;HNMBM<HBG ;EH<D<A:BGHKMBF><A:BG

            M><AGHEH@R

            6>L

           .!HRHNK><:EEMA>F>MAH=H?

           <HFFNGB<:MBHG

           K>P>M:EDBG@> F:BEHK<A:ML

           .%HP>O>KRHN<HFFNGB<:M>=PBMAABF:;HNM

           BM<HBG ;EH<D<A:BGHKMBF><A:BG IE>:L>M>EEF>:EE

           F>MAH=L

           &=HGHMK>F>F;>K:EEF>MAH=L4>NL>=

           &/ 4>NL>=> F:BE4>NL>=HMA>K          &<:GGHM>O>G

           K>F>F;>KMA><A:ML:MMA>MBF>&M<HNE=A:O>;>>G

           #:<>;HHD&=HGHMA:O>MA:M#:<>;HHD:<<HNGM:GRFHK>

           .4A:MP:LMA>:<<HNGMPBMA#:<>;HHD

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>K&MBL

           ;>>G@HG>?HNKHK?BO>R>:KLGHP

           6*/#/""!*+

           .!HRHNK>F>F;>KMA>G:F>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 68 of
                                      434

                                                                          -:@>
            6>L !K K:B@4KB@AM

            .4A:M> F:BEL=B=RHNNL>MH<HFFNGB<:M>

            PBMA!:O>(E>BF:G

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMK>F>F;>K

            6*/#/""!*+

            .+HM>O>GHG>

            +H &A:=F:GR> F:BEL&=HGHM

            K>F>F;>KPAB<AHG>L&:<MN:EERNL>=MH<HFFNGB<:M>PBMA

           !:O>

           .!HRHNK>F>F;>KPA:M> F:BEL!:O>NL>=MH

           K><>BO>MA>L><HFFNGB<:MBHGL

           *0*/(,",;C><MBHG

           1%"4&1+"00+H &=HGHM

           6*/#/""!*+

           .+HM>O>GHG>

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMMRI>BGMABG@LBG

           FR> F:BE:G=;KBG@NIMA>PAHE>G:F> &A:O><HGM:<ML

           6*/#/""!*+

           .0HRHN=HGHMK>F>F;>K:GR> F:BEL

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>KIAHG>

           GNF;>KL&=HGHMK>F>F;>K> F:BEL&L:O>MAHL>BG

           <HGM>QM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 69 of
                                      434

                                                                          -:@>
            6*/#/""!*+

            .6HN=HGHMK>F>F;>K:GRH?!:O>(E>BF:GL

            > F:BELMA:MRHN<HFFNGB<:M>=PBMAMHABF:;HNMBM<HBG

            ;EH<D<A:BGHKMBF><A:BGM><AGHEH@R

            &>O>G<:GGHMM>EERHN

            .!K4KB@AM B?RHN<HNE=E>MF>?BGBLALH

            P>A:O>:<E>:GK><HK= &:FLHKKR!HRHNK><:EE:GR

            H?MA>> F:BEL!:O>(E>BF:GNL>=MHK><>BO>

            <HFFNGB<:MBHGL:;HNMBM<HBG ;EH<D<A:BGHKMBF><A:BG

           M><AGHEH@R?KHFRHNBG

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=

           */#/""!*+-E>:L>EBFBMRHNK

           H;C><MBHGMH?HKF

           *0*/(,"&:F:EEHP>=MHIK>L>KO>FR

           H;C><MBHG?HKMA>K><HK=

           */#/""!*+R?HKF 7:A:K:A

           *0*/(,"G=&:F=>L<KB;BG@PA:MMA>

           ?HKFH?MA>H;C><MBHGBL

           */#/""!*++H MA:MBLGHMI>KFBMM>=

           ;RMA>EH<:EKNE>L

           *0*/(,"0AHPF>MA>EH<:EKNE>RHN

           :K>K>?>KKBG@MH MA>G

           *//&3"/,-E>:L>LAHPNLMA>EH<:E

           KNE>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 70 of
                                      434

                                                                          -:@>
            */#/""!*+,D:R4>PBEELAHPBMMH

            RHN:MMA>;K>:D

            *//&3"/,1A>K>BLGHLN<AEH<:EKNE>

            */#/""!*+1A>K><>KM:BGERBL"O>G

            MA>#>=>K:E BOBE-KH<>=NK>K>JNBK>RHNMHEBFBMRHNK

            H;C><MBHG

            *//&3"/,0AHPNL

            */#/""!*++H P>PBEE=HMABLH??

            MA>K><HK=;><:NL>&:FGHM@HBG@MHP:LM>FRMBF>PBMA

           BM

           *//&3"/,&:FGHMP:LMBG@FRMBF>

           PBMA?HHEBLAG>LL-E>:L>LAHPNLMA>KNE>&?RHNL:R

           MABL:@:BGLAHPNLMA>KNE>

           6*/#/""!*+

           .!B=P>@>M:G:GLP>KMHMA:MJN>LMBHG

            -:NL> !HRHNK><:EE:GRH?MA>> F:BEL!:O>(E>BF:G

           NL>=MHK><>BO><HFFNGB<:MBHGL:;HNMBM<HBG ;EH<D<A:BG

           HKMBF><A:BGM><AGHEH@R?KHFRHNBG

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"00&=HGHMK>F>F;>KFR

           FHMA>KL> F:BE:==K>LL&=HGHMK>F>F;>KFRLHGL

           > F:BE:==K>LL&=HGHMK>F>F;>K>BMA>KH?MA>BKIAHG>

           GNF;>KL&=HGHMK>F>F;>K?KB>G=LHO>KA>K>L> F:BE
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 71 of
                                      434

                                                                          -:@>
            :==K>LL>LMH=:R&?&P:L:LD>=MHLP>:KHKEHL>

            >O>KRMABG@&A:O> &<HNE=GHM>O>G@BO>RHNFRLBLM>KL

            > F:BE:==K>LLKB@AMGHP

            .!K4KB@AM B?RHN<HNE=:GLP>KMA>

            JN>LMBHGIHL>=BMPHNE=A>EINLFHO>?HKP:K=

            &;>EB>O>&=B=

            .+H :<MN:EER &=HGHMA:O>:G:GLP>K

            1A:MBLFRMHM:EK><HEE><MBHG>O>KHG

            > F:BEL

           .6HN=HGHMK><:EE:GRH?MA>> F:BEL!:O>

           (E>BF:GNL>=MHK><>BO><HFFNGB<:MBHGL?KHFRHN:;HNM

           BM<HBG ;EH<D<A:BGHKMBF><A:BGM><AGHEH@RBG

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=

           1%"4&1+"00&A:O>:GLP>K>=MA:M

           6*/#/""!*+

           .!HRHNK><:EE:GRH?MA>> F:BEL!:O>

           (E>BF:GNL>=MHK><>BO><HFFNGB<:MBHGL:;HNMBM<HBG

           ;EH<D<A:BGHKMBF><A:BGM><AGHEH@R?KHFMAKHN@A

           

           *0*/(,",;C><MBHG

           1%"4&1+"00&<:GGHM:GLP>KPA:M!:O>

           K><>BO>=:GRMABG@HG!:O>BL:GBG=>I>G=>GMI>KLHG

           %>P:LG>O>KFRI:KMG>K&A:O>G>O>KA:=:GR

           K>E:MBHGLABIMA:MP:RPBMAABF%>P:LCNLM:?KB>G=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 72 of
                                      434

                                                                          -:@>
            &A:O>G>O>K?HKF>=:I:KMG>KLABI&PBEEG>O>K?HKF:

            I:KMG>KLABI&A:M>MA>PAHE><HG<>IMH?I:KMG>KLABI

            &PBEEG>O>K;>:I:KMG>K&PBEEG>O>KA:O>:I:KMG>K

            1A>HGERI:KMG>K&A:O>BLFRPB?>1A:MBLMA>?HKFH?

            I:KMG>KLABI&:FBG&A:O>G>O>K;>>GBG:

            I:KMG>KLABI&=HGHMP:GMMHDGHPPA:MHMA>KI>HIE>

            =H&=HGHM<:K>PA:MHMA>KI>HIE>=H&=HGHM:LD

            PA:MHMA>KI>HIE>=H&=HGHM>O>K@HBGMH:GR=>M:BEL

            H?PA:MHMA>KI>HIE>=H

           6*/#/""!*+

           .!B=RHN<HFFNGB<:M>PBMA!:O>(E>BF:GHG

           BMF>LL:@>

           6>L

           .4A:MP:LRHNKBMF>LL:@>NL>KG:F>

           1A>K>BLGHM:BMF>LL:@>NL>KG:F>

           .4A:MBLMA>K>

           ==K>LL>L

           .4A:MBLRHNKBMF>LL:@>:==K>LL

           &<:GGHM ?KHFMA>MHIH?FRA>:= M>EE

           RHN:F:GR F:GR<A:K:<M>KEHG@:==K>LL1A:MBLGHM

           AHPMA>MABG@PHKDL

           .!HRHNK><:EE!:O>(E>BF:GL:==K>LLHG

           BMF>LL:@>

           @:BG GH&?&<:GGHMK><:EE:G> F:BE

           &=>?BGBM>ER<:GGHMK><:EE: LHF>MABG@<A:K:<M>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 73 of
                                      434

                                                                          -:@>
            :==K>LL

            . HNE=RHNEHHDMA>:==K>LL>LNI:G=

            BG?HKFRHNK<HNGL>EH?MA>F:?M>KMABL=>IHLBMBHG

            *0*/(,",;C><MBHG

            1%"4&1+"00+H &<HNE=GHM

            6*/#/""!*+

            .4ARGHM

            &=HGHMA:O>BMF>LL:@>:GRFHK>

            .4A>G=B=RHNEHL>BMF>LL:@>

           *0*/(,",;C><MBHG

           1%"4&1+"00&=B=GHMEHL>BMF>LL:@>

           6*/#/""!*+

           .4AR=HGHMRHNA:O>BMF>LL:@>:GRFHK>

           *0*/(,",;C><MBHG

           1%"4&1+"00&LMHII>=NLBG@BMBG

           6*/#/""!*+

           .4AR=B=RHNLMHINLBG@BMBG

           *0*/(,",;C><MBHG

           1%"4&1+"00><:NL>&=><B=>=MHLMHI

           NLBG@BM

           6*/#/""!*+

           .4A:M=B=RHN=HPBMA:EEH?MA>

           BMF>LL:@><HFFNGB<:MBHGLMA:MP>K>BGBMF>LL:@>

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMD>>I:EEMAHL>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 74 of
                                      434

                                                                          -:@>
            <HFFNGB<:MBHGL

            6*/#/""!*+

            .4A:M=HRHN=HPBMAMA>F

            &=HGHM=H:GRMABG@PBMAMA>F

            .0H

            0HMA>R=HGHM>QBLM

            .&G =B=:GRBMF>LL:@>L>QBLM

            6>L

            *0*/(,",;C><MBHG

           6*/#/""!*+

           .4A:MA:II>G>=MHMA>F

           &=HGHMDGHP

           .!B=RHN=>E>M>MA>F

           *0*/(,",;C><MBHG

           1%"4&1+"00&PBI>=A:K==KBO>L

           6*/#/""!*+

           .4A>G BG =B=RHNPBI>A:K==KBO>L

           &PBI>=A:K==KBO>L:EEMA>MBF>

           &PHKD>=:L:=B@BM:E?HK>GLB<>QI>KM?HK:I:KMH?FR

           MBF>&=HG:M>=FRMBF>MHPHKDBG@HG<ABE=

           >QIEHBM:MBHG<:L>L >M<>M>K:&=B=F:GRH?MAHL>

           "O>KRMBF>&=B=LHF>MABG@EBD>MA:M &PBI>=FRA:K=

           =KBO>

           .%:O>RHNPBI>=:GRA:K==KBO>LLBG<>MA>

           ;>@BGGBG@H?MABLEBMB@:MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 75 of
                                      434

                                                                          -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            .0H BG RHNPBI>=:A:K==KBO>:G=

            =>LMKHR>=:EE>E><MKHGB<K><HK=LH?BMF>LL:@>

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHPPA>MA>K:EE

            >E><MKHGB<F>LL:@>LA:O>;>>G=>LMKHR>=

            6*/#/""!*+

           .4A>K>PHNE=MA>R;>B?MA>RLMBEEK>LB=>=

           HG:<HFINM>K

           &=HGHMDGHP!:O><HNE=A:O>:<HIR

           1A:MPHNE=;>@BO>GHGABL=KBO>

           .)>MNLEBFBMRHNKK>LIHGL>LMHRHNK

           =KBO>L?HKGHP&G RHNPBI>=:EE>E><MKHGB<

           BMF>LL:@>L?KHF:EEH?RHNK>E><MKHGB<F>=B:

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           M>LMBFHGR

           */#/""!*+$H:A>:=6HN<:G:GLP>K

           1%"4&1+"00*RF>=B: R>L*RF>=B:

           A:L;>>GPBI>=&PBI>FRF>=B:

           6*/#/""!*+

           .4A>G=B=RHN;>@BG=BL<NLLBG@BM<HBG

           LMKBD>MA:M!B=RHN=BL<NLLBM<HBG ;EH<D<A:BGHK

           MBF><A:BGM><AGHEH@RPBMA!:O>(E>BF:GHGBMF>LL:@>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 76 of
                                      434

                                                                          -:@>
            6>L

            .4A>G=B=MAHL>=BL<NLLBHGL;>@BGHG

            BMF>LL:@>

            &=HGHMDGHP

            .&G

            BMF>LL:@>=B=GHM>QBLMBG

            .4A>G=B=BMF>LL:@>;>@BGMH>QBLM

            *0*/(,",;C><MBHG

            1%"4&1+"00&<:GGHMK>F>F;>K

           6*/#/""!*+

           .&G

           &=HGHMK>F>F;>KPA>GBMF>LL:@>

           LM:KM>=

           .&MLM:KM>=LHF>MBF>:?M>K

           *0*/(,",;C><MBHG

           1%"4&1+"00BMF>LL:@>P:L;:L>=HG

           BM<HBGBM<HBGP:LE:NG<A>=BG+H;H=RDG>P

           :;HNMBM<HBGIKBHKMHBMLIN;EB<E:NG<A!>O>EHI>KL

           P>K>NG:;E>MHM:D>MA>M><AGHEH@RBGBM<HBG:G=<K>:M>

           LHF>MABG@MA:MMA>R=B=GHMDGHP>QBLM>=0H &PHNE=

           L:RBMPHNE=;>K:MA>K=B??B<NEM?HKLHF>HG>MHBGO>GM

           LHF>MABG@NLBG@M><AGHEH@RMA:MMA>RA:O>G>O>KA>:K=

           H?1A:MBLPA:MRHN<:EEF:@B<&=HGHM;>EB>O>BG

           F:@B<

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 77 of
                                      434

                                                                          -:@>
            .'NLMLHRHNDGHPPA>K>&:F@HBG@ &:F

            @HBG@MHLPBM<A@>:KLGHPMHLM:KMM:EDBG@:;HNMMA>

            O:KBHNL>GMBMB>LMA:MA:O>;>>GMHN<A>=HGBGMA>

            EBMB@:MBHG

            *0*/(,"4AR=HP>GHMM:D>:

            K>LMKHHF;K>:DGHP

            */#/""!*+0NK>

            *0*/(,"           B?MABLBL:@HH=MBF>

            MHLMHI

           */#/""!*+1A:MBL?BG>)>MNL@H

           H??MA>K><HK=

           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL"G=H?OB=>H<:K=GNF;>K OHENF>

           H?MA>OB=>H=>IHLBMBHGH?!K K:B@4KB@AM

            0AHKMK>:D

           1%"3&!",$/-%"/1ABLBLMA>;>@BGGBG@

           H?OB=>H<:K=GNF;>K OHENF> BGMA>OB=>H

           =>IHLBMBHGH?!K K:B@4KB@AM$HBG@HGMA>K><HK=

           1A>MBF>BL1A:GDRHN

           */#/""!*+'NLM:LF:EEAHNL>D>>IBG@

           F:MM>K;>?HK>P>@>M;:<DMHMA>EBG>H?JN>LMBHGBG@

           &?B@NK>=HNM:G>:LRP:RMHK>LHEO>HNKH;C><MBHG

           BLLN>&:F@BOBG@RHNHGMA>K><HK=:LM:G=BG@

           H;C><MBHGMH?HKFMH>O>KRLBG@E>HG>H?FRJN>LMBHGL:M

           MABL=>IHLBMBHG LHRHNGHEHG@>KG>>=MHH;C><MMH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 78 of
                                      434

                                                                          -:@>
            :GRMABG@6HN<:GBGLMKN<MMA>PBMG>LLGHMMH:GLP>K

            H;OBHNLER;RMA><HNKML=BK><MBO> ;NMRHNA:O>:G

            H;C><MBHGIK>L>KO>=:LMH>O>KRLBG@E>JN>LMBHG

            *0*/(,"&=HGHMMABGDMA:MMA:MBL

            AHPBMPHKDL :G=&:IIK><B:M>MA>>??HKM ;NM&PBEE

            LMBEEF:D>H;C><MBHGL:L&?>>E:G==>>FG><>LL:KR

            */#/""!*+G=P>PBEEK:BL>PBMAMA>

            <HNKMMA:MMA>HGERK>:LHGRHN:K>=HBG@LHBLMH<H:<A

            MA>PBMG>LL

           *0*/(,"&MBLGHM BMBL;><:NL>GHM

           >O>KRLBG@E>HG>H?RHNKJN>LMBHGLBLH;C><MBHG:;E>&

           A:O>GHMH;C><M>=MH>O>KRLBG@E>HG>H?RHNKJN>LMBHGL

           */#/""!*+4>PBEEE>MMA>CN=@>

           =><B=>

           .!K4KB@AM ;>?HK>P>MHHD:;K>:D             <:G

           RHNF:KDMABL:L-E:BGMB??L"QAB;BM

            -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

           .      P>P>K>=BL<NLLBG@

           *//&3"/,0HKKR &A:O>:AHNL>D>>IBG@

           JN>LMBHGFRL>E?&P:GMMA><BM:MBHGHGMA>KNE>

           */#/""!*+0NK>!HRHNDGHPPA:M &

           PBEE@BO>BMMHRHNBGMA>;K>:D&A:O>BM;NM&:F

           GHM@HBG@MHP:LM>FRMBF>HGMA>K><HK=?HKBM&PBEE

           @BO>BMMHRHN

           *//&3"/,-E>:L>&P:GMBMHGMA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 79 of
                                      434

                                                                          -:@>
            K><HK=

            */#/""!*+!HIKH;E>F P>PBEE@BO>

            BMMHRHNHGMA>G>QM;K>:D

            *//&3"/,-E>:L>

            6*/#/""!*+

            .&:FA:G=BG@RHNPA:MBLF:KD>=:L

            -E:BGMB??L"QAB;BM1ABLINKIHKMLMH;>:G> F:BE

            ?KHFRHNMH!:O>(E>BF:G=:M>=MA*:K<A!HRHN

            K><H@GBL>MABL> F:BE

           &K><H@GBL>PA:MRHNA:O>MA>K>

           .&LMABLMA>> F:BEMA:MRHNL>GM

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .4ARBLBMGHMMA>> F:BERHNL>GM

           ><:NL>MABLBL:GBFIHKMBGMH:

           =B??>K>GMF:BEL>KO>KMA:M>QBLM>=:M:E:M>KMBF>

           .&LMABL:GB=>GMB<:E<HIRH?MA>> F:BE

           RHNL>GMMH!:O>(E>BF:G

           *0*/(,",;C><MBHG

           1%"4&1+"00+H ;><:NL>PA>GRHNBFIHKM

           LHF>MABG@?KHFHG>>Q<A:G@>L>KO>KMH:GHMA>KBMBLGHM

           B=>GMB<:E

           6*/#/""!*+

           .&LMA>M>QMH?MA>> F:BEB=>GMB<:E
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 80 of
                                      434

                                                                          -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"00&:FNG:;E>MHL:RPA>MA>K

            BMBLB=>GMB<:E&MEHHDLMA>L:F>

            6*/#/""!*+

            .!B=RHNL>G=MABLHKB@BG:E> F:BEHGMA

            *:K<A

            *0*/(,",;C><MBHG

            1%"4&1+"001ABLBLGHM:G> F:BE

            6*/#/""!*+

           .!B=RHNL>G=:G> F:BEMA:MEHHDLMA>

           L:F>:LMABLHGMA*:K<A

           *0*/(,",;C><MBHG

           1%"4&1+"00&L>GM:G> F:BEMA:M

           <HGM:BGLMA>;H=RMA:MP:L:IIKHQBF:M>EREBD>MA:M B?

           GHMEBD>MA:M&<:GGHML:R>Q:<MER;><:NL>MABLBL:

           <HIR:G=PA:M>O>K>EL> ;NMMA:MBLO>KR?:FBEB:K :G=

           MA:MPHNE=:II>:KMH;>MA>> F:BE&L>GM R>L

           6*/#/""!*+

           .,GMA*:K<A

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           6*/#/""!*+

           .!HRHNA:O>MA>HKB@BG:E<HIRH?MABL

           > F:BE

           +H MA>HKB@BG:EP:LFHO>=?KHF:?HKF>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 81 of
                                      434

                                                                          -:@>
            >Q<A:G@>F:BE;HQ;RHG>H?FRLM:?? +B<AHE:L &=HGHM

            K>F>F;>KABLE:LMG:F>A>G<>MA><A:G@>BG> F:BE

            :==K>LL

            .4A:M=HRHNF>:G<A:G@>BG> F:BE

            :==K>LL

            1A>?KHF:==K>LL<A:G@>LPA>GRHNFHO>

            ,01?BE>LPBMABG*B<KHLH?M"Q<A:G@>4A>GRHNIK>L>KO>

            >Q<A:G@>H?BG?HKF:MBHG;NM<A:G@>MA>=HF:BGL ;><:NL>

            RHNFHO><HFI:GB>L BM:EM>KLMA>LHKMH?=HF:BGK><HK=

           PBMABG>Q<A:G@>

           .0H B?&:FNG=>KLM:G=BG@RHN<HKK><MER

           :G=<HKK><MF>B?&:FPKHG@ MA>HKB@BG:E> F:BEP:L

           GHML>GM?KHF<K:B@PKB@AMBG?HKF:MBHG =>?>GL><HF

           1A:MPHNE=;><HKK><M

           .4A:MP:LMA>HKB@BG:E> F:BEBMP:LL>GM

           ?KHF

           &<:GGHMK>F>F;>KPAB<A=HF:BGL&A:=

           ;:<DMA>G

           .!HRHNA:O>MA>,01?BE>MA:MP:LFHO>=

           ;R+B<AHE:L

           +H

           .4A:MA:II>G>=MHBM

           &A:O>GHB=>:

           .!B=RHNGHMMABGDMABLP:L:GBFIHKM:GM

           > F:BEMHIK>L>KO>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 82 of
                                      434

                                                                          -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"00+H &=B=GHM

            6*/#/""!*+

            .4ARGHM

            *0*/(,",;C><MBHG

            1%"4&1+"004ARPHNE=&&M=H>LGHM

            :==:GRO:EN>MH:GRMABG@&:F=HBG@

            6*/#/""!*+

            .!HRHNK><:EE+B<AHE:LLE:LMG:F>

           &MFB@AM;>!>LFHG=&=HGHMK>F>F;>K

           .! " 0 * , + !

           6HN:K>:LDBG@F>MHLI>EELHF>HG>LG:F>

           MA:M&<:G;:K>ERK>F>F;>K

           .%HPPHNE=P>?BG=+B<AHE:LLE:LMG:F>

           B?P>G>>=>=MH

           )HHDNIHE=K><HK=LHGMA>BGM>KG>M

           .4A:M<HFI:GR=B=A>PHKD?HK

           1A>JN>LMBHGRHN:K> &;>EB>O> :LDBG@

           BL PAB<AH?FR<HFI:GB>L=B=A>PHKD?HK PAB<A

           &;>EB>O>A>PHKD>=?HK%HMPBK> &GM>@>KL:G=F:R;>

           -AHENL - % , ) 2 0&MBLHG>H?MA>$K>>D@H=L%>

           P:L:<>GM:NK%>P:L:PBL><>GM:NK

           .-E>:L> !K4KB@AM B?P><HNE=A:O>MABL

           =BL<NLLBHGHGMA>;K>:D&MBLBGM>K>LMBG@;NM&P:GM

           MH@>MNLMAKHN@A
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 83 of
                                      434

                                                                          -:@>
             >KM:BGER

            .!HRHNA:O>K><HK=L?KHF%HMPBK>

            &GM>@>KL:G=-AHENLMA:MPHNE=>G:;E>NLMHEHHDNI

            +B<AHE:LLE:LMG:F>

            2GE>LLMA>K>BLLHF>MABG@MA:MMA>

            E:PR>KLA:O><:IMNK>=&A:O>G>O>KEHHD>=:MMA>

            K><HK=LBGMAHL>;HQ>L1A>RP>K>=>EBO>K>=MHF>:G=

            MA>RK>F:BG>=L>:E>=NGMBEMA>E:PR>KLHI>G>=MA>F

            .4A:M;HQ>L:K>RHNK>?>KKBG@MH

           1A>;HQ>LMA:MMA>RMHHD<HIB>LH?

           =H<NF>GML?KHF

           .6HNL:B=RHNK><>BO>=L>:E>=;HQ>L

           6>L

           .4A>K>=B=RHNK><>BO>L>:E>=;HQ>L?KHF

           4A>GMA><HFI:GB>LBGNLMK:EB:P>K>LANM

           =HPG ;HQ>LH?BG?HKF:MBHGP>K>L>GMMHF>

           .RPAHF

           0HF>HG>BGNLMK:EB: MH=HPBMAMA>HE=

           <HFI:GR&=HGHMDGHP

           .&=HGHMK><:EE &F:RA:O>:LD>=MABL

           MA>=:M>H?MABL> F:BE MA*:K<A P:LMABLMA>

           ?BKLMMBF>RHNK>:<A>=HNMMH!:O>(E>BF:G:;HNM

           BM<HBG ;EH<D<A:BGHKMBF><A:BGM><AGHEH@R

           &F:RA:O>M:ED>=MHABF:;HNME:<D+>M

           &=HGHMK><:EE
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 84 of
                                      434

                                                                          -:@>
            .1ABLBLMA>?BKLMPKBMM>G<HFFNGB<:MBHG

            @:BG &=HGHMK><:EE

            .1A>K>BL:<HFI:GR<:EE>= K:B@4KB@AM

            /!

            1A>K>P>K>FNEMBIE><HFI:GB>L1A>K>:K>

            GHEHG@>KMAHL><HFI:GB>L

            .1A>K>P>K>FNEMBIE><HFI:GB>L<:EE>=

             K:B@4KB@AM/!

            1A>K>:K>FNEMBIE><HFI:GB>L<:EE>= K:B@

           4KB@AM/!

           .4A>GP:LMA>?BKLM K:B@4KB@AM/!

           ?HNG=>=

           &GMA>L

           .4A>G=B=BM<>:L>MH>QBLM

           O:KB>MRH?MA>L><HFI:GB>LA:O><>:L>=

           :M=B??>K>GMMBF>L

           .%HPF:GRH? K:B@4KB@AM/!LA:O>MA>K>

           ;>>G

           0>R<A>EE>L -:G:F: >EBS> (>GR:

           NLMK:EB: 0BG@:IHK> :<HNIE>H?":LM>KG"NKHI>:GHG>L

           %NG@:KR %HG@(HG@*HK>MA:GMA:M &=HGHMK>F>F;>K

           .,D:R K:B@4KB@AM/!BGMA>

           0>R<A>EE>L PA>GP:LBM?HKF>=

           EHG@MBF>:@H4>:K>M:EDBG@

           R>:KL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 85 of
                                      434

                                                                          -:@>
            .4A>GP:LMA>HG>BG-:G:F:?HKF>=

            ;HNM*R>Q:<MK><HEE><MBHGH?

            MBF>BL

            .4A>G=B=MA>HG>BGMA>0>R<A>EE>L<>:L>

            MH>QBLM

            0HF>PA>K>;>MP>>G:G=

            .4A>G=B=MA>HG>BG>EBS>           PA>GP:L

            MA> K:B@4KB@AM/!BG>EBS>?HKF>=

            &=HGHMK>F>F;>K

           .4A>G=B=BM<>:L>MH>QBLM

           &=HGHM>Q:<MERK>F>F;>K

           .4A>G=B= K:B@4KB@AM/!BG(>GR:

           LMKBD>MA:M4A>GP:L K:B@4KB@AM/!BG(>GR:?HKF>=

           @:BG &=HGHMK>F>F;>KMA>>Q:<MMBF>L

           HGMA:MHG>

           .IIKHQBF:M>R>:K=HRHNK><:EE

           +HMH??MA>MHIH?FRA>:= GH

           .!HRHNA:O>:GRP:RMHEHHDMA:MNI

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .4A>G=B=BM<>:L>MH>QBLM

           &=HGHMK>F>F;>K

           .4A:MP:LMA>INKIHL>H? K:B@4KB@AM/!

           BGMA>0>R<A>EE>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 86 of
                                      434

                                                                          -:@>
            1A>INKIHL>H?:EEH?MA>L>P:LMHAHE=

            BGM>EE><MN:EIKHI>KMR

            .4A:MMRI>H?BGM>EE><MN:EIKHI>KMRP>K>

            MA>RAHE=BG@

            *0*/(,",;C><MBHG

            1%"4&1+"00GRMRI>H?BGM>EE><MN:E

            IKHI>KMR&A>E=

            6*/#/""!*+

            .4>K>MA>RI:M>GML

           +H

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .4>K>MA>RMK:=>L><K>ML

           *0*/(,",;C><MBHG

           1%"4&1+"00!>?BG>PA:MRHNF>:G;R

           MK:=>L><K>ML1A:MBL:O>KRPB=>:K>:&A:O>:

           F:LM>KLBGBGM>EE><MN:EIKHI>KMRE:P &<HNE=LI>G=:

           EHG@MBF>=>M:BEBG@MA:MB?RHNPBLA ;NMIE>:L>=>?BG>

           PA:MRHN:<MN:EERF>:G;RMK:=>L><K>MLHK&PBEECNLM

           A:O>MHL:RR>L:G=E>:O>BM:MMA:M

           6*/#/""!*+

           .4>K>MA>R:EE<HFINM>KK>E:M>=

           +H

           *0*/(,",;C><MBHG

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 87 of
                                      434

                                                                          -:@>
            .!B=MA>RK>E:M>MHBM<HBG

            4AB<AHG>

            .6HNL:B=MA>INKIHL>H?:EEH?MA>L>

            >GMBMB>L    LMKBD>MA:M!B=:GRH?MA>FAHE=BM<HBG

            K>E:M>=BGM>EE><MN:EIKHI>KMR

            *0*/(,",;C><MBHG

            1%"4&1+"001A:M :@:BG BL:O>KRPB=>

            JN>LMBHG!B=MA>RAHE=:GR:LL>MLK>E:MBG@MHBM<HBG

            BG:GRP:RR>L

           6*/#/""!*+

           .4AB<AHG>L

           -:G:F:  HLM:/B<: NLMK:EB:1A>

           HMA>KL&<HNE=GHML:RH??MA>MHIH?FRA>:=

           .!B=:GRH?MA>L> K:B@4KB@AM/!

           >GMBMB>LAHE=;EH<D<A:BGHKMBF><A:BG K>E:M>=

           BGM>EE><MN:EIKHI>KMR

           *0*/(,",;C><MBHG

           1%"4&1+"00&MBLMA>L:F>JN>LMBHG

           'NLM:LDF>BM<HBG ;><:NL>MA>HGERMABG@&=HBL

           BM<HBG

           6*/#/""!*+

           .0H PA>G&L:RBM<HBG RHNPBEEM:D>

           BMMHF>:GBM<HBG ;EH<D<A:BG:G=MBF><A:BG

           *0*/(,",;C><MBHG

           1%"4&1+"006>L&PBEE:GLP>KI>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 88 of
                                      434

                                                                          -:@>
            BM<HBG&HGERPHKDHGBM<HBG0HF>H?MA>MABG@L

            &=H:IIERMH:GR;EH<D<A:BG ;NM&=HGHM=>O>EHI?HK

            "MA>K>NF &=HGHM=>O>EHI?HKHMA>KMABG@L&G>O>K

            A:O> &G>O>KPBEE&LHE>ER=HHG>LBG@E>LRLM>FPAB<A

            BLBM<HBG

            6*/#/""!*+

            .4AR=B=RHN<K>:M>FNEMBIE>>GMBMB>LMH

            AHE=BM<HBG K>E:M>=BGM>EE><MN:EIKHI>KMRBG=B??>K>GM

            <HNGMKB>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&<K>:M>FNEMBIE>>GMBMB>L

           :EEMA>MBF>LHMA:M&<:GIKHM><MFR:LL>ML&A:O>

           PA:MI>HIE>A:O><:EE>=:P>;H?<HFI:GB>L;><:NL>MA:M

           BLMA>;>LMP:RMH>GLNK>MA:MPA>GLHF>HG>BL=HBG@

           LHF>MABG@MA:M@HO>KGF>GMLF:RGHMEBD> MHIKHM><M

           MAHL>:LL>ML:G=>GLNK>MA:MMA>RK>F:BGIKHM><M>=

           6*/#/""!*+

           .&GPA:MP:RP>K>RHNL>>DBG@MHIKHM><M

           MA>L>BGM>EE><MN:EIKHI>KMR:LL>ML

           *0*/(,",;C><MBHG6HN:K>@HBG@

           ;>RHG=MA>L<HI>H?MA>MHIB<LBGMABL=>IHLBMBHG

           */#/""!*+7:A:K:A CNLMBGLMKN<MABF

           GHMMH:GLP>K

           *0*/(,"1A>CN=@>L:B=RHN<:G@>M

           LHF>E>>P:RPBMAK>@:K=MH>GMBMB>LMA:M=HGHMK>E:M>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 89 of
                                      434

                                                                          -:@>
            MH!:O>(E>BF:G

            */#/""!*+7:A:K:A >BMA>KBGLMKN<M

            ABFGHMMH:GLP>KHKH;C><M1A:MBLBM4>EE

            :<MN:EER =HGHMH;C><M;><:NL>

            *0*/(,"&<:G>QIE:BGMA>;:LBLH?

            FRH;C><MBHG

            */#/""!*+&=HGHMG>>=MHA>:KBM

            &@BO>RHN:LM:G=BG@H;C><MBHG

            *0*/(,"NMMA><HNKM=H>LNMMA>

           <HNKMG>>=LMHA>:KBM:G=&G>>=MHF:D>FRK><HK=

           */#/""!*+0HPKBM>BM=HPG

           *0*/(,"0H&:F>GMBME>=MHF:D>FR

           K><HK=HGMA>K><HK=

           */#/""!*+,D:R P>:K>@HBG@MHFHO>

           HG

           *0*/(,"6HN:K>GHMI>KFBMM>=MH

           LMHIF>&PBEEGHM:EEHPRHNMHLMHIF>&:F

           BGLMKN<MBG@MA>PBMG>LLGHMMH:GLP>KMA:MJN>LMBHG

           6HNA:O>@HG>;>RHG=MA>L<HI>

           */#/""!*+4AB<AJN>LMBHG:K>RHN

           BGLMKN<MBG@ABFGHMMH:GLP>K

           *0*/(,"1A>E:LMJN>LMBHG &

           ;>EB>O> PAB<AP:L      B?MA><HNKMK>IHKM>K<HNE=DBG=ER

           K>:=BM;:<DMHF>&PHNE=:IIK><B:M>BM

            1A><HNKMK>IHKM>KK>:=;:<D:LK>JN>LM>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 90 of
                                      434

                                                                          -:@>
            6*/#/""!*+

            .!B=:GRH?MA>L> K:B@4KB@AM/!L

            BGOHEO>!:O>(E>BF:G

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            .!B=MA>RBGOHEO>4(

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

           6*/#/""!*+

           .!B=MA>R>O>K>GM>KBGMHMK:GL:<MBHGL

           PBMA!:O>(E>BF:GHK4(

           *0*/(,",;C><MBHG

           1%"4&1+"001A>R>G:<M>=MK:GL:<MBHGL

           PBMA4( H?PAB<A!:O>P:L:F>F;>K

           6*/#/""!*+

           .4A:MP>K>MA>MK:GL:<MBHGLMA>R>GM>K>=

           BGMH4(PBMA

           1A>RA:=<HGMK:<MLPBMA4(

           .4AB<A>GMBMB>LLI><B?B<:EERA:=<HGMK:<ML

           PBMA4(

           &=HGHMK>F>F;>K>:<AH?MA><HGMK:<ML

           .4AB<A>GMBMRA:=MA><HGMK:<M

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>K>:<AH?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 91 of
                                      434

                                                                          -:@>
            MA><HGMK:<ML

            6*/#/""!*+

            .4:LMA>HPG>KLABIH?:EEMA>L> K:B@

            4KB@AM/!>GMBMB>LB=>GMB<:E

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            .4AHHPG>=MA> K:B@4KB@AM/!BGMA>

            0>R<A>EE>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&:FNG:;E>MH:GLP>KMA>

           PAHHPG>=;><:NL>>:<AH?MA><HFI:GB>L HKPA:M>O>K

           >EL>&A:O> A:L:<HFIE>QHPG>KLABILMKN<MNK>MMA>

           >G=H?MA>=:R &HPGGHMABG@&=HGHMHPG:LBG@E>

           LA:K>BG:GR<HFI:GRMA:M&DGHPH?&=HGHMHPG:

           LBG@E>=BLIHLBMBHGH?:MKNLMMA:M&DGHPH?&A:O>GH

           HPG>KLABIH?:GRMABG@ PAB<ABLPA:MRHN:K>MKRBG@MH

           @>M:M&A:O>O>KR<:K>?NEER<HGLMKN<M>=LHF>MABG@

           PA>K>&@>MMH=BK><MFRK>L>:K<A:G=HPGGHMABG@

           6*/#/""!*+

           .0H&:IIK><B:M> :@:BG MA:MRHN:K>

           :GMB<BI:MBG@PA>K>&:F@HBG@ ;NMIE>:L>CNLM:GLP>K

           MA>JN>LMBHG

           &;>EB>O>MA:MP:L:GLP>KBG@MA>

           JN>LMBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 92 of
                                      434

                                                                          -:@>
            .<MN:EER &CNLMP:GMMHDGHPPAHHPGL

            MA>F GHMB?RHNHPGMA>F4AHHPGLMA>F

            *0*/(,",;C><MBHG

            1%"4&1+"00&;>EB>O>&P:L

            *0*/(,"6HNF:R:GLP>K

            1%"4&1+"00&;>EB>O>&P:L:GLP>KBG@

            *R:GLP>KBL&A:O>L>MNILHF>MABG@LHMA:M&=HGHM

            G>>=MHDGHPPAHHPGLMA>F&=HGHMDGHPPAHHPGL

            G A:BGGHP

           6*/#/""!*+

           .4AHDGHPLPAHHPGL K:B@4KB@AM/!

           *0*/(,",;C><MBHG

           1%"4&1+"00&A:O>>GLNK>=MA:M&DGHP

           GHMABG@:;HNMMA>HPG>KLABIH?MA><HFI:GB>L&:FPBMA

           6*/#/""!*+

           .4AH=B=RHNF:D>MA:M:KK:G@>F>GMPBMA

           *0*/(,",;C><MBHG

           1%"4&1+"00,MA>KBG=BOB=N:EL

           6*/#/""!*+

           .4A:M:K>MA>G:F>LH?MAHL>BG=BOB=N:EL

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>K:EEH?

           MA>BKG:F>L1AHL>I>HIE>:K>GHEHG@>KI:KMH?FR

           EB?>

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 93 of
                                      434

                                                                          -:@>
            .!HRHNK>F>F;>K:GRH?MA>BKG:F>L

            *0*/(,",;C><MBHG

            1%"4&1+"006>L

            6*/#/""!*+

            . :GRHNM>EEF>MA>G:F>LMA:MRHN=H

            K><:EE

            *0*/(,",;C><MBHG

            1%"4&1+"001A>K>P:L:*:KDBG%B@A

            0><NK>=BG-:G:F:

           6*/#/""!*+

           .GRHG>>EL>

           &:FMABGDBG@ -:NL> +H &=HGHM

           K>F>F;>KMA>G:F>L

           .!HRHNK>F>F;>K*:KDLE:LMG:F>

           +H &=HGHM

           .*:KDP:LI:KMH?MA>I>HIE>MA:MMHHD

           <:K>H?MA>HPG>KLABIH? K:B@4KB@AM/!?HKRHN

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP>Q:<MERPA:M

           MA>R=B=->HIE>L>MNILMKN<MNK>L

           6*/#/""!*+

           .6HNMKNLM>=MA>L>I>HIE>MHL>MNI

           LMKN<MNK>L?HKRHNK<HFI:GB>L

           *0*/(,",;C><MBHG

           1%"4&1+"00%B@A0><NK>=P:L:E:P
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 94 of
                                      434

                                                                          -:@>
            ?BKF

            6*/#/""!*+

            .0HRHNMKNLM>=:E:P?BKFMHL>MNI

            HPG>KLABILMKN<MNK>L?HKRHNK<HFI:GB>L

            6>L

            .G=RHNA:O>GHP:RMH@>MMAHL>K><HK=L

            MH=:R

            +HMMA:M&DGHPH?

            .!B= K:B@4KB@AM/!>O>KFBG>BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .4:L K:B@4KB@AM/!>O>K:N=BM>=;RMA>

           NLMK:EB:G1:Q,??B<>

           *0*/(,"ELH &CNLMP:GMMHF:D>

           LNK>?HKMA><HNKMK>IHKM>K BMBL%B@A0><NK>=

           6*/#/""!*+

           .4>K>:GRH?MA> K:B@4KB@AM/!>GMBMB>L

           >O>K:N=BM>=;RMA>NLMK:EB:G1:Q,??B<>

           +H

           .4>K>MA>R>O>KMA>LN;C><MH?:G

           NLMK:EB:G1:Q,??B<>BGO>LMB@:MBHG

           &=HGHMDGHPPA:MMA>M:QH??B<>

           BGO>LMB@:M>L

           .&CNLMP:GMMHDGHPPA:MRHNDGHPK>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 95 of
                                      434

                                                                          -:@>
            RHN:P:K>H?

            &=HGHMDGHPPA:MMA>M:QH??B<>

            BGO>LMB@:M>L

            .K>RHN:P:K>H?:GRNLMK:EB:G1:Q

            ,??B<>BGO>LMB@:MBHGHO>K:GRH?MA> K:B@4KB@AM/!

            >GMBMB>L

            &=HGHMDGHPPA:MMA>M:QH??B<>

            BGO>LMB@:M>L

            .0HRHN:K>GHM:P:K>H?:GRLN<A

           BGO>LMB@:MBHG

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPPA:MMA>M:Q

           H??B<>BGO>LMB@:M>L&PBEEGHMLI>:D?HKMA>M:Q

           H??B<>

           6*/#/""!*+

           .&:FGHM:LDBG@RHNMHLI>:D?HKMA>M:Q

           H??B<> &:FCNLM:LDRHNMHM>EEF>B?RHN:K>:P:K>H?

           :GBGO>LMB@:MBHG

           *0*/(,",;C><MBHG

           1%"4&1+"006HN:K>:LDBG@F>MH

           >QIK>LL:P:K>G>LLH?:?>=>K:E;H=RLBGO>LMB@:MBHGL

           &A:O>GHBGM>K>LMBGMAHL>NGE>LLBMBGOHEO>LF>

           I>KLHG:EER BGPAB<A<:L>MA>RPBEE:N=BMF>?BKLMHK=H

           LHF>MABG@>EL>&PBEEGHMLI><NE:M>:LMHMA>G:MNK>

           H?PA:M:@HO>KGF>GM;H=RPBEE=H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 96 of
                                      434

                                                                          -:@>
            .!B=:GRH?MA>L> K:B@4KB@AM/!
            >GMBMB>L>O>K@H;R:GHMA>KG:F>
            +H
            .&:F@HBG@MHMA>G>QM>GMBMR&MBL
            <:EE>= A:HL:G=+HG )BG>:K#+"#BG:G<>
            1A:MBLGHMMA><HKK><M<HFI:GRG:F>
            .4A:MBLMA><HKK><M<HFI:GRG:F>
            1A>>Q:<MK>?>K>G<>&<:GGHMK>F>F;>K
            ;NMMA:MBLGHMBM
           .4A>GP:LBM?HNG=>=
           &=HGHMK>F>F;>K1A>K><HK=LPBEE;>
           HG0&     0 &    
           .4A:MP:LMA>INKIHL>H?MABL>GMBMR
           1HNL>GHG EBG>:K?HK><:LMBG@ PAB<ABL
           IKH;:;ERMA>PHK= BGMA><K>:MBHGH?FH=>EL?HK
           =>M>KFBGBG@=B??>K>GMEBG>:KKBLD>??><ML
           .!H>LMABLA:O>MH=HPBMABM<HBG
           +H
           .!H>LBMA:O>MH=HPBMA;EH<D<A:BGHK
           MBF><A:BG
           *0*/(,",;C><MBHG
           1%"4&1+"00@:BG MA>L:F>JN>LMBHG
           6*/#/""!*+
           .4AHHPGL A:HL:G=+HG )BG>:K#+"
           #BG:G<>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 97 of
                                      434

                                                                          -:@>
            +H;H=R:L?:K:L&DGHP&;>EB>O>BMBL

            :EK>:=REBJNB=:M>=&?GHM BMBLBGMA>IKH<>LLH?

            ;>BG@EBJNB=:M>=

            .4AHHPG>=BM:MMA>MBF>BMP:L

            >LM:;EBLA>=

            6HNPHNE=G>>=MHEHHD:MMA>

            LA:K>AHE=BG@

            .%HP=H&H;M:BGMA>LA:K>AHE=BG@

            &=HGHMDGHP

           .!HRHNA:O>:<<>LLMHMA>LA:K>AHE=BG@

           &?MAHL>K><HK=LMA:MMA>E:PR>KLA:O>

           <HIB>=A:L:GR<HIR MA>GMA:MPHNE=A:O>BM HMA>KPBL>

           &=HGHMDGHP&A:O>GHMEHHD>=:MMAHL>K><HK=L

           &=HGHMBGM>G=MH

           .!B=RHNNL>E:PR>KLMH?HKFMA:M>GMBMR

           *0*/(,",;C><MBHGK>E>O:G<>

           1%"4&1+"006HN:K>:LDBG@PA>MA>K&

           MA:MPHNE=;>:IKBOBE>@>=MABG@ PA>MA>K&NL>=E:PR>KL

           HKGHM:G=PA:M&NL>MA>F?HK LH:K>RHN:LDBG@F>MH

           ;K>:<AIKBOBE>@>

           6*/#/""!*+

           .!K4KB@AM RHNA:O>MH:EEHPRHNKHPG

           <HNGL>EMHH;C><M6HN<:GGHMH;C><M:L:PBMG>LL

           &=B=GHMH;C><M&CNLML:B= :K>RHN

           :LDBG@F>MH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 98 of
                                      434

                                                                          -:@>
            .&:F:LDBG@

            *//&3"/,)>MF>LM>IBG:L><HG=

            !K4KB@AM MA>JN>LMBHG:LIHL>=BL =B=RHNNL>

            E:PR>KL6HNF:R:GLP>KMA:M ;NMIE>:L>:OHB=@HBG@

            BGMH:GR<HFFNGB<:MBHGLPBMAMA>E:PR>KL

            1%"4&1+"00*FF AFF HD:R&=HGHM

            K>F>F;>K

            6*/#/""!*+

            .!B=4(HK!:O>(E>BF:G>O>KHPG:

           I>K<>GMH?MABL>GMBMR

           +H

           .!B=MABL>GMBMR>O>K>GM>KBGMH:

           K>E:MBHGLABIPBMA!:O>(E>BF:GHK4(

           *0*/(,",;C><MBHG

           1%"4&1+"00&MP:L?HKF>=:?M>K

           *K(E>BF:G=B>=

           6*/#/""!*+

           .!HRHNK>F>F;>KPA>GBMP:L?HKF>=

           +H

           .!B=MABL>GMBMR>O>K@H;R:GHMA>KG:F>

           +H

           .!B=MABL>GMBMR>O>KFBG>BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           *0*/(,"%>A:L:EK>:=RL:B=MA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 99 of
                                      434

                                                                          -:@>
            MABL>GMBMRP:L>LM:;EBLA>=:?M>K*K(E>BF:GL=>:MA

            1A>K>?HK> &:F@HBG@MHBGLMKN<MABFGHMMH:GLP>K:GR

            ?NKMA>KJN>LMBHGL:;HNMMABL>GMBMR&;>EB>O>RHNA:O>

            :LD>=:EEMA>JN>LMBHGLMA:M:K>LHKMH?I>KFBMM>=NG=>K

            LN;    :L>GOBLBHG>=;RMA><HNKM :L&NG=>KLMHH=BM

            */#/""!*+6HNKK><HEE><MBHGBL

            PKHG@ ;NMP>PBEEM:D>BMNIPBMAMA><HNKM

            .&:F@HBG@MHFHO>HGMHMA>G>QM>GMBMR

             EHN=<KH?M4A>GP:L EHN=<KH?M?HNG=>=

           &=HGHMK>F>F;>KMA>=:M>HG:GRH?

           MA>L><HFI:GB>LEEH?MA>FPHNE=;>EBLM>=HG0& 

           &MBL:IN;EB<K><HK=6HN<:GI:R?HKBM&:FGHM

           @HBG@MHI:R?HKBMMHA:G=BMMHRHN

           .4A:MP:LMA>INKIHL>H?MABL>GMBMR

            EHN=<KH?MP:L=>LB@G>=          P>EE <K>:M>=

           ?HKMA>=>O>EHIF>GMH?E:K@>LMHK:@>BGAB@A<HFINM>

           =>OB<>L&MP:LLHMA:MRHNPHNE=A:O>F:<ABG>LMA:M

           <HNE=AHE=FNEMBIE>I>M:;RM>LH?=:M::G=IKH<>LLMAHL>

           NLBG@:GHIMB<:E;:<D>G=:MAB@ALI>>=

           .!B=MABL>GMBMR>O>KFBG>BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!B=MABL>GMBMR>O>K<K>:M>BGM>EE><MN:E

           IKHI>KMRK>E:M>=MHBM<HBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 100 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG6HNF:R:GLP>K

            1%"4&1+"001A>G:MNK>H?BM<HBG@H>L

            MHPA:MP>A:O>=N;;>=*>M:G>M1A:MK>JNBK>LLMHK:@>

            1H=HMA:M MHA:O>E:K@>;EH<DL:G=MHL<:E>BM<HBG

            K>JNBK>LMA><K>:MBHGH?F:<ABG>LMA:M<:GA:G=E>O>KR

            E:K@>MK:GL:<MBHGOHENF>L:G=>O>GMN:EER;>:;E>MHL>G=

            M>K:;RM>:G=E:K@>K;EH<DLBS>LBGFBEEBL><HG=L

            6*/#/""!*+

            .0H =B=MA>>GMBMR>O>K<K>:M>

           BGM>EE><MN:EIKHI>KMRMA:MK>E:M>LMHBM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00&;>EB>O>&CNLML:B=R>L

           >O>GB?RHN=B=GHMNG=>KLM:G=BM

           6*/#/""!*+

           .4:LMABL>GMBMR>O>K:N=BM>=;RMA>

           NLMK:EB:G1:Q,??B<>

           6>L

           .4A>G

           &=HGHMK>F>F;>KMA>=:M>LH?MA>

           :N=BML

           .4>K>MA>K>FNEMBIE>:N=BML

           *0*/(,",;C><MBHGO:@N>

           1%"4&1+"00&A:O>:<<HNGM:GMLBGMA>

           I:LM :G=&A:O>MA>FGHP1A>R=HMA>L>MABG@L&=H

           GHMG><>LL:KBER :I:KM?KHFPA>G&:FINEE>=NIMH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 101 of
                                      434

                                                                         -:@>
            MABG@L @HBG:G=&=>?BGBM>ER=HGHMMKRMHK>F>F;>K

            MA>=:M>LH?PA>G:EEMABLA:II>G>=

            6*/#/""!*+

            .0HRHNK:<<HNGM:GMLPHNE=;>:P:K>H?

            MABLBG?HKF:MBHG

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHP

            6*/#/""!*+

            .4AB<A:<<HNGM:GML=B=RHNNL>MHA:G=E>

           MA>NLMK:EB:G1:Q,??B<>BGO>LMB@:MBHGL

           *0*/(,",;C><MBHGK>RHN

           K>?>KKBG@MHMABL>GMBMRHK:K>RHNK>?>KKBG@MH

           @>G>K:EER&MBLCNLMO>KRNG<E>:KPA:MRHN:K>M:EDBG@

           :;HNM:G=P>G>>=MHA:O>:<E>:KK><HK=LHMA:MMA>K>

           :K>GHFBLNG=>KLM:G=BG@L

           6*/#/""!*+

           .4A:M:<<HNGM:GML=B=RHNNL>MHA:G=E>

           NLMK:EB:G1:Q,??B<>BGO>LMB@:MBHGL:G=:N=BMLH?

            EHN=<KH?M

           &?RHN:K>@HBG@MH:LDBMMA:MP:R

           &PBEEL:R&=HGHMK>F>F;>K

           .4A:M:<<HNGM:GML=HRHNK><:EENLBG@MH

           A:G=E>:GRNLMK:EB:G1:Q,??B<>BGO>LMB@:MBHGHK:N=BM

           &=B=GHMNL>:<<HNGM:GMLMHA:G=E>M:Q

           H??B<>:N=BML&NL>=:<<HNGM:GMLMH;>:<<HNGM:GML:G=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 102 of
                                      434

                                                                         -:@>
            :N=BMHKL4HNE=RHNEBD>F>MH:GLP>KMA:M

            .6>L IE>:L>

            !NKBG@MA>MBF>MA:MP>P>K>MA>K> P>

            NL>=(-*$ P>NL>="KGLM6HNG@ P>NL>=%:KKR

            LHF>MABG@ &=HGHMK>F>F;>KMA>G:F>>Q:<MER PAB<ABL

            BGMA>K><HK=L :G=P>A:=BGM>KG:E:N=BM:G=:<<HNGML

            .4A:M:K>MA>G:F>LH?MA>BGM>KG:E

            :N=BMBG@:<<HNGML

            *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPPA:MMA>

           :N=BMBG@:<<HNGML:K> ;NMB?RHN:K>:LDBG@PA:MBLMA>

           G:F>H?MA>I>KLHGPAHP:LMA> #,HK:<<HNGM:GM :MHG>

           IHBGMMA:MP:L'HAG A>LABK> :G=P>A:=:;HHDD>>I>K

           GG :G=&=HGHMK>F>F;>KA>KE:LMG:F>&:FLNK>BM

           BLHGK><HK=LHF>PA>K>

           6*/#/""!*+

           .&LMA:MGG4KB@AMLHG

           1A:MPHNE=;>BM R>L

           *//&3"/, :G&CNLML:RMHD>>IMA>

           K><HK=<E>:K &;>EB>O>A>L:B=BGM>KG:E:N=BM:G=

           :<<HNGML :LHIIHL>=MHBGM>KG:E:N=BMBG@:<<HNGML

           :EMAHN@A&A:O>HE=>:KL

           1%"4&1+"001A:MBL<HKK><M

           6*/#/""!*+

           .4:LMA>K>:GRHG>>EL>MA:MPHKD>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 103 of
                                      434

                                                                         -:@>
            BGM>KG:EER:L:G:<<HNGM:GMHK #,?HKRHNK<HFI:GB>L

            6>L

            .4A:MP>K>MA>BKG:F>L

            &=HGHMK>F>F;>K

            .!B=':FB>4BELHG>O>KPHKD:L:G

            :<<HNGM:GM?HKRHN

            3>KR;KB>?ER

            .4A:MMBF>I>KBH=P:LMA:M

            &=>:EMPBMA':FB>4BELHGLHF>MBF>

           ;>MP>>G     LHF>MBF>BGBGMH

           .4AR=B=A>LMHIPHKDBG@?HKRHN

           *0*/(,",;C><MBHG

           1%"4&1+"00%>P:L?BK>=

           6*/#/""!*+

           .4ARP:LA>?BK>=

           *0*/(,",;C><MBHG1ABLBLK>:EER

           @HBG@;>RHG=MA>L<HI>GHP

           6*/#/""!*+

           .4ARP:LA>?BK>=

           *0*/(,"&:F@HBG@MHBGLMKN<MMA>

           PBMG>LLGHMMH:GLP>K&M@H>L;>RHG=MA>L<HI>

           6*/#/""!*+

           .!B=(-*$BGM>K:<MPBMAMA>NLMK:EB:G1:Q

           ,??B<>    LMKBD>MA:M4A>GRHNK<HFI:GB>LP>K>NG=>K

           :N=BM;RMA>NLMK:EB:G1:Q,??B<> =B=(-*$A:G=E>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 104 of
                                      434

                                                                         -:@>
            BGM>K:<MBHGLPBMAMA>M:QH??B<>

            +H

            .0:F>JN>LMBHG?HK"KGLM6HNG@

            +H

            *0*/(,",;C><MBHG

            6*/#/""!*+

            .!B=%:KKR :G=P>=HGHMK><:EEABLE:LM

            G:F> BGM>K:<MPBMAMA>1,BGK>@:K=MHMA>BK:N=BML

            %>BGM>K:<M>= ;NMMA:MBL=B??>K>GMMA:G

           RHNK?HKF>KJN>LMBHG

           .&DGHP!B=A>BGM>K:<M           A>=B=

           &GM>K:<MF>:GLA><HFFNGB<:M>=BGLHF>

           P:R%>> F:BE>= A>IAHG>= A>A:=ENG<A A>I:LL>=

           MA>FBGMA>LMK>>M:G=L:B=%B0H ;>BG@:G:N=BMHK

           &PHNE=L:RA>BGM>K:<M>=PBMAMA>1,F:GRMBF>L

           .!B=%:KKRA:G=E>MA>NLMK:EB:G1:Q

           ,??B<>BGO>LMB@:MBHGHGRHNK;>A:E?HKRHNK<HFI:GB>L

           ;>A:E?

           +H

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .!B='HAG A>LABK>A:G=E>MA>NLMK:EB:G

           1:Q,??B<>BGO>LMB@:MBHG?HKRHNHKRHNK<HFI:GB>L

           ;>A:E?

           %>=B=LHF>H?MA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 105 of
                                      434

                                                                         -:@>
            .!B=GG4KB@AMLHG

            +H

            .!B=':FB>4BELHG

            +H

            .4A:MMBF>I>KBH==B='HAG A>LABK>PHKD

            ?HKRHNK<HFI:GB>LHKRHNKL>E?

            *0*/(,",;C><MBHG<HFIHNG=

            6*/#/""!*+

            .4A:MMBF>I>KBH==B='HAG A>LABK>PHKD

           ?HKRHN

           *0*/(,",;C><MBHG

           1%"4&1+"00'HAG &;>EB>O> PHNE=A:O>

           ?BKLM;>>G:;HNMNGMBE BG=B??>K>GMKHE>L

           *0*/(," :GRHNIE>:L>CNLMLI>EE

           ?HKMA>K><HK=AHPRHNLI>EE A>LABK> ;><:NL>&MABGD

           BMBL;>BG@FBLLI>EMKB@AMGHP B?RHNK>F>F;>K

           1%"4&1+"00&:FLHKKR &<:GGHMM>EE

           RHNAHP&PHNE=LI>EE'HAG A>LABK>&<HNE=F:D>:

           @N>LL ;NMMA>G&:FCNLM@N>LLBG@

           *//&3"/,!HGHM@N>LL

           6*/#/""!*+

           .!B=/:R%HG@PHKD?HKRHN:M EHN=<KH?M

           %>PHKD>=BGHG>H?FR<HFI:GB>L

           .!HRHNK><:EEPAB<A<HFI:GR

           +H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 106 of
                                      434

                                                                         -:@>
            .!HRHNK><:EEPA:MA>=B=?HKRHNK

            <HFI:GB>L

            6>L

            .4A:M=B=A>=H?HKRHNK<HFI:GB>L

            %>P:L:IKH@K:F>K:G=@K:IAB<=>LB@G>K

            .4A:M=B=A>IKH@K:F?HKRHN

             H=>

            *0*/(,",;C><MBHG

            6*/#/""!*+

           .!B=BMK>E:M>MHBM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           *//&3"/,,G>FHF>GM!K4KB@AM

           &<:GHGERBGLMKN<MRHN&PHNE=;>A:IIRMHBGLMKN<M

           >O>KRHG>>EL>1A><HNKMK>IHKM>K<:GHGERM:D>HG>H?

           NL:M:MBF>6HNA:O>MHI:NL>:;>:MMH:EEHPMA>

           H;C><MBHG

           1%"4&1+"00 >KM:BGER

           *//&3"/,&=HGHMF>:GMHLBG@E>RHN

           HNM;><:NL>>O>KRHG>BL=HBG@BM

           1%"4&1+"006>L*R:IHEH@B>L

           6*/#/""!*+

           .4AHHPG>= EHN=<KH?MHGBML?HNG=BG@

           6HNPHNE=A:O>MHEHHD:MMA>K><HK=L&

           =HGHMK>F>F;>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 107 of
                                      434

                                                                         -:@>
            .!B=MA>HPG>KLABI>O>K<A:G@>

            &PHNE=;>EB>O>LH ;NM:@:BGRHNPHNE=

            A:O>MHEHHD:MMA>K><HK=L&=HGHMK>F>F;>K

            .4:L EHN=<KH?M>O>KHPG>=;R

            1NEBI1K:=BG@

            6HNPHNE=A:O>MHEHHD:MMA>K><HK=L&

            =HGHMK>F>F;>K&=HGHM=HMA><HFI:GRL><K>M:KB:E

            .!HRHNA:O>:GRK><HEE><MBHGH?MA>

            HPG>KLABIH? EHN=<KH?M:M:GRIHBGMBGMBF>

           &=HGHMLI><NE:M>HGMA>L>MABG@L

           &BGLMKN<MI>HIE>MH=HLMN??&ABK><HFI:GR

           L><K>M:KB:EPA>G&G>>=MH&=HGHMK>F>F;>K

           .!B=)RGG>4KB@AM>O>KHPG:GRIHKMBHGH?

            EHN=<KH?M

           &=HGHMK>F>F;>K

           .4:LMABL>GMBMRK>E:M>=MH!:O>HK4(BG

           :GRP:R

           +HM:M:GRIHBGM

           .!B=MABL>GMBMR>O>K@H;R:GHMA>KG:F>

           &=HGHMK>F>F;>K

           .&LMABL>GMBMRLMBEEBG>QBLM>G<>

           &A:O>GHM<A><D>=

           .&:F@HBG@MHFHO>MHMA>G>QM>GMBMR

           1ABLBL

           *0*/(,">?HK>P>FHO>MHMA>G>QM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 108 of
                                      434

                                                                         -:@>
            >GMBMR BMBL@>MMBG@HGMH;>:;HNMH<EH<D!HRHN

            P:GMMH@HMBEEH<EH<D:G=MA>G&=HGHMDGHPB?P>

            :K>;K>:DBG@?HKENG<A B?MA>R:K>;KBG@BG@ENG<ABG

            PA:MMA>LMHKRBL ;NM

            */#/""!*+)>MNL@HH??MA>K><HK=

            1%"3&!",$/-%"/$HBG@H??MA>K><HK=

            1A>MBF>BL

             0AHKMK>:D

            1%"3&!",$/-%"/$HBG@;:<DHGMA>

           K><HK=1A>MBF>BL1A:GDRHN

           6*/#/""!*+

           .!B=:PHF:GPBMAMA>?BKLMG:F>H?"EE>G

           >O>KPHKD:M:GRH?RHNK<HFI:GB>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP:EEMA>LM:??

           :MFR<HFI:GB>LGHP LH&<:GGHM:GLP>KMA:M

           6*/#/""!*+

           .6HNA:O>GHK><HEE><MBHGH?:PHF:GG:F>=

           "EE>GPHKDBG@:MRHNK<HFI:GB>L

           *0*/(,",;C><MBHG

           1%"4&1+"00!HRHNA:O>:E:LMG:F>

           6*/#/""!*+

           .&=HGHM

           &A:O>GHB=>:

           .+HK><HEE><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 109 of
                                      434

                                                                         -:@>
            6HNK>:EBL>MA:M&A:O><HFI:GB>L:<KHLL

            MA>PHKE= :G=&F>>MI>HIE>:EEMA>MBF>BGFR

            <HFI:GB>L :G=A:O>GHB=>::;HNM:EEMA>I>HIE>

            &LA:D>A:G=L &LI>:DBG?KHGMH?LM:?? &=H:EEMABL

            LHKMH?LMN??:G=I>HIE>@H %>R &:FLN<A:G=LN<A

            :G=:R>:KE:M>K&=HGHMK>F>F;>K

            .!H<MHK &:F:;BM<HG?NL>=;><:NL>

            >:KEB>K&MAHN@AMRHNMHE=F>RHN=HGHMHPG:GR

            <HFI:GB>L:G=GHPRHNA:O>K>?>KKBG@MHRHNK<HFI:GB>L

           LH<:GRHN>QIE:BGAHPMA:MPHKDL

           *0*/(,",;C><MBHG

           1%"4&1+"00&?HNG=>=MA>F6HN:K>

           MKRBG@MH<HG?NL>HK<HG?HNG=I>HIE>PBMAMA>GHMBHG

           MA:M:<HFI:GRMA:M&HPGLA:K>LH? HKMA><HFI:GRMA:M

           &A:O>L>MNIMH=HFRK>L>:K<A :K>L>I:K:M>1A>?:<M

           MA:M&=HGHMHPG MA:M&A:O>L>MNIMKNLML:G=

           PA:M>O>K>EL>HNMH?FR<HGMKHE =H>LGHMK>FHO>MA>

           ?:<MMA:M&PBEE<:EEMA>FFR<HFI:GB>L

           6*/#/""!*+

           .,D:R&:F@HBG@MHFHO>MHMA>G>QM

           >GMBMR1ABLBL<:EE>= +

            +

           .4A>GP:L +?HNG=>=

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>KMA>=:M>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 110 of
                                      434

                                                                         -:@>
            :G=PAB<A +BGI:KMB<NE:KRHN:K>M:EDBG@:;HNM

            6*/#/""!*+

            .&LMA>K>FHK>MA:GHG> +

            6>L

            .-E>:L>EBLMMA>F?HKF>

            &=HGHMK>F>F;>KMA>F:EE&PHNE=G>>=

            MHEHHD:MK><HK=L

            .-E>:L>EBLMMA>HG>LRHNK><:EE

            2( NLMK:EB:

           .4A>GP:LMA>2( +?HKF>=

           2G=>K:=B??>K>GMG:F> MA:MBL>BMA>K

           ->KF:G>GM0N<<>LLHK!>LB@G;R%NF:GHKPA:M>O>K>EL> &

           =HGHMK>F>F;>KPAB<A>Q:<MERBMP:L PAB<APHNE=A:O>

           ;>>G

           .0H PAR=B=RHN<A:G@>MA>G:F>BG

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>K><HK=

           1%"4&1+"00&=B=GHM<A:G@>MA>G:F>

           BG

           6*/#/""!*+

           .4ARP:LMA>G:F><A:G@>=BG

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           1%"4&1+"00L&CNLML:B= &=B=GHM

           <A:G@>MA>G:F>BG MA>G:F>P:LGHM<A:G@>=BG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 111 of
                                      434

                                                                         -:@>
            +HK=B=&L:R

            6*/#/""!*+

            .%HP=B=->KF:G>GM0N<<>LL)BFBM>=HK

            !>LB@G;R%NF:G;><HF> +

            1A>G:F>P:L<A:G@>=

            .4AH<A:G@>=MA>G:F>

            &BGLMKN<M>=:I>KLHGBGMA>2(MH<A:G@>

            MA>G:F>

            .4A>G=B=RHNF:D>MA:MBGLMKN<MBHG

           ?M>K!:O>L=>:MA

           .!HRHNA:O>

           &=HGHMA:O>MA>K><HK=LBG?KHGMH?F>

           &=HGHMK>F>F;>K

           .4AH=B=RHNBGLMKN<MMH<A:G@>MA>G:F>

           &A:O>GHB=>:

           .6HNL:B=:I>KLHGBGMA>2(

           6>L

           .NMRHN=HGHMK><:EEPAHBMP:L

           &=HGHMA:O>MA>K><HK=LBG?KHGMH?F>

           &?BMBL<HFI:GRL><K>M:KB:E MA>G:EEMAHL>K><HK=L

           PHNE=A:O>;>>GMA>K>:MMA>MBF>&A:O>GHB=>:

           .4A:MP:LMA>INKIHL>H?->KF:G>GM0N<<>LL

           )BFBM>=HK!>LB@G;R%NF:GPA>GBMP:L?HKF>=6HNDGHP

           PA:M LMKBD>MA:M4A:MP:LMA>INKIHL>H?->KF:G>GM

           0N<<>LL)BFBM>=PA>GBMP:L?HKF>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 112 of
                                      434

                                                                         -:@>
            &LMA:M +&<:GGHMK>F>F;>KB?MA:M

            BLMA>>Q:<MHG>&=HGHMK>F>F;>KPAB<AHG>BLPAB<A

            .)>MNL?HK@>M:;HNM +?HK:FHF>GM

            &:FM:EDBG@:;HNM->KF:G>GM0N<<>LL)BFBM>=

            &LMA:ML>I:K:M>MH +&:F:LDBG@

            MA:MJN>LMBHG&=HGHMK>F>F;>KHMA>KPBL>

            .&=HGHMDGHP&MBLRHNK<HFI:GB>L

            *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            MA>M>LMBFHGR

           6*/#/""!*+

           .4A>G->KF:G>GM0N<<>LL)BFBM>=P:L

           ?HKF>= PA:MP:LBMLINKIHL>L

           4A:MP:LMA>K>G:F>H?MA:M<HFI:GR&

           =HGHMDGHPHMA>KPBL>&=B=GHMG:F>BM

           .->KF:G>GM0N<<>LL)BFBM>=:G=!>LB@G;R

           %NF:GP>K>;HMAK>G:F>=

           6>L

           .4A:MP>K>MA>MPHK>G:F>L

           6HNPHNE=G>>=MHM>EEF>&=HGHM

           K>F>F;>KH??MA>MHIH?FRA>:=,G>H?MA>F;><:F>

            +&?RHN<:G@BO>F>MA>G:F>MA:MRHN:K>M:EDBG@

           :;HNMMA:MBME:M>K;><:F> &<HNE=@BO>RHN

           BG?HKF:MBHG

           .1A>HG>MA:ME:M>K;><:F> +

           6>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 113 of
                                      434

                                                                         -:@>
            .4A:MP:LMA>INKIHL>:M?HKF:MBHG

            1A>INKIHL>P:LMHAHE=:LL>ML;><:NL>

            &P:GM>=MH>O>GMN:EER?HKFLHF>MABG@:L:P:EE>M?HK

            BM<HBG0H:<NLMH=B:EP:EE>ML>KOB<>

            .4A:M:LL>ML=B=BMAHE=

            +HG>

            .!B=BM>O>KAHE=:LL>ML

            &MG>O>KA>E=:LL>ML

            .0HPA:MINKIHL>=B= +L>KO>

           &;>EB>O>&A:O>L:B=>Q:<MERPA:MBM

           L>KO>=

           .6HNL:B=PARRHN?HKF>=BM!B=BM>G=

           NIL>KOBG@MA>INKIHL>RHN?HKF>=BM?HK

           +H

           .0HPA:MINKIHL>=B=BML>KO>

           &MP:LMA>K>PABE>&P:L<K>:MBG@4>

           =B=GHM>G=NIE:NG<ABG@ +:L:P:EE>M

           .0H=B= +>O>KAHE=:LL>ML             :GRMRI>

           H?:LL>M

           %HE=+H

           .!B=BM>O>KHPG:LL>ML

           6>L

           .4A:M:LL>ML=B=BMHPG

           *0*/(,",;C><MBHG

           1%"4&1+"00&MHPG>=KB@AML
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 114 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .&MHPG>=KB@AMLMHPA:M

            &MHPG>=KB@AMLMHHMA>K:LL>ML

            .4A:M:LL>ML=B=BMHPGKB@AMLMH

            &PHNE=G>>=MHEHHDNIMA>EBLM

            .4:LBMBM<HBG

            4:LPA:MBM<HBG

            .!B=BMHPGKB@AMLMHBM<HBG

            &GI:KM

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .!B=BMHPGKB@AMLMHBGM>EE><MN:E

           IKHI>KMR

           *0*/(,",;C><MBHG

           1%"4&1+"00&PHNE=G>>=MHEHHD:MMA>

           EBLMH?PA:MP:L:<MN:EER=>IHLBM>=BGMHMA:M<HFI:GRMH

           :GLP>KMA:MJN>LMBHG

           6*/#/""!*+

           .4AHA:LMA>EBLMH?PA:MP:L=>IHLBM>=

           BGMHMA:M<HFI:GR

           2GE>LLBMBLBG:GRH?MA>K><HK=LMA:M

           A:O>;>>G@BO>GMHMA>E:PR>KL &<:GGHM:GLP>K

           .0H:K>MAHL>:LL>MLEHLMMHRHNGHP

           *0*/(,",;C><MBHG

           1%"4&1+"004A:M:LL>ML
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 115 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .1A>BM<HBG:LL>ML

            *0*/(,",;C><MBHG

            1%"4&1+"004A:MBM<HBG:K>RHN

            K>?>KKBG@MH

            6*/#/""!*+

            . +AHE=LKB@AMLMHBM<HBGBLMA:M

            <HKK><M

            *0*/(,",;C><MBHG

           1%"4&1+"00+H  +=H>LGHMAHE=

           KB@AMLMHBM<HBG

           6*/#/""!*+

           .4A:M=H>L +AHE=KB@AMLMH

            +BL:EBJNB=:M>=<HFI:GR&MAHE=L

           KB@AMLMHGHMABG@

           .4A>G +P:LHI>K:MBHG:E

           &A:O>:EK>:=RLM:M>= +P:LG>O>K

           HI>K:MBHG:E

           .MLHF>IHBGMBGMBF> +HPG>=KB@AML

           BLMA:M:<HKK><MLM:M>F>GM

           *0*/(,",;C><MBHG

           1%"4&1+"001A:MBL:<HKK><M

           LM:M>F>GM

           6*/#/""!*+

           .4A>G=B=BMHPGMAHL>KB@AML             =NKBG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 116 of
                                      434

                                                                         -:@>
            PA:MI>KBH=H?MBF>

            *0*/(,",;C><MBHG

            1%"4&1+"00&PHNE=G>>=MHEHHD:MMA>

            K><HK=L&=HGHMDGHPMA>=:M>H?MA>MK:GL?>KLH??

            MA>MHIH?FRA>:=

            6*/#/""!*+

            .>?HK>!:O>=B>=HK:?M>K!:O>=B>=

            *0*/(,",;C><MBHG

            1%"4&1+"00?M>K!:O>=B>=

           6*/#/""!*+

           .4A>GP:LBMEBJNB=:M>=

           &=HGHMDGHPMA:M

           .4:LBMHI>K:MBHG:EBG

           *0*/(,",;C><MBHG

           */#/""!*+0HKKR 

           1%"4&1+"001A><HFI:GRA:LG>O>K;>>G

           HI>K:MBHG:E

           6*/#/""!*+

           .4:LBMBG>QBLM>G<>BG

           &=HGHM;>EB>O>LH ;NMRHNPHNE=G>>=

           MHEHHD:MMA>K><HK=L HFI:GB>L%HNL>BGMA>2(AHE=L

           K><HK=L6HN<:GH;M:BGMA>F

           *//&3"/,&MABGDMA>E:LMJN>LMBHG

           P:LBG>QBLM>G<>BG ;NM&=HGHMP:GMMHFBLLM:M>

           BM1A>K><HK=BLLAHPBG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 117 of
                                      434

                                                                         -:@>
            *0*/(,"%><HKK><M>=BM

            *//&3"/,&:IHEH@BL> LHKKR:;HNM

            MA:M

            6*/#/""!*+

            .&G  +P:LBG>QBLM>G<>

            *0*/(,",;C><MBHG

            1%"4&1+"00&MP:LGHM<:EE>= +:M

            MA:MMBF> &;>EB>O>&=HGHMDGHPPA>GMA><A:G@>P:L

            F:=>MHMA>G:F> ;NMMA><HFI:GRA:=;>>G?HKF>=

           6*/#/""!*+

           .,G<>BMA:=;>>G?HKF>= BMA>E=KB@AML

           +H

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .4A>G=B=BMH;M:BGKB@AML

           @:BG &PHNE=G>>=MHEHHD:MMA>

           :<<HNGML:G=K><HK=LMHL:RPA>GKB@AMLP>K>BLLN>=

           .NM:MLHF>IHBGMBMA>E=KB@AML

           6>L

           .&MA>E=KB@AMLMHBM<HBG

           MLHF>IHBGMBMA>E=KB@AMLMHBM<HBG

           .4A:M=H>LMA:MF>:G

           1A>M>KFKB@AMLBL=>?BG>=BGIKHI>KMR

           E:PK:MA>KLN<<BG<MER4HNE=RHNEBD>F>MHLM:KM

           JNHMBG@F:R;>E:<DL):P!B<MBHG:KRHGMA>G:MNK>H?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 118 of
                                      434

                                                                         -:@>
            KB@AML

            .&PHNE=EBD>RHNMHM>EEF>PA:MP:LMA>

            G:MNK>H?MA>KB@AML +A>E=

            *0*/(,",;C><MBHG

            1%"4&1+"00&MA:=KB@AML&=HGHM

            A:O>MA>K><HK=L&<:GGHMK>:=MA>>Q:<MLMBINE:MBHGL

            6*/#/""!*+

            .0H BGRHNKHPGM>KFL =>L<KB;>MHF>

            PA:M +P:L:;E>MH=HPBMABMLKB@AML

           *0*/(,",;C><MBHG

           1%"4&1+"00 +<:GGHM=H:GRMABG@

           &MBL:E>@:E>GMBMR PAB<AF>:GL;RBML>E?BM<:GGHM

           :<MN:EER=H:GRMABG@GBG=BOB=N:E :I>KLHG G>>=LMH

           =BK><M:G=F:D>MABG@LA:II>G

           6*/#/""!*+

           .6>L ;NMMA>R=B=LHNG=>KMA>:NLIB<>L

           H? +

           *0*/(,",;C><MBHG

           1%"4&1+"00!B=PA:MNG=>KMA>:NLIB<>L

           H? +>Q:<MER IE>:L>>LI><B?B<

           6*/#/""!*+

           .0AHNE= +A:O>>Q>K<BL>=BMLKB@AML

           LMKBD>MA:M&?:GBG=BOB=N:EH?MA>:IIKHIKB:M>

           :NMAHKBMR=BK><M>= +MH>Q>K<BL>BMLKB@AMLMH

           BM<HBG PA:M<HNE=MA>RA:O>=HG>PBMABM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 119 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG<:EEL?HK

            LI><NE:MBHG

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00&?LHF>HG>A:LKB@AMLMH:G

            :LL>M MA>R<:G=H:EELHKMLH?MABG@LL:

            LI><NE:MBO>=BO> LHF>HG>PBMA:LL>ML<:G=>LMKHR

            :LL>ML FHO>:LL>ML @BO>MA>F:P:R0HHG:INK>

            LI><NE:MBO>?HKFBGMA>P:RMA:MRHN:K>:LDBG@MABL

            PA:M<HNE=;>=HG>1A>R<HNE=;>F:=>BGMH:

           <A:KBM:;E>MKNLM1A>R<HNE=;>LAHMBGMHLI:<>:L:

           <>KM:BG1>LE:BL;>EB>O>=MH;>NIMA>K>1A>R<HNE=;>

           @BO>G:P:RMH<ABE=K>GL<A:KBMB>LBG?KB<:

           6*/#/""!*+

           .0H AHPFN<ABM<HBG=B= +AHE=KB@AML

           HO>K

           *0*/(,",;C><MBHG

           1%"4&1+"00&PHNE=G>>=MHEHHD:MMA>

           :<<HNGML&=HGHMDGHPH??MA>MHIH?FRA>:=

           6*/#/""!*+

           .4AHA:LMA>:<<HNGML

           &=HGHMDGHP&MBL:EBJNB=:M>=

           <HFI:GR&MA:L;>>G<EHL>=

           .0H PA>K>=B=MA>KB@AMLMA:M +A:=

           @H

           1A>RA:O>;>>GFHO>=&PHNE=G>>=MH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 120 of
                                      434

                                                                         -:@>
            EHHD:MMA>BG=BOB=N:EK><HK=LMHL:RPA:MMK:GL?>KL

            A:O>H<<NKK>=4A:MRHN:K>MKRBG@MH:LDBL:;HNM

            *K(E>BF:G*K(E>BF:GA:=GHHPG>KLABIBGMA:M

            <HFI:GR:M:GRIHBGM%>GH:LL>MLBGMA:M<HFI:GR

            +HMABG@H?ABL>O>KMK:GL?>KK>=MHMA:M<HFI:GR HKHNM

            H?MA:M<HFI:GR%>A:=GHLA:K>AHE=BG@%>A:=GH

            >FIEHR>>G:MNK>1A>K>P:LGH<HGMK:<MLPBMA

            *K(E>BF:G1A>K>P:LGH=>IHLBMBG@H?:LL>ML K>FHO:E

            H?:LL>ML MA>K>P:LGHMABG@MA:MA>HPG>=>O>KP>GM

           BGMHBM<>GMH?ABLFHG>RHKFHK>G>O>KP:LBGOHEO>=

           PBMA:GRMABG@MH=HPBMABM%>=B=GHMI:R?HKMA>

           ?HKF:MBHG%>P:L:LD>=MH A>=B=GHM ;><:NL>A>@HM

           LB<D :G=MA:MG>O>KH<<NKK>=

           .!B=4(A:O>:GRK>E:MBHGLABIPBMA +

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!B= +>O>KFBG>BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .4:L +>O>K:N=BM>=;RMA>1,

           &=HGHMDGHPAHPMA:MPHNE=;>IHLLB;E>

           &?RHN:K>M:EDBG@:;HNM +2( MA>G +2(BL:

           KBMBLA>GMBMR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 121 of
                                      434

                                                                         -:@>
            .4:LBM>O>K:N=BM>=LBFIE>R>LHKGH

            LN??B<>L

            &PHNE=GHM;>:;E>MH:GLP>KMA:M

            &A:O>GHB=>:AHPMA>NLMK:EB:G@HO>KGF>GM<HNE=>O>K

            :N=BM:KBMBLA<HFI:GR :G=B?MA>R=B=BMPHNE=GHM

            BGOHEO>F>

            .6HNMHE=F>MA>K>BL:2(>GMBMR +:G=

            :GNLMK:EB:G>GMBMR +

            G=&P:LO>KRLI><B?B<;><:NL>P>P>K>

           M:EDBG@:;HNMMA>2(>GMBMR RHNA:=GHMLPBM<A>=;:<D

           MHMA>NLMK:EB:G>GMBMR :G=&:GLP>K>=L:RBG@MA>2(

            +

           .0HMA>NLMK:EB:G + =B=BM>O>KFBG>

           BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .4:LMA>NLMK:EB:G +>O>K:N=BM>=;R

           MA>1,

           6>L

           .4A>G=B=MA:M:N=BM;>@BG

           &=HGHMA:O>MA>K><HK=LBG?KHGMH?F>

           &<:GGHM:GLP>K:GRH?MAHL>=>M:BEL

           .4A>K>=HMAHL>K><HK=L>QBLM

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 122 of
                                      434

                                                                         -:@>
            1%"4&1+"00&A:O>GHB=>: HMA>KMA:G

            MA>=H<NF>GMLMA:MA:O>;>>GA:G=>=MHFRE:PR>KL1A:M

            BL:EE&A:O>

            6*/#/""!*+

            .4AHP>K>MA>=BK><MHKLH? +

            *0*/(,",;C><MBHG

            1%"4&1+"00@:BG &=HGHMK>F>F;>K

            PAB<A=BK><MHKLP>K>=BK><MHKL:M:GRI:KMB<NE:KMBF>

            &=HGHM=H<HFI:GRL><K>M:KB:E&I:RHMA>KI>HIE>MH

           =H<HFI:GRL><K>M:KB:ELLN<A HMA>KI>HIE>

           BG<EN=BG@IKH?>LLBHG:E<HFI:GB>LMA:MP>K>MA>K>=HBG@

           MA:M PHNE=DGHPMA>L>MABG@L GHMF>

           6*/#/""!*+

           .4AH:K>MAHL><HFI:GB>L LHP><:GK>:<A

           HNMMHMA>F

           *0*/(,",;C><MBHG

           1%"4&1+"00&?RHNEHHDNIMA>K><HK=L

           HG0& RHNPBEEL>>:K><HK=MA:MGHM>L:<HFI:GR

           &:FGHM@HBG@MHI:R?HKMA>K><HK=?HKRHNMH=HPGEH:=

           HG>MA:M:GRHG><:G@H:G=I:R?HK

           6*/#/""!*+

           .4AHHPG>= +NLMK:EB:PA>GBMP:L

           ?HNG=>=

           @:BG &=HGHMA:O>MA>LA:K>AHE=BG@

           LMKN<MNK>BG?KHGMH?F>&PBEEGHMLI><NE:M>HGPAB<A
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 123 of
                                      434

                                                                         -:@>
            I:KMB<NE:K<HFI:GRHNMH?PAB<AHG>&L>MNIP:LHPG>=

            BGPA:MP:R

            .4AHHPG>= +2(PA>GBMP:LBGBMB:EER

            L>MNI

            @:BG &=HGHMA:O>MA>K><HK=LBG?KHGM

            H?F>&?RHN:K>:LDBG@:;HNM>BMA>KH?MAHL>A:OBG@

            :GRMABG@MH=HPBMA4(HK!:O> S>KH!:O>HPG>=S>KH

            BG>BMA>K + GHMABG@ G:=: GNEE ;E:GD

            .!B=>BMA>K +2(HK +NLMK:EB:A:O>

           HPG>KLABIHO>KBM<HBG&-

           *0*/(,",;C><MBHG%>A:L:EK>:=R

           K>LIHG=>=MABLA:=GHMABG@MH=HPBMA!:O>(E>BF:G6HN

           A:O>@HMM>GLHF>E>>P:RBGMHRHNKJN>LMBHGL:;HNMMABL

           MHIB< :G=&:F@HBG@MHBGLMKN<MABFGHMMH:GLP>K:GR

           ?NKMA>KJN>LMBHGL:;HNMMA>:LL>MLH?<HFI:GB>LMA:MA:=

           GHMABG@MH=HPBMA!:O>(E>BF:GHK4(

           *//&3"/,&MBLCNLM:?M>KHG> :G=

           &MABGDP>:K>P>:KBG@HNK<HNKMK>IHKM>KHNMM:

           @HH=LMHIIBG@IHBGM E>MNLM:D>:;K>:D

           */#/""!*+1A:MBL?BG> P><:GLMHI

           GHP

           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL"G=H?OB=>H<:K=GNF;>K OHENF>

            BGMA>OB=>H=>IHLBMBHGH?!K K:B@4KB@AM

            )NG<A>HG:=CHNKGF>GM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 124 of
                                      434

                                                                         -:@>
            1%"3&!",$/-%"/1ABLBLMA>;>@BGGBG@

            H?OB=>H<:K=GNF;>K OHENF> BGMA>OB=>H

            =>IHLBMBHGH?!K K:B@4KB@AM$HBG@HGMA>K><HK=

            1A>MBF>BL1A:GDRHN

            6*/#/""!*+

            .$HH=:?M>KGHHG !K4KB@AM4>E<HF>

            ;:<D&A:=HG>E:LMJN>LMBHG:;HNM +6HNP>K>

            K>?>KKBG@F>MH0& 4AHA:LMA>GHG IN;EB<K><HK=LH?

             +

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00GRMABG@MA:M&=HGHMA:O>

           BGMA:MIBE> &=HGHMDGHP

           6*/#/""!*+

           .0HB?RHN=B=GHM@BO>BMMHRHNK

           E:PR>KL RHN=HGHMDGHPPA>K>BMBL

           &A:O>GHB=>:

           .4AHL>B=>:P:LBMMH<K>:M>BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00&A:O>;>>GPHKDBG@HGMABL

           LBG<>

           6*/#/""!*+

           .0HBMP:LRHNKB=>:

           ,MA>KI>HIE>A:O>P:GM>=MH<K>:M>

           =B@BM:EFHG>R;>?HK>A:G=BM<HBG=B??>KLBGMA:M

           >O>KRHG>P:GM>=:G:GHGRFHNL<:LALRLM>F&F:=>LNK>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 125 of
                                      434

                                                                         -:@>
            MA:MBMP:L:E>@:ELRLM>F&A:O>A:=HMA>KB=>:LMA:M

            P>K>=B??>K>GMMH<K>:M>PA:MBLBM<HBGF>:GM

            ;EH<D<A:BG:G=MA:MK>JNBK>=;>BG@=B??>K>GMMA:GMABG@L

            EBD>> <:LA BG:<HFIE>M>ER=B??>K>GMP:R

            .4A>G=B=RHN=><B=>MH@H?KHFPHKDBG@HG

            BMMH;KBG@BG@BMIN;EB<

            *0*/(,",;C><MBHG

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00

           6*/#/""!*+

           .&G =B=RHN;>EB>O>PA:MRHNP>K>

           =HBG@PHNE=;>LN<<>LL?NE

           &A:=GHB=>:

           .!B=RHNAHI>BMPHNE=;>LN<<>LL?NE

           ,?<HNKL>RHNAHI> HKRHNPHNE=GHMPHKD

           HGBMHMA>KPBL>

           .!B=RHN;>EB>O>BMPHNE=;><HF>:K>:E

           :EM>KG:M><NKK>G<R

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPBMBLLMBEE

           GHM:<NKK>G<R&AHI>

           6*/#/""!*+

           .!B=RHN;>EB>O>BMPHNE=;><HF>:K>:E

           :EM>KG:M>F>MAH=H?>Q<A:G@>

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 126 of
                                      434

                                                                         -:@>
            1%"4&1+"00&:EP:RLAHI>=

            6*/#/""!*+

  H         .!HRHNK><:EEK>:<ABG@HNMMH

            )HNBL(E>BF:GBG#>;KN:KR

            &=HGHMK>F>F;>KMA>>Q:<M=:M> ;NM

            LHF>MBF>:KHNG=MA>G R>L

            .&:FA:G=BG@RHNPA:MP><:GF:KD:L

            -E:BGMB??L"QAB;BM

             -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

           1ABLBL=H<D>M>GMKR !HRHNK><H@GBL>MA>

           > F:BEHGMA>L><HG=A:E?H?I:@>

           *0*/(,",;C><MBHG6HNF:R:GLP>K

   H       1%"4&1+"00&K><H@GBL>MA>IKBGMHNMH?
              1%"4&1+"00&K><H@GBL>MA>IKBGMHNMH?

           MA>>
              MA>> F:BE

           6*/#/""!*+

   H       .G=BML:RL%>EEH)HNBL
              .G=BML:RL%>EEH)HNBL RHNKLHG!:O>

           :G=&:K>MPHH?MA>MAK>>D>RI>HIE>;>ABG=BM<HBG
              :G=&:K>MPHH?MA>MAK>>D>RI>HIE>;>ABG=BM<HBG

           !B=RHNPKBM>MA:M
              !B=RHNPKBM>MA:M

           &MRI>=MA:M
              &MRI>=MA:M

    R      .4AHBLMA>MABK=I>KLHG
              .4AHBLMA>MABK=I>KLHG

           1%"4&1+"00&LBMHG>H?MAHL>MABG@L
              1%"4&1+"00&LBMHG>H?MAHL>MABG@L

           *0*/(,",D:R!K4KB@AMBLGHMBG
              *0*/(,",D:R!K4KB@AMBLGHMBG

           :IHLBMBHGMH:GLP>KMA:MJN>LMBHG%>PBEEIKHOB=>:
              :IHLBMBHGMH:GLP>KMA:MJN>LMBHG%>PBEEIKHOB=>:

           ?NELHF>>QIE:G:MBHGMHMA><HNKMBG<:F>K:
              ?NELHF>>QIE:G:MBHGMHMA><HNKMBG<:F>K:

           */#/""!*+!HP>DGHPMA>;:LBL?HK
              */#/""!*+!HP>DGHPMA>;:LBL?HK
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 127 of
                                      434

                                                                         -:@>
  R         K>?NLBG@MH:GLP>K
              K>?NLBG@MH:GLP>K

            *0*/(,"*RNG=>KLM:G=BG@
              *0*/(,"*RNG=>KLM:G=BG@            :G=A>

            PBEE<HKK><MF>B?&:FPKHG@
              PBEE<HKK><MF>B?&:FPKHG@         BLL><NKBMR

            */#/""!*++:MBHG:EL><NKBMR
              */#/""!*++:MBHG:EL><NKBMR

            *0*/(,"6>L
              *0*/(,"6>L

            */#/""!*+,?PAB<A<HNGMKR
              */#/""!*+,?PAB<A<HNGMKR

            1%"4&1+"00&GMABLI:KMB<NE:K<:L>
              1%"4&1+"00&GMABLI:KMB<NE:K<:L>

            MA>20
              MA>20

            6*/#/""!*+

   R       .!HRHNA:O>:?HKF:EL><NKBMR<E>:K:G<>

           ?KHFMA>20

           &:FGHM@HBG@MH;>=BL<NLLBG@:GRH?

           MABLLMN??

           *0*/(,",D:R LHA>PBEE=BL<NLL

           =>M:BELK>@:K=BG@MA:MBG<:F>K:PBMAMA><HNKM :G=MA>

           <HNKMPBEEF:D>:=>M>KFBG:MBHG:LMHPA:MI:KMLH?MA:M

           A><:G:GLP>K B?:GR

           6*/#/""!*+

   R       .&LMA>MABK=I>KLHGLMBEE:EBO>
               .&LMA>MABK=I>KLHGLMBEE:EBO>

           &=HGHMDGHP
               &=HGHMDGHP

           .&LMA>MABK=I>KLHG:F>F;>KH?MA>20

           @HO>KGF>GM

           &?&=HGHMDGHPB?MA>R:K>:EBO>&=H

           GHMDGHPB?MA>R:K>:F>F;>KH?MA>20@HO>KGF>GM

           .4>K>MA>R>O>K:F>F;>KH?MA>20
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 128 of
                                      434

                                                                         -:@>
            @HO>KGF>GM

            *0*/(,"&?RHN<:G:GLP>K :GLP>K

            &?RHN<:GGHM:GLP>K MA>GRHNPBEE:GLP>K

            1%"4&1+"006>L

            6*/#/""!*+

            .4A:M;H=RH?MA>@HO>KGF>GM

            *0*/(,"GLP>KNGMBERHN?>>EMA:M

            RHNG>>=MH:GLP>KBG?KHGMH?MA><HNKM

            1%"4&1+"00&PBEEE>:O>MA:MHG>?HK

           MA><HNKM

           *0*/(,"           BG<:F>K:

           6*/#/""!*+
  R        .4:L!:O>:P:K>H?MABLMABK=I>KLHGL

           BGOHEO>F>GM

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG &PBEEE>:O>MA:MMH

           MA><HNKM

           6*/#/""!*+

           .4:LMABLMABK=I>KLHG:P:K>H?!:O>L

           BGOHEO>F>GM

           @:BG &:F@HBG@MHE>:O>:GRH?MABLMH

           MA><HNKM

           .>MP>>G:G= PA>GRHN=><B=>=

           MHM:D>BM<HBGIN;EB< PAH=B=RHNLI>:DMH:;HNMMA>

           B=>:
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 129 of
                                      434

                                                                         -:@>
            1A>B=>:BL:O>KRPB=>MHIB<4AH=B=

            &LI>:DMH;>MP>>G:G=I:KM?KHF> F:BELMH

            4>B!:B:G=HMA>KLPAHP>K>L>>FBG@ERIN;EB< LN<A:L

            %:E#BGG>R:G='HAG*:<!HG:E=:G=>:K

            .&:FLHKKR

            >:K

            .>:K&LMA:M:?BKLMG:F>HK:E:LM

            G:F>

            1A:MBLABLGB<DG:F>ELH KRIMHG:NM

           &?RHNL>:K<ANIRHNPBEE?BG=PAHBMBL1A:MBL/:R

           ./:RPAH &:FLHKKR

           !H:L>:K<AHG;B@MBF>M:ED:G=L:RMA>

           G:F> ;NM>:K KRIMHG:NM RHNPBEE?BG=BM

           .1ABLBL:NL>KG:F>

           6>L

           .G= KRIMHG:NM:G=>:K:K>MA>L:F>

           I>HIE>

           6>L

           .&:IHEH@BL> ;><:NL>&=B=GHM<:M<A

           >:K ;NM&BGM>KKNIM>=RHN

            "  /

           .1A:GDRHN4>B!:B %:E#BGG>R 'HAG

           *:<!HG:E= >:K KRIMHG:NMP:LMA>K>:GRHG>>EL>RHN

           LIHD>MH=NKBG@MA:MMBF>

           &G: R>:KI>KBH=MA>K>P>K>EHMLH?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 130 of
                                      434

                                                                         -:@>
            HMA>KI>HIE>

            .&:FM:EDBG@CNLM:;HNMR>:KL?KHF

             

            6>L

            .4>K>MA>K>:GRHMA>KLMA:MRHNK><:EE>=

            ;>LB=>LMA>L>?HNK

            &=BL<NLL>=MABG@LPBMAEE:G$K:G@>K

            .4AHBLEE:G$K:G@>K

            %>BL:?HKF>KI:KMG>KH?!,

           .&L*K$K:G@>KLMBEE:EBO>

           6>L

           .4A>G=B=RHN<HGM:<M*K$K:G@>K:;HNM

           BM<HBG

           &PHKD>=?HK*K$K:G@>K

           .4A:MMBF>=B=MAHL><HFFNGB<:MBHGLPBMA

           *K$K:G@>KM:D>IE:<>

           >MP>>GMBF>LPA>GP>P>K>PHKDBG@

           MH@>MA>K

           .0H

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .4A>GP:LMA>MBF>?K:F>RHNPHKD>=:M!,

           />FBG=F> &?HK@>M

           

           . !HRHNA:O><HGM:<M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 131 of
                                      434

                                                                         -:@>
            BG?HKF:MBHG?HK*K$K:G@>K

            &=HGHMDGHP&:FGHMLNK>%>BLGHM

            :M!,:GRFHK>&=HGHMDGHPB?A>BLLMBEEPA>K>A>

            P:L

            .!H>LA>LMBEEEBO>BGNLMK:EB:

            &A:O>GHMM:ED>=MHABFBG:<HNIE>H?

            R>:KL

            .4A>GP:LMA>E:LMMBF>RHNLIHD>MH

            *K$K:G@>K

            &;>EB>O>

           .MMA:MMBF> P:LA>EBOBG@BGNLMK:EB:

           6>L

           .!HRHNA:O><HGM:<MBG?HKF:MBHG?HK

           4>B!:B

           'NLMMA>> F:BE

           .!HRHNDGHPMA:M> F:BE;RA>:KM

           +H

           . :GRHNIKHOB=>BMMHRHNKE:PR>KL

           &PBEECNLM=H:GBGM>KG>ML>:K<A

           .!HRHNA:O><HGM:<MBG?HKF:MBHG?HK'HAG

           *:<!HG:E=

           @:BG &PHNE==H:GBGM>KG>ML>:K<A

           .!HRHNA:O><HGM:<MBG?HKF:MBHG?HK>:K

           @:BG &PHNE==H:GBGM>KG>ML>:K<A :G=

           A>A:LGHM<A:G@>=ABL:==K>LL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 132 of
                                      434

                                                                         -:@>
            .4A>GRHN<HGM:<M>=>:K =B=RHN<HGM:<M

            ABF:L!K K:B@4KB@AMHKBGLHF>:EB:L

            *0*/(,",;C><MBHG

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00HMA

            6*/#/""!*+

            .4A:MF>MAH==HRHNNL>MH<HFFNGB<:M>

            PBMA>:K

            BM<HBGM:ED &/         > F:BE

           .!HRHNA:O>:GRH?MAHL>K><HK=LLMBEE

           BM<HBGM:EDBLIN;EB< &/ =H>LGHMA:O>

           K><HK=L NGE>LLLHF>HG>A:L<:IMNK>=MA>F :G= GH &=H

           GHMA:O>MAHL>> F:BEL :EMAHN@ALHF>H?MA>F:K>LMBEE

           :O:BE:;E>

           .4A:MP:LMA>NL>KG:F>HGBM<HBGM:ED

           MA:MRHNNL>=

           0:MHLAB

           .!HRHNLMBEEA:O>:<<>LLMHMA>0:MHLAB

           :<<HNGMHGBM<HBGM:ED

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&A:O>GHMMKB>=EH@@BG@BG

           BG:EHG@MBF>

           6*/#/""!*+

           .!HRHNA:O>MA>HE=<K>=>GMB:EL

           &A:O>GHM>O>GEHHD>=PA>MA>K&PHNE=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 133 of
                                      434

                                                                         -:@>
            .4A>K>PHNE=MA>R;> B?RHNA:=MA>F

            *HLMEBD>ERBGFRA>:=

            . :GRHNEHHDGHP:G=M>EEF>B?MA>R:K>

            MA>K>

            &PHNE=G>>=MHMKR:G=L>>B?&=HGHM

            EH@FRL>E?HNM&A:O>NL>=:EHMH?I:LLPHK=LBGMA>

            I:LM:G=&<:GK>F>F;>KLHF>H?MA>FG>FHGB<L?KHFLHF>

            H?MA>F%:O>&MKB>=GHPHNE=&P:GMMHGH

            .!B=:GRHG>>EL>A:O>:<<>LLMHMA>

           0:MHLAB:<<HNGMHGBM<HBG<HF

           *0*/(,",;C><MBHG

           */#/""!*+0HKKR BM<HBGM:ED BLBM

           1%"4&1+"00BM<HBGM:ED6>L

           6*/#/""!*+

           .4AH>EL>A:=:<<>LL

           !:O>

           .4A>G=B=!:O>A:O>:<<>LLMHMA>0:MHLAB

           :<<HNGM

           1A>>Q:<ML>M NIMBF> &=HGHMK>F>F;>K

           ;NMP>LMHII>=NLBG@BMBG!><>F;>K

           .4AR=B=RHNLMHINLBG@BMBG!><>F;>K

           

           &P:L=BLBEENLBHG>=PBMABM<HBG:G=

           &G>>=>=MHM>LMPA>MA>K&A:=<HFIE>M>ER?N<D>=NI

           .0H=B=RHNA:O>:<HGO>KL:MBHGPBMA!:O>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 134 of
                                      434

                                                                         -:@>
            %HP=B=RHNFNMN:EER<HF>MHMA>:@K>>F>GMGHMMHNL>BM

            :GRFHK>

            *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            MA>M>LMBFHGR

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00&MP:LFR:<<HNGM LHMA>K>

            BLGH    LAHNE=GHM;>NL>=:GRFHK>!B=&@HH??:G=

            LMHIBGM>K:<MBG@R>LGNF;>KH?MABG@LA:=H<<NKK>=

            4BDB)>:DL 0BED/H:=:G=:GNF;>KH?HMA>K=:KDP>;LBM>L

           P>K>LM:KMBG@MH;><K>:M>=1A>K>:LHG&<K>:M>=

           BM<HBGP:LMH>GLNK>:?HKFH?FHG>RMA:MA:=:G

           >OB=>G<>MK:BELMHII>=:EEMA:MG=PA:M&L:PP:LFR

           <K>:MBHG;>BG@NL>=?HK>O>KRMABG@&A:M>=:G=GHMABG@

           O:EB=:MMA>MBF> :G=&MAHN@AM&A:=?:BE>=

           6*/#/""!*+

           .!B=!:O>LA:K>MABL=BL:IIHBGMF>GM

           *0*/(,",;C><MBHG

           */#/""!*+6HN<:G:GLP>K

           +H!:O>P:LMA>K>:LHG&D>IM@HBG@

           6*/#/""!*+

           .!B=RHN:LD!:O>MHLMHI           LMKBD>MA:M

           !B=!:O>>O>K<HFFNGB<:M>PBMAMA>0:MHLAB:<<HNGMHG

           BM<HBGM:ED

           *0*/(,",;C><MBHG

           */#/""!*+6HN<:G:GLP>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 135 of
                                      434

                                                                         -:@>
            1%"4&1+"006HN:K>:LDBG@ =B=A>

            <HFFNGB<:M>PBMAMA>:<<HNGM

            6*/#/""!*+

            .!B=A>>O>KPKBM>:IHLM!B=A>>O>K

            L>G=:F>LL:@>:L0:MHLAB

            *0*/(,",;C><MBHG

            1%"4&1+"001A:MBL:=B??>K>GM

            JN>LMBHG:@:BG!B=A>L>G=:F>LL:@>:L0:MHLABBLGHM

            =B=A>:GLP>KHGMA>BM<HBG:<<HNGM

           6*/#/""!*+

           .6HN:K>KB@AM:=JN>LMBHG0MKBD>BM

           !B=!:O>>O>KIHLM:L0:MHLABHGMA>BM<HBGM:ED?HKNF

           +H

           .!B=!:O>>O>KL>G=:F>LL:@>:L0:MHLAB

           HGMA>BM<HBGM:ED?HKNF

           +H

           .4A:M=B=!:O>=HPBMAABL:<<>LL

           *0*/(,",;C><MBHG

           1%"4&1+"00%><A><D>=PA:M&P:L

           =HBG@

           6*/#/""!*+

           .4AR=B=RHN@BO>!:O>:<<>LLMHMA>

           BM<HBGM:ED0:MHLAB:<<HNGM

           ><:NL>&<:G;>AHM A>:=>=

           .G=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 136 of
                                      434

                                                                         -:@>
            !:O>BL        !:O>P:L:K:F;NG<MBHNL;N@@>K

            :MMBF>LMHH ;NM!:O>=B=MA>> F:BEKNE>H?K>K>:=

            ;>?HK>RHNL>G=

            .0HAHP=B=ABL:<<>LL?:<BEBM:M>MA:M

            %><NMHNM:PAHE>EHMH?LMNIB=MABG@L

            MA:M&PHNE=A:O>L>GMMHI>HIE>

            .0HA>>=BM>=MA><HFFNGB<:MBHGL;>?HK>

            RHNL>GMMA>F

            *0*/(,",;C><MBHG

           1%"4&1+"00+HM:EE LHF>

           6*/#/""!*+

           .!B=RHNA:O>:IKH<>LLBGIE:<>PA>K>RHN

           PHNE==K:?MK>LIHGL>L A>PHNE=K>OB>PBM:G=MA>GRHN

           PHNE=L>G=BM

           *0*/(,",;C><MBHG

           1%"4&1+"00+H MA>K>P:LGH?HKF:E

           :GRMABG@EBD>MA:M

           6*/#/""!*+

           .%HP=B=A>L>>PA:MRHNP>K>@HBG@MH

           L>G=MH>=BMBM

           *0*/(,",;C><MBHG

           1%"4&1+"00&?RHNA:O>:G:<<HNGMRHN

           <:GL>>MABG@L

           6*/#/""!*+

           .6HNPHNE=L:O>=K:?ML
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 137 of
                                      434

                                                                         -:@>
            &?&P:L:GGHR>= &P:L:;E>MH<HGM:<M

            ABF:G=L:R&P:L:GGHR>=;>?HK>&L>GMLHF>MABG@

            .!B=MA>K><HF>:MBF>BG!><>F;>K

            RHN:LD>=!:O>MHLMHINLBG@MA>:<<HNGM

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            .6HNCNLMG>O>K<:EE>=ABFMHEH@BGMHMA>

            :<<HNGM:@:BG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .0H =HRHNDGHPB?A>LMHII>=EH@@BG@BG

           +HHG>P:LEH@@BG@BG

           .%HP=HRHNDGHPMA:MA>P:LGHMEH@@BG@

           BG

           1A>:<<HNGMA:L:<<HNGM=>M:BEL6HN<:G

           EH@BG:G=A:O>:EHHD:MMAHL>B?RHNP:GM

           .!HMAHL>:<<HNGM=>M:BEL>QBLMMH=:R

           6>L

           .K>MAHL>IN;EB<

           6>L

           .!B=:GRHG>>EL>A:O>:<<>LLMHMA>

           0:MHLAB:<<HNGM:MBM<HBGM:ED

           6>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 138 of
                                      434

                                                                         -:@>
            .4AH>EL>

            &MLKNGHG:<HFFHG?HKNF LH

            :=FBGBLMK:MHKL PA:M>O>K>EL> <HNE=A:O>@:BG>=:<<>LL

            .=FBGBLMK:MHKL<HNE=OB>PMA>IKBO:M>

            :<<HNGMH?0:MHLAB

            *0*/(,",;C><MBHG

            1%"4&1+"00$HH@E>:=FBGBLMK:MHK

            <HNE=OB>P$HH@E>> F:BE?KHF:GRHG>4A>MA>KMA>R@>M

            ?BK>=?HK=HBG@BMBL:GHMA>KJN>LMBHG6HNL:B=

           <HNE=

           6*/#/""!*+

           .4AHP>K>MA>:=FBGBLMK:MHKLH?BM<HBG

           LMKBD>MA:M4AHL>B=>:P:LBMMHPKBM>MA>BM<HBG

           PABM>I:I>K

           *BG>

           .4A>G=B=RHN;>@BG=K:?MBG@MA>BM<HBG

           PABM>I:I>K

           

           .!B=RHNLI>:DPBMA:GR;H=R:;HNMMA>

           BM<HBGPABM>I:I>K

           *0*/(,",;C><MBHG

           1%"4&1+"006>L &A:O>LIHD>GMH

           I>HIE>:;HNMMA>BM<HBGPABM>I:I>K&P:LHG:<:EE

           E:LMGB@AM=HBG@CNLMMA:M

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 139 of
                                      434

                                                                         -:@>
            .!B=RHNL>G=:=K:?MH?MA>BM<HBGPABM>

            I:I>KMH:GRHG>?KHFNGMBE

            *0*/(,",;C><MBHG

            1%"4&1+"00&MP:LGHM<HFIE>M>:MMA:M

            LM:@>

            6*/#/""!*+

            .NM=B=RHNLA:K>:GR?HKFH?:GR=K:?M

            H?MA>PABM>I:I>K?KHFNGMBE

            6>L

           .4BMAPAH

           1A>NLMK:EB:G@HO>KGF>GM

           .%HP=B=RHNLA:K>BMPBMAMA>NLMK:EB:G

           @HO>KGF>GM

           &LHN@AM?NG=BG@?KHF&1,)

           .#KHF &:FLHKKR

           & 1 , )

           .4A:M=H>LMA:MLM:G=?HK

           ,??MA>MHIH?FRA>:= &A:O>GHB=>:

           &MA:L;>>G:EHG@MBF>

           .!HRHNA:O>MA>K><HK=LH?MA:M

           LN;FBLLBHG

           0HF>>QBLM R>L

           .!HRHNA:O>MA>F

           &DGHPMA>R:K>HG&1,)

           .&L&1,)IN;EB<ER:O:BE:;E>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 140 of
                                      434

                                                                         -:@>
            +H

            . :GRHNK>JN>LMMA>F?KHF&1,)

            &=HGHMDGHP&A:O>GHM=HG>MA:M

            .!B=RHN@>MMA>?NG=BG@

            +H

            .4ARGHM

            *0*/(,",;C><MBHG?HNG=:MBHG

            1%"4&1+"001A>@HO>KGF>GM=><B=>=GHM

            MH?NG=BM

           6*/#/""!*+

           .!B=RHNLA:K>MA>PABM>I:I>KPBMA:GRHG>

           >EL>?KHF 

           ,MA>KI>HIE>A:=A>EI>=F>

           .4AH

           &GI:KML &=HGHMDGHP&A:O>M:ED>=

           MHF:GRI>HIE>BGMA>I:LM1A>K>:K>;BMLH?MABG@L

           MA:M&A:O>@BO>GHO>K&<:GGHMK>F>F;>K:EEMA>

           =>M:BELH?MA:M

           .!HRHNK>F>F;>K:GRHG>

           &GPAHE> GH

           .4A:M=HRHNF>:GBGPAHE>

           6HN:LD>=F>B?&A:O>L>GMI:K:@K:IALMH

           I>HIE>:G=MABG@LEBD>MABL

           .4AH=B=RHNL>G=I:K:@K:IALMH

           *0*/(,",;C><MBHG3>E &PHNE=:LD
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 141 of
                                      434

                                                                         -:@>
            MA:MRHNEBFBMRHNKJN>LMBHGLMHMA>MBF>?K:F>H?MABL

            EBMB@:MBHG PAB<A;>@BGL &MABGDI>KRHNKK>JN>LM BG

            HK0H :GRMABG@IKBHKMHMAHL>R>:KL:K>

            BKK>E>O:GM :G=;>RHG=MA>L<HI>&PBEEBGLMKN<MMA>

            PBMG>LLGHMMH:GLP>K

            6*/#/""!*+

            .&G =B=RHNLA:K>=K:?MLH?MA>

            PABM>I:I>KPBMA:GRHG>

            &=HGHMDGHP&=BL<NLL>=BM

           .4AH=B=RHN=BL<NLLBMPBMA

           &=BL<NLL>=LHF>H?MA><HG<>IMLMA:M

           ;><:F>BM<HBGPBMAEE:G$K:G@>K PBMA0M>?:G*:MMA>PL

           PBMA:I>KLHG<:EE>='HL>IA3:N@AG->KEBG@

           .%HP=B=RHNF:D>MAHL>

           *//&3"/,%>A:LGHM?BGBLA>=

           1%"4&1+"00*B<A:>E0A>A:=B>

           */#/""!*+ :GRHNLI>EEMA:M?HKF>

           1%"4&1+"00+H0 % " %  ! & "

           &;>EB>O> ;NMJNHM>F> BM<HNE=A:O>FHK>%L

           6*/#/""!*+

           .GRHG>>EL>

           6>L &:FMABGDBG@ LHKKR -:NL>

           0HKKR &CNLMG>>=MH       BMA:L;>>G:EHG@MBF>

           I>KLHG?KHFMA>NLMK:EB:G#>=>K:E-HEB<> &<:GGHM

           K>F>F;>KABLG:F> A>BLBGMA>?BG:G<B:E<KBF>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 142 of
                                      434

                                                                         -:@>
            =BOBLBHG

            *//&3"/, :G&:LD?HKMA><HNKM

            K>IHKM>K BL*K$K:G@>KL?BKLMG:F>EE:GHKEE>G B?

            RHNDGHP

            1%"4&1+"00&MBL:G+ GHM:G"+ ;NM

            &<:GGHMK>F>F;>KH??MA>MHIH?FRA>:=PA>MA>KBMBL:

            ))HK:LBG@E>)

            6*/#/""!*+

            .&LMA>K>:GRHG>>EL>

           6>L ;NM&<:GGHMK>F>F;>K&DGHPMA>K>

           P>K>:<HNIE>H?I>HIE>MA:M&LIHD>MHPA>G&P:L=HBG@

           LHF>?BG:G<B:E<KBF>PHKDPBMA!, :G=BMP:LEHHL>ER

           :;HNMGHMBM<HBG;NMMA>MHIB<LBGMA>K>:G=&<:GGHM

           K>F>F;>KMA>BKG:F>H??MA>MHIH?FRA>:=

           .6HNLAHP>=MA>L>BG=BOB=N:EL=K:?MLH?

           MA>PABM>I:I>K

           &A:=LAHPGMA>F:LI><ML

           .LI><ML%HP=B=RHNLA:K>:LI><MLH?

           MA>PABM>I:I>KPBMA'HL>IA3:N@AG->KEBG@

           "Q:<MERAHP&=HGHMK>F>F;>K&F>MABF

           BGI>KLHG >Q:<MERPA>K>;:<DMA>G&<:GGHMK>F>F;>K

           &MA:L;>>G:EHG@MBF>&A:O>;>>GMH:EHMH?

           <HG?>K>G<>L &=HGHMK>F>F;>K>:<AHG>&MABGDHMA>K

           I>HIE>K>F>F;>KFHK>MA:G&=H ;><:NL> :L&L:B= &@H

           MHLHF:GR<HG?>K>G<>L>:<AFHGMAMA:MPA>GRHN:K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 143 of
                                      434

                                                                         -:@>
            :LDBG@F>FHK>MA:GR>:KL:@H &=HGHMK>F>F;>K

            PAB<AI:KMB<NE:K<HG?>K>G<>HKPAB<AI:KMB<NE:KI:I>K

            .%HP=B=RHN

            )BD>ERHG:M:;E>M

            .%HP=B=RHNLA:K>IHKMBHGLH?MA>PABM>

            I:I>KPBMA*B<A:>E0A>A:=B>

            %>BLFRE:PR>K

            .,D:R4A>K>=H>LA>PHKD

            NLMK:EB:

           .4A:ME:P?BKF

           *B<AB>0A>A:=B>:G= H

           .4BMAHNMK>O>:EBG@:GRMABG@:;HNMRHNK

           =BL<NLLBHGL;>MP>>GRHNKL>E?:G=*K0A>A:=B> PAR=B=

           RHN=BL<NLLBMPBMAABF

           *0*/(,",;C><MBHG&?RHN<:G

           :GLP>KMA:MJN>LMBHGPBMAHNMK>O>:EBG@MA><HGM>GML:G=

           E>@:EINKIHL>H?RHNK<HFFNGB<:MBHGPBMAABF MA>G=H

           LH&?RHN<:GGHMMA>G&PHNE=BGLMKN<MRHNGHMMH

           :GLP>K

           1%"4&1+"00&MP:L:EEMH=HPBMAE>@:E

           LMN??

           6*/#/""!*+

           .!B=RHN>O>K<HGLB=>KI:M>GMBG@MA>PABM>

           I:I>K

           6>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 144 of
                                      434

                                                                         -:@>
            .4A>G=B=RHN<HGLB=>KI:M>GMBG@MA>PABM>

            I:I>K

            *0*/(,",;C><MBHG&MABGDP>:K>

            LHKMH?@>MMBG@;>RHG= :@:BG MA>MHIB<L1ABLBL:

            EBFBM>==>IHLBMBHG :GRHNIE>:L>>QIE:BGMHF>AHP

            MA:MJN>LMBHGK>E:M>LMH:GRHG>H?MA>L>MHIB<L

            */#/""!*+&MA:LMH=HPBMA             P>EE

            FRG>QMJN>LMBHGP:L@HBG@MH;> B?BMP:L!:O>LB=>:

            MHI:M>GMBM

           *0*/(,"&:F:LDBG@:;HNMMABL

           JN>LMBHG &:FGHM:LDBG@:;HNMMA>G>QMJN>LMBHG

           */#/""!*+7:A:K:A &=HGHMA:O>

           MBF> LH>BMA>KBGLMKN<MABFGHMMH:GLP>KHKH;C><M

            AHHL>

           *//&3"/,4>:K>:LDBG@RHNMH<HGG><M

           BMNIMHMA>MHIB<L :G=MA:MBL:?:BKJN>LMBHG

            HGG><MBMNIB?RHNA:O>:GHMA>KJN>LMBHG

           */#/""!*+&MA:LMH=HPBMAJNB<DER

           =>M:BELLNKKHNG=BG@ K:B@:G=!:O>LI:KMG>KLABIMH

           <K>:M>0:MHLAB+:D:FHMH

           *//&3"/,LDMA>JN>LMBHGMA:MF:D>L

           MA><HGG><MBHGH?:IK>=B<:M>MHPARMABLBLK>E>O:GM

           4>:K>GHMMKRBG@MHLMHIRHN$H:A>:=

           */#/""!*+&:FGHM@HBG@MH=HBM

           .4A>G=B=RHN<HGM>FIE:M>I:M>GMBG@MA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 145 of
                                      434

                                                                         -:@>
            PABM>I:I>K

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00&<HGLB=>K>=I:M>GMBG@

            BM<HBGBG

            6*/#/""!*+

            .!B=RHN<HGLB=>KI:M>GMBG@BMBG

            *0*/(,",;C><MBHG

            1%"4&1+"00&<HGLB=>K>=I:M>GMBG@BM

            BG ;NMGHMBG

           6*/#/""!*+

           .4A>G=B=!:O>?BKLM;><HF>BGOHEO>=PBMA

           MA>PABM>I:I>K

           

           .4AR=B=RHN=><B=>GHMMHI:M>GMBM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00><:NL>

           *0*/(,"%HP=H>LMABLK>E:M>BG:GR

           P:RMH:GRINKIHKM>=I:KMG>KLABI;>MP>>G!:O>:G=

           !K4KB@AM

           */#/""!*+&=HGHMR>MDGHPMA>

           :GLP>K,G<>&DGHP&PBEEE>MRHNDGHP

           *0*/(,"6HNA:O>MH:<MN:EER

           >LM:;EBLA:GRLHKMH?<HGG><MBHG;>MP>>GMA>EBFBM>=

           MHIB<L&:F@BOBG@RHNE>>P:RA>K>;NMMABLBLGHM:

           F>KBML=>IHLBMBHGHG>O>KRMHIB<MA:MRHNP:GMMH:LD
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 146 of
                                      434

                                                                         -:@>
            :;HNM&MBL:EBFBM>==>IHLBMBHGHGM>GLI><B?B<

            MHIB<L&A:O>@BO>GRHNIE>GMRH?E>>P:R;NMB?RHN

            <:GGHM<HGG><MAHP:I:KMB<NE:KJN>LMBHG :?M>KMA:M

            E>>P:R K>E:M>LMHHG>H?MA>L>MHIB<LMA>G&PBEE

            BGLMKN<MMA>PBMG>LLGHMMH:GLP>K

            6*/#/""!*+

            .!B=RHNLI>:DMH:GRHG>:;HNMI:M>GMBG@

            BM<HBG

            *0*/(,",;C><MBHG!HGHM:GLP>K

           MA:M

           1%"4&1+"00):PR>KL

           6*/#/""!*+

           .!B=RHNLI>:DMH:GRHG>;>LB=>LE:PR>KL

           *0*/(,",;C><MBHG!HGHM:GLP>K

           MA:M >Q<>IM:LBMK>E:M>LMH!:O>(E>BF:G

           *//&3"/, :GRHN:GLP>KMA:M :L

           BGLMKN<M>=;R*L*:KDH>

           1%"4&1+"00+HK>E:MBHGMH*K(E>BF:G

           HGERMH=HPBMAE:PR>KL

           6*/#/""!*+

           .4A>G=B=!:O>;><HF>BGOHEO>=BGMA>

           PABM>I:I>K

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=

           1%"4&1+"00
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 147 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .%HP=B=A>;><HF>BGOHEO>=PBMAMA>PABM>

            I:I>K

            1A:MBL:K:MA>KPB=>JN>LMBHG%HP=H

            RHN    LHKKR AHP=HRHN;><HF>BGOHEO>=PBMAMA>PABM>

            I:I>K :GRHN<E:KB?RMA:M:;BMIE>:L>

            .%HP=B=!:O>?BG=HNM:;HNMMA>PABM>

            I:I>K

            6HNA:O>:EK>:=R@BO>GF>:G> F:BEMA:M

           &A:O>L>GM1A>PABM>I:I>KP:LGHMIN;EB<;>?HK>

           MA:M LH

           .!B=RHN:MM:<AMA>PABM>I:I>KMHMA:M

           > F:BE

           +H

           .0HAHP=B=A>H;M:BGMA>PABM>I:I>K

           &MP:LINMHGEBG>

           .4A>GP:LBMINMHGEBG>

           

           .4A>K>P:LBMINMHGEBG>

           L>KO>KBG*>E;HNKG>NIEH:=:>

           .%HP=B=A>?BG=MA>EH<:MBHGH?MA>PABM>

           I:I>K

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           B?RHNNG=>KLM:G=MA>JN>LMBHG

           1%"4&1+"00%HP=B=A>?BG=BM4>EE
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 148 of
                                      434

                                                                         -:@>
            A>MRI>=BG:EBGDBGMH:;KHPL>K:G=BMF:@B<:EER<:F>

            ?KHFMA>>MA>KH?MA>BGM>KG>M

            6*/#/""!*+

            .G=A>F:@B<:EER?HNG=HNM:;HNMMA>

            ARI>KEBGD

            *0*/(,",;C><MBHG:K@NF>GM:MBO>

            */#/""!*+4BMA=K:PG

            .%HP=B=A>?BG=MA>LI><B?B<2/)A>P:L

            LNIIHL>=MHMRI>BG

           L&A:O>;>>GL:RBG@ P>=BL<NLL>=

           MABG@LHO>K&/ 

           .!B=RHN@BO>ABFMA>:==K>LLHO>K&/ 

           6>L

           .4A>G=B=MA:MM:D>IE:<>

           0AHKMER:?M>KMA:M> F:BE

           .4AR=B=RHN> F:BEABFMA>BGBMB:E

           <HFFNGB<:MBHG:G=?HEEHPNIPBMA&/ 

           *0*/(,",;C><MBHG<HFIHNG=

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"00&L>GMABFMA:MHKB@BG:E

           > F:BE;><:NL>&P:GM>=ABLA>EI&MA>G?HEEHP>=NI

           ;><:NL>&PHNE=<A:MPBMAABFEBO>HO>K&/ 

           6*/#/""!*+

           .%HPEHG@P:LMA>BM<HBGPABM>I:I>KPA>G

           RHN<HGM:<M>=!:O>BG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 149 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHN<:G

            1%"4&1+"001A>L:F>E>G@MA:LBMBL

            GHP :IIKHQBF:M>ER

            6*/#/""!*+

            .4AR=B=RHNK>:<AHNM?HK!:O>LA>EI

            :;HNMMA>PABM>I:I>K

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00&P:LGHMLHFN<A:LDBG@

           ?HKABLA>EI:;HNMMA>PABM>I:I>K

           6*/#/""!*+

           .4A:MP>K>RHNK>:<ABG@HNM?HK

           %BLA>EIBGHMA>KP:RL

           .4A:MP>K>MA>P:RLRHNP>K>L>>DBG@!:O>

           (E>BF:GLA>EI

           &:FGHM:EBD>:;E>I>KLHG!:O>P:L

           &INMI>HIE>H??&<:K>:;HNMFR;NLBG>LL FRPHKD FR

           F:MAL FRI:I>KL FRI:M>GML :G=GHMFN<AFHK> LH

           NG?HKMNG:M>ER=>:EBG@PBMAI>HIE>:G==>:EBG@PBMA

           I>HIE>BGHI>GLHNK<><HFFNGBMB>LBLLHF>MABG@&:F

           O>KR O>KR;:=:M

           .1ABLP:LLHF>MABG@!:O>P:L@HH=:M

           1A:MBLLHF>MABG@!:O><HNE=A>EIF>

           PBMA

           .!B=A>A>EIRHNPBMAMA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 150 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00!:O>A:LA>EI>=F>PBMA

            MA:MF:GRMBF>LBGMA>I:LM1A>> F:BEMA:MRHN:K>

            K>?>K>G<BG@ &;>EB>O>&L:PMA>=>?:F:MBHG:G=PA:M>O>K

            BLMA>MBME>

            *0*/(,""QAB;BM&;>EB>O>BMBL

            KB@AMBG?KHGMH?RHN

            1%"4&1+"00!>?:F:MBHG:G=MA>

            =B??B<NEMB>LH?E:PHGMA>&GM>KG>MKHNG=MA>L:F>

           MBF>&P:LA:OBG@HMA>KMKHEE?B@AML:L&A:O>A:=F:GR

           MBF>L :G=!:O>A>EI>=MA>K>:LP>EE

           6*/#/""!*+

           .4AR=B=!:O>G>>=MHK>OB>PMA>PABM>

           I:I>KMHA>EIRHNBGM>K:<MPBMAHI>GLHNK<><HFFNGBMB>L

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00!:O>P:LGHMMA>HGER

           I>KLHGPAHK>OB>P>=MA>PABM>I:I>K

           6*/#/""!*+

           .4AH>EL>K>OB>P>=MA>>GMBK>PABM>I:I>K

           :LNIEH:=>=MHNIEH:=:>

           1%"4&1+"00&=HGHMDGHP

           6*0*/(,",;C><MBHG

           6*/#/""!*+

           .4AH>EL>=B=RHN@BO>MA>NIEH:=:>

           :==K>LLMH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 151 of
                                      434

                                                                         -:@>
            &MP:LINMHG:IN;EB<F:BEBG@EBLM

            .4AB<AIN;EB<F:BEBG@EBLM

            1A><KRIMH@K:IARF:BEBG@EBLM BMP:LINM

            HGMA>2L>G>MLBM>L&MP:LBG:G&/ <A:M@KHNI&M

            P:LL>GMMH4>B!:B&MP:LL>GMMH=:F:<D

            .!B=!:O>INMBMHGMA><KRIMH@K:IAR

            F:BEBG@EBLM

            +H

            .4AH=B=

           *>

           .!B=!:O>INMBMHG&/ 

           6>L

           .4:LMA>K>:<A:MHG&/ 

           1A>K>P>K>FNEMBIE><A:MLHG&/ 

           .!HRHNK>F>F;>KMA><A:MLA>INMMA>FHG

           6HNA:O>GHMNL>=&/          A:O>RHN

           .&A:O>GHM

           &LN@@>LMRHNEHHD:MAHP&/ PHKDL:G=

           MA>GRHNPBEEL>>PAR&:FLB@ABG@PA>GRHN:LDMA:M

           .!B=!:O>L>G=BMMH=:F:<D

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .4AH=B=

           &:EK>:=RL:B=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 152 of
                                      434

                                                                         -:@>
            .&FBLL>=BM :GRHNK>I>:MBM

            *>

            .4A>G=B=RHNL>G=BMMH=:F:<D

            *0*/(,",;C><MBHG6HNF:R:GLP>K

            1%"4&1+"00

            6*/#/""!*+

            .!B==:F:<D<HFF>GMHGMA>PABM>I:I>K

            *0*/(,",;C><MBHG6HN:K>@>MMBG@

            ;>RHG=MA>L<HI>:@:BG

           */#/""!*+,D:R

           *0*/(,"0H &PHNE=BGLMKN<MMA>

           PBMG>LLGHMMH:GLP>K6HN:K>@HBG@;>RHG=MA>L<HI>

           6*/#/""!*+

           .!B=!:O>BGM>K:<MPBMA=:F:<D

           *0*/(,",;C><MBHG?HNG=:MBHG6HN

           <:G:GLP>K

           1%"4&1+"006>L

           6*/#/""!*+

           .!B=!:O>BGM>K:<MPBMA=:F:<D:;HNM

           MA>PABM>I:I>K

           *0*/(,",;C><MBHG&?RHNDGHP

           1%"4&1+"00&=HGHMDGHP>Q:<MERPA:M

           !:O>PKHM>&:FGHM!:O>

           6*/#/""!*+

           .%HP=HRHNDGHPMA:M=:F:<D
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 153 of
                                      434

                                                                         -:@>
            <HFFNGB<:M>=PBMA!:O>

            *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            MA>M>LMBFHGR

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00&LIHD>PBMA!:O>

            6*/#/""!*+

            .G=PA:M=B=!:O>L:R:;HNM=:F:<D

            *0*/(,",;C><MBHG

            1%"4&1+"00!H&A:O>MHL:RBM

           *//&3"/,6>L @H:A>:=

           *0*/(,"'NLM:GLP>K

           1%"4&1+"00%>L:B=LHF>MABG@:EHG@MA>

           EBG>LH? MH<A:K:<M>KBL>PA:MRHN;EHH=RNLLB>LL:R

           A>BL:P:GD>K:G=P>@HMMA>PKHG@I>KLHG

           6*/#/""!*+

           .4A:M=B=A>F>:G;RL:RBG@RHNA:O>MA>

           PKHG@I>KLHG

           *0*/(,",;C><MBHG

           1%"4&1+"00%:E#BGG>RPKHM>MA>/

           IKHH?H?PHKD<H=>MA:M&NL>=:L:;:LBL GHM=:F

           6*/#/""!*+

           .!B=RHN<HG?NL>MA>/IKHH?H?PHKD<H=>

           :LA:OBG@;>>G:NMAHK>=;R=:F:<D

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&=B=GHM<A><D&<AN<D>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 154 of
                                      434

                                                                         -:@>
            BG:K>?>K>G<>:?M>K=HBG@:JNB<DL>:K<A1A>PHKD;R

            NKHK:>M:EA:=;>>GBFIE>F>GM>=;R:LBM>&L:P

            K>?>K>G<>=:L=:F:<D&INMMA:M=HPG&=B=GHM

            <A><DMA:MMA:M=B=GHM:<MN:EERPHKD :G=MA:MBMP:L

            %:E#BGG>RPAH:<MN:EER?BQ>=BM:G=A:=BMPHKDBG@

            6*/#/""!*+

            .!B=!:O>A:O>:GR?NKMA>KBGM>K:<MBHGL

            PBMA=:F:<D:;HNMMA>PABM>I:I>KMA:MRHN:K>:P:K>

            H?

           *0*/(,",;C><MBHG6HN<:GHGER

           LM:M>LMN??MA:MRHNDGHP

           1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+

           .!B=!:O>K>:<AHNMMH%:E#BGG>R:;HNM

           MA>/IKHH?H?PHKD

           *0*/(,",;C><MBHG?HNG=:MBHG

           6*/#/""!*+

           .4BMA=K:PG!HRHNDGHPPA>MA>K!:O>A>

           K>:<A>=HNMMH%:E#BGG>R:;HNMMA>/IKHH?H?PHKD

           <H=>

           +H A>PHNE=GHMG>>=MHK>:<AHNMMH

           %:E#BGG>R

           .4ARGHM

           ><:NL>%:E#BGG>RK>:<A>=HNMMHNL

           .%HP=B=%:E#BGG>RK>:<AHNMMHRHN:G=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 155 of
                                      434

                                                                         -:@>
            !:O>

            *0*/(,",;C><MBHG

            */#/""!*+6HN<:G:GLP>K

            %>M:ED>=HO>KIN;EB<?HKNFL &/ :G=

            > F:BE

            6*/#/""!*+

            .4A:M=B=A>L:R BGABLBGBMB:E

            <HFFNGB<:MBHG

            *0*/(,",;C><MBHG

           1%"4&1+"00%>MAHN@AMBM<HBG<HNE=

           PHKD;NMMA>K>PHNE=;>:?>PIKH;E>FL

           6*/#/""!*+

           .!B=RHN:G=!:O>PHKDHGMAHL>IKH;E>FL

           *0*/(,",;C><MBHG:LLNF>L?:<MLGHM

           BG>OB=>G<>

           */#/""!*+6HN<:G:GLP>KBM

           1%"4&1+"001A>K>P>K>GHIKH;E>FL

           <MN:EER

           6*/#/""!*+

           .%:E#BGG>RP:LPKHG@

           1A>K>P>K>IKH;E>FL;NMGHMMA>IKH;E>FL

           A>P:LLM:MBG@0H R>L %:E#BGG>RP:LPKHG@

           .4A:MP>K>MA>IKH;E>FL%:E#BGG>RMAHN@AM

           P>K>PBMAMA>IKHMH<HE

           *0*/(,",;C><MBHGK>E>O:G<>1ABL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 156 of
                                      434

                                                                         -:@>
            BLGHP:@:BG RHN:K>@>MMBG@;>RHG=MA>L<HI>&:F

            @HBG@MH:LDABFGHMMH:GLP>KMA:MJN>LMBHG

            6*/#/""!*+

            .!HRHNF:BGM:BG:GRH?MA><HKK>LIHG=>G<>

            PBMA%:E#BGG>R;:<DBG

            +H

            .!B=!:O>>=BMMA>PABM>I:I>K

            ?>PI>HIE>>=BM>=MA>PABM>I:I>K

            BG<EN=BG@!:O>

           .4A:MP>K>!:O>L>=BMLMHMA>PABM>

           I:I>K

           &=HGHM>Q:<MERK>F>F;>K1A>K>P>K>

           LBQ=B??>K>GMO>KLBHGL

           .0HKKR

           1A>K>P>K>LBQ=B??>K>GMO>KLBHGL

           .4A>G=B=O>KLBHG<HF>HNM

           *0*/(,",;C><MBHG

           1%"4&1+"00

           6*/#/""!*+

           .4A>G=B=O>KLBHG<HF>HNM

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMK>F>F;>KMA>>Q:<M

           =:M>LH?:EEH?MA>L>

           6*/#/""!*+

           .!HRHNK><:EEPA>GO>KLBHG<:F>HNM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 157 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"00@:BG &=HGHMK>F>F;>K

            :EEH?BM&A:=FNEMBIE>O>KLBHGL :EELBFNEM:G>HNLER

            KNGGBG@&?RHN:LD:GRH?FRLM:?? FR=H<NF>GM

            F:G:@>F>GMBLLABM&L:O>:G=MA>GNI=:M>MA>HE=

            O>KLBHGLHF>MBF>L:G=MA>G@H;:<DMHMA>?BKLMHG>

            &MA>GK> >=BM:E:M>KHG>&A:O>I>HIE>;BM<A:MF>

            :G=&A:O>;>>G;:GG>=?KHF=H<NF>GMF:G:@>F>GM

            :EMH@>MA>K;RFRLM:?? PAHA:O>;:LB<:EERCNLM:;HNM

           MAK>:M>G>=MHP:EDHNMB?&:F:EEHP>=MHMHN<A:

           =H<NF>GM>O>K:@:BG

           6*/#/""!*+

           .!B=!:O>A>EIRHND>>IMK:<DH?MA>LBQ

           =B??>K>GMO>KLBHGLH?MA>PABM>I:I>K

           *0*/(,",;C><MBHG

           1%"4&1+"00+HA>G<>PARBMP:L:

           ?N<DBG@F>LL

           6*/#/""!*+

           .%HP=B=RHN<HFIBE>:EEO>KLBHGLBGMH

           HG>

           *0*/(,",;C><MBHG

           1%"4&1+"00&=B=GHM

           6*/#/""!*+

           .4AH=B=

           +H;H=R
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 158 of
                                      434

                                                                         -:@>
            .0HAHP=B=RHN@>MMA>?BG:EO>KLBHG

            1A>L:F>P:R&=H>O>KRLBG@E>MBF>

            &?BGBLANI:O>KLBHG

            .4AB<ABLMA>O>KLBHGMA:MBLIN;EB<

            *0*/(,",;C><MBHG

            1%"4&1+"00&MBLMA>HG>MA:MBLLMBEE

            IN;EB<:LMA>BM<HBGPABM>I:I>K

            6*/#/""!*+

            .,?MA>LBQ PAB<AHG>P:LMA:M

           *0*/(,",;C><MBHG

           1%"4&1+"00"Q:<MERPA>K>>:<A;BM

           <:F> &<HNE=GHM:GLP>K

           6*/#/""!*+

           .&?RHNA:=:<HIRH?MA>PABM>I:I>KBG

           ?KHGMH?RHN PHNE=BMA>EIB=>GMB?R!:O>L

           <HGMKB;NMBHGL

           +H*HK>MA:G:GRMABG@>EL> PA:M!:O>

           A>EI>=F>PBMAP:L BMBLEBD>E>@:EMABG@L&A:O>

           ;>>G:G>QI>KMPBMG>LLF:GR F:GRMBF>L :G=MA:MBLP:R

           >:LB>KMA:G;>BG@RHNKHPGPBMG>LL1A>K>BLGH>FHMBHG

           BGM:EDBG@:;HNMLHF>HG>>EL>LMABG@L&MBL>:LRMH

           F:D>FBLM:D>LPA>GRHN:K>=HBG@RHNKHPGMABG@G=BM

           BL<KBMB<:EMH@>MKB=H?MA>F>M:=:M:&?RHNP:GMMH

           GHM;>?HNG= GHMA:O>LHF>MABG@IHBGM;:<D MA>GBMBL

           :;LHENM>ER<KBMB<:EMHLMKBI:GRMABG@MA:M<:GB=>GMB?R
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 159 of
                                      434

                                                                         -:@>
            :=H<NF>GM!:O>P:L:ELHO>KR@HH=:MMA:M!:O>

            A>EI>==HN;E> <A><DMA:M:EEMA>-!#L >M<>M>K: A:=

            GHMABG@MHMB>:GRMABG@;:<D

            .4:LMA>K>:GRHG>>EL>;>LB=>L!:O>MA:M

            RHN<HNE=A:O>NL>=MH=HMAHL>MPH?NG<MBHGL

            *0*/(,",;C><MBHG

            1%"4&1+"00&;>EB>O>MA>K>BL:PHKE=

            ?NEEH?>=BMBG@L>KOB<>L LHB?RHN:K>L:RBG@:GRHG>

            <HNE==HMA:M MA>GH?<HNKL>MA>K>:K>1A>K>:K>

           <HFF>K<B:E<HFI:GB>L ;NMMA>GB?&:F@HBG@MHLHF>HG>

           :G=@HBG@ %>R &A:O>MABLLNI>KL><K>M=H<NF>GMMA:M

           &P:GMRHNMHLHKMH?LBMHG BM=H>LGHMPHKDMHH

           P>EE

           6*/#/""!*+

           .4:LMA>K>:GRHG>RHN<HNE=MKNLMMHD>>I

           BML><K>M:G=PAHA:=MA>L>:;BEBMB>L;>LB=>L!:O>

           *0*/(,",;C><MBHG

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"006>L

           6*/#/""!*+

           .4AH

           &A:O>:EHMH??KB>G=LBGMA><HFINM>K

           ?HK>GLB<LBG=NLMKR

           .4AR=B=RHNGHMNL>MA>F

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 160 of
                                      434

                                                                         -:@>
            1%"4&1+"00><:NL>&:LD>=!:O>

            6*/#/""!*+

            .4:LBM;><:NL>!:O>P:LRHNK;>LM?KB>G=

            &GI:KM R>L

            .&P:GMMH=BK><MRHNK:MM>GMBHG;:<DMH

            -E:BGMB??L"QAB;BM PAB<ABLMA>> F:BE4A>G

            =B=RHNL>MME>HGMA>G:F>BM<HBG

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00&MAHN@AM:;HNMMA>G:F>

           BM<HBG?HK:PABE>&MP:L:<MN:EER B M             H B G

           PAB<A&@HM:EHMLABM?HK&;>EB>O>=P>=BL<NLL>=

           MA:MLHKMH?MABG@PA>GG:FBG@,MA>KI>HIE>HO>KA>K>

           BGKBM:BGL>>F>=MHEBD>MH<:IBM:EBLBG@BGMA>FB==E>

           H?MABG@LF>KB<:GLMABGD&:FLMNIB=?HK=HBG@BM

           6*/#/""!*+

           .0H!:O>>O>GMN:EERM:ED>=RHNBGMHGHM

           <:IBM:EBLBG@MA> 

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           1%"4&1+"00+H BMP:L<:IBM:EBL>=BG

           F:GRIE:<>L

           6*/#/""!*+

           .!B=!:O>IK>?>KBM :LAHKBM<HBG

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00BM<HBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 161 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .!B=!:O>IK>?>K<:IBM:E HKEHP>K<:L>

             

            *0*/(,",;C><MBHG

            1%"4&1+"00!:O>P:LF>KB<:G

            6*/#/""!*+

            .%>EBD>=EHP>K<:L> 

            6>L

            .!B=RHNNEMBF:M>ER=><B=>HG:O>KLBHG

           +H &NL>=;HMA

           .4A>GRHNL>GMMABL?BE>MH&K: PA>K>=B=

           RHN@>MMA>:<MN:E?BE>?KHF

           *0*/(,",;C><MBHG

           1%"4&1+"004AB<A?BE>

           *0*/(,"K>RHNK>?>KKBG@MH:

           =B??>K>GM> F:BEHK"QAB;BM

           */#/""!*+4>:K>LMBEEHG"QAB;BM

           .4A>GRHNL>GM"QAB;BMMH&K: PA>K>=B=

           RHN@>MMA>> F:BE?KHFMHL>G=MH&K:

           1A:MPHNE=A:O>;>>GHGHNKL>KO>K

           .4AB<AL>KO>KBLHNKL>KO>K

           1A><HFI:GR:MMA>MBF>1A:MP:L

           %HMPBK> &;>EB>O>4>:K>M:EDBG@:;HNM%HMPBK>MBF>

           LHBMPHNE=A:O>;>>GHG:%HMPBK>L>KO>K

           .!HRHNLMBEEA:O>:<<>LLMH%HMPBK>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 162 of
                                      434

                                                                         -:@>
            L>KO>KL

            &M=H>LGHM>QBLM

            .!H>L:GRHG>LMBEEA:O>:<<>LLMH%HMPBK>

            L>KO>KL

            &=HGHMDGHP

            .K>RHN:P:K>H?:GRHG>PAHA:L:<<>LLMH

            :%HMPBK>L>KO>K

            +H &:FGHM<MN:EER LMKBD>MA:M BM

            BLIHLLB;E>MA:MMA>K>:K><HIB>L ;><:NL>P>A:=:

           F>F;>KH?LM:??PAHLMHE>BG?HKF:MBHG ;NM&=HGHMDGHP

           PA>MA>KMA>RA:O>BMLMBEEHKGHM

           .4A:M:K>MA>G:F>LH?MA>LM:??MA:M

           LMHE>BG?HKF:MBHG

           *0*/(,",;C><MBHG

           */#/""!*+-HM>GMB:EPBMG>LL>L

           7:A:K:A

           *0*/(,"&=B=GHMBGLMKN<MABFGHM

           MH:GLP>KK>RHNH;C><MBG@MHFRH;C><MBHGLGHP

           */#/""!*+&:F:GMB<BI:MBG@

           1%"4&1+"00&PHNE=G>>=MH=HN;E> <A><D

           MA:M&=HGHMP:GMMH@HHGK><HK==>?:FBG@LHF>HG>

           PAHA:LGHM;>>G?HKF:EER<A:K@>=HK:GRMABG@EBD>MABL

           6*/#/""!*+

           .&NG=>KLM:G=MA:MBMBLGHM<HG?BKF>=

           ;NMPAH=HRHNK><:EE:MMA>FHF>GM:L;>BG@MAHL>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 163 of
                                      434

                                                                         -:@>
            PBMG>LL>L

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHN<:G

            1%"4&1+"00&:FMKRBG@MHK>F>F;>KABL

            G:F>1A>K>P>K>MPHI>HIE>BGI:KMB<NE:KHMAH?

            MA>FP>K>LRLM>FL>G@BG>>KL&K>:EER=HGHMK>F>F;>K

            MA>BKG:F>L

            6*/#/""!*+

            .%HPPHNE=RHNEHHDMA>FNIMH<HG?BKF

           MA>F

           *0*/(,",;C><MBHG

           1%"4&1+"00&PHNE=GHM

           6*/#/""!*+

           .&LMA>K>:GRP:RMH?BG=HNMMA>BKG:F>L

           &:FLNK>MA>K>BL

           .K>RHN:P:K>H?:GRP:RMH?BG=HNM

           MA>BKG:F>L

           ,G><:G=HEHMLH?L>:K<A>L?HK:LM:KM

           &F>:G MA>K>BLEHMLH?LMN??:;HNMF> FR<HFI:GR

           I>HIE><HFIE:BGBG@ EBJNB=:MBHG=H<NF>GML >M<>M>K: :EE

           HGMA>BGM>KG>M MA:MPHNE=EBLM:EEMA>LM:??

           .K>MA>G:F>LH?MA>L>MPHLM:??F>F;>KL

           :G=MA>BKIHM>GMB:EM:DBG@H?BG?HKF:MBHGIN;EB<ER

           :O:BE:;E>

           *0*/(,",;C><MBHG6HN<:G:GLP>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 164 of
                                      434

                                                                         -:@>
            1%"4&1+"00&?RHN<HGLB=>KIN;EB<

            BG<EN=>LEBJNB=:MBHG?BE>LMA:MPHNE=;>IN;EB<ER

            :O:BE:;E> MA>GR>L

            6*/#/""!*+

            .4A:MEBJNB=:MBHG?BE>LPHNE=A:O>MA>L>

            MPH

            %HMPBK>

            .4HNE=*L4:MMLDGHPMA>G:F>H?MA>L>

            MPHBG=BOB=N:EL

           *0*/(,",;C><MBHG

           1%"4&1+"00&:FGHM@HBG@MH;KBG@

           :GRMABG@:;HNMFRPB?>BGMHMABL&:FGHM@HBG@MH

           :GLP>K:GRMABG@:;HNMFRPB?>LLM:M>H?FBG= FRPB?>L

           :GRMABG@&A:O>:EK>:=RGHM>=MA:MFR?:FBERBL

           LHF>MABG@&PBEEGHMMHN<A

           6*/#/""!*+

           .4:L*L4:MMLBGOHEO>=PBMA%HMPBK>

           *0*/(,",;C><MBHG

           1%"4&1+"006HN<:G<A><DMAHL>

           K><HK=L

           6*/#/""!*+

           .%HP

           1A>R:K>IN;EB<

           .K>:EEH?%HMPBK>LK><HK=L:K>IN;EB<

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 165 of
                                      434

                                                                         -:@>
            MA>M>LMBFHGR

            6*/#/""!*+

            .K>:EEH?%HMPBK>LK><HK=LIN;EB<

            +H

            .4A>G=B=RHN=><B=>MHLM:KMIKH@K:FBG@

            MA>BM<HBGIKHMH<HE

             :GRHN;>:;BMFHK>LI><B?B<:;HNMPA:M

            RHN:K>L:RBG@MA>K>1A:MBL:<MN:EER:PB=>KJN>LMBHG

            :G=FHK>G>;NEHNLMA:GRHNL>>FMHMABGD

           .4A>G=B=RHNLM:KMPKBMBG@MA><H=>MA:M

           ;><:F>MA>BM<HBGIKHMH<HE

           @:BG =HRHNF>:GMA>GH=>LH?MP:K>

           .4A>G&L:RBM<HBGIKHMH<HE PA:M=H>L

           MA:MF>:GMHRHN

           BM<HBGIKHMH<HEBL:L>MH?KNE>LMA:M

           GH=>LPBEEBGM>K:<M;R&MPBEE;>GHMMABG@LEBD>

           ;EH<DLBS> ;NMK:MA>KMA>K>:EL>MLMA:M:EEHP:

           MK:GL:<MBHGLB@G>= :G=GHML>MME>= MH<A:BGGHPMH;>

           O:EB=BG R>:KMBF>0H BMBLEBD>MA>BGM>KG>M

           IKHMH<HEBML>E?A:L:L>MH?KNE>L:LP>EE:L

           LMKN<MNK>L0HMABG@L<:GA:II>GPBMABGIKHMH<HEL;NM

           :ELH;>=B<M:M>==B??>K>GMERBGKNE>L#HKBGLM:G<>

           MA>EBFBM:MBHGH?%1*)?HKIIE>:G=*B<KHLH?M :EMAHN@A

           HGMA>L:F>IKHMH<HE A:O>=B??>K>GMKNE>L>ML1A:M

           <HNE=;><HGLMKN<M>=LN<AMA:MMA>KNE>L?HKHG>FBG>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 166 of
                                      434

                                                                         -:@>
            PHNE=:EEHPLHF>MABG@MH;>H??>K>=HKK>C><M>= ;NM:

            IKHMH<HEPHNE=;>MA>L:F>?HK:EELRLM>FL:G=GH=>L

            .&?@HBG@?HKP:K=&NL>MA>PHK=BM<HBG

            IKHMH<HEMHK>?>KMH:EEH?MAHL>MABG@L PBEERHN

            NG=>KLM:G=PA:M&F>:G

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            .4A:MBLMA>P:R&LAHNE=K>?>KMHMA>

           <H=>:G=IKH@K:FBG@MA:M;><:F>MA>BM<HBG<EB>GM

           &?RHNP>K>M:EDBG@:;HNMMA>HKB@BG:E

           HG>MA>G&PHNE=L:RMA>GH=>LH?MP:K>

           .4A>G=B=MA:MMNKGBGMHLHF>MABG@;>LB=>L

           MA>GH=>LH?MP:K>

           *0*/(,",;C><MBHG

           1%"4&1+"004A>G=B=PA:MMNKGBGMH

           LHF>MABG@

           6*/#/""!*+

           .$HBG@?HKP:K= B?&NL>MA>PHK=GH=>

           LH?MP:K> PHNE=RHNNG=>KLM:G=MA:MMHF>:GMA><HFINM>K

           IKHMH<HEL:G=<H=>LMA:MI>HIE>=HPGEH:=>=:G=NL>=MH

           FBG>:G=NL>BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00&GMA>HKB@BG:EO>KLBHG

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 167 of
                                      434

                                                                         -:@>
            .&GMA>HKB@BG:EO>KLBHG

            0HP>:K>M:EDBG@MA>0:MHLAB<EB>GM

            R>L

            .1A>0:MHLAB<EB>GM1A:MP:LF:=>IN;EB<

            BG

            &GLHF>I:KMLBMP:L:<MN:EERF:=>IN;EB<

            BG :L>:KER      MA>?BKLM=BLMKB;NMBHGP:LN@NLM

            .0H;>?HK>P>@>MMA>K> PA>G=B=RHN

            =><B=>MHLM:KMPKBMBG@MA:MGH=>LH?MP:K> MA>0:MHLAB

           <EB>GM

           &G

           .%HP=B=RHNF:D>BMIN;EB<BGN@NLMH?

           

           &MP:L@BO>GMH:?>PI>HIE>

           .4AHP:LBM@BO>GMH

           -:KMLP>K>@BO>GMH4>B!:B

           .4>B!:B BLMA:MABLE>@:EG:F>HKBL

           MA:M:L<K>>GG:F>

           &A:O>G>O>KK>:EER:LD>=%>IN;EBLA>L

           I:I>KLNG=>KMA:M0HA><HNE=;>:IL>N=HGRFEBD>F>

           ;NMMA>MABG@BLA>A:LPHKD>=?HK<HFI:GB>LNG=>KMA:M

           &;>EB>O>MA:MBLABLK>:EG:F>&A:O>G>O>K

           IARLB<:EER     :<MN:EER &A:O>F>MABFHG<> ;NMMA:M

           P:LBGMA>L :G=&=B=GHM:LDPA>MA>KA>NL>=:

           IL>N=HGRFHKGHM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 168 of
                                      434

                                                                         -:@>
            .4AH>EL>;>LB=>L4>B!:B

            &GN@NLM MA>K>P>K>HMA>KI>HIE> &=H

            GHMK>F>F;>KMA>G:F>L

            .!B=RHN@BO>BMMH!:O>BGN@NLM

            +H

            .4A>G=B=!:O>?BKLMK><>BO>BM

            *:R >G=H? ;>@BGGBG@H?'NG>

            .*:R'NG>H?

            6>L

           .4A:M=B=!:O>=HMH=>O>EHIMA>0:MHLAB

           <EB>GM

           *0*/(,",;C><MBHG?HNG=:MBHG

           1%"4&1+"00!:O>=B=GHM=>O>EHIMA>

           0:MHLAB<EB>GM

           6*/#/""!*+

           .!B=!:O>>=BMMA>0:MHLAB<EB>GM<H=>:M

           :EE

           &MBL:GHI>GLHNK<>IKHC><M

           .-KBHKMHBM;><HFBG@IN;EB<             LMKBD>

           MA:M4A>G=B=MA>0:MHLAB<EB>GM;><HF>IN;EB<ER

           :O:BE:;E>MH>O>KRHG>

           *0*/(,",;C><MBHGO:@N>

           1%"4&1+"00&:FLHKKR >O>KRHG>BL

           MHHO:@N>

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 169 of
                                      434

                                                                         -:@>
            .4A>GP:LMA>?BKLMMBF>RHNIN;EB<ER

            IHLM>=MA>0:MHLAB<EB>GM

            *0*/(,",;C><MBHG:LD>=:G=

            :GLP>K>=6HN<:G:GLP>K

            1%"4&1+"00&G?NEE P:LGHMNGMBE

            ':GN:KR

            6*/#/""!*+

            .4A:MLAHNE=P><:EEMA:M>O>GMLHP>DGHP

            P>:K>M:EDBG@:;HNMMA>L:F>MABG@

           6HN<HNE=L:RMA>IN;EB<IN;EBLABG@H?

           MA>BM<HBGGH=>LH?MP:K>

           . :G&<:EEBM0:MHLAB<EB>GMLHP>:K>

           <HGLBLM>GM

           6>L

           .!B=!:O>>=BMMA>0:MHLAB<EB>GM:M:GR

           IHBGM;>?HK>MA>IN;EB<IHLMBG@H?MA>0:MHLAB<EB>GM

           *0*/(,",;C><MBHG

           1%"4&1+"00%BF:G=HMA>KL<HNE=A:O>

           R>L!B=&K>OB>PPAHL><A:G@>LGH

           6*/#/""!*+

       
           .4A>K>=B=RHNIN;EB<ERIHLMBMLHMA:M

       
           HMA>KL<HNE=<HGMKB;NM>MHBM

           &MP:L@BO>GIKBO:M>ER:?M>K:IHLMMA:M

           P:LIN;EB<

           .4A>K>P:LMA>IN;EB<IHLMF:=>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 170 of
                                      434

                                                                         -:@>
            1A>IN;EB<IHLMP:LF:=>HGMA>F:BEBG@

            EBLM

            .4A:MP:LMA>F:BEBG@EBLM

            &MBLMA><KRIMH@K:IARF:BEBG@EBLM

            1A>K>:K>HMA>KHG>L:LP>EE ;NMMA:MP:LMA>F:BGHG>

            .4A>K>P>K>MA>HMA>KHG>L

            &=HGHMK>F>F;>K

            .!B=!:O>IHLMBMHGHMA>KHG>LHK=B=RHN

            IHLMBMHGHMA>KHG>L

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPPA:M!:O>

           =B=

           6*/#/""!*+

           .K>RHN:P:K>H?!:O>IHLMBG@BMHGHMA>K

           F:BEBG@EBLML

           +H

           .?M>KRHNIHLM>=BMHG:F:BEBG@EBLM

           RHNMA>GAHLM>=MA>0:MHLAB<EB>GMLHF>PA>K>?HKHMA>KL

           MH<HEE:;HK:M>HG

           *0*/(,",;C><MBHG

           1%"4&1+"00&:FGHMLNK>PA:MRHN:K>

           :LDBG@ LHKKR

           6*/#/""!*+

           .6HNMHE=F>MA:MI>HIE><HEE:;HK:M>=HG

           MABLHI>GLHNK<>LH?MP:K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 171 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"001A>?NEELH?MP:K>P:LGHM

            @BO>G&L:B=MA:M

            6*/#/""!*+

            .0HPA>K>=B=RHNIHLMI:KMLH?MA>

            LH?MP:K>

            *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            MA>M>LMBFHGR

            6*/#/""!*+

           .&:FCNLMMKRBG@MH?B@NK>HNM

           &L:B=MA>RP>K>> F:BE>=HK@BO>G &=B=

           GHML:RMA>RP>K>IHLM>=1A>K>BL:;B@=B??>K>G<>

           .,D:R LHMA>GRHN> F:BE>=!:O>IHKMBHGL

           H?MA>0:MHLAB<EB>GMBLMA:M<HKK><M

           6>L

           .G=A>> F:BE>=RHN;:<D>=BML

           +H A><HFFNGB<:M>=PBMAHMA>KI>HIE>

           .4AH=B=A><HFFNGB<:M>PBMA

           &=HGHMDGHP1A:MPHNE=;>!:O>

           .%HP=B=!:O>@>MRHN;:<DABL>=BMLMH

           MA>0:MHLAB<EB>GM

           *0*/(,",;C><MBHG

           1%"4&1+"004>=BL<NLL>=MABG@LHO>K

           &/ 

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 172 of
                                      434

                                                                         -:@>
            .0HABL?>>=;:<DP:LMAKHN@A&/ 

            6>L

            .0HMA>K>BLGHK><HK=H?ABL?>>=;:<D

            +H GHMMA:M&DGHPH?1A>K><HNE=;>

            &MBLGHMBFIHLLB;E>?HK&/ MH;>K><HK=>=:G=D>IM

            .6HND>IMGHK><HK=H?ABL

            &=HGHMD>>IFR&/ <A:ML GH

            .!HRHNDGHPB?!:O>D>IMMA>F

            &=HGHMDGHPPA:M!:O>=B=PBMAABL&/

       
           <A:ML&?RHN:K>:LDBG@?HK>O>KREBG>H?<H=>!:O>

           <A:G@>= MA>K>PHNE=;>:ME>:LM<A:G@>L;R

           %:E#BGG>R MA>K>PHNE=;>:ME>:LM<A:G@>L;R>:K

           >M<>M>K:1A>K>PHNE=;>:ME>:LM <A:G@>L;R

           HMA>KI>HIE>?HK>O>KRHG>MA:M!:O>=B=0H

           .H?MA>>=BML:K>:MMKB;NM:;E>MH

           !:O>

           6>L1A:MP:LGHMMA>IKBF:KRM:LDMA:M

           !:O>=B=

           .&LBMIHLLB;E>MA:MBMBLFHK>MA:G

           *0*/(,",;C><MBHG<:EEL?HK

           LI><NE:MBHG

           6*/#/""!*+

           .6HNA:O>:<E>:KK><HEE><MBHGH?BM;>BG@

           >Q:<MERH?MA><H=>MA:M!:O>>=BM>=

           *0*/(,",;C><MBHG6HN<:G:GLP>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 173 of
                                      434

                                                                         -:@>
            1%"4&1+"00&=B=GHML:R>Q:<MER

            G=!:O>P:LGHM:        <H=>K

            6*/#/""!*+

            . HNE=BMA:O>;>>G

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            . HNE=BMA:O>;>>G

            *0*/(,",;C><MBHG

           1%"4&1+"006HN:K><:EEBG@?HK

           LI><NE:MBHGHGIKH;:;BEBMB>LH?MA:MPA>K>HMA>KI>HIE>

           =B=?:KFHK><H=>:LB<:EERRHNP:GMMH<A:K:<M>KBL>

           !:O>:LA:OBG@PKBMM>G:EHMFHK>H?MA>LH?MP:K>1A:M

           BLGHMPA:M!:O>=B=

           *0*/(," :GP>M:D>:;:MAKHHF

           ;K>:D

           */#/""!*+0NK>

           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL"G=H?OB=>H<:K=GNF;>K OHENF>

           H?MA>OB=>H=>IHLBMBHGH?!K K:B@4KB@AM

            0AHKMK>:D

           1%"3&!",$/-%"/1ABLBLMA>;>@BGGBG@

           H?OB=>H<:K=GNF;>K OHENF> BGMA>OB=>H

           =>IHLBMBHGH?!K K:B@4KB@AM$HBG@HGMA>K><HK=

           1A>MBF>BL1A:GDRHN
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 174 of
                                      434

                                                                         -:@>
            *//&3"/,6>L IE>:L> B=>GMB?B<:MBHG

            H?I>KLHGLHGMA>EBG>

            *//"++"/ R1>E>IAHG> 0NK>1ABL

            BLG=K>PK>GG>KH?HB>L0<ABEE>K:G=MHFRDGHPE>=@>

            &A:O>;>>GHGMA>EBG>?HK:EEH?MA>MBF>MA:MMA>

            =>IHLBMBHGA:L;>>GBGL>LLBHG

            *//&3"/,1A:GDRHN *KK>GG>K

            *//"++"/6HN:K>P>E<HF>

            */* !*0 R1>E>IAHG> 1ABLBL'HAG

           *<=:FL :ELH?KHFHB>L0<ABEE>K :G=:ELHA:O>;>>GHG

           MA>EBG>?HK:EEL>LLBHGL

           */()"&*+ R1>E>IAHG> 1ABLBL&K:

           (E>BF:G&A:O>;>>GHGMA>EBG>LBG<>MA>;>@BGGBG@

           *//&3"/,GRHG>>EL>

           *0*/(,"&LMA>K>:K>:LHGPAR

           *K(E>BF:G RHN?:BE>=MHB=>GMB?RRHNKL>E?IK>OBHNLER

           */#/""!*+&K: =HGHM:GLP>KMA:M

           &MABGDMA>R:LD>=?HKE:PR>KLMHF:D>MA>BK

           :II>:K:G<>L&:FGHMLNK>A>DG>P

           1%"4&1+"001A:MBLGHM<HKK><M

           */#/""!*+"BMA>KP:R P><:G=>:E

           PBMAMABLE:M>K H;OBHNLER%>A:L;>>GHGMA>EBG> P>

           A:O>=BL<EHL>=BM:G=RHN<:G=HPA:MRHNEBD>PBMABM

           *//&3"/,+HM>HNKH;C><MBHG

           *0*/(,"&PHNE=EBD>MHGHM>HNK
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 175 of
                                      434

                                                                         -:@>
            H;C><MBHG:G=&PHNE=:ELHEBD>MHGHM>MA:M*K(E>BF:G

            &:FBGLMKN<MBG@RHNMA:MMABL=>IHLBMBHGBL

            <HG?B=>GMB:E:G=RHN:K>;HNG=;RMA><HG?B=>GMB:EBMR

            HK=>KBGMABL<:L>4>IK>LNF>MA:MRHN:K>:P:K>H?BM

            :G=PBEE:;B=>;RBM

            */#/""!*+,D:R

            */()"&*+6>L

            6*/#/""!*+

            .!K4KB@AM MA>:<D<BM>=BGMA>

           BM<HBGPABM>I:I>K BLMA:M:K>?>K>G<>MHMA>L:F>

           =:F:<DP>P>K>IK>OBHNLER=BL<NLLBG@

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           6*/#/""!*+

           .&LBMRHNKM>LMBFHGRA>K>MH=:RMA:MMA:M

           BL:FBL <BM>:G=BMLAHNE=BGLM>:=;>MH*K#BGG>R

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&MLAHNE=A:O>NKHK:BG

           MA>/-H4 MA:MBL/:LBG/ -H4LAHNE=;><BM>=MH

           *K#BGG>R

           6*/#/""!*+

           .&GK>LIHGL>MHBGM>KKH@:MHKRK>JN>LML

           !K4KB@AM RHNL:B=MA:MMA>K>P:L:GBG=BOB=N:EPAH

           A>EI>=F>BGMA>O>KR>:KERLM:@>LH?FRK>L>:K<AP>EE

           ;>?HK>MA>K>E>:L>H?MA>BM<HBGIKHMH<HEL?:K:L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 176 of
                                      434

                                                                         -:@>
            &DGHP MA:MBG=BOB=N:EG>O>KF>MHKBGM>K:<M>=PBMA

            !:O>(E>BF:G4AHP:LMA:MBG=BOB=N:E

            *0*/(,",;C><MBHG

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00+H &<:GGHM

            *0*/(,"1ABLBLI:KMH?PA:MRHN

            G>>=MH=BL<NLLPBMAMA><HNKMBG<:F>K:

            1%"4&1+"006>L

            *0*/(,",D:R

           6*/#/""!*+

           .!K4KB@AM PAHL>B=>:P:LBMMHK>@BLM>K

           MA>BM<HBG<HF=HF:BGG:F>

           *BG>

           .4A>G=B=RHN?BKLMK>@BLM>KMA:M=HF:BG

           &PHNE=A:O>MHEHHDNIMA>=:M>&=H

           GHMK>F>F;>K

           .!HRHNLMBEEA:O>MA>K><HK=L:LLH<B:M>=

           PBMAMA:MHKB@BG:EK>@BLMK:MBHG

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"001A>R:K>HGEBG>

           6*/#/""!*+

           .4A>K>:K>MA>RHGEBG>

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00@:BG &:LLNF>RHN=HGHM

           DGHPM><AGB<:EG:F>K><HK=LHKAHPMA>L>:K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 177 of
                                      434

                                                                         -:@>
            <HGLMKN<M>=1A>R:K>IN;EB<K><HK=L

            6*/#/""!*+

            .1A:MBL:EEKB@AM;NMRHN<:GLMBEE

            >QIE:BGBMMHF>4A>K>:K>MA>RIN;EB<ER:O:BE:;E>

            4AHBL

            .G=PA:MBG?HKF:MBHG=B=RHN@BO>             =B=

            RHN=HBMNG=>K:IKBO:M>4AHBLK>@BLMK:MBHGHK=B=RHN

            =HBMIN;EB<ER :G=&@BO>B=>GMB?B<:MBHGMH4AHBL

            *0*/(,",;C><MBHG<HFIHNG=

           1%"4&1+"001A>K>BLGHLN<AMABG@:L:

           IKBO:M>O>KLNL:IN;EB<4AHBL

           6*/#/""!*+

           .1A>K>BLGHP:RMHIKBO:M>ERK>@BLM>K

           =HF:BGG:F>L

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00!>?BG>PA:MRHNF>:G;R

           IKBO:M>

           6*/#/""!*+

           .&LMA>K>:P:RMHGHM@BO>B=>GMB?RBG@

           BG?HKF:MBHG?HKMA>HPG>KH?MA>=HF:BGG:F>HKMA>

           K>@BLMK:GMH?MA>=HF:BGG:F>

           *0*/(,",;C><MBHG

           1%"4&1+"00!>?BG>PA:MRHNF>:G;R

           MA:M6HN:K>=HBG@:PAHE>EHMH?P:??ER?EN??R<K:I

           >Q<NL>MA>E:G@N:@> MA:ML:RLIKBO:M>PA>GRHNIKH;:;ER
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 178 of
                                      434

                                                                         -:@>
            F>:G:GHGRFHNLG=<:GRHN=HLHF>MABG@:;HNMMA:M

            IAHG> IE>:L> HK&:F@HBG@MHA:O>MHMAKHPBMHNMH?

            :PBG=HP;><:NL>BMD>>IL?E:LABG@:G=BMBLK>:EER

            K>:EER:GGHRBG@

            */#/""!*+*R:IHEH@B>L

            .4A:MBG?HKF:MBHG=B=RHN@BO>4AHBLPA>G

            RHNK>@BLM>K>=MA>BM<HBG<HF=HF:BGG:F>

            *0*/(,",;C><MBHG

            1%"4&1+"00&?RHNA:O>:EHHD:MBM

           RHNPBEEL>>MA>BG?HKF:MBHG?KHFMA>3BLMHF:BEHK

           :GHGRFHNLLI>><A<HFL>KO>K1A:MBLIKHOB=>=?KHFMA:M

           L>KO>K:G=MA>4AHBLMA:MMA>R:EEHP@H>L:<KHLLBGMH

           MA>4AHBLMA:MBL HKP:LMA>K>&=HGHMDGHP:;HNM

           MA>NI=:M>LMA:MA:O>H<<NKK>=LBG<>

           6*/#/""!*+

           .!B=RHN<HFFNGB<:M>PBMA!:O>(E>BF:G

           :;HNMMA>=HF:BGG:F>

           *0*/(,",;C><MBHG

           1%"4&1+"00!>?BG>PA:MRHNF>:G;R

           <HFFNGB<:M>:;HNMMA>=HF:BGG:F>

           6*/#/""!*+

           .!B=RHN<HFFNGB<:M>PBMAABF:;HNMMA>

           K>@BLMK:MBHGH?MA>=HF:BGG:F>

           &:FGHMLNK>PA:MRHNPHNE=;>:LDBG@

           .!B=RHNL>G=:GR<HFFNGB<:MBHGLMH!:O>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 179 of
                                      434

                                                                         -:@>
            (E>BF:G:;HNMMA>K>@BLMK:MBHGH?BM<HBG<HF

            &=B=GHMK>@BLM>KBM<HBG<HF

            .4AHK>@BLM>K>=BM<HBG<HF

            &MP:LGHMF>

            .4AHP:LBM

            6HN:K>GHP:LDBG@F>PAHK>@BLM>K>=

            K:G=HF> F:BE      LHKKR =HF:BGG:F>=HM<HF :G=>QI><M

            F>MHDGHP

            .!HRHNDGHPPAHK>@BLM>K>=BM<HBG<HF

           +H

           .!HRHNDGHPPAHK>@BLM>K>=

           BM<HBGM:ED<HF

           +H&F>:G &:F=HMHK@&MABGDRHN

           A:O>MAHL>PKHG@

           .&M<HNE=;>!B=RHNK>@BLM>K

           BM<HBGHK@

           6>L

           .)>MF>:LD:EEMA>JN>LMBHGLHO>K;><:NL>

           &F:RA:O>FBLLIHD>G4A>G=B=RHN?BKLMK>@BLM>K

           BM<HBGHK@

           @:BG MA:MBLIN;EB<K><HK=HG4AHBL:G=

           &=HGHMK>F>F;>KMA>>Q:<M=:M>

           .GR:GLP>KLRHN@:O>;>?HK>:;HNMMA>

           3BLMHF:BE:<<HNGM:IIERMHBM<HBGHK@

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 180 of
                                      434

                                                                         -:@>
            1%"4&1+"006>L

            6*/#/""!*+

            .!B=RHN>O>K<HFFNGB<:M>PBMA

            !:O>(E>BF:G:;HNMBM<HBGHK@K>@BLMK:MBHG

            +H&K>@BLM>K>=FR?BKLM=HF:BGG:F>BG

            MA>L&=HGHMG>>=A>EIK>@BLM>KBG@=HF:BGL

            .!B=MA>K><HF>:MBF>PA>GRHN

            MK:GL?>KK>=HPG>KLABIH?MA>BM<HBGHK@=HF:BGG:F>

            *0*/(,",;C><MBHG

           1%"4&1+"001A>K>BLGHMK>:EER

           HPG>KLABIH?MA:M=HF:BG

           6*/#/""!*+

           . HGMKHEH?MA>=HF:BG

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           6*/#/""!*+

           .4A>G=B=RHNMK:GL?>K<HGMKHEH?MA>

           BM<HBGHK@=HF:BGG:F>

           4A>G&LMHII>=;>BG@BGOHEO>=PBMAMA>

           <HFFNGBMR

           .4AB<AP:L

           &MP:L:<MN:EER:EBMME>;BM

           ;>?HK>MA:MMA:MBG?HKF:MBHGA:=;>>GA:G=>=HO>K

           .&G?HKF:MBHGA:=;>>GA:G=>=HO>K PA:M=H

           RHNF>:G;RMA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 181 of
                                      434

                                                                         -:@>
            !HF:BGD>RL >M<>M>K:

            .4AH=B=RHNA:G=MA>FHO>KMH

            1A:MP:LMH1A>RFHL HKB@BG:EER

            .!B=!:O>(E>BF:G>O>KA:O>MA><HGMKHE

            HO>KMA>BM<HBGHK@=HF:BGG:F>

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00+H

            6*/#/""!*+

            .4AHBL1A>RFHL

           *0*/(,",;C><MBHG1ABLBL:@:BG

           GHPRHN:K>@HBG@;>RHG=MA>L<HI>4>A:O>:EK>:=R

           >LM:;EBLA>=MA:M!:O>(E>BF:G=B=GHMA:O><HGMKHEHO>K

           MA>BM<HBGHK@=HF:BGG:F>:G=RHN<:GFHO>HGGHP

           6*/#/""!*+

           .4AHBL1A>RFHL

           *0*/(,",;C><MBHG&PBEEBGLMKN<M

           RHNGHMMH:GLP>K>RHG=MA>L<HI>

           6*/#/""!*+

           .4AR=B=RHNMK:GL?>KMA>BM<HBGHK@

           =HF:BGG:F>

           *0*/(,",;C><MBHG;>RHG=MA>L<HI>

           !HGHM:GLP>K

           6*/#/""!*+

           .4AHFBG>=MA>@>G>LBL;EH<DH?MA>

           BM<HBGMBF><A:BG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 182 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            */#/""!*+6HN<:G:GLP>K

            *0*/(," :GRHN<HGG><MMA:MMHHG>

            MA>L>MHIB<L IE>:L>

            */#/""!*+#HKF:MBHGH?MA>0:MHLAB

            +:D:FHMHI:KMG>KLABI&MBLEBM>K:EERMA>?BKLM;EH<D

            H?BM<HBG

            1%"4&1+"00&MBLGHMFBG>

            *0*/(,"1A>JN>LMBHGRHN:LD>==H>L

           GHMF:D>MA:M<HGG><MBHG LHPAR=HRHNGHMMKRMHF:D>

           MA:M<HGG><MBHG:G=MA>GP><:GA:O>:<HGO>KL:MBHG

           */#/""!*+!HGHMM>EEF>AHPMH:LD

           FRJN>LMBHGL&GLMKN<MABFGHMMH:GLP>KHKH;C><M

           .4AHFBG>=MA>@>G>LBL;EH<DH?MA>

           BM<HBGMBF><A:BG

           1%"4&1+"00+H;H=R

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .&:FLHKKR

           +H;H=R

           .4AHIKH@K:F>=MA>@>G>LBL;EH<DH?MA>

           BM<HBGMBF><A:BG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H;H=R ;><:NL>MA:MBL

           :@:BGPKHG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 183 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .%HP=B=MA>BM<HBG@>G>LBL;EH<D<HF>

            BGMH>QBLM>G<>

            *0*/(,",;C><MBHG

            1%"4&1+"00GLP>KHKGHM&GLMKN<MBHG

            !H&:GLP>KMABLHKGHM

            *0*/(,"*RLN@@>LMBHGPHNE=;>MA:M

            LHF>HG>K>E:M>MABL

            */#/""!*+-E>:L>=HGHMLN@@>LM

           *0*/(,"           MH!:O>(E>BF:GHK

           &PBEELMKB<MABFGHMMH:GLP>K

           */#/""!*+1A>G=HPA:MRHNPBEE4>

           PBEEK:BL>BMPBMAMA><HNKM

           *0*/(,"/>E:M>RHNKJN>LMBHGMH!:O>

           (E>BF:G:G=PA>MA>KHKGHMMA>K>P:L:I:KMG>KLABIHK

           &PBEELMKB<MABFGHMMH:GLP>K

           */#/""!*+!HPA:MRHNPBEE

           *0*/(,",D:R1A>G:LDRHNK

           JN>LMBHGLIKHI>KERK>E:M>=MHMA>L<HI>:LRHNIK>I:K>=

           MABL

           6*/#/""!*+

           .%HP=B=MA>@>G>LBL;EH<D<HF>BGMH

           >QBLM>G<>

           *0*/(,",;C><MBHG!HGHM:GLP>K

           MA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 184 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .4A:MP:LMA>?BKLMBM<HBG;EH<D0:MHLAB

            FBG>=

            *0*/(,"6HN<:G:GLP>KMA:M

            1%"4&1+"00EH<DHG>

            6*/#/""!*+

            .&LMA:M:ELHK>?>KK>=MH:LMA>@>G>LBL

            ;EH<D

            +H

           .&LBMMA>L><HG=;EH<D

           *0*/(,",;C><MBHG

           1%"4&1+"00&MBLMA>?BKLM;EH<D             BM

           BL;EH<DHG>

           6*/#/""!*+

           .EH<DHG>!HRHNDGHPPA:M<HFINM>K

           FBG>=;EH<DHG>

           &DGHPPA:M HNMH?:@KHNIH?<HFINM>KL

           FBG>=;EH<DHG>

           .4A>K>P:LMA:M@KHNIH?<HFINM>KL

           EH<:M>=

           -HKM*:<JN:KB>CNLMHNMLB=>:LF:EEMHPG

           <:EE>=:@GHH

           *0*/(," :GRHNLI>EEMAHL>G:F>L

           ?HKMA><HNKMK>IHKM>K IE>:L>

           1%"4&1+"00  $ + , ,
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 185 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .%HPF:GR<HFINM>KLP>K>BG:@GHH

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHPAHPF:GR

            <HFINM>KL&A:=BG:@GHH&=HGHMDGHPAHPF:GR

            <HFINM>KL&A:O>GHP

            6*/#/""!*+

            .!B=:GRHG>>EL>DGHP:;HNMMA><HFINM>K

            L>M NIBG:@GHH

           *0*/(,",;C><MBHG

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"006>L

           6*/#/""!*+

           .4AH>EL>

           *:GRI>HIE>DG>PMA:M&A:=:<HFINM>K

           L>M NIBG:@GHH&A:=LI>GM:EHMH?FHG>R@>MMBG@

           ?B;K>E:B=BGMH:<HFIE>M>ERKNK:E:K>: MA:M;:LB<:EER

           P:LG>O>K@HBG@MHA:O>?B;K> MA:MHI>G>=NIF:R;>

            I>HIE>BGMA><HFFNGBMRMHEHP<HLM AB@A LI>>=

           BGM>KG>M ;><:NL>&A:=MA>PAHE>KH:=KBII>=NI:G=

           I:B=?HKMHE:R?B;K>MHFRAHF> MA>IHP>KKNGBGMHBM

           >M<>M>K: LHF:GRPHNE=A:O>DGHPG

           .6HNA:=:AHF>BG:@GHH

           6>L

           .&LBM:@GHHBG+>P0HNMA4:E>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 186 of
                                      434

                                                                         -:@>
            6>L

            .0:MHLABFBG>=;EH<DHG>4>K>RHNMA>

            HG>:<MBG@:L0:MHLABMHFBG>;EH<DHG>

            *0*/(,",;C><MBHG

            1%"4&1+"001A>K>BLGH0:MHLABMA:M

            P:R&P:L

            6*/#/""!*+

            .&:FLHKKR

            &P:L&NL>=MA>IL>N=HGRF&M=B=GHM

           ?EBIKHNG=EBD>!K>:=-BK:M>/H;>KMLHKLHF>MABG@EBD>

           MABL&MP:LCNLMF>G=BMP:LGHM0:MHLABFBGBG@

           I>KL>1A>K>P:LGHM:GR HMA>KMA:GF> :I:KM?KHF

           ;EH<DGBG> PAB<AP:LMA>GK>?>K>G<>=;R:MK:GL?>K

           &=B=

           .0HRHNFBG>=;EH<DHG>

           6>L

           .!B=RHN:ELHFBG>;EH<DMPH

           />E>O:G<> IE>:L> @BO>F>

           *0*/(,")HHD <HGG><MBMNIPBMA:

           K>E:MBHGLABIPBMA!:O>(E>BF:GHK=HGHM

           1%"4&1+"001A>K>P>K>FBGBG@IHHEL

           MA>K>P>K>GHLA:K>=FBGBG@!:O>(E>BF:G:G=&<HNE=

           GHMIARLB<:EERFBG>BG:GRP:R*BGBG@IHHELP>K>GHM

           =>O>EHI>=NGMBER>:KL:?M>K&=BL:II>:K>= LHMA>K>BL

           GHCHBGMFBGBG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 187 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .1A:MP:LGHMFRJN>LMBHG&MP:LCNLM

            PA>MA>K

            6>L BMBL ;:LB<:EERRHN:K>MKRBG@MH

            ?BG=HNMPA:M&=H:G==HGHMA:O> PAB<ABLGHG>H?

            RHNK$H==:FG;NLBG>LL1A>K>BLGHMABG@MH=HPBMA

            !:O>(E>BF:G!:O>(E>BF:GG>O>KA:=:F:<ABG>:<<>LL

            <H=>%>G>O>KP>GMHGMAHL>F:<ABG>L%>G>O>K

            :<<>LL>=MAHL>F:<ABG>L%>G>O>KMHN<A>=MAHL>

           F:<ABG>L+HMABG@

           .K>RHN:P:K>H?:GRHG>>EL>PAHFBG>=

           BM<HBGBG':GN:KRH?

           *0*/(,",;C><MBHG1A:MBL:@:BG

           P>EE;>RHG=MA>L<HI>H?PA:MMABL=>IHLBMBHGBL:;HNM

           */#/""!*+1HPBMG>LL>L

           *0*/(,",?:GRHG>PAHFBG>=BM<HBG

           */#/""!*+&MEBM>K:EER<:F>HNM=:RL

           :@H 7:A:K:ABM<:F>HNMBG':GN:KR LH:GR;H=R

           PAHP:LFBGBG@MA>GP:L

           *0*/(,",D:R%HPPHNE=A>DGHPPAH

           BL=HBG@PA:M

           */#/""!*+&?A>=H>LGHMDGHPA>

           =H>LGHMDGHP

           1%"4&1+"001A>PAHE>G:MNK>H?MA>

           LRLM>FBLMA:MRHN=HGHMK>@BLM>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 188 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .!HRHNDGHP:GRHG>PAHP:LFBGBG@BG

            ':GN:KR

            *0*/(,",;C><MBHG

            1%"4&1+"006>L%:E#BGG>R

            6*/#/""!*+

            .>LB=>L%:E#BGG>R P:LMA>K>:GRHG>

            >EL>

            *0*/(,",;C><MBHG

           1%"4&1+"00+H &=HGHMDGHP&=B=

           GHM>O>G:LD!:O>B?A>P:L=HBG@BM

           6*/#/""!*+

           .6HN=HGHMDGHPB?!:O>P:LFBGBG@BG

           ':GN:KR

           +H &=HGHM

           .!B=A>>O>KM>EERHNB?A>P:LFBGBG@BG

           ':GN:KR

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"00+HB=>:

           6*/#/""!*+

           .!K4KB@AM =B=MA>K><HF>:MBF>PA>G

           RHN=BL<NLL>=0:MHLAB+:D:FHMH:G=MA>HKB@BGH?BM<HBG

           PBMA:@>GME>F:GG:F>=G=K>P,%:@:G
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 189 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG4A:M>Q:<MER

            =H>LMABLA:O>MH=HPBMAMA>MHIB<&IK>LNF>RHN:K>

            M:EDBG@:;HNMMHIB<0H<:GRHNIE>:L>>QIE:BGMHF>

            PA:MMABLA:LMH=HPBMA:GRH?MA>LN;MHIB<LNG=>K

            MHIB<

            */#/""!*+6>L&:FA:G=BG@RHN

            PA:MA:L;>>GF:KD>=:L-E:BGMB??L"QAB;BM

            *0*/(,"-E>:L>>QIE:BGBM

            */#/""!*+&PBEE,G>L><HG=

           &MABGDMABLBLKB@AM&LBMHK1ABL@H>L

           MHK>E>O:GMPBMG>LL>L

           *0*/(,"4A:M@H>LMHK>E>O:GM

           PBMG>LL>L

           */#/""!*+6HNPBEEL>>PA>GMA>

           JN>LMBHG<HF>L*K,%:@:GABFL>E?BL:K>E>O:GM

           PBMG>LLB?MA>:GLP>KBLR>L

   H        -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

           .
              . :GRHNM:D>:EHHD:MI:@> IE>:L>

           1A>I:@>GNF;>KBG@BLBGMA>NII>KKB@AM
              1A>I:@>GNF;>KBG@BLBGMA>NII>KKB@AM A:G=<HKG>KH?

           MA>=H<NF>GM
              MA>=H<NF>GM

           *//&3"/,6HN:K>K>?>KKBG@MHH?

           

           */#/""!*+ HKK><M1ABLBL=H<D>M

           >GMKR 

   H       .;HNMA:E?P:R=HPGMA:M?BKLMI:K:@K:IA
               .;HNMA:E?P:R=HPGMA:M?BKLMI:K:@K:IA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 190 of
                                      434

                                                                         -:@>
  H         BMLM:KMLH??PBMA0:MHLAB:ELHL>GM?HNKHMA>K
              BMLM:KMLH??PBMA0:MHLAB:ELHL>GM?HNKHMA>K

            MK:GL:<MBHGLHGMA>L:F>=:R&:LD>=4KB@AMPAHMA>
              MK:GL:<MBHGLHGMA>L:F>=:R&:LD>=4KB@AMPAHMA>

            K><BIB>GMLP>K>
              K><BIB>GMLP>K>      PAHMA>?HNK:==K>LL>L;>EHG@>=MH

            %:E
              %:E !:O> FRL>E? A>K>IEB>=G=:GHMA>K&<:GGHM

            G:F>:L&A:O>GHKB@AMMH=HLH!HRHNK><H@GBL>
              G:F>:L&A:O>GHKB@AMMH=HLH!HRHNK><H@GBL>

            MABL<HGO>KL:MBHG
              MABL<HGO>KL:MBHG

            *0*/(,",;C><MBHG

   H        1%"4&1+"00&K>F>F;>K:A:E?
              1%"4&1+"00&K>F>F;>K:A:E? MKNMA

            O>KLBHGH?MABL<HGO>KL:MBHG
              O>KLBHGH?MABL<HGO>KL:MBHG

           6*/#/""!*+

           .4A:MP:LMA>MKNMAH?MA><HGO>KL:MBHG

           *0*/(,",;C><MBHG6HN:K>@HBG@

           ;>RHG=MA>L<HI>&:F@HBG@MHBGLMKN<MABFGHMMH

           :GLP>K

           */#/""!*+6HN:K>GHM@HBG@MHE>M

           F>?BG=HNMPAHMA>G:F>H?MA>HMA>KI>KLHGBL

           *0*/(,"&:F@HBG@MHBGLMKN<MABF

           GHMMH:GLP>KRHNKJN>LMBHGPAB<A B?&<:GL>>BM

           L:RL 4A:MP:LMA>MKNMAH?MA><HGO>KL:MBHG6HN:K>

           EBFBM>=MHMA>=>M:BELLNKKHNG=BG@ K:B@:G=!:O>L

           I:KMG>KLABIMH<K>:M>0:MHLAB+:D:FHMH BGRHNKPHK=L

           MA>@>G>K:EIKH<>LLH?MA>BK<HEE:;HK:MBHG BGRHNK

           PHK=L MA>:<<HNGMLMA:MMA>RA>E=MH<HEE:;HK:M>

           M><AGHEH@B<:E:G=FHG>R BGRHNKPHK=L F>MAH=LH?

           <HFFNGB<:MBHGMA>RNL>==NKBG@MA:MI>KBH= BGRHNK
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 191 of
                                      434

                                                                         -:@>
            PHK=L

            */#/""!*+7:A:K:A RHN=HGHMG>>=

            RHNMHK>:=MA>>GMBK>        &:F?:FBEB:KPBMABM

            *0*/(,"           :G=MHB=>GMB?RMA>

            <HFINM>KL:G=L>KO>KL0:MHLAB+:D:FHMHNL>=MH=K:?MMA>

            PABM>I:I>K

            */#/""!*+&:F@HBG@MH:LDRHNMH

            LMHIP:LMBG@FRMBF>

            *0*/(,"           IKH@K:FBM<HBG:G=FBG>

           MA>?BKLM?>PBM<HBG6HNKJN>LMBHG=H>LGHM@HMH:GR

           H?MAHL>MHIB<L

           */#/""!*+&M@H>LMHMA>?BKLMHG>

           *0*/(,"&:FBGLMKN<MBG@MA>PBMG>LL

           GHMMH:GLP>K

           */#/""!*+1A>GCNLMBGLMKN<MABFGHM

           MH:GLP>K 7:A:K:A1A:MBL:EERHNG>>=MH=H:G=&

           PBEEFHO>HG

           *0*/(,"&PBEE:ELHINMHGMA>

           K><HK=FRH;C><MBHGPAB<A&:F>GMBME>=MH=H:G=RHN

           :K>GHM>GMBME>=MHLMHIF>?KHF=HBG@LMHMA>?BKLM

           JN>LMBHG RHNA:O>:EK>:=RB=>GMB?B>= :G=A>A:L

           :EK>:=RL:B= A>A:=:<HGO>KL:MBHGPBMA*K,%:@:G

           MABLBLGHM:G:<<NK:M>K>IK>L>GM:MBHGH?MA:M

           <HGO>KL:MBHG1A:MBLRHNKB=>GMBMRH?RHNKPBMG>LL

           6HN:K>=HG>GHP
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 192 of
                                      434

                                                                         -:@>
            */#/""!*+7:A:K:A B?RHN<HGMBGN>

            LI>:DBG@P>:K>@HBG@MH:LDMA><HNKM?HKFHK>MBF>

            *0*/(,"LDMA><HNKM?HKFHK>MBF>

            &:F:EEHP>=MHLM:M>FRH;C><MBHG?HKMA>K><HK=:G=

            MA>;:LBL?HKBMLHMA:M&A:O>:G:<<NK:M>K><HK=MH

            LA:K>PBMAMA><HNKM

            */#/""!*+4>PBEE

            .,G':GN:KRMA  =B=RHNL>G=

            BM<HBGMH:GRHG>

           6>L

           .4AH=B=RHNL>G=BMMH

           %:E#BGG>R

           .4AH>EL>

           *0*/(,"GLP>KB?RHN<:G

           1%"4&1+"00&=HGHM:<MN:EERK>F>F;>K

           6*/#/""!*+

           .!B=RHNL>G=BM<HBGMH!:O>(E>BF:GHG

           ':GN:KRMA 

           *0*/(,",;C><MBHG ;NMRHNF:R

           :GLP>KB?RHNK>F>F;>K

           1%"4&1+"00&<:GGHMK>F>F;>K

           6*/#/""!*+

           .!B=RHNL>G=BM<HBGMHRHNKL>E?HG

           ':GN:KRMA 

           *0*/(,",;C><MBHG6HN<:G:GLP>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 193 of
                                      434

                                                                         -:@>
            B?RHNK>F>F;>K

            1%"4&1+"00&<:GGHMK>F>F;>K

            6*/#/""!*+

  H         .!HRHNDGHPPAHBL;>BG@K>?>KK>=MHBG
              .!HRHNDGHPPAHBL;>BG@K>?>KK>=MHBG

            -E:BGMB??L"QAB;BM:G=:GHMA>K&<:GGHMG:F>
              -E:BGMB??L"QAB;BM:G=:GHMA>K&<:GGHMG:F>

            :L&A:O>GHKB@AMMH=HLH
              :L&A:O>GHKB@AMMH=HLH

            *0*/(,"&CNLMP:GMMHK>:=MA>

            JN>LMBHG;:<D -:NL> 6HN<:G:GLP>KMA>JN>LMBHG&?

            RHNG>>=:K>:=;:<D :LD?HK:K>:=;:<D
  H        1%"4&1+"004A:M&PBEEL:RBLMABL
              1%"4&1+"004A:M&PBEEL:RBLMABL

           PHKDH??B<MBHG
              PHKDH??B<MBHG       4BMG>LLBG=B<:M>L"QAB;BM          P:L

           <K>:M>=;><:NL>*K,%:@:GK>?NL>=MHLB@GMA>
              <K>:M>=;><:NL>*K,%:@:GK>?NL>=MHLB@GMA>

           GHG
              GHG =BL<EHLNK>:@K>>F>GM :G=;:LB<:EERMHHDPA:MA>

           MAHN@AMPHNE=;>:@K>:MLMHKR:G=<K>:M>=HG>&MBL
              MAHN@AMPHNE=;>:@K>:MLMHKR:G=<K>:M>=HG>&MBL

           ?B<MBHG
              ?B<MBHG

           6*/#/""!*+

           .6HNKIHLBMBHGBLMA>>GMBK>:KMB<E>BL

           ?B<MBHG

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           ABLM>LMBFHGR

           6*/#/""!*+

           .&LBMRHNKIHLBMBHGMA:MMA>>GMBK>

           :KMB<E>BL?B<MBHG

           +H

           .!B=*K,%:@:GK><HK=L>LLBHGL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 194 of
                                      434

                                                                         -:@>
            BGM>KOB>PL>LLBHGLPBMARHN

            +H :G=B?A>=B=LHMA:MPHNE=;>:

            <KBFBG:E:<M

            .1A>K>:K>GHK><HK=BG@LMA:MRHN:K>

            :P:K>H?

            &?A>=B=LH MA:MPHNE=;>:<KBFBG:E

            :<M

            .&G':GN:KRH? NGMBE P:LMA>K>

            :GRPA>K>RHNFBG>=BM<HBG;>LB=>LNG@:EHH            A>EIF>

           IE>:L>

           :@GHH

           .:@GHH

           6>L

           .4A>K>>EL>

           MHG>LM:@> &A:=FBGBG@LH?MP:K>&P:L

           IE:RBG@PBMAHGFRIAHG>&M=B=GHM:<MN:EERFBG>:GR

           BM<HBG

           .4:LMA>K>:GRHMA>KEH<:MBHGLH?

           <HFINM>KLMA:MRHNFBG>BM<HBGBG

           +H

           .,GERNG@:EHH

           :@GHH

           .:@GHH,GER:@GHH

           6>L

           .1A:MLM:KM>=BG':GN:KR4A>G=B=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 195 of
                                      434

                                                                         -:@>
            RHNLMHI B?>O>K FBGBG@BM<HBGBG:@GHH

            &LMHII>=>O>KRMABG@MH=HPBMA:@GHHBG

            !><>F;>K

            .,?

            ,KIKH;:;ERGHM>O>KRMABG@MH=H

            PBMA;><:NL>&LMBEEHPG>=I:KMH?MA>IKHI>KMR:G=

            PA:M>O>K>EL> ;NM&P:LGHM=HBG@:GR&1LMN??MA>K>:M

            :EE

            *//&3"/,&P:GMMHGHM>MA:MP>:K>

           @BOBG@:EHMH?E>>P:R >O>GMAHN@AMA>K>BL:EK>:=R

           M>LMBFHGR=BL<HGG><MBG@MA>LN;C><MH?MA>L>JN>LMBHGL

           ?KHF!:O>(E>BF:GNM@H:A>:=PBMARHNKG>QM

           JN>LMBHG

           6*/#/""!*+

           .&G!><>F;>KH?          LMKBD>MA:M!B=

           RHNLMHIFBGBG@>GMBK>ERBG!><>F;>KH?

           +H

           .4A>K>=B=MA>FBGBG@<HGMBGN>

           1A>FBGBG@K>LM:KM>=E:M>K ;RF> PBMA

           IHHELMA:M&GHPKNG

           .4A>G=B=MA:MLM:KMNI

           HG

           .0HBLBMRHNKM>LMBFHGRA>K>MH=:RMA:M

           ?KHF!><>F;>KH?NGMBEMA>FBGBG@IHHELBG

           RHNG>O>KFBG>=BM<HBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 196 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"001A:MBLGHM<HKK><M&=B=

            GHM>:KG:GRBM<HBG;><:NL>KNGGBG@:GH=>BG<>KM:BG

            <HG?B@NK:MBHGLF>:GLMA:MRHN:K>:ELHFBGBG@

            6*/#/""!*+

            .,D:R0H

            /NGGBG@M>LMG>MBL:ELHFBGBG@1ABLBL

            GHMIN;EB<BM<HBG

            .0H:L&NG=>KLM:G=BM ?KHF!><>F;>KH?

            NGMBE RHNG>O>K>:KG>=MA>FBGBG@K>P:K=?HK

           FBGBG@:;EH<DH?BM<HBGBLMA:M<HKK><M

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"001A:MBL<HKK><M

           6*/#/""!*+

           .M:GRIHBGMBGMBF> P:L!:O>BGOHEO>=

           BGMA>FBGBG@MA:MMHHDIE:<>BG:@GHH?KHFNGMBE

           MH

           +H;H=RP:L>O>KBGOHEO>=BGMA:M

           .IIKHQBF:M>ERAHPFN<ABM<HBGP>K>FBG>=

           ?KHF

           *0*/(,",;C><MBHG&:F@HBG@MH

           BGLMKN<MRHNGHMMH:GLP>K

           *//&3"/,&BGLMKN<MRHNGHMMH

           :GLP>K

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 197 of
                                      434

                                                                         -:@>
            .&:F@HBG@MH:LDRHN:GHMA>KJN>LMBHG

            6HNK:MMHKG>RLF:RBGLMKN<MRHNGHMMH:GLP>KLHM:D>:

            L><HG=

            *0*/(,"!HGHM:LDBM

            */#/""!*+&=HGHMMABGDRHN:K>

            KB@AMMHBGLMKN<MABFGHMMH:GLP>K;NM&:F@HBG@MH

            :LDBM

            .!HRHNDGHPMA>:FHNGMH?BM<HBGMA:M

            P:LFBG>=?KHFNGMBEBG:@GHH

           *0*/(,",;C><MBHG

           *//&3"/,0:F>BGLMKN<MBHG

           6*/#/""!*+

           .%:O>RHN>O>KFBG>=BM<HBGHNMH?

           NLMK:EB:

           +H

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"004>EE ;:<DMA>G GH+HP

           MA>IHHEL:K>HNMLB=>H?NLMK:EB: ;NMMA:MBLHG

           0H PA>G&L:RGHMHFBGBG@HK:GRMABG@EBD>MABL

           &PBEECNLMF:D>BM<E>:KGHP&:FM:EDBG@:;HNM;>?HK>

           

           6*/#/""!*+

           .&NG=>KLM:G=1A:GDL?HKMA>

           <E:KB?B<:MBHG&DGHPP>NG=>KLMHH=>:<AHMA>K ;NMBM

           BLBFIHKM:GMMA:MMA>K><HK=BL<E>:K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 198 of
                                      434

                                                                         -:@>
            &@HMMHE=MHF:D>LNK>&:F<E>:K

            LH

            .#KHFNGMBE PA>GRHNP>K>

            FBGBG@BG:@GHH P:LMA:M:?NEE MBF>CH;?HKRHN

            *0*/(,",;C><MBHG

            1%"4&1+"00&MP:LGHM:CH;:M:EE

            6*/#/""!*+

            .!B=BMM:D>:GRMBF>

            *0*/(,",;C><MBHG

           1%"4&1+"000G>>SBG@M:D>LMBF>

           6*/#/""!*+

           .1HN<AU!B=BMM:D>:LB@GB?B<:GM:FHNGM

           H?RHNKMBF>

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!B=RHN=BL<NLLMA>=>M:BELH?RHNK

           FBGBG@:<MBOBMRPBMA!:O>(E>BF:G

           !>?BG>PA:MRHNF>:G;R=BL<NLLMA>

           =>M:BELH?FRFBGBG@:<MBOBMR

           .!B=RHN=BL<NLLMA>:@GHH<HFINM>KL:G=

           L>KO>KLPBMA!:O>(E>BF:G

           +H

           .1HMA>;>LMH?RHNKK><HEE><MBHG =B=

           !:O>(E>BF:GA:O>:GRDGHPE>=@>H?MA>FBGBG@RHNP>K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 199 of
                                      434

                                                                         -:@>
            =HBG@BG:@GHH

            *0*/(,",;C><MBHG

            1%"4&1+"006>L A>=B=

            6*/#/""!*+

            .%HP=B=A><HF>MH?BG=HNM:;HNMMA:M

            %>DG>P&A:=:IKHI>KMRBG:@GHH:G=

            MA:M&P:LKNGGBG@BM<HBGGH=>L

            .!B=RHN=BL<NLLMA>:FHNGMH?BM<HBGRHN

            A:=:F:LL>=PBMA!:O>(E>BF:G

           *0*/(,",;C><MBHG@:BG &:F

           @HBG@MHBGLMKN<MMA>PBMG>LLGHMMH:GLP>KMA>L>

           JN>LMBHGL6HN:K>GHP@HBG@P>EE;>RHG=MA>L<HI>H?

           PA:MBLI>KFBMM>=BGMABL=>IHLBMBHG

           */#/""!*+ HFFNGB<:MBHG;>MP>>GABF

           :G=!:O>(E>BF:G

           *0*/(,"6HN:K>GHM:LDBG@:;HNM

           >O>KR<HFFNGB<:MBHGMA:MA>A:=;>MP>>GABFL>E?:G=!:O>

           (E>BF:G1A:MBLGHMHG>H?RHNKMHIB<L)HHD:MRHNK

           MHIB<L:@:BG1ABLBLGHM:F>KBML=>IHLBMBHG1A:M

           A:L;>>GF:=>O>KR<E>:K;RMA><HNKM

           6*/#/""!*+

           .!B=!:O>(E>BF:GFBG>:GRH?MA>?BKLM

           BM<HBG

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           B?RHNDGHP
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 200 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .        ;EH<DL

            1A:GDRHN?HKMA><E:KB?B<:MBHG

            HMA>KPBL>&PHNE=A:O>MHL:RGH ;><:NL>GHHG>FBG>=

            MA>?BKLMBM<HBG

            .&L:PMA:MEHHD

            &<:GGHMA>EIKHEEBG@FR>R>L

            &:IHEH@BL>&=HGHMDGHP

            .!B=MA>K><HF>:MBF>PA>G!:O>(E>BF:G

           ;>@:GFBGBG@BM<HBG

           6>L

           .4A>G=B=A>;>@BGFBGBG@BM<HBG

           &=HGHMDGHP

           .!HRHNDGHP:IIKHQBF:M>ERPA>GA>;>@:G

           FBGBG@BM<HBG

           &=B=GHM:LDABF

           .!HRHNDGHPPA:M<HFINM>KA>NL>=MHFBG>

           BM<HBG

           +H

           .!HRHNDGHPPA:MA:K=P:K>A>NL>=MHFBG>

           BM<HBG

           +HMK>:EER GH

           .%HP=HRHNDGHPMA:MA>>O>GMN:EER;>@:G

           FBGBG@BM<HBG

           ><:NL>>O>GMN:EERP>LIHD>:;HNMBM:G=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 201 of
                                      434

                                                                         -:@>
            A>A:=MHE=F>A>A:=FBG>=BM<HBG

            .4A>K>=B=MA:M<HFFNGB<:MBHGM:D>IE:<>

            *HLMH?FR<HFFNGB<:MBHGL BG<EN=BG@MABL

            HG> P>K>HG&/ 

            .1A>K>BLGHK><HK=H?BM

            *0*/(,",;C><MBHG

            1%"4&1+"00&<:GGHM:GLP>KMA:MHG> &

            =HGHMDGHP

            6*/#/""!*+

           .6HNA:O>GHK><HK=H?BM

           &=HGHMA:O>:GRK><HK=LH?F:GRH?

           MA>L>MABG@L :L&A:O>:EK>:=RLM:M>=1A:MBLPAR

           &NL>=&/ 

           .!HRHNDGHPB?!:O>(E>BF:G>O>KNL>=

           <EHN=<HFINMBG@MHFBG>BM<HBG

           &=HGHMDGHP         :<MN:EER P>:K>M:EDBG@

           :;HNM:I>KBH=PA>K>GH;H=RNL>=<EHN=<HFINMBG@MHFBG>

           BM<HBG1A>K>P:LGH<EHN=<HFINMBG@MHFBG>BM<HBG

           :MMA:MLM:@>-HHELH?MP:K>=B=GHM>QBLM1A>I>KLHG

           PAH<K>:M>=LHF>H?MA>?BKLMIHHELH?MP:K>P:L:?M>K

           &=BL:II>:K>=MA>?BKLMMBF> :G=

           *//&3"/,-E>:L>?BGBLA

           1%"4&1+"00           MA:MI>KLHGA:=

           GHMABG@MH=HPBMA!:O>HK:GRMABG@EBD>MA:M :G=

           <K>:M>=IHHEFBGBG@:G=&:FLHKKRMHM>EERHNMA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 202 of
                                      434

                                                                         -:@>
            MA>K>P:LGH<EHN=FBGBG@:MMA:MLM:@>

            *//&3"/,'NLMMHF:D>LNK>MA>K><HK=

            BL<E>:K &A>:K=:MEBG>H?MA>IKBHKI:@> &A>:K=

            F:GR&MABGDBMBLMK:GL<KB;>=:L:GR&CNLM

            PHNE=EBD><E:KB?B<:MBHG

            */#/""!*+&MBLMA>AHNK

            *//&3"/,&:FEHHDBG@:MMA>K><HK=

            MHF:D>LNK>

            */#/""!*+&MBLKHN@A

           .!HRHNDGHPAHP!:O>LMHK>=:GRH?MA>

           BM<HBGLA>FBG>=

           +H

           .G=K>FBG=F> &=HGHMK><:EEB?&:LD>=

           MABL =HRHNA:O>:GRB=>:PA>G!:O>;>@:GFBGBG@

           BM<HBG

           +H &=HGHM

           .4:LBM;>?HK>

           &=HGHMDGHP

           .!HRHNK><:EEPA>GA>MHE=RHNA>A:=

           ;>@:GFBGBG@BM<HBG

           +HM>Q:<MER GH

           .4:LBM>:KERHG :?M>K

           &MPHNE=A:O>;>>G>:KERHG R>L

           .!B=!:O>>O>KLA:K>MA>IKBO:M>D>RLH?

           BM<HBGPBMARHN
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 203 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"006HN=HGHMLA:K>IKBO:M>

            D>RL >O>K

            6*/#/""!*+

            .0HBLMA>:GLP>KGH

            1A>:GLP>KBLGH

            .!B=RHN>O>KLA:K>IKBO:M>D>RLPBMA

            !:O>

            *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=

           1%"4&1+"00&=HGHMLA:K>IKBO:M>D>RL

           PBMAFRPB?>

           6*/#/""!*+

           .4A:MBL:I:I>KP:EE>M

           *0*/(,",;C><MBHG&:F@HBG@MH

           @BO>RHN:EBMME>;BMH?E>>P:RA>K> ;NM:@:BGP>:K>

           @HBG@;>RHG=MA>L<HI>H?MABL=>IHLBMBHG6HN@>M

           :GHMA>KLAHM:MABF&PBEE<>KM:BGERBGLMKN<MABF B?

           RHN<HGMBGN>:EHG@MA>L>EBG>L MHGHM:GLP>KMAHL>

           JN>LMBHGL:MMA>E:M>K=>IHLBMBHG B?RHN@>M:GLP>KLMH

           MA>FGHP

           1%"4&1+"00I:I>KP:EE>MBL:D>R

           MA:MBLIKBGM>=HG:IB><>H?I:I>K

           6*/#/""!*+

           .%:O>RHN>O>KNL>=:I:I>KP:EE>M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 204 of
                                      434

                                                                         -:@>
            6>L

            .!B=RHN>O>KNL>:I:I>KP:EE>MPBMA!:O>

            (E>BF:G

            *0*/(,",;C><MBHG

            1%"4&1+"00-E>:L>>QIE:BGPA:MRHN

            :<MN:EERF>:GBGMA:M?EN??RG>;NEHNLL>GM>G<>

            6*/#/""!*+

            .!B=RHN>O>K>Q<A:G@>:IKBGM>=             LMKBD>

            MA:M!B=RHN>O>K>Q<A:G@>:D>RMA:MBLIKBGM>=HG:

           IB><>H?I:I>KPBMA!:O>(E>BF:G

           *0*/(,",;C><MBHG

           1%"4&1+"00*K(E>BF:G:G=&A:=;>>G

           BGMA><HNGMKRMH@>MA>KHG<>LBG<>MA><K>:MBHGH?

           BM<HBG PA>K>G>BMA>KH?NLA:G=>=HO>K:GRBM<HBGHG

           I:I>KP:EE>ML G>BMA>KH?NLA:G=>=IB><>LH?I:I>K

           MH@>MA>K:LP>P>K>=KBGDBG@:G=@>MMBG@=KNGD MH>:<A

           HMA>KHGMA:M=:R :G=MA>O:EN>H?MA>>GMBK>BM<HBG

           F:KD>M:MMA:MLM:@> PA>GP>@HMMH@>MA>K P:L

           &MABGD :;HNM PAB<AP:LFBEEBHGLH?BM<HBG ?HK

           MA>>GMBK>O:EN>P:LBM0H =B=&A:G=ABF:

           IB><>H?I:I>KPA>GP>P>K>BG?HK>B@G<HNGMKB>L&=H

           GHMDGHPAHP&<HNE=IHLLB;ER=HMA:M

           6*/#/""!*+

           .&:F@HBG@MH:LDRHNCNLM<HG<BL>ER =B=

           RHN>O>K>Q<A:G@>:D>RMA:MBLIKBGM>=HG:IB><>H?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 205 of
                                      434

                                                                         -:@>
            I:I>KPBMA!:O>(E>BF:GBG:GRP:R

            *0*/(,",;C><MBHG&:F@HBG@MH

            BGLMKN<MMA>PBMG>LLGHMMH:GLP>K:MMABLIHBGM4>

            A:O>@BO>GRHN:EHMH?E>>P:R1A>L>JN>LMBHGL:K>GHM

            @HBG@MHLN;C><MLHKPAB<A:K>MA>HGERHG>L&<HNE=

            IHLLB;ERL>>:GRK>E>O:G<>MH&?RHNPHNE=EBD>MH

            >QIE:BGAHPMA>RK>E:M>MHMAHL>MHIB<LHK:GRHMA>K

            MHIB<L &PHNE=K><HGLB=>KFRH;C><MBHG ;NM:MMABL

            IHBGMBGMBF>&CNLM=HGHML>>BM

           */#/""!*+&M@H>LMHMA>F>MAH=L

           BM@H>LMH

           *0*/(,""QIE:BGAHPPA>MA>KA>>O>K

           >Q<A:G@>=:I:I>KP:EE>M@H>LMHK>E:M>LMHFBGBG@

           H?BM<HBGL GHMI:I>KP:EE>ML1A>K>BL:=BLMBG<MBHG

           */#/""!*+&M@H>LMHMA>@>G>K:E

           IKH<>LLH?MA>BK<HEE:;HK:MBHG

           *0*/(,"4>A:O>:EK>:=R>LM:;EBLA>=

           MA:MMA>K>P:LGHFBGBG@MH@>MA>K

           */#/""!*+&:FCNLMMKRBG@MH?B@NK>

           HNMPA>MA>KHKGHMMA>R<HEE:;HK:M>=BG:GHMA>KP:R

           *0*/(,"%HP=H>LHG><HEE:;HK:M>BG

           M>KFLH?AHE=BG@:I:I>KP:EE>MHKLA:KBG@BG?HKF:MBHG

           :;HNM:I:I>KP:EE>M&:FBGLMKN<MBG@MA>PBMG>LLGHM

           MH:GLP>K6HN<:GFHO>HG

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 206 of
                                      434

                                                                         -:@>
            .!B=RHN>O>KNL>:GRHMA>KF>MAH=L?HK

            MA>H??EBG>>Q<A:G@>H?BM<HBGLPBMA!:O>

            *0*/(,",;C><MBHG

            1%"4&1+"00@:BG &=B=GHM>Q<A:G@>

            BM<HBGLPBMA!:O>MA>P:RRHN:K>LN@@>LMBG@1A>P:R

            MA:MRHN>Q<A:G@>BM<HBGBLRHN:L>G=MK:GL:<MBHG?KHF

            HG>:==K>LLMH:GHMA>K&PHNE=G>O>K>Q<A:G@>IKBO:M>

            D>RLPBMA!:O>

            6*/#/""!*+

           .!B=RHN>O>KL>G=BM<HBGMHIN;EB<

           :==K>LL>LMA:MRHNDG>P<HGMKHEE>=

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPPA:M

           :==K>LL>L!:O><HGMKHEE>= LHAHP<HNE=&=HMA:M

           6*/#/""!*+

           .!B=!:O>>O>KIKHOB=>RHNPBMAIN;EB<

           :==K>LL>LMA:MA><HGMKHEE>=

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00,G>

           6*/#/""!*+

           .4AB<AHG>

           &=HGHMK>F>F;>K

           .4AR=B=A>IKHOB=>BMMHRHN

           *0*/(,",;C><MBHG

           1%"4&1+"00&MP:L?HKM>LMBG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 207 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .4A>G=B=A>IKHOB=>BMMHRHN

            

            .4A:MP>K>RHNM>LMBG@

            1>LMG>M

            .4A:MBLM>LMG>M

            1>LMG>MBLMA>=>O>EHIF>GMO>KLBHGH?

            BM<HBG MA:MKNGL:EHG@LB=> MA:MP>A:=HNKHPG

            O>KLBHGH?BGMA>PHKE=MH<K>:M>:M>LMH?BM<HBG

           0H PA>G&:FL:RBG@P>MA>K> &F>:GMA>BM<HBG

           <HFFNGBMR&LM:KM>=PBMAFRHPGFNEMBIE>O>KLBHGL

           PAB<A&?BK>P:EE>=H?? :G=>O>GMN:EERMA>R;><:F>:

           IN;EB<M>LMG>MPAB<AP:L:L><HG=O>KLBHGH?BM<HBG

           RHN<HNE=L:R ;NM:O:EN>E>LLO>KLBHGH?BM<HBGMA:M

           P:L>:LB>KMHFBG> LHRHN<HNE=M>LMMA>LH?MP:K>:G=

           MA><H=>

           .4AHA:=:<<>LLMHM>LMG>M

           "O>KRHG>

           *0*/(,",;C><MBHG

           1%"4&1+"00&MBLIHLLB;E>

           6*/#/""!*+

           .G=!:O>LIN;EB<:==K>LLP:L:M>LMG>M

           :==K>LL

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 208 of
                                      434

                                                                         -:@>
            1%"4&1+"001>LMG>M:==K>LL>L:K>K>:E

            :==K>LL>L:G=OB<> O>KL: ;E:A ;E:A ;E:A1A>K>BLGH

            =BLMBG<MBHG

            6*/#/""!*+

            .4A:MP>K>MA>IKBF:KRP:RL0:MHLAB

            +:D:FHMH<HFFNGB<:M>=PBMAI>HIE>

            4AB<AI>HIE>

            .4A:MBLMA>IKBF:KRP:R0:MHLAB+:D:FHMH

            <HFFNGB<:M>=

           @:BG PAB<AI>HIE>0H AHP=B=

           &<HFFNGB<:M>4AB<AI>HIE>&F>:G B?RHN:K>

           @>MMBG@MA>&:F0:MHLAB MA>GMA:M<HNE=;>:GRMABG@

           &IKBF:KBER<HFFNGB<:M>PBMAI>HIE>PBMAHNML:RBG@&:F

           0:MHLAB:G=&P:EDNIEBD>&:FGHP:G=&HI>GFRFHNMA

           :G=PHK=L<HF>HNM

           .&NG=>KLM:G=MA:M4A>G&L:R0:MHLAB

           +:D:FHMHGHP &:FK>?>KKBG@MHMA>BGM>KG>MIK>L>G<>H?

           0:MHLAB+:D:FHMH

           0HRHNF>:GMA>IL>N=HGRF

           .1A>IL>N=HGRF

            :GRHNIE>:L>;>>QIEB<BMBGL:RBG@

           MA:M

           .4A:MP:LMA>IKBF:KRP:RBGPAB<ARHN

           <HFFNGB<:M>=MAKHN@AMA>IL>N=HGRF

           *0*/(,",;C><MBHG6HN<:G:GLP>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 209 of
                                      434

                                                                         -:@>
            1%"4&1+"004>EE ;R=>?BGBMBHG MA>

            IL>N=HGRFP:LIKBF:KBER=HG>=>I>G=BG@HGPAB<AHG>BM

            P:L ;R> F:BE HKMA>BM<HBG?HKNFL HKMA>--

            ?HKNFL HKMAHL>HMA>KMABG@L0H BM=>I>G=LHGPAB<A

            HG>RHN:K>M:EDBG@:;HNM ;NMHGEBG>MABG@LMA:M:K>

            MA>K> LH

            6*/#/""!*+

            .4A:M:K>MA>> F:BE:==K>LL>LMA:MRHN

            NL>=:LMA>IL>N=HGRF0:MHLAB+:D:FHMH

           1A>R:K>:EEIN;EB<1A>$*5:<<HNGM:G=

           MA>3BLMHF:BE:<<HNGML:K>:EEIN;EB<

           .-E>:L>LM:M>MA>F?HKMA>K><HK=

           *0*/(,"&?RHNK><:EE

           1%"4&1+"00&=HGHMK>F>F;>KPAB<AHG>

           BL0:MHLABHK0:MHLAB+H??MA>MHIH?FRA>:=&A:O>

           GHMNL>=MA>FBGR>:KL&=HGHMEHHD:MMA>F:GRFHK>

           G=&:FGHM@HBG@MH>O>GMKR:G=MABGD:;HNMBM1A>R

           :K>MA>K>"O>KRHG>DGHPLMA>F)HHDBMNI

           6*/#/""!*+

           .4:LMA>K>:MABK=:<<HNGM

           2L>=?HKIN;EB<<HFFNGB<:MBHGL

           .4A:MP:LMA:MMABK=:<<HNGM

           1A>K>P:LGHM:MABK=           LHKKR4A:M

           MABK=:<<HNGM&=B=GHML:RMA>K>P:L:MABK=:<<HNGM

           .&:LD>=B?MA>K>P:L:MABK=            LMKBD>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 210 of
                                      434

                                                                         -:@>
             MA:M&MF:R;>&FBLNG=>KLMHH=RHNK:GLP>K!B=
             0:MHLAB+:D:FHMH MA>IL>N=HGRF A:O>:MABK=> F:BE
             :<<HNGM ;>LB=>L$*5:G=3BLMHF:BE
             *0*/(,",;C><MBHGGLP>KB?RHN
             <:GK><:EE
             1%"4&1+"00&NL>=FNEMBIE>> F:BE
             :<<HNGML
             6*/#/""!*+
             . :GRHNEBLMPA:MMA>RP>K>
            *0*/(,",;C><MBHG
            1%"4&1+"00+H
            6*/#/""!*+
            .!B=RHNNL>:G> F:BE:<<HNGM
            L:MHLAB:GHGRFHNLLI>><A<HF
            6>L MA:MHG>LHNG=L:;HNMKB@AM
            .!HRHNLMBEEA:O>:<<>LLMHMA>L>
            :<<HNGML
            *0*/(,",;C><MBHGO:@N>
            1%"4&1+"00L&LM:M>=>:KEB>K GH
            &LMHII>=:<<>LLBG@MA>F:EHG@MBF>
            6*/#/""!*+
            .!HRHNA:O>MA>:;BEBMRMH:<<>LLMA>L>
            :<<HNGML
            &O>KRFN<A=HN;MBM
            .4AR=HRHN=HN;MBM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 211 of
                                      434

                                                                         -:@>
            ><:NL>$*5A:L;>>G<HFIKHFBL>=:G=MA>

            HMA>KHG>A:L;>>G<HFIKHFBL>=1A>RA:O>;>>GK>L>M

            HO>KMBF>0H &=HGHM:<MN:EERP:GMMH:<<>LLMA>F

            .%:O>RHNMKB>=MH:<<>LLMA>F

            +H

            .!H>LMA:M@H?HKMA>$*5:<<HNGM MA>

            3BLMHF:BE:<<HNGM:G=MA>GHGRFHNL0I>><A:<<HNGML

            6>L

            .!HRHNDGHPPAHA:L<HGMKHEHO>KMA>L>

           :<<HNGMLGHP

           +H&?:GRHG>

           .!B=MA>K><HF>:MBF>PA>GRHNIKHOB=>=

           !:O>(E>BF:GPBMA:<<>LLMH:GRH?MA>L>:<<HNGML

           6>L

           .4AB<A:<<HNGML

           !:O>P:L@BO>GMA>$*5:<<HNGM:<<>LL?HK

           :EBMME>PABE>

           .4A>GP:LA>@BO>G:<<>LLMHMA>:<<HNGM

           &=HGHMK>F>F;>K>Q:<MER

           .4AH@:O>ABF:<<>LLMHMA>:<<HNGM

           &?&:FMA>I>KLHGPBMABM MA>GBMA:L

           MH;>F>

           .6HN@:O>ABF:<<>LLMHMA>$*5:<<HNGM

           6>L

           .4AR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 212 of
                                      434

                                                                         -:@>
            ><:NL>&:LD>=ABFMH<A><DBM?HKF>

            .#HKPA:M

            1HK>:=:G> F:BE

            .4AB<A> F:BE

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHNK><:EE

            1%"4&1+"00&=HGHMK><:EEPAB<A

            > F:BE

            6*/#/""!*+

           .%HPF:GRMBF>L=B=!:O>:<<>LLMA>$*5

           :<<HNGM

           *0*/(,",;C><MBHG?HNG=:MBHG

           1%"4&1+"00%HPF:GRA:BKL=HRHNA:O>

           BGRHNK;>:K=

           6*/#/""!*+

           .!B=RHNIKHOB=>:<<>LLMH:GRHG>>EL>

           LMKBD>MA:M!B=:GRHG>>EL>          LMKBD>MA:M!B=RHN

           >O>K@BO>:GRHG>>EL>:<<>LLMHMA>$*5:<<HNGM

           +H

           .!B=RHN>O>K@BO>:GRHG>>EL>:<<>LLMH

           MA>3BLMHF:BE:<<HNGM

           6>L

           .4AH

           &MABGDMA>HGERHMA>KI>KLHGPAHA:=

           :<<>LL:MMA:MLM:@>?HK:EBMME>;BMP:L2R>G
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 213 of
                                      434

                                                                         -:@>
            . :GRHNLI>EEMA:M

            +H

            .&LMA:M2R>G+@NR>G

            6>L

            .4AH@:O>2R>G:<<>LLMHMA>3BLMHF:BE

            :<<HNGM

            *0*/(,",;C><MBHG:LD>=:G=

            :GLP>K>=

            1%"4&1+"00&:FGHMLNK>H?MA>>Q:<M

           =>M:BEL&MP:L2R>G        PA:MBLABLG:F>      &<:GGHM

           K>F>F;>KABLG:F>       MA>HE=':I:G>L>@NR MA>HG>MA:M

           MA>RINEE>=NI:L0:MHLAB

           6*/#/""!*+

           .!HKB:G

           !HKB:G MA:MBLBM0HKKR &A:=

           ?HK@HMM>GABLG:F>&BGLMKN<M>=I>HIE>MHL>G=:

           F>LL:@>L:RBG@&:FGHM!HKB:G;><:NL>A>P:L@>MMBG@

           :EHMH?LABM

           .6HNBGLMKN<M>=2R>G+@NR>GMH=HMA:M

           6>L

           .G=IKHOB=>=A>KPBMAMA>EH@BG

           <K>=>GMB:EL

           &@:O>A>KLHF> R>L

           .!B=RHN>O>KIKHOB=>:GRHG>>EL>PBMA

           :<<>LLMHMA>GHGRFHNL0I>><A:<<HNGM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 214 of
                                      434

                                                                         -:@>
             +H
             .!B=RHN>O>KNL>MA>L>:<<HNGMLMH
             <HFFNGB<:M>PBMA!:O>(E>BF:G
             &=HGHMK>F>F;>K
             .!B=RHN>O>K:LD!:O>(E>BF:GMHLMHI
             :<<>LLBG@MA>$*5:<<HNGM
             +H
             ."O>GPA>GRHNLM>II>=;:<D?KHFMA>
             <HFFNGBMRRHNLMBEE=B=GHM:LDABFMHLMHI:<<>LLBG@
            MA>:<<HNGM
            *0*/(,",;C><MBHG
            1%"4&1+"00&MP:LGHMNL>=:MMA:M
            LM:@>    ;R:GR;H=R
            6*/#/""!*+
            .6HNMKNLM>=!:O>(E>BF:G
            !:O>P:LFR?KB>G=
            .>LM?KB>G=
            #:BKERFN<A R>L
            .!B=RHNMKNLM2R>G+@NR>G
            *0*/(,",;C><MBHGRHN:K>@HBG@
            ;>RHG=MA>L<HI>&:F@HBG@MHBGLMKN<MABFGHMMH
            :GLP>K
            */#/""!*+4>:@K>>?HKHG<>
            *0*/(,"&:FLHKKR4A:M
            */#/""!*+4>:@K>>?HKHG<>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 215 of
                                      434

                                                                         -:@>
            6*0*/(,"1A:MBL:FBK:<E>BG:G=

            H?BML>E?

            6*/#/""!*+

            .?M>KMA><K>:MBHGH?BM<HBG PA:MP:L

            MA>?BKLMBM<HBG K>E:M>=BGM>EE><MN:EIKHI>KMRRHN

            PHKD>=HGPBMA!:O>

            *0*/(,",;C><MBHG:LLNF>L?:<MLGHM

            BG>OB=>G<>

            1%"4&1+"00&=B=GHM>O>KPHKDHG

           BM<HBG&-PBMA!:O>

           6*/#/""!*+

           .!B=RHN>O>KPHKDHG:GRBGM>EE><MN:E

           IKHI>KMRPBMA!:O>

           6>L

           .4A:MP>K>MAHL>IKHC><ML BGLAHKM4A:M

           P>K>MA>G:F>L0MKBD>MA:M4A:MP>K>MA>G:F>LH?

           MAHL>IKHC><ML

           04*- LH?MP:K>:LLNK:G<>F:KD>MIE:<>

           :LB<:EER MA>K>:K>:GNF;>KH?IKHC><MLMA:M:K>:EE

           IN;EB<:G=:EEA:O>A:=MA>BKI:I>KLIN;EBLA>=

           .&LHG>H?MA>F:F>M>K>=I:RF>GMLRLM>F

           +H

           .!HRHNDGHPPA:M&:FK>?>KKBG@MHPA>G

           &L:R:F>M>K>=I:RF>GMLRLM>F

           &DGHPPA:M:F>M>K>=I:RF>GMLRLM>FBL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 216 of
                                      434

                                                                         -:@>
            .&LMA>K>O:EN>MHBGM>EE><MN:EIKHI>KMR

            :;HNM:F>M>K>=I:RF>GMLRLM>F

            *0*/(,",;C><MBHG&:F@HBG@MH

            BGLMKN<MMA>PBMG>LLGHMMH:GLP>K%>A:L:EK>:=R

            LM:M>=A>=B=GHM<K>:M>:GRBGM>EE><MN:EIKHI>KMRPBMA

            !:O>(E>BF:GHGF>M>K>=I:RF>GMLRLM>FL:G=MA>K>?HK>

            :GR=BL<NLLBHGH?MA:MPHNE=@H;>RHG=MA>L<HI>H?MABL

            =>IHLBMBHG

            6*/#/""!*+

           .!B=RHN<HEE:;HK:M>PBMA!:O>(E>BF:GHG

           BGM>EE><MN:EIKHI>KMR>GMBME>=0H?MP:K>!>KBO:MBO>

           *:KD>ML:G=&G?HKF:MBHG0><NKBMR/BLD0RLM>FL

           &=B=GHM<HEE:;HK:M>PBMA!:O>HG

           :GRMABG@&<K>:M>=LH?MP:K>:G=!:O> PAHP:L:O>M

           P:L:;E>MHMKR:G=?BE> LHMA:MA>PHNE=A:O>A:=LHF>

           FHG>RMHA>EIABFHNM!:O>P:LGHM:F:MA>F:MB<B:G

           !:O>A:=GHDGHPE>=@>H?MA:M:K>: LHMA>K>P:LGH

           <HEE:;HK:MBHG:M:EEBGMA:MP:R?HKK>L>:K<A

           .!B=MA>K><HF>:MBF>PA>G!:O>(E>BF:G

           MHHDMPHFBEEBHGLEBG>LH?<H=>:G=MNKG>=BMBGMHLBQ

           FBEEBHGEBG>LH?<H=>

           *0*/(,",;C><MBHGNMRHN<:G

           :GLP>KB?RHNK><:EE

           1%"4&1+"00+HHG><HNE=:<MN:EER=H

           MA:M#HNKFBEEBHGEBG>LH?<H=>PHNE=;>:IIKHQBF:M>ER
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 217 of
                                      434

                                                                         -:@>
             R>:KLPHKMAH?PHKD

            6*/#/""!*+

            .0H !:O>(E>BF:GG>O>KMNKG>=MPH

            FBEEBHGLEBG>LH?<H=>BGMHLBQFBEEBHGEBG>LH?<H=>

            BLMA:MRHNKM>LMBFHGR

            +HI>KLHG<:G<A:G@>?HNKFBEEBHG

            MA>FL>EO>LBGMHLBQFBEEBHG

            .!B=!:O>(E>BF:G<:NL>MPHFBEEBHGEBG>L

            H?<H=>MHMNKGBGMHLBQFBEEBHGEBG>LH?<H=>

           *0*/(,",;C><MBHG

           1%"4&1+"00&L!:O> BGRHNK

           :LLNFIMBHG :PBS:K=

           6*/#/""!*+

           .&?RHN<HNE=CNLM:GLP>KMA>JN>LMBHG

           !K4KB@AM

           &;>EB>O>&CNLM=B=

           .1A>:GLP>KBLGH

           1A>:GLP>KBLNGE>LLA>BL:EK>:=R 

           R>:KLHE=:G=A>LM:KM>=<H=BG@:MMA>MBF>H?MA>LHKM

           H?>QH=NLHKPA:M>O>K>EL> MA>GIKH;:;ERGHM

           .4:LBMIHLLB;E>A>LNI>KOBL>=MA>

           <K>:MBHGH??HNKFBEEBHGEBG>LH?<H=>

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"006>L

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 218 of
                                      434

                                                                         -:@>
            .!B=A>LNI>KOBL>MA><K>:MBHGH??HNK

            FBEEBHGEBG>LH?<H=>

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHNDGHP

            1%"4&1+"00&=HGHMDGHP

            6*/#/""!*+

            .4AHL>B=>:P:LBMMH<K>:M>4(20

            !:O>L

            .%HP=B=MA:MB=>:@>MBGBMB:EER

           <HFFNGB<:M>=MHRHN;R!:O>

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&=HGHMK>:EERK>F>F;>K

           6*/#/""!*+

           .4:L:GRHG>>EL>BGOHEO>=BGMA>BGBMB:E

           <HFFNGB<:MBHGL:;HNM4(

           6>L

           .4AH

           *R>Q PB?>

           .4A:MP:LMA>INKIHL>H?LM:KMBG@4(

           !:O>P:L:O>ML:O>M A>P:L:;E>MH

           MA>HK>MB<:EER:<<>LL?NG=BG@?KHFMA>20@HO>KGF>GM

           &P:LPHKDBG@HG:GNF;>KH?=B??>K>GMIKHC><MLMA:M

           :EB@G>=PBMAPA:MMA>!>I:KMF>GMH?%HF>E:G=0><NKBMR

           P:LL>>DBG@MH;>=>O>EHI>=&L:B=&PHNE=:B=!:O>

           ;><:NL>A>P:LBG:;BMH?MKHN;E> :G=MA:MP><HNE==H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 219 of
                                      434

                                                                         -:@>
            :?>P=B??>K>GMIKHC><MLMH@>MA>K BG<EN=BG@MA:M MA:M

            PHNE=>G:;E>ABFMHAHI>?NEER@>MLHF>FHG>RMH;>:;E>

            MHPHKDE>LL :LA>P:LBGMA>AHLIBM:E

            .4A:MP:LRHNKBGOHEO>F>GMBG4(

            3>KREBMME>

            .%HPFN<AP:LRHNKBGOHEO>F>GM4A:MP:L

            RHNKBGOHEO>F>GMBG4(

            1:EDBG@:;HNMBM:G=MA>G@HBG@H??:G=

            PKBMBG@LHF>I:I>KL ?NEELMHI

           .!B=RHNA:O>:GRHPG>KLABIBG4(

           +H

           .4AHHPG>=4(

           1A>K><HK=L?HK4(>QBLM&=HGHMDGHP

           B?MA>K><HK=L:K>:<<NK:M>

           .4AHHPG>=4(BGK>:EBMR

           +HMF>

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .4AH

           4AHHPGL%-BEEBMHGBGK>:EBMR&MBL

           GHMFR<HFI:GR&=HGHM<:K>

           .6HNA:O>GHB=>:PAHHPGL4(

           &=HGHMDGHPMA:M

           *0*/(,",;C><MBHG

           1%"4&1+"00&?&=HGHMHPGBM &=H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 220 of
                                      434

                                                                         -:@>
            GHM<:K>:;HNMBM

            6*/#/""!*+

            .!B=4(>O>KFBG>BM<HBG

            &=HGHMDGHPPA:MHMA>K<HFI:GB>LMA:M

            :K>GHMFBG>=H

            .!B=RHN>O>KM>EE:GRHG>MA:M4(FBG>=

            BM<HBG

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHNK>F>F;>K

           1%"4&1+"00&A:O>GHB=>:

           6*/#/""!*+

           .&LMA>K>:K>:LHGRHNPHNE=A:O>MHE=

           LHF>;H=RPAR4(FBG>=BM<HBG

           *0*/(,",;C><MBHG&?A>=H>LGHM

           DGHPB?A>A:LMHE=:GRHG>MA>GMA>JN>LMBHGE:<DL:

           IK>=B<:M>

           */#/""!*+%>=H>LGHMK><:EE&:F

           :LDBG@B?MA>K>BL:K>:LHGPARA>FB@AMA:O>L:B=BM

           *0*/(,"GLP>KB?RHN<:G ;NM&:F

           H;C><MBG@

           1%"4&1+"001A>G:MNK>H?BM<HBGBL:

           IK>=B<:M> ;:L>=LRLM>F&M>BMA>K?:BELMKN>HK?:EL>

           &?BMBLMKN> :MK:GL:<MBHGBLO:EB=&?BMBL?:EL>

           BMBLK>C><M>=:G=G>O>KM:ED>=H?:@:BG1ABLPBEE;>

           G>O>KM:ED>=H?:@:BG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 221 of
                                      434

                                                                         -:@>
             :GP>A:O>:;K>:DBG:FHF>GM

            */#/""!*+;LHENM>ER)>MNLM:D>

            HG>GHP

            1%"3&!",$/-%"/$HBG@H??MA>K><HK=

            1A>MBF>BL"G=H?OB=>H<:K=GNF;>K OHENF>

             BGMA>OB=>H=>IHLBMBHGH?!K K:B@4KB@AM

             0AHKMK>:D

            1%"3&!",$/-%"/1ABLBLMA>;>@BGGBG@

            H?OB=>H<:K=GNF;>K OHENF> BGMA>OB=>H

           =>IHLBMBHGH?!K K:B@4KB@AM$HBG@;:<DHGMA>

           K><HK=1A>MBF>BL1A:GDRHN

           6*/#/""!*+

           .!HRHN?>>E;>MM>K !K4KB@AM ?HKMA>

           ;K>:D

           *0*/(,",;C><MBHG

           1%"4&1+"00*FF AFF =>?BGBM>ER

           6*/#/""!*+

           .!B=4(>O>KPHKDHGBM<HBG&-

           4A:M=HRHNF>:G;R=B=4(>O>KPHKDHG

           BM<HBG&-

           .!B=MA><HFI:GR4(>O>KPHKDPBMARHNBG

           :GRP:RHGBM<HBG&-

           +H

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 222 of
                                      434

                                                                         -:@>
            .!B=RHNPHKDPBMA4(HG:GR&-

            +H&=B=GHMPHKDPBMA4(:M:EE

            .!B=RHN<K>:M>BGM>EE><MN:EIKHI>KMR

            <:EE>=:F>M>K>=I:RF>GMLRLM>F

            +H

            .!B=RHN<K>:M>BGM>EE><MN:EIKHI>KMR

            <:EE>=0H?MP:K>!>KBO:MBO>*:KD>ML:G=&G?HKF:MBHG

            0><NKBMR/BLD0RLM>FL

            6>L

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .!HRHNDGHPPAH<K>:M>=:F>M>K>=I:RF>GM

           LRLM>FLBGM>EE><MN:EIKHI>KMR

           *0*/(,",;C><MBHG&:F@HBG@MH

           BGLMKN<MMA>PBMG>LLGHMMH:GLP>K&MA:LGHK>E>O:G<>

           MH>BMA>K!:O>(E>BF:G 4(HK>O>GMA>PBMG>LL%>

           L:B=A>A:=GHM<K>:M>MA:MBGM>EE><MN:EIKHI>KMR<:EE>=

           :F>M>K>=I:RF>GMLRLM>F

           6*/#/""!*+

           .!B=!:O>(E>BF:G<K>:M>:F>M>K>=I:RF>GM

           LRLM>F

           *0*/(,",;C><MBHGGLP>KB?RHN

           DGHP

           1%"4&1+"00&=HGHMDGHPPA:M!:O>

           (E>BF:G<K>:M>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 223 of
                                      434

                                                                         -:@>
             6*/#/""!*+
             .1A>BGM>EE><MN:EIKHI>KMR0H?MP:K>
             !>KBO:MBO>*:KD>ML:G=&G?HKF:MBHG0><NKBMR/BLD
             0RLM>FL BLBMO:EN:;E>
             *0*/(,",;C><MBHG
             1%"4&1+"00&MBLINMHNMHI>GLHNK<>
             :G=MA>I:I>KP:LIN;EBLA>=BG:G:<:=>FB<<HG?>K>G<>
             6*/#/""!*+
             .!H>LMA:MF>:GBMA:LGHIKBO:M>O:EN>
            *0*/(,",;C><MBHG6HN<:G:GLP>K
            B?RHN<:G
            1%"4&1+"00&:FGHM:G&-O:EN>K
            6*/#/""!*+
            .!HRHNA:O>:<E:BFMHBM :MBME> :
            I:M>GM
            +H&MBLIN;EB<
            .!B=RHN<K>:M>BGM>EE><MN:EIKHI>KMR
            <:EE>=0H?MP:K>LLNK:G<>*:KD>MIE:<>
            6>L
            .4AHA:LMBME>MHMABLBGM>EE><MN:E
            IKHI>KMRGHP
            *0*/(,",;C><MBHG
            1%"4&1+"00-N;EB<=HF:BG
            6*/#/""!*+
            .!B=RHN<K>:M>BGM>EE><MN:EIKHI>KMR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 224 of
                                      434

                                                                         -:@>
            <:EE>=0H?MP:K>LLNK:G<>1AKHN@A"<HGHFB<*>:LNK>L:G=

            GMB #K:N=0RLM>F

            1%"4&1+"006>L

            *0*/(,",;C><MBHG

            6*/#/""!*+

            .4AHA:LMBME>MHBMGHP

            -N;EB<=HF:BG

            .!B=RHN<K>:M>BGM>EE><MN:EIKHI>KMR

            <:EE>=/BLD.N:GMB?B<:MBHG0RLM>F?HK#BG:G<B:E

           *H=>EEBG@BGBM<HBG

           *0*/(,",;C><MBHG)HHD <:GRHN

           M>EEF>PA:MMHIB<LMABLK>E:M>LMH

           */#/""!*+1A><HEE:;HK:MBHGBG4(

           *0*/(,"NMRHNA:O>GHM<HGG><M>=

           6HN:K>:LDBG@A:LA><K>:M>=MABG@L HGG><MBMMH4(

           HK&PBEEBGLMKN<MABFGHMMH:GLP>K

           *//&3"/,)>MF>LMHIHG>L><HG=

           4A:MMHIB<:;HNMMA><HEE:;HK:MBHGHG4(&L>>4(

           K>?>KK>=MHBG:<HNIE>H?LIHML4AB<AMHIB<

           */#/""!*+6HNDGHPPA:M P>PBEE

           EHHDBMNI:G=P>PBEE@>M;:<DMHRHN:?M>KMA>;K>:D

           ;><:NL>&=HGHMP:GMMHCNLMP:LM>MBF>HGMA>K><HK=

           ?HKGHP4>PBEELDBIBM

           1%"4&1+"00 :G&CNLML:RMA>K>A:O>

           ;>>GGH<HEE:;HK:MBHGL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 225 of
                                      434

                                                                         -:@>
            6*//&3"/,&CNLMP:GMMHL:RO>KR

            BG>??B<B>GMMH=H:L>KB>LH?JN>LMBHGL:G=PA>GRHN:LD

            RHNLI><B?B<:EERPA:MMHIB<LLHP><:G?B@NK>BMHNM BM

            BLGHMMA>K>1A:MBLMA>IKH;E>F'NLM:LMA>KNE>

            MA:MRHNK>?>KK>=MHBLGHMMA>K>6HN:K>P:LMBG@

            MBF>)>MNL@>M@HBG@

            */#/""!*++H P>:K>GHM@HBG@MH

            D>>I@HBG@;><:NL>&:F@HBG@MHK>LIHG=MHMA:MHGMA>

            K><HK=

           *//&3"/,0M:M>MA>KNE>

           */#/""!*+&MHE=RHNBMBLKNE>

           H?MA>/NE>H? BOBE-KH<>=NK>:G=MA>EH<:EKNE>

           PAB<AP:L:F>G=>=:G=LI><B?B<:EERLM:M>=MA:MMABLP:L

           GHMF>:GMMHM:D>:P:RMA>?:<MMA:MRHN<:GGHME>:=MA>

           PBMG>LL1A>K>:K>F:GR<HNKMHIBGBHGLHGIHBGMPAB<A

           L:RRHN<:GGHMF:D>LI>:DBG@H;C><MBHGL;><:NL>BME>:=L

           MA>PBMG>LL0><HG=H?:EE

           *//&3"/,)>MF>K>LIHG=MHMA:M

           */#/""!*++H GH &:FK>LIHG=BG@

           MH>O>KRMABG@

           *//&3"/,)>MF>K>LIHG=MHGNF;>K

           !>LIBM>K>I>:M>=LM:M>F>GMLHGMA>K><HK=MA:M:EH<:E

           KNE>IKHAB;BM>=

           */#/""!*+&M=H>L

           *//&3"/,           :GRLM:M>F>GM;>RHG=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 226 of
                                      434

                                                                         -:@>
            ?HKF RHN:K>>GMBK>ERPKHG@&A:O>:LD>=K>I>:M>=ER

            1A>K>BLGHKNE> BMBLGHMBGMA>=BL<HO>KRA:G=;HHD

            :G=MA><:L>:NMAHKBMRBL=>?BGBM>ERGHMMA>P:RRHN

            =>L<KB;>BM0HE>MNLD>>I@HBG@+NF;>KMPH

            */#/""!*+&:FGHM@HBG@MHP:LM>FR

            MBF>;NM&PBEEM>EERHNMA><:L>:NMAHKBMRRHN<:GEHHD

            NI

            *//&3"/,1A:M:EK>:=R:GLP>KLMA:M

            PA>GRHNLM:M>=MA>K>P:L:KNE>IKHAB;BMBG@BMRHNP>K>

           :;LHENM>ERPKHG@

           */#/""!*++H MA:MBLGHMMKN>&M

           BL<BM>L

           *//&3"/,&MBLGHMBG BMBLGHM

           BG BMBLGHMBGMA>=BL<HO>KRA:G=;HHD

           */#/""!*+&M<>KM:BGERBL

           *//&3"/,+H BMBLGHM

           */#/""!*+)>MNLCNLMINMBMHGMA>

           K><HK=&MBL#E>QBM>>DF>KB<:L&G<O-E:LMBJN>&G<

           *//&3"/,4>:K>GHPP:RH??BG<:L>

           E:PPAB<ABLBG=BLINM>

           */#/""!*+1A><BM:MBHGPHNE=;>

           4)

           1%"4&1+"00&:FMA>HGERI>KLHGPBMA:

           KBMBLAE>@:E=>@K>>BG

           1%" ,2/1/"-,/1"/6HN:K>;HMA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 227 of
                                      434

                                                                         -:@>
            LI>:DBG@:MMA>L:F>MBF>&<:GGHM=HMA:M

            */#/""!*+1A:MBL:EEKB@AM1A>

            OB=>H@K:IA>K@HMBM1A:MBL:EE&G>>=>=6HNPBEE

            @>MBME:M>K

            *//&3"/,&H;C><MMHMA>IKH<>LLMA:M

            A:L;>>G<HG=N<M>=+>QMJN>LMBHG

  H          -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

            6*/#/""!*+

            .&A:O>A:G=>=RHNPA:MP>A:O>F:KD>=:L

           -E:BGMB??L"QAB;BM :GRHN@HMHMA>;HMMHF

           IE>:L> H?I:@>!HRHNK><H@GBL>PA:MMABL=H<NF>GM

           BL

           6>L1ABLP:L:=H<NF>GMINMMH@>MA>K;R

           LM:??:MHG>H?FR<HFI:GB>L

           .!B=RHNL>G=MABL=H<NF>GMMH

           &K:(E>BF:G

           &IK>LNF>LH L>>BG@:LBMBL<AKHGHEH@R

           H? K:B@4KB@AMMH&K:(

           . :GRHNEHHD:MMA>;HMMHFH?I:@>

           PA>K>BML:RL1A>K>BL:EHMH?&-:G=LMN??BGMA>

           FBQEENI BML:;HNM:ANG=K>=FBEEBHG=HEE:KL

           PHKMA1ABL&-HKB@BG:M>LBGPHKD 04A:L;>>G=HBG@

           ?HKFHK>MA:GR>:KLBMHKB@BG:M>LBGMABG@LMA:M

           <:F>?KHF4(BMA:LMH=HPBMAMA>LH?MP:K>:<JNBK>=

           !HRHNL>>MA:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 228 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG :GRHNK> IHBGM

            NLMHPA>K>RHN:K>

            */#/""!*+HMMHFH?I:@>

            *0*/(,"HMMHFH?I:@>

            */#/""!*+):LMI:K:@K:IA I:@>

            *0*/(,",D:R&PBEECNLMLM:M>

            MA:MMA>=H<NF>GMLI>:DL?HKBML>E?&P:LNG:;E>MH

            MK:<DPA:MRHNP>K>L:RBG@ LHMA>=H<NF>GMPBEELI>:D

            ?HKBML>E?

           6*/#/""!*+

           . :GRHN;K>:D=HPGMA:MFBEEBHG

           PHKMA?HKF>BGMHMA>MAK>>;N<D>MLMA:MRHNA:O>INM

           ?HKP:K=BGMA:M<AKHGHEH@RMA>PHKDRHNA:O>;>>G=HBG@

           ?HKR>:KL MA>PHKDMA:MHKB@BG:M>L?KHF4(:G=MA>

           LH?MP:K>:<JNBK>=

           *0*/(,",;C><MBHG

           1%"4&1+"00&=B=GHMINM?HKMAMA>

           <AKHGHEH@R

           6*/#/""!*+

           .0HBLBMBG:<<NK:M>

           6>L6HNPBEEGHM>MA:MPHKD?HKFHK>

           MA:GR>:KL:G=HKB@BG:M>LBG4( PAB<AP:LGHM

           R>:KLHE= LHMA>K>?HK>MA>K>BL:=BL<K>I:G<RBGMA:M

           O>KRL>GM>G<>RHN:K>IHBGMBG@HNM&=B=GHM<K>:M>

           MA>=H<NF>GM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 229 of
                                      434

                                                                         -:@>
            .0HP:LMA>K>GHMFBEEBHGPHKMAH?&-

            BGMA>FBQ

            *0*/(,",;C><MBHG

            1%"4&1+"004AB<AFBQ

            6*/#/""!*+

            .&ML:RLLMN??BGMA>FBQ6HNM>EE

            F>

            4A:MBLMA>FBQ

            .&:F:LDBG@RHN BMBLRHNKLM:??MA:M

           =B=BM4A:M=B=MA>RF>:G;R&-:G=LMN??BGMA>

           FBQ

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPMA>LM:M>H?

           FBG=H?FRLM:??:M:EEMBF>L

           6*/#/""!*+

           .6HNL>GMMABLMH&K:PBMAHNMDGHPBG@PA:M

           BMF>:GM

           *0*/(,",;C><MBHG

           1%"4&1+"00&L>GMJNBM>:?>PMABG@L

           MH&K:&=B=GHM<A><D:EEH?MA>F?HK:EEMA>=>M:BEL

           :M:GRIHBGM

           6*/#/""!*+

           .0H4(A:=GH&-H?O:EN>

           *0*/(,",;C><MBHG

           1%"4&1+"00&:FGHM4(
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 230 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .1HMA>;>LMH?RHNKDGHPE>=@>=B=4(

            >O>KA:O>O:EN:;E>BGM>EE><MN:EIKHI>KMR

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00&A:O>LM:M>=;>?HK>

            &<:K>:;HNMFRHPG<HFI:GB>L&K>:EER=HGHM<:K>

            :;HNM:GRHMA>KBG>QBLM>G<>:GRPA>K>HGMA>IE:G>MMA:M

            A:LGHMABG@MH=HPBMAFR<HFI:GB>L HK<:GGHMA:G=F>

            LHF>MABG@

           6*/#/""!*+

           .!B=RHN>O>KH;M:BGO:EN:;E>BGM>EE><MN:E

           IKHI>KMR?KHF4(

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"006>L

           6*/#/""!*+

           .%HP

           &I:B=?HKPHKDMH;>=HG>MAKHN@AFR

           <HFI:GB>L

           .4:L4(RHNK<HFI:GR

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .0HAHP=B=RHN@>M4(LO:EN:;E>

           BGM>EE><MN:EIKHI>KMR

           *0*/(,",;C><MBHG:LD>=:G=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 231 of
                                      434

                                                                         -:@>
            :GLP>K>=

            1%"4&1+"00L&A:O>CNLMLM:M>=

            <HFI:GB>L&HPG=>:EMPBMA4(4(IKHOB=>=

            BGM>EE><MN:EIKHI>KMR

            6*/#/""!*+

            .4A:MP:LMA>BGM>EE><MN:EIKHI>KMR4(

            IKHOB=>=

            0HNK<><H=>

            .#HK

       
           -KBF:KBERBM>GA:G<>=LHF>H?MA>@:FBG@

           HI>K:MBHGL&P:L=HBG@&MBFIKHO>=NIHG:EHMH?MA>

           IHD>KHI>K:MBHGL4>;NBEM:;:<D=HHKLHMA:MP><HNE=

           @>MMAKHN@AMA> ABG>L>?BK>P:EE1A:M>G:;E>=:GNF;>K

           H? HLM:/B<:@:FBG@HI>K:MBHGLMH;:LB<:EER=>:EPBMA

           HGEBG><:LBGHLBG:GNF;>KH?IE:<>L GHMCNLMLHKMH?

           BG HLM:/B<: ;NMF>KB<::G= ABG:&M>G:;E>=

           0IHKML;HHDLMH:<<>LLMABG@LPBMAHNMINMMBG@MA>BK&-

           ;>MM>KMA:G1HK&M>G:;E>=NLMHA:O>FHGBMHKBG@:G=

           LH?MP:K>MA:MP:LINMHGMH4>;*HG>R :G=)B;>KMR

           />L>KO>&M>G:;E>=MA><:IMNK>H?BG?HKF:MBHG?KHF

           F:GRH?MA>L>G>MPHKDL

           .4A:MP:LMA>O:EN>H?MABLBGM>EE><MN:E

           IKHI>KMR

           &:FGHM:GBGM>EE><MN:EIKHI>KMRO:EN>K

           .4AH<K>:M>=MABLBGM>EE><MN:EIKHI>KMR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 232 of
                                      434

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             4AB<AI:KM
             .4AH<K>:M>=MA>BGM>EE><MN:EIKHI>KMR
             MA:M>GA:G<>=LHF>H?MA>@:FBG@HI>K:MBHGLRHNP>K>
             =HBG@
             &=HGHMDGHP
             .4AH<K>:M>=MA>BGM>EE><MN:EIKHI>KMR
             MA:MBFIKHO>=NIHG:EHMH?MA>IHD>KHI>K:MBHGL
             &=HGHMDGHP
             .4AH<K>:M>=MA>BGM>EE><MN:EIKHI>KMR
            MA:M;NBEMMA>;:<D=HHKLHMA:MRHN<HNE=@>MMAKHN@A
            MA> ABG>L>?BK>P:EE
            4AH;NBEMBMHKPAH>GA:G<>=BMHKPAH
            =BLMKB;NM>=BM1A>R:K>=B??>K>GMMABG@L
            .1>EEF>PAH;NBEMBM
            *>
            .4AH>GA:G<>=BM
            ->HIE>!:O>P:L=>:EBG@PBMAHNMH?
            /NLLB:
            .4AH=BLMKB;NM>=BM
            .NBM>:GNF;>KH?LBM>L BG<EN=BG@LHF>
            :LLH<B:M>=PBMAMA>20@HO>KGF>GM
            . :GRHNEBLMMAHL>LBM>L?HKF>
            *0*/(,",;C><MBHG
            1%"4&1+"00+H
            6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 233 of
                                      434

                                                                         -:@>
            .><:NL>RHN=HGHMDGHPMA>F

            0HF>&=H1AHL>HG>LP>PBEEA:O>MH

            =>:EPBMABG<:F>K:,MA>KHG>L GH

            .1A>=BLMKB;NMBHGH?MA>L>M><AGHEH@B>L

            K>E:M>LMHG:MBHG:EL><NKBMR

            1A>IHD>KLMN?? GH1A>;:<D=HHKL

            LHF><HNE=

            . :GRHNM>EEF>:;HNM!:O>LBGM>K:<MBHG

            PBMAMA>?HEDLBG/NLLB:

           *0*/(,",;C><MBHGGLP>KB?RHN

           <:G

           1%"4&1+"00&=HGHMDGHP:;HNMPA:M

           HMA>KI>HIE>=H&=HGHM?HEEHPFRHPGLM:??:MMA>

           FHF>GM LHRHN:K>:LDBG@F>         &F>:G =HRHN:<MN:EER

           DGHPMA>LBS>H?FRHI>K:MBHGL

           6*/#/""!*+

           .+H

           1A>GMA:MBLPARRHNA:O>GHB=>:PA:M

           RHN:K>:LDBG@!HRHNDGHPAHPF:GR<HNGMKB>L&A:O>

           HI>K:MBHGLBGGHP

           .&P:GMRHNMH?H<NLHGPA:MRHNA:=BG

           :G=;>?HK>

           &GNLMK:EB: =HRHNDGHPAHPF:GRI>HIE>

           &A:=:MMA>>G=H?

           .%HPF:GR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 234 of
                                      434

                                                                         -:@>
            ,O>K!HRHNDGHPAHPF:GR<HNGMKB>L

            &A:=HI>K:MBHGLBGBG

            .+H

            KHNG=

            *0*/(,"$NRL L>KBHNLER 3>EBL

            M:DBG@MABL=>IHLBMBHG6HN:K>GHMM:DBG@MA>

            =>IHLBMBHG)>MABF:LDABLJN>LMBHGL

            6*/#/""!*+

            .4AH<K>:M>=MA>BGM>EE><MN:EIKHI>KMR

           MA:M>G:;E>=0IHKML;HHDLMH:<<>LLMABG@LPBMAHNM

           INMMBG@MA>BK&-;>MM>KMA:G1HK

           @:BG &=B=GHM?HEEHPNIPAHP:L

           BG=BOB=N:EER<K>:MBG@:GRMABG@

           .4:L!:O>K>LIHGLB;E>?HKMA><K>:MBHGH?

           MABLBGM>EE><MN:EIKHI>KMR

           *0*/(,",;C><MBHG

           1%"4&1+"00 :GRHNLI><B?RMA:MBG:

           ;>MM>K FHK><E>:KF:GG>K

           6*/#/""!*+

           .4(<K>:M>=:EEMABLBGM>EE><MN:E

           IKHI>KMRBLMA:M<HKK><M

           EHMH?MA:M R>L

           .4AHP:LK>LIHGLB;E>?HK4(LHI>K:MBHGL

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG RHN:K>:LDBG@F>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 235 of
                                      434

                                                                         -:@>
            LHF>MABG@     PAHP:LK>LIHGLB;E>?HKMA>HI>K:MBHGLBG

            MABLH??B<>

            6*/#/""!*+

            .0HRHN=HGHMDGHPPAHP:LK>LIHGLB;E>

            ?HKMA>HI>K:MBHGL:M4(MH<K>:M>MABLBGM>EE><MN:E

            IKHI>KMR

            *0*/(,",;C><MBHG

            1%"4&1+"00&A:O>:EK>:=RL:B=&=H

            GHMDGHPPAHBLK>LIHGLB;E>?HKA:E?MA>MABG@LMA:M

           A:II>GBGFRHPGH??B<>KB@AM:MMA>FHF>GM GHK=H

           &BGM>G=MH;>

           6*/#/""!*+

           .4AHP:LRHNK<HGM:<M:M4(MH<K>:M>:EE

           MABLBGM>EE><MN:EIKHI>KMR

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"00!:O>R!:O> &F>:G!:O>

           (E>BF:G

           6*/#/""!*+

           .!B=MA>0IHKML;HHDLIKH@K:FBGM>EE><MN:E

           IKHI>KMR>G:;E>;>MMBG@PBMA         LMKBD>MA:M!B=:GRH?

           MA>IHD>K K>E:M>=M><AGHEH@RBGOHEO>MA>NL>H?BM<HBG

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           B?RHN<:G
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 236 of
                                      434

                                                                         -:@>
            1%"4&1+"006>L

            6*/#/""!*+

            .%HP=B=BMBGOHEO>BM<HBG

            6HN<HNE=M:D>BM<HBG:G=;>M

            .4A:MP:LMABL<:EE>= MABLBGM>EE><MN:E

            IKHI>KMR

            *0*/(,",;C><MBHGO:@N>

            1%"4&1+"001>Q:LAHE=>F

            6*/#/""!*+

           .!B=RHN?BE>:I:M>GM4:LBM:<H=>

           %HP=B=RHN     LMKBD>MA:M

           !HRHNNG=>KLM:G=MA:MMABLBL

           *0*/(,"1A>K>BLGHJN>LMBHG

           I>G=BG@%>LMKN<DABLJN>LMBHG)>MABF:LD:

           JN>LMBHG:G=RHN<:G:GLP>KBM

           6*/#/""!*+

           .%HP=B=RHNH;M:BGMA>BGM>EE><MN:E

           IKHI>KMRMA:MK>E:M>LMHIHD>K

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           1%"4&1+"00 :GRHN:LDLHF>MABG@:;BM

           E>LLO:@N>

           6*/#/""!*+

           .%HP=B=RHNH;M:BG          LMKBD>MA:M6HN

           H;M:BG>=BGM>EE><MN:EIKHI>KMR?KHF4(MA:MBGOHEO>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 237 of
                                      434

                                                                         -:@>
            IHD>K:G=BM<HBGBLMA:M<HKK><M

            *0*/(,",;C><MBHG

            1%"4&1+"00K>RHNM:EDBG@:;HNMF>HK

            :<HFI:GRMA:M&HPG>=

            6*/#/""!*+

            .,K:<HFI:GRMA:MRHN           &MAHN@AMRHN

            =B=GHMHPG:GR<HFI:GB>L

            &L:B=HPG>=G=MA:MBLGHMHPG

            .4AB<A<HFI:GR=B=RHNHPGIK>OBHNLER;NM

           GHEHG@>K=H

           *0*/(,",;C><MBHG

           1A>K>:K>HO>KH?MAHL>

           6*/#/""!*+

           .,O>K<HFI:GB>LMA:MRHNHPG>=;NMGH

           EHG@>K=H

           6>L

           .4AHHPGLMA>FGHP

           &=HGHMDGHP

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .1ABLBL;><:NL>RHNINMBGIE:<>:

           LMKN<MNK>LHRHN=HGHMDGHPPAHHPGLMA>F

           *0*/(,",;C><MBHG1ABLJN>LMBHGBL

           HO>K;KH:=:G=BL@HBG@MHK>LNEMBG:O>KRNG<E>:K

           :GLP>KPA>GRHN:K>M:EDBG@:;HNMHO>K<HFI:GB>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 238 of
                                      434

                                                                         -:@>
            1A>R<:GGHMIHLLB;ER:EEA:O>MA>L:F>:GLP>K

            */#/""!*+*:R;>BM=H>L

            1%"4&1+"00&M=H>LGHM

            *//&3"/,4A:MMHIB<=H>LBMK>E:M>

            MH

            */#/""!*+1A><HNKMA:LLI><B?B<:EER

            =BK><M>=NLMH;>:;E>MH:LD:EE:;HNM!K4KB@AML

            >GMBMB>L:MA>:KBG@L:G=>O>G;>RHG=A>K>

            *//&3"/,+H

           */#/""!*+NM:MLN;L>JN>GMA>:KBG@L

           :G=RHN<:G:LD*L*:KDH>:;HNMMABL%>LI><B?B<:EER

           :NMAHKBL>=BGJNBKRBGMHMA><HFI:GB>L

           *0*/(,"%>:NMAHKBL>=EBFBM>=

           BGJNBKRBGMHMAHL><HFI:GB>L:G=BMG>>=LMH;><E>:K

           BGJNBKR LHB?RHNPHNE=EBD>MH:LD:JN>LMBHGMA:M

           PBEEK>LNEMBG:<E>:K:GLP>K&:FLNK>A><:G:GLP>KHG

           :EBFBM>=;:LBL6HN:K>EBFBM>= B?FRK><HEE><MBHGBL

           <HKK><M BG:LDBG@JN>LMBHGL:;HNMMAHL>HG<>P>A:O>

           >LM:;EBLA>=MA:MMAHL><HFI:GB>L=HGHMK>E:M>MH!:O>

           (E>BF:GHK4(

           */#/""!*+&:FGHMLNK>MA:MBL

           <HKK><M ;NME>MNLGHMP:LM>MBF>HGMA:M

           .4A>GP:LMA>?BKLMMBF>RHN<HGMK:<M>=

           PBMA4(

           &=HGHMDGHP6HNPHNE=A:O>MHEHHD:M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 239 of
                                      434

                                                                         -:@>
            MA>=:M>H?MA><HGMK:<M -:NL> 

             -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

            .&A:O>CNLMA:G=>=RHN-E:BGMB??L

            "QAB;BM!HRHNK><H@GBL>MABL<HGMK:<M

            &K><H@GBL>MABL<HGMK:<M

            .4A:MBLMA>=:M>H?MABL<HGMK:<M

            G=IKBE

            . :GRHNM>EEF>BGRHNKHPGPHK=LPA:M

            MA>;:K@:BGBGMABL<HGMK:<MP:L

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"001ABLBL:G:@K>>F>GM;>MP>>G

            K:B@4KB@AM/! :<HFI:GR :G=4(&G?H!>?>GL> :G

           )) BGMA>20 ?HKIKHOBLBHGH?L>KOB<>L

           6*/#/""!*+

           .,GI:@>H?MABL=H<NF>GMBLMA:MRHNK

           LB@G:MNK>

           *0*/(,"!HRHNF>:G:MMA>MHI

           */#/""!*+:MMA>MHI

           1%"4&1+"001A:MBLLB@G>=;RF> R>L

           6*/#/""!*+

           . :GRHN@H;:<DMHI:@> IE>:L>

           0HKKR M:D>MA:M;:<D <:GRHN@HMHI:@>&:F

           EHHDBG@:M)

           *0*/(,"6HN:K>K>?>KKBG@MHI:@>

           :MMA>MHI1A>K>BLCNLM=B??>K>GMI:@BG:MBHGL
      Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 240 of
                                            434

                                                                               -:@>
                    */#/""!*+EP:RL:MMA>MHI

                    *0*/(,",D:R&CNLMP:GMMHF:D>

                    LNK>P>A:O>:<E>:KK><HK=

                    6*/#/""!*+
H-Inc. Desig.       .1ABLBL=H<D>M>GMKR !HRHNG>>=

                    :L><HG=MH?:FBEB:KBL>RHNKL>E?PBMAI:K:@K:IA)

                    &A:O>K>:=BM

                    .4A:MBL@HBG@HGA>K>

                    0HKKR PA:M=HRHNF>:GPA:MBL@HBG@HG

                   &MBL:IB><>H?I:I>K+HMABG@BL@HBG@HG

                   . :GRHNM>EEF> :L&K>:=MABLI:K:@K:IA

                   H?MA><HGMK:<M RHN:K>IKHOB=BG@ RHN:K>MA>

                   ?BG:G<B>KBLMA:M<HKK><M

                   *0*/(,",;C><MBHG

                   1%"4&1+"00+H

                   6*/#/""!*+
         H         .
                      . K:B@4KB@AM/!BLMA>?BG:G<B>K

                   1A:MBLPA:MBMLM:M>L
                      1A:MBLPA:MBMLM:M>L R>L

                   .
                      . K:B@4KB@AM/!BLIKHOB=BG@ <HK>

                   5>HG:G=$-2;:L>=A:K=P:K>LHENMBHG
                      5>HG:G=$-2;:L>=A:K=P:K>LHENMBHG : &MBL

                   :<DGHPE>=@>=MA:MMPH0$&&
                      :<DGHPE>=@>=MA:MMPH0$&& "5" <HK>AHLMLA:O>

                   ;>>GIKHOB=>=:G=:K>BG:=:M:<>GMK>LI><B?B>=;RMA>
                      ;>>GIKHOB=>=:G=:K>BG:=:M:<>GMK>LI><B?B>=;RMA>

                   IKHOB=>K4A:MBL0$&&
                      IKHOB=>K4A:MBL0$&& "5"

                   <HFINM>K
                      <HFINM>K

                   .&LBM:LI><B:E<HFINM>KHKCNLM:
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 241 of
                                      434

                                                                         -:@>
            K>@NE:K<HFINM>K

            &MBL:G%-        AB@AF>FHKR AB@A<HK>

            <HFINM>K

            . ; LM:M>LMA>INKIHL>H?MA>IKHOBLBHG

            H?MA>L>A:K=P:K>LRLM>FLBLMA:M<HKK><M

            &MBL:IHLLB;E>NL>MA:M;RMA>MBF>

            MA:MMABLP:LBFIE>F>GM>=P:LGHM:O:BE:;E>
H-ID        .0H
              .0H ; L:RL        <:GRHNK>:= ; ?HKF>

            1A>IKHOB=>KPBEENL>MA>L>LRLM>FLMH
              1A>IKHOB=>KPBEENL>MA>L>LRLM>FLMH

           FBG>BM<HBG
              FBG>BM<HBG

           .G=MA>G < L:RLMA>>QI><M>=:FHNGMH?

           MA>BM<HBGBLMA:M<HKK><M

           +H

           .4>EE <:GRHNK>:= < ?HKF>

           1A>IKHOB=>K>QI><MLMH>:KG            MA:MBL

           GHM<HKK><M;><:NL>;RMA>MBF>MABLP:LBFIE>F>GM>=

           0& L #-$L:G=HMA>KMABG@LA:=;>>G=>O>EHI>=PAB<A

           PHNE=F:D>MABL:;HNMHG>BM<HBG:R>:K

   H       .
               . < L:RLMA:MRHN>QI><MBMMH>:KG

           
               BM<HBGI>KFHGMABLMA:M<HKK><M

           *0*/(,",;C><MBHGFBLLM:M>LPA:M

           MA>=H<NF>GML:RL

           1%"4&1+"00&=B=GHM>QI><MMH>:KG
                             1%"4&1+"00&=B=GHM>QI><MMH>:KG

           :GRMABG@
              :GRMABG@

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 242 of
                                      434

                                                                         -:@>
  H         .*LM:M>LMA:M4(:K>LNIIHL>=MHI:R?HK
              .*LM:M>LMA:M4(:K>LNIIHL>=MHI:R?HK

            MA>L>LRLM>FLPBMA
              MA>L>LRLM>FLPBMA BM<HBGBLMA:M<HKK><M

            1A:MBLPA:MBMLM:M>L
              1A:MBLPA:MBMLM:M>L

            .!B=4(>O>KI:R
              .!B=4(>O>KI:R BM<HBG

            +H
              +H

            .4ARGHM
              .4ARGHM

            !:OB==B>=
              !:OB==B>=

            .%HP=B=4(@>M BM<HBGB?

            MABL    LMKBD>MA:M!B=4(INMMA>L><HFINM>KLEBLM>=

           BG)MHPHKDMHFBG>BM<HBG

           *0*/(,",;C><MBHG?HNG=:MBHG:G=

           RHN:K>@HBG@;>RHG=MA>L<HI>:@:BG4HNE=RHNEBD>MH

           <HGG><MBMMHHG>H?MA>MHIB<L IE>:L>

           */#/""!*+1ABLBL MA>EH<:MBHG

           :G==NK:MBHGH?!:O> 4(:G= K:B@LFBGBG@H?BM<HBG

           ?KHFMBEEIKBE

           *0*/(,"6HN<:G:GLP>KMA>JN>LMBHG

           B?RHNDGHPMA>:GLP>K

           1%"4&1+"001A>K>P:LGHFBGBG@H?

           BM<HBG;>MP>>GFRL>E?:G=!:O>>O>K1A>K>P:LGH

           FBGBG@:M:EEBG:GRP:RMA:M&DGHPH?HGMAHL>

           F:<ABG>L >O>K

           6*/#/""!*+

           .0H :L?:K:LRHN:K>:P:K> !:O>G>O>K

           NL>=MAHL>F:<ABG>LMHFBG>BM<HBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 243 of
                                      434

                                                                         -:@>
            &MPHNE=;>MHM:EERLMNIB=ER?HHEBLAMH

            FBG>:GRMABG@HG<>0& L<:F>HNMHGMAHL>F:<ABG>L&M

            PHNE=IKH;:;ERL>MF>;:<D:KHNG=FBEEBHG:FHGMA?HK

            LHF>MABG@ :MMA>MBF> PHKMAE>LLMA:G 
  H         .4A:MP:LMA>INKIHL>H?MABL<E:NL>:M
              .4A:MP:LMA>INKIHL>H?MABL<E:NL>:M

            MA>MBF>MA><HGMK:<MP:L>GM>K>=BGMH
              MA>MBF>MA><HGMK:<MP:L>GM>K>=BGMH

            4AB<A<E:NL>
              4AB<A<E:NL>

            .)
              .)

            *0*/(,",;C><MBHG

           *//&3"/,6HNF:R:GLP>K

           1%"4&1+"001A><E:NL>P:LMA>K>MH
              1%"4&1+"001A><E:NL>P:LMA>K>MH

           A:O>F:<ABG>LMA:MPHNE=;>KNG:G=F:G:@>=1A>
              A:O>F:<ABG>LMA:MPHNE=;>KNG:G=F:G:@>=1A>

           IKBF:KRINKIHL>PHNE=;>&P:LNLBG@L<:EBG@M>LML:G=
              IKBF:KRINKIHL>PHNE=;>&P:LNLBG@L<:EBG@M>LML:G=

           HMA>KLN<AMABG@L1AHL>F:<ABG>LP>K>KNGGBG@>GA:G<>=
              HMA>KLN<AMABG@L1AHL>F:<ABG>LP>K>KNGGBG@>GA:G<>=

           O>KLBHGLH?BM<HBGMA:M&P:L<K>:MBG@
              O>KLBHGLH?BM<HBGMA:M&P:L<K>:MBG@ MA>GH=>

           LH?MP:K>
              LH?MP:K> LHMA:M&<HNE=L>>AHP?:K&<HNE=L<:E>

           BM<HBG:L:;EH<D<A:BGGRHMA>KLB=>NL>
              BM<HBG:L:;EH<D<A:BGGRHMA>KLB=>NL> PABE>GHM

           ;>BG@NL>=
              ;>BG@NL>= P:LHKB@BG:EER>GOBLBHG>=MA:MHMA>KL<HNE=

           FBG>BM<HBGPBMA
              FBG>BM<HBGPBMA

           6*/#/""!*+

           .&G<E:NL>
              .&G<E:NL> HGI:@> MA><HGMK:<M

           LM:M>LMA:M1A>IKHOB=>K=>LBK>LMA>BGM>EE><MN:E
              LM:M>LMA:M1A>IKHOB=>K=>LBK>LMA>BGM>EE><MN:E

           IKHI>KMR?HKMA>I>KFBMM>=NL>4A:MP:LMA>
              IKHI>KMR?HKMA>I>KFBMM>=NL>4A:MP:LMA>

           BGM>EE><MN:EIKHI>KMRK>?>KK>=MHA>K>
              BGM>EE><MN:EIKHI>KMRK>?>KK>=MHA>K>

           *0*/(,",;C><MBHG6HN<:G:GLP>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 244 of
                                      434

                                                                         -:@>
  H         1%"4&1+"000HF>H?MA:MBLMA>MABG@L
              1%"4&1+"000HF>H?MA:MBLMA>MABG@L

            P>A:O>:EK>:=RM:ED>=:;HNM
              P>A:O>:EK>:=RM:ED>=:;HNM BG<EN=BG@@:FBG@LH?MP:K>

            !:O>P:LKNGGBG@HI>K:MBHGLMA:M&A>EI>=L>MABFNIBG
              !:O>P:LKNGGBG@HI>K:MBHGLMA:M&A>EI>=L>MABFNIBG

             HLM:/B<:

            6*/#/""!*+

            . K:B@4KB@AM/!I:B=?HKMABL

            =>O>EHIF>GMBGI:K:@K:IAL#:G=$BLMA:M<HKK><M

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00&BGLMKN<M>=I>HIE>PAH

           P>K>PBMAMA><HFI:GRMHI:R?HKF:<ABG>LMH;>

           INK<A:L>=

           6*/#/""!*+

           .4A>K>=B=MABLBM<HBG<HF>?KHF

           *0*/(,",;C><MBHG&:F@HBG@MH

           BGLMKN<MMA>PBMG>LLGHMMH:GLP>K&M@H>L;>RHG=MA>

           L<HI>

           */#/""!*+,?:LP>EE

           *0*/(,"4A>K>BG=H>LBM

           K>?>K>G<>

           */#/""!*+&GJNBKRBGMHMA>>GMBMB>L

           :G=IKHC><MLK>?>K>G<>=BG"QAB;BML :G=BG:

           L><HG=&:F@HBG@MH<HFIE:BG

           *0*/(,"/B@AM :G=RHNKJN>LMBHG B?

           &K><:EE<HKK><MER       E>MF>CNLML>>      :<MN:EER PHNE=

           RHNFBG=K>:=BG@BM;:<D&<:GGHMEH<:M>BM:MMA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 245 of
                                      434

                                                                         -:@>
            FHF>GM

             1A><HNKMK>IHKM>KK>:=;:<D:LK>JN>LM>=

            *//&3"/,'NLM@BO>NL:FHF>GM

            */#/""!*+)>MF>M:D>:;K>:D

            ;><:NL>&A:O>MHNL>MA>K>LMKHHF

            1%"3&!",$/-%"/$HBG@H??MA>K><HK=

            1A>MBF>BL

             0AHKMK>:D

            1%"3&!",$/-%"/$HBG@;:<DHGMA>

           K><HK=1A>MBF>BL1A:GDRHN

           6*/#/""!*+

           .>?HK>MA>;K>:D !K4KB@AM &:LD>=RHN

           PA>K>MA>BM<HBGF>GMBHG>=BGI:K:@K:IAL#:G=$

           LHKKR M:D>MA:M;:<D

           *0*/(,"&MFB@AM;>>:LB>KCNLMMH

           A:O>A>KK>:=;:<DMA>E:LMJN>LMBHG

           */#/""!*+&EHHD>=:MBM MAHN@A&

           CNLML:B=4A>K>=B=MABLBM<HBG<HF>?KHF)>MNL

           LM:KM:@:BGPBMA:<E>:KK><HK=

           *0*/(,",D:R

           6*/#/""!*+

           .)>MNLEHHD:MI:K:@K:IA-:K:@K:IA

           !K4KB@AM L:RL1A>#BG:G<B>K<HGMKHELMA>?HEEHPBG@

           BM<HBG 1     :==K>LL>L%HP=B= K:B@4KB@AM/!<HF>

           MHIHLL>LLMA>L>BM<HBG:==K>LL>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 246 of
                                      434

                                                                         -:@>
            &=HGHMDGHP

            .-:K:@K:IA#L:RLMA:MMA>?BG:G<B>KPBEE

            L>G= BM<HBGMHMA>*02:==K>LL;RMAIKBE

            !B= K:B@4KB@AM/!L>G= BM<HBGMHMA>

            *02:==K>LL

            &=HGHMDGHP

            .!B=RHN<:NL>HKK>JN>LMMA:M K:B@

            4KB@AM/!F:D>MABLMK:GL?>K

            &K>JN>LM>=MA:MI>HIE>I:RMA>:FHNGML

           MA:MMA>R:K>F>:GMMHI:R R>L

           .4A>K>=B=MABLK>JN>LM@HMH

           &MP>GMMH K:B@4KB@AM/!

           .4AH:M K:B@4KB@AM/!

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&=HGHMDGHP1ABLBL

           R>:KL:@H&=HGHMK>F>F;>KMA>I>HIE>BGMA:M

           <HFI:GR

           6*/#/""!*+

           .4AB<A<HFI:GRP:LBM

            K:B@4KB@AM/!

           .NMMA>K>P>K>F:GRH?MA>F

           4AB<A K:B@4KB@AM/!BL&;>EB>O>PA:M

           RHN:K>:LDBG@

           .*FF AFF

           1A:MP:LBG-:G:F:
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 247 of
                                      434

                                                                         -:@>
            .G= K:B@4KB@AM/!-:G:F:A:=<HGMKHE

            HO>KMA>L>BM<HBG:==K>LL>L

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHNDGHP

            1%"4&1+"00&MHE=I>HIE>PA:MMH=H

            1A>RMHE=F>MA>RA:==HG>BM1A:MBL:L?:K:L&@H

            6*/#/""!*+

            .G=MA>G=B= K:B@4KB@AM/!=>EBO>KMA>

             BM<HBGK>?>K>G<>=BGI:K:@K:IA$

           @:BG &=HGHMA:O>FN<AMH=HPBMA

           ?BG:G<>BGMA><HFI:GB>LHMA>KMA:GI>HIE>@BOBG@F>

           K>IHKMLL:RBG@BMA:L:EE;>>G=HG>HKGHM :G=B?&=H

           GHM@>M<HFIE:BGML:;HNM?BG:G<>;R<K>=BMHKLHK=>;MHKL

           HKPA:M>O>K>EL>@HBG@ 4ARMA>A>EEBMA:LGHM

           A:II>G>= >M<>M>K: MA>G&:F:A:IIR@NR:G=&LM:R

           HNMH?I>HIE>LP:R

           . :GRHN@HMHI:@>?HKF> IE>:L>

           !K4KB@AM

           *0*/(,"@:BG CNLM?HK<E:KBMRL

           L:D> MA:MBL:MMA>MHI

           6*/#/""!*+

           .1HIH?MA>I:@>&:FEHHDBG@:M

           I:K:@K:IA : 

           *FF AFF

           .&ML:RL1A>I:I>KBM<HBG4:EE>MPBMA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 248 of
                                      434

                                                                         -:@>
            :==K>LLIA :G=LHHG

            6>L

            .        PBEE;>A>E=;RMA>?BG:G<B>K:L

            :LLNK:G<>HKMA><HGMK:<M:G=PBEE<HGO>KMMHMA>

            HPG>KLABIH?MA>?BG:G<B>KHG=>?:NEMH?MA>IKHOB=>K

            0H  K:B@4KB@AM/!A>E=MA>P:EE>M:L<HEE:M>K:E

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"001A:MPHNE=;>MA>?BG:G<>

            I>HIE>HO>KBG-:G:F: GHMF>

           6*/#/""!*+

           .4AHP>K>MA>?BG:G<>I>HIE>:M-:G:F:

           0HF>H?MAHL>P>K>:LLH<B:M>=PBMA:

           <HFI:GR<:EE>=%B@A0><NK>= :G=MA>K>P>K>HMA>KI>HIE>

           PAHNL>=MHPHKD?HK)B;>KMR/>L>KO>

           .0HMA>?HEDL:M%B@A0><NK>=:G=)B;>KMR

           />L>KO><HGMKHEE>=MABLBM<HBGP:EE>M:==K>LL

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           6*/#/""!*+

           .!B=MA>?HEDL:M%B@A0><NK>=:G=)B;>KMR

           />L>KO><HGMKHEMABLP:EE>M:==K>LL

           &A:O>LM:M>=FRBGOHEO>F>GMPBMA?BG:G<>

           PAB<ABL>Q:<MER:LBMBLGHP BL &L:R=HMABG@L

           MABG@L>BMA>KA:II>GHK=HGHMA:II>G&?MA>R=HGHM

           A:II>G K:B@@>ML:EER>EER:G=L<K>:FR:G=>O>KRHG>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 249 of
                                      434

                                                                         -:@>
            @>MLNIL>M :G=PA>GMA>R=HA:II>G MABG@L:K>@HH=

            .0HMA>?HEDL:M?BG:G<><HGMKHEE>=MA>

            P:EE>MLEBLM>=:MHGI:@>BLMA:M<HKK><M

            *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            MA>M>LMBFHGR6HN<:G:GLP>K

            1%"4&1+"00@:BG &;:LB<:EER@HMH

            ?BG:G<>I>HIE> MA>RM>EEF>MABG@L &MKNLMPA:MFR

            I>HIE>M>EEF> :G=B?GHHG><HFIE:BGL GHHG>L:RLBM

            BLGHMK>:E MA>G&A:O>MH;>EB>O>PA:M&:FMHE=;R

           I>HIE>&<HGMK:<MHKI:B=

           6*/#/""!*+

           .%HP=B=MABL:FHNGMH?BM<HBG>G=NIBG

           MA>L>P:EE>ML

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           B?RHNDGHP

           1%"4&1+"001A>K>:K>MPHIKH;E>FLPBMA

           PA:MRHNA:O>CNLML:B=1ABL:FHNGMH?BM<HBGBG

            : BLGHM      MA:MBL:G:==K>LL GHM:G:FHNGMH?

           BM<HBG :G= L><HG=ER MA>R:K>:G:==K>LL GHM:

           P:EE>M

           6*/#/""!*+

           .%HP=B=BM<HBG>G=NIBGMA>P:EE>ML

           EBLM>=:M : :G= ; 

           *0*/(,",;C><MBHG

           1%"4&1+"00*R:LLNFIMBHGBLMA:M:
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 250 of
                                      434

                                                                         -:@>
            MK:GL:<MBHGPHNE=;>L>GMMHMA>BM<HBGE>=@>K*BG>KL

            PHNE=M:D>MA:MMK:GL:<MBHG:G=L>G=BGMH:;EH<DPAB<A

            PHNE=;>FBG>= NI=:MBG@MA>E>=@>K

            6*/#/""!*+

            .!B=RHN<:NL>MA>BM<HBGMH>G=NIBG

            MAHL>P:EE>ML

            *0*/(,",;C><MBHG

            1%"4&1+"001A>L>:K>GHMP:EE>ML

            6*/#/""!*+

           .==K>LL>L!B=RHN<:NL>MA>BM<HBGMH

           >G=NIBGMA>L>:==K>LL>L

           *0*/(,",;C><MBHGGLP>KB?RHN

           <:G

           1%"4&1+"00&?RHN:K>L:RBG@=B=

           &M>EELHF>HG>MH=HLHF>MABG@:G=MABG@LA:II>G>= MH

           MA>;>LMH?FRDGHPE>=@> GHHG><HFIE:BG>=&MHE=

           I>HIE>BG:@KHNIH?<HFI:GB>LBG-:G:F:MH=HMABG@LMH

           F:D>LNK>!:O>P:LA:IIR1ABG@LA:II>G>=+HHG>

           <HFIE:BG>=!:O>=B=GHM<HFIE:BGMHF>&:FA:IIR

           "O>KRHG>BLA:IIR

           6*/#/""!*+

           .&:FMKRBG@MH?B@NK>HNMAHPMA>?HEDL

           BG-:G:F:>G=>=NIPBMAMA:MFN<ABM<HBG:MMA>BK

           =BLIHL:E

           *0*/(,",;C><MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 251 of
                                      434

                                                                         -:@>
            1%"4&1+"000HKKR PA:MBLMA:MFN<A

            BM<HBG

            6*/#/""!*+

            .&MBL :G=MA>G  LH:MHM:E

            H? 

            6HN:K>:LDBG@AHP:GHK@:GBL:MBHGMA:M

            P:LMNKGBG@HO>KIKH;:;ERFBEEBHG:FHGMAF:G:@>=MH

            H;M:BG PHKMAH?BM<HBG

            .6>L

           4>EE B?RHNA:=H??>K>=LHF>HG> 

           MA>RPHNE=A:O>@BO>GRHNGHJN>LMBHGL:LD>=6HN<HNE=

           A:O>@HG>MH)H<:EBM<HBGL6HN<HNE=A:O>@HG>MH

           *M$HQ6HN<HNE=A:O>@HG>MH:GNF;>KH?<KBFBG:E

           HK@:GBL:MBHGLMA:MP>K>L>EEBG@BM)B;R:/>L>KO>LA:=

           JNBM>:GNF;>KH?BM<HBG%HPPHNE=RHN=HMA:M

           4>EE I>HIE>>Q<A:G@>@HH=L:G=L>KOB<>L6HNM:D>20

           =HEE:KL:G=RHNF:D>:MK:=>

           *//&3"/,1A>K>BL:JN>LMBHG?KHFMA>

           <HNKMK>IHKM>K

           1%"4&1+"00*M$HQ

           6*/#/""!*+

           .&GIKBEH? P:LBMIHLLB;E>MH

           :<JNBK> BM<HBGHGMA>HI>GF:KD>M

           6>L&G?:<M :KHNG=MA:MLHKMH?MBF>

            BM<HBGP:LLP:II>=?HKMPHIBSS:L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 252 of
                                      434

                                                                         -:@>
            .!HRHNA:O>:GRBG?HKF:MBHGHGAHPMA>

             :G= >G=>=NIBGMA>MPH:==K>LL>L:M :

            :G= ; 

            *//&3"/,,;C><MBHG!B=RHNL:R :

            :G= ; 

            */#/""!*+6>L HGI:@>

            *//&3"/,&:FLHKKR &=HGHM

            NG=>KLM:G=MA>JN>LMBHG&=HGHMNG=>KLM:G=RHNK

            JN>LMBHG&<:GGHM?HKF:GH;C><MBHG!HRHNF>:G# ;

           :G=$ ; ,A &L>>4BMA=K:P$H:A>:=6>L

           1%"4&1+"00*RLM:M>F>GMBLO>KR

           LBFIE>MA>R:K>:==K>LL>LGH:FHNGMBL<E:BF>=:M

           MAHL>:==K>LL>L

           6*/#/""!*+

           .1A>L>:==K>LL>LMK:GL?>KK>=MA>L>

           :FHNGML     LHKKR E>MNLF:D>MA:M<E>:K1A>A

           :==K>LLMK:GL?>KK>= BM<HBGMHMA>*02:==K>LL

           *//&3"/,,;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR6HNF:R:GLP>K

           */#/""!*+!HRHNFBG= &=B=GHM

           JNBM>?BGBLAR>M

           *//&3"/,,A

           6*/#/""!*+

           .!HRHNDGHPAHPMA>BM<HBG>G=>=NIBG

           MA>A:==K>LL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 253 of
                                      434

                                                                         -:@>
            4>EE :MK:GL:<MBHGPHNE=;>L>GMMHMA>

            ;EH<D<A:BG*BG>KLPBEEM:D>MA>BKMK:GL:<MBHG?HK

            MK:GL:<MBHG?>>L

            .)>MF>;><E>:K =H<MHK ;><:NL>RHN

            >QIE:BG>=MABL;>?HK>&:FGHM:LDBG@?HKMA>

            M><AGB<:E>QIE:G:MBHGH?AHPMA>BM<HBG>G=LNI &:F

            :LDBG@?HKMA>IK:<MB<:E>QIE:G:MBHG"O>KR=:RI>HIE>

            EBD>F>PHNE=L:R AHP=B=MA>BM<HBG>G=NIBGMA:M

            P:EE>M:==K>LL HKMA:MIN;EB<:==K>LLPAHL>GMBM

           MA>K>

           *//&3"/,,;C><MBHG

           1%"4&1+"00&:FL:RBG@ PA>K>BL:

           ;EH<D>QIEHK>KMHM>EEF>BM:<MN:EERP>GMHG:GR

           I:KMB<NE:K=:M>

           6*/#/""!*+

           .0BMMBG@A>K>MH=:R          LMKBD>MA:M!B=

           :GRH?MA>BM<HBGRHNFBG>=BGNLMK:EB:>G=NI:M

           MA>L>IN;EB<:==K>LL>L

           +H

           *//&3"/,,;C><MMHMA>?HKF'NLM

           @BO>F>HG>FHF>GMMHLM:M>MA>H;C><MBHG -:NL>

           6*/#/""!*+

           . :GRHN@HPBMAF>MHI:@>:MMA>MHI

            :GRHNEHHD:MMA>=>?BGBMBHGH?-KH=N<M HKMA>

           EBLMBG@H?PA:MIKH=N<MBL :GRHNK>:=MA:M?HKF>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 254 of
                                      434

                                                                         -:@>
            IE>:L>

            BM<HBG:G="Q<A:G@>0H?MP:K>BG

                   /<H=>

            .%HP=B=BM<HBG:G="Q<A:G@>0H?MP:K>?BM

            BGMHMABL<HGMK:<M

            *//&3"/,*BLLM:M>LMA>=H<NF>GM

            ,;C><MBHG

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"000HKKR AHP=B=BM<HBG:G=

           "Q<A:G@>0H?MP:K>?BMBGMHMABL=H<NF>GM

           6*/#/""!*+

           .6>L&MCNLML:RL-KH=N<M4A:M=H>L

           MA:MF>:G

           &MF>:GL>Q:<MERPA:MBML:RLMA>K>

           .&LMABLMA>IKH=N<MMA:M!:O>(E>BF:GP:L

           IKH=N<BG@?HKRHN:M4(

           *//&3"/,,;C><MBHG

           1%"4&1+"00&G>>=FHK>H?:G

           >QIE:G:MBHGMA:GMA:M"Q<A:G@>0H?MP:K> &F>:GMA:M

           BL:O>KRPB=>      MA:MBLEBD>L:RBG@

           6*/#/""!*+

           .6HN=HGHMDGHPPA:MMA><HGMK:<MF>:GL

           &=HGHMDGHPPA:MRHN:K>MKRBG@MH

           <E:LLB?RBM:L

           .6HNM>EEF>PA:MMA><HGMK:<MRHNLB@G>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 255 of
                                      434

                                                                         -:@>
            F>:GL&ML:RL-KH=N<MBM<HBG:G="Q<A:G@>

            0H?MP:K>BG         /<H=>4A:M=H>LMA:MF>:G

            &?RHNP:GMMH<A>KKRIB<D MA:MBL:

            =B??>K>GMMABG@MA:GL:RBG@MABLEBG>F>:GLLHF>MABG@

            HNMH?LHKMH?MA>K>LM4A:MMA><HGMK:<MP:L:;HNM

            P:LMA>IKH=N<MBHGH?<H=>:MMA>>G=

            .#HKBM<HBG

            !>?BG>?HKBM<HBG

            .&=HGHMDGHP BML:RLBM<HBG

           -KH=N<MBM<HBG

           *FF AFF

           .&LMA:M;><:NL>MA><HGMK:<MP:L<K>:MBG@

           BM<HBG

           +H BM<HBGP:L:EK>:=R<K>:M>=

           .&LMA:M;><:NL>MA><HGMK:<MP:L?HKMA>

           INKIHL>H?<K>:MBG@FBGBG@BM<HBG

           +H RHN<:GGHMFBG>BM<HBGMA:MP:R

           &A:O>:EK>:=RLM:M>=MABL

           .4:LBM?HK:BM<HBG>Q<A:G@>

           +H1A>K>P>K><>KM:BGMABG@LMA:MP>K>

           MH=HPBMA:BM<HBG>Q<A:G@> :G=LHF>HMA>K:LI><MLH?

           IHD>KLH?MP:K> HMA>K:LI><MLH?MA>LH?MP:K>&A:O>

           F>GMBHG>=;>?HK> :G=MA>HMA>KLMN?? BGM>EE><MN:E

           IKHI>KMR NG=>KMA>NG:P:K=>=!%0IKHC><ML

   H       .
                    . :GRHN@HPBMAF>MHI:@>
                              :GRHN@HPBMAF>MHI:@>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 256 of
                                      434

                                                                         -:@>
  H         6>L
              6>L

            .!HRHNL>>!:O>(E>BF:GLG:F>:;HNM:
              .!HRHNL>>!:O>(E>BF:GLG:F>:;HNM:

            JN:KM>KH?MA>P:R=HPG?KHFMA>MHIH?MA>I:@>
              JN:KM>KH?MA>P:R=HPG?KHFMA>MHIH?MA>I:@>

            6>L
              6>L

            .!HRHNL>>MA>LB@G:MNK>MA>K>

            4A:M&L>>BLABLG:F>PKBMM>GMA>K>

            R>L

            .&LMA:M!:O>(E>BF:GLLB@G:MNK>

            1A>=>?BGBMBHGH?LB@G:MNK> B?P>M:D>

           ?HKBGLM:G<> 0:EBG@>KO$HE=>G*BGBG@ PA:MRHNPBEE

           L>>BLB?&MRI>/>@:K=L  K:B@ MA:MBL=>>F>=:

           LB@G:MNK>NG=>KMA>E:P1A:MP:LNIA>E=BGBGMA>

           KBMBLA<HNKMLMH;>:LB@G:MNK>LB@G:MNK>BL:G

           :MM>LM:MBHG&?&M>EEFR" :L&=H>O>KRGHP:G=

           :@:BG -E>:L>L>G=BGMABL=H<NF>GM &<:GGHM@>MBGMH

           MA>H??B<> &A:O>GHM>=BGMABL> F:BE&:F:NMAHKBLBG@

           RHNMHLB@G :G=LA>INMLFRG:F>:MMA>;HMMHF MA:M

           BLE>@:EER:LB@G:MNK>4A>G&@H/>@:K=L !K K:B@

           4KB@AMHG:G> F:BE:G=BMBLMRI>= MA:MBLE>@:EER:

           LB@G:MNK>&?&A:O>:OB=>H:MM>LM:MBHG:G=&L:R &

            K:B@4KB@AM :@K>>MHMABL<HGMK:<M MA:MBLE>@:EER:

           LB@G:MNK>LB@G:MNK>BGPKBMBG@ ;:LB<:EER

           BG<HKIHK:M>L BGMABL<HNGMKR:ME>:LM :G=:LP>EE

           NLMK:EB: MA>BG<HKIHK:MBHGH?:GRMABG@BG:GRF>=B:

           BG<EN=BG@OB=>H:MM>LM:MBHG MA:MPBEE:EEHPHG>MH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 257 of
                                      434

                                                                         -:@>
            IKHO>MA:MMA>R:@K>>=MH;>;HNG=1A>=>?BGBMBHGH?

            LB@G:MNK>BL:<MN:EER:G:@K>>F>GMMH;>;HNG=0H

            PA:MRHN:K>L:RBG@BL =B=!:O>:@K>>MH;>;HNG=G=

            B?A>P:LI:KMH?MABL<HGMK:<MMA:MPHNE=;>MA:MA>

            :@K>>=MH;>;HNG=&?A>P:LGHM MA>GA>A:=GHI:KM

            BGMA><HGMK:<M :G=MA>GA:LGHKB@AMLNG=>KMA:M

            <HGMK:<M4AB<APHNE=RHNIK>?>KMH<AHHL>

            .<MN:EER &PHNE=CNLMIK>?>KRHNMH

            :GLP>KMA>JN>LMBHG&LMA:M!:O>(E>BF:GLLB@G:MNK>

           &A:O>:GLP>K>=MA>JN>LMBHGBG=>M:BE

           .&=HGHMMABGDLH :GRHN@BO>F>:R>L

           HKGHBLMA:M!:O>(E>BF:GLLB@G:MNK>

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&A:O>:GLP>K>=MA>

           JN>LMBHG

           6*/#/""!*+

           .%HP=B=MA:MF:KD@>MMH;>F:=>HGMA>

           I:@>

           &=HGHMK>:EER<:K>&?LHF>HG>L>G=L

           F>:<HGMK:<M:G=&A:O>GMPBMG>LL>=BMI>KLHG:EERHK

           GHM>=MA:M&PBMG>LL>=BM MA>G&A:O>GHMPBMG>LL>=BM

           &:FGHM@HBG@MH@BO>:K:MLK><MNF:;HNMMA>HKB@BG

           H?LHF>MABG@MA:MLHF>HG>=H>LGHM=BLINM>!:O>A:=

           F:GRR>:KLMHL:R %>R &=B=GHMLB@GMLHF>IHBGM

           A><HNE=A:O>INMABLA:G=NI:G=L:B= &=HGHM:@K>>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 258 of
                                      434

                                                                         -:@>
            PBMAMABLMGHIHBGM=B=A>,?<HNKL> MA>

            :K@NF>GMA>K>PA>GP>P>K>M:EDBG@:;HNMMA><K>:MBHGH?

            LH?MP:K>MA:MBLE>@:EBGNLMK:EB: ;NMBEE>@:EBGMA>

            20 ;KBG@LBGMH:=B??B<NEMIHLBMBHGPBMA<HGMK:<ML

            EMAHN@ABMBL:E>@:E<HGMK:<MBG+>P0HNMA4:E>L HG>

            <HNE=:K@N>MA:MMA><K>:MBHGH?:IKHAB;BMBO>IKH=N<M

            MA:MBL:<MN:EER:<KBF>?HK:GF>KB<:G<BMBS>GMH

            <K>:M> HK;>BGOHEO>=PBMA HK=BLMKB;NM> HK:<MN:EER

            ?:BKERFN<A:GRMABG@MH=HPBMA PHNE=:<MN:EER

           BGO:EB=:M>!:O>L<HGMK:<M;NMMA:MBL:=B??>K>GM

           BLLN>

           .!B=RHNPBMG>LL!:O>(E>BF:GLB@GMABL

           <HGMK:<M

           &M=H>LGHML:RPBMG>LL>=:M:GRIHBGM

           .0HRHN=B=GHMPBMG>LLABFLB@GMA>

           <HGMK:<M

           &;>EB>O>&A:O>GHM>=MA:M&P:LG>O>K

           BGNLMK:EB:      LHKKR !:O>P:LGHMBGNLMK:EB: :G=

           MA:M&P:LGHMHGMA>LB@GBG@=:M>H?MABL<HGMK:<MBG

           MA>20MMA>MBF> PBMG>LLBG@HO>KOB=>HP:LGHM

           E>@:E :G=:EMAHN@AMA>E:PA:L;>>GNI=:M>=:G=GHPBG

           MA>2(:G=NLMK:EB:MA:MBLIHLLB;E> BMP:LGHM

           IHLLB;E>:MMA>MBF>0H PBMAHNM;>BG@BGMA>L:F>

           KHHF:L!:O> &PHNE=GHM;>:;E>MHPBMG>LL

           .!K4KB@AM BMPHNE=A>EINL@>MMAKHN@A
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 259 of
                                      434

                                                                         -:@>
            MABL=>IHLBMBHGB?RHN@:O>LAHKM>K:GLP>KLMA:M:==K>LL

            MA>>Q:<MJN>LMBHGM:K@>M>=

            &=HGHM;>EB>O>&<:GPBMAHNM;>BG@

            O:@N>

            .&?&:LD>=RHNMH AHP<HNE=RHNIKHO>MH

            F>MA:M!:O>(E>BF:GLB@G>=MABL<HGMK:<M

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMG>>=MH

            6*/#/""!*+

           .)BLMMHF>:EEMA>P:RLBGPAB<ARHN

           <HNE==>FHGLMK:M>!:O>(E>BF:GLB@G>=MABL<HGMK:<M

           *0*/(,",;C><MBHG

           *//&3"/,,;C><MBHG

           *0*/(,"&:F@HBG@MHBGLMKN<MMA>

           PBMG>LLGHMMH:GLP>KNGE>LLRHN<:GLAHPF>PA>K>BG

           MA>MHIB<LMABLK>E:M>L

    H       -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

           */#/""!*+4>;>EB>O>MABLJN>LMBHG

           K>E:M>LMHL><MBHGMA:M:NMAHKBL>LNLMH:LD:;HNM

           MA>IKHC><MLK>?>K>G<>=BG :G= ;NMB?RHN:K>

           BGLMKN<MBG@MA>PBMG>LLGHMMH:GLP>K BGMA>BGM>K>LML

           H?MBF> P>PBEEFHO>HG

           *0*/(," :GP>@H;:<D:G=EHHD:M

           MA>JN>LMBHG:@:BG ;:L>=HGPA:MA>L:B= -:NL> 1A>

           E:LMJN>LMBHG;R*K#K>>=F:GP:L)BLMMHF>:EEMA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 260 of
                                      434

                                                                         -:@>
            P:RLBGPAB<ARHN<HNE==>FHGLMK:M>!:O>(E>BF:GLB@G>=

            MABL<HGMK:<M&H;C><M>=:G=BGLMKN<M>=RHNGHMMH

            :GLP>K&PBEEK>FHO>FRBGLMKN<MBHGGHMMH:GLP>K:G=

            RHN<:G:GLP>KB?RHN<:G

            *//&3"/,4>F:BGM:BGMA>H;C><MBHG

            *0*/(,"4>F:BGM:BGMA>H;C><MBHG

            <HKK><M

            *//&3"/,1A>?HKFBL<HFIE>M>ER

            =>?><MBO> ;NM:GLP>KB?RHN<:G

           1%"4&1+"00&A:O>CNLMIN;EBLA>=MH

           MPHI:I>KLHG>E><MKHGB<LB@G:MNK>LMA:MP>K>IK>L>GM>=

           BG,Q?HK=E:LMFHGMA1A:MBGOHEO>L:G:G:ERLBLH?F:GR

           P:RLH?LB@GBG@=B@BM:EER0H ;:LB<:EER :GRP:RMA:M

           RHN<:GL:RMA:MLHF>HG>LB@G>=+HP :LB@G:MNK>BL

           O>KRLBFIE>&M=H>LGHMG>>=MH;>:A:G=PKBMM>G

           MABG@ :G=BG?:<M:A:G=PKBMM>GMABG@BLMA>:GMBMA>LBL

           H?MA>B=>:H?PA:MBMP:L1A>ABLMHKRH?LB@G:MNK>L

           @H>L;:<DMH:EEHPBG@'>PLMHLB@GPBMAMA>BKG:F>:G=

            AKBLMB:GLPHNE=INM:G5&G?:<M HGERMAHL>PAHP>K>

           EBM>K:M>LB@GBG@PBMA5LBGF>=B>O:E"G@E:G=0H MA>

           K>:LHG?HKMA:MBLMA:MRHNP>K>M:DBG@:G:MM>LM:MBHG

           HK:GH:MA0H MA>ABLMHKRH?LB@G:MNK>LBLLN<AMA:M

           RHN:K>L:RBG@MA:MRHN:@K>>MH;>;HNG= :GRHNL:R

           MA:MRHN:@K>>MH;>;HNG=4:LMA>K>:GR>OB=>G<>MH

           MA><HGMK:KRPA>K>LHF>HG><HNE=;KBG@NIL:RBG@MA>K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 261 of
                                      434

                                                                         -:@>
            P:LGH>OB=>G<>H?:@K>>F>GMMH;>;HNG=&GMA><:L>

            H?LHF>HG>EBD>*K(E>BF:G =B=*K(E>BF:G>O>KLM:G=

            NI:G=L:R &=HGHM:@K>>MH;>;HNG=&GR>:KLH?

            =>:EBG@ <HGMK:<MBG@ >M<>M>K: =B=A>L:R +H MABL

            P:LGHMFR<HGMK:<M6HNPHNE=P:GMMHLAHPMA>

            :;L>G<>H?:GRMABG@EBD>MA:M6HNPHNE=P:GMMHLAHP

            MA>:;L>G<>H?> F:BELL:RBG@ &=BL:@K>>PBMAMABL

            MABG@&=B=GHM:@K>>MH;>;HNG=;RMA><HGMK:<M

            1A:MBLGHMFRLB@G:MNK>

           ,?<HNKL> MA:MBL:LB@G:MNK>GHM;>BG@

           MABLA:G=PKBMM>GMABG@MA:MI>HIE>MKR:G=L:R ;NM

           K:MA>KMA>:@K>>F>GMMH;>;HNG=&PHNE=EHHD?HKMA>

           :;L>G<> :G=AHI>MA:MB?RHNP>K>MKRBG@MH<HGM>LM:

           LB@G:MNK> :G=L:RMA:MLHF>HG>=B=GHM:@K>>MH;>

           ;HNG= MA>K>PHNE=;>LHF>MABG@ LHF>>OB=>G<> BGMA>

           PB=>LP:MA>H?<HFFNGB<:MBHGLMA:M<:GH<<NKHO>KR>:KL

           H?:GRHG>:M:GRIHBGM@HBG@ &=HGHM:@K>>PBMA

           MABL MA:MMA>K>P>K>LHF><HFFNGB<:MBHGLPBMAHMA>K

           I>HIE>L:RBG@ &=HGHM:@K>> PA>K>!:O>PHNE=L:R

           &=B=GHM:@K>>MHMABL<HGMK:<M PA>K>F:R;>&K:HK

           PA:M>O>K>EL>A:=;>>G<HFFNGB<:MBG@:G=@HBG@ !:O>

           PA:M=HRHNF>:GA>L:RLRHN:K>NG=>K<HGMK:<MG=

           MA>G!:O>PHNE=@H +H &=B=GHM:<MN:EERLB@GMA:M

           6*/#/""!*+

           .,D:R &:F@HBG@MH<NMRHNNI
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 262 of
                                      434

                                                                         -:@>
            *//&3"/,4:BM =HGHM<NMMA>

            PBMG>LL     AHE=HG6HN:LD:;HNMM>EEF>:EEMA>P:RL

            RHN<:GIKHO>BM:G=A>BL:GLP>KBG@RHNKJN>LMBHG%>

            BL@HBG@MH?BGBLAABL:GLP>K4A>G>O>KRHN?>>EEBD>

            BM !K4KB@AM6HN:LD>=MA>JN>LMBHG4>H;C><M>=MH

            BM;><:NL>BMBL:<HFIE>M>ER=>?><MBO>JN>LMBHG6HN

            :GLP>KBMNGMBERHN?>>EL:MBL?B>=

            1%"4&1+"000H &PHNE=LM:KM;R

            :G:ERLBG@>O>KR;BMH?F>=B:!:O>A:L>O>KA:=4:L

           MA>K>:GRLH<B:EF>=B:PA>K>!:O>A:=HGEBG>            :G=A>

           P:LO>KRIKHEB?B<HGEBG>        LM:M>= &=HGHM:@K>>MH

           MABL<HGMK:<M0HF>HG>BLL:RBG@&:F;HNG=;NM&:F

           GHM0H RHNPHNE=@HMAKHN@A:EEH?ABL#:<>;HHD

           IHLML :EEH?ABL1PBMM>K :EEH?ABL<HFFNGB<:MBHGL

           PBMAHMA>KI:KMG>KLMA:MA>A:=BGNLMK:EB: ;><:NL>

           !:O>=B=A:O>I:KMG>KL&P:LGHMHG>H?MA>F ;NM-:@>

           :G= HGGHK:G=MABG@LEBD>MA:M F:R;>A>PHNE=@HMH

           MA>F:G=L:R &P:LGHM;HNG=;RMABL HKFNMN:E

           ?KB>G=LP>A:= EBD>-:NE%>GKR PHNE=!:O>M:EDMH

           MA>L>@NRL PAHP>K>K>:EER@HH=?KB>G=LPBMANL PAH

           A:=;>>GBGMA>BG=NLMKR:EHG@MBF> &=B=GHM:@K>>

           MHMABL A>PHNE=L:R%>PHNE=@HNIMA>K>:G=@H

           &=B=GHM:@K>>MHMABL<HGMK:<M:G=R>MI>HIE>:K>

           <E:BFBG@MA:M&=B=6HNPHNE=?BG=LHF>>OB=>G<>

           6HNPHNE=:G:ERL>:EEABLA:K==KBO>L :EEABL> F:BEL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 263 of
                                      434

                                                                         -:@>
            6HNPHNE=EHHDMHPA:MHMA>KI>HIE>FB@AML:R6HN

            PHNE=?BG=LHF>PA>K>PA>K>LHF>HG>A:=L:B= &=HGHM

            :@K>>MH;>;HNG= HK!:O>A:=@HG>MHMA>F &=HGHM

            :@K>>MH;>;HNG=PAR6HNPHNE=?BG=LHF>MABG@BG

            <HFFNGB<:MBHGLPA>K>MA:MA:LH<<NKK>=1A:GDRHN

            */#/""!*+1A:GDRHN&?RHN=HMA:M

            :@:BG !K4KB@AM G=KUL P>PBEE;KBG@BMNIPBMAMA>

            <HNKM&MBLINKIHL>ERP:LMBG@MBF>

            *//&3"/,1A>JN>LMBHG:LD>=?HK

           IKHH?1A>PBMG>LLA:L:GLP>K>=>Q:<MERNMRHN

           :EEHP>=ABFMH?BGBLA LHP>:K>@HBG@MH<HGMBGN>

           6*/#/""!*+

           .&;>EB>O>P>A:G=>=RHN-E:BGMB??L

           "QAB;BM!HRHNK><H@GBL>MABL>QAB;BM

           &=H

           .4A:MBLMABL>QAB;BM

           &MBL:<HGMK:<M

           .*:=>;>MP>>GPAH:G=PAH

           >MP>>G4(&G?H!>?>GL>BG#EHKB=::G=

            K:B@4KB@AM/! PAB<APHNE=;>:GNLMK:EB:G>GMBMR

           .&LMA>K>:GHMA>KI:KMRMHMA><HGMK:<M

           G=4(&G?H!>?>GL>)) <HFI:GR

           .&MABGDRHNA:O>FBLLM:M>=MA>?BKLM

           I:KMRMHMA><HGMK:<M->KA:ILM:D>:EHHD:@:BG:MMA>

           ?BKLMI:KMRMHMA><HGMK:<M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 264 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"004(&G?H!>?>GL>)) 

            6*/#/""!*+

            .&;>EB>O>BML:RL!:O>(E>BF:GH?4(

            &G?H!>?>GL>)) 

            *0*/(,",;C><MBHG

            1%"4&1+"001A:MBLLMBEEMA><HFI:GR

            PAB<A NG=>K HFFHGP>:EMAE:PF>:GLMA>E>@:E>GMBMR

            ;>BG@K>IK>L>GM>=;R!:O>(E>BF:G GHM!:O>(E>BF:G BL

           ;>BG@;HNG=!:O>(E>BF:GBLGHM;>BG@;HNG=;RMABL

           <HGMK:<MBG:GRP:R0HKKR &=HA:O>:F:LM>KL=>@K>>

           :G=&:F:E>@:EL<AHE:K :G=&:F=HBG@FR=H<MHKH?

           E:P:MMA>FHF>GM&?RHNP:GMMH=BL<NLLKBMBLAHK

           NLMK:EB:GE:P&:FJNBM>A:IIRMH

           *0*/(,"&PHNE=:ELHEBD>MHGHM>

           ?HKMA>K><HK=MA:MBM:<MN:EERL:RLMA:MMA>>GMBK>MR

           H?MA:M?BKLMI:KMR PAB<ABL=>?BG>=:LMA>O>G=HK BL

           !:O>(E>BF:GH?4(&G?H!>?>GL>))  #EHKB=: 

           6*/#/""!*+

           . :GRHNM:D>:EHHD:MI:K:@K:IA?HK

           F> IE>:L> !K4KB@AM

           6>L

   H       .
              . :GRHNK>:=MA:MHNMEHN=?HKMA>

           K><HK=
              K><HK=

           1A><HFI:GRBLMA>HPG>KH?:G=<HG=N<ML
                     1A><HFI:GRBLMA>HPG>KH?:G=<HG=N<ML
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 265 of
                                      434

                                                                         -:@>
            ;NLBG>LLDGHPG:LBM<HBGFBGBG@:G=0H?MP:K>

            />L>:K<A=>O>EHIF>GM LB< 

            .&MABGDBML:RL0H?MP:K>

            =>O>EHIF>GM/>L>:K<A

             HKK><M &:FLHKKR:;HNMMA:M>KKHK

            .!K4KB@AM MABL<HGMK:<MP:LLB@G>=MPH

            R>:KL:?M>K :IIKHQBF:M>ER MA>E:LM<HGMK:<MP>CNLM

            EHHD>=:M

            4A>K>BLMA>=:M>6>L

           .6HNMHE=F>MA>IKBE<HGMK:<M

           :EMAHN@ABMIKHOB=>L?HKBM<HBGFBGBG@A:K=P:K> <HNE=

           GHM;>NL>=?HKBM<HBGFBGBG@A:K=P:K>;><:NL>0&

           FBG>KL<:F>:EHG@:G=K>G=>K>=MA:MM><AGHEH@RH;LHE>M>

           BLMA:M<HKK><M

           *0*/(,",;C><MBHGMA>K><HK=PBEE

           LI>:D?HKBML>E?

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"00&MHE=RHN>Q:<MER:L

           &MHE=RHN R>L

           6*/#/""!*+

           .+HPMPHR>:KLE:M>KRHN:K>LB@GBG@:

           <HGMK:<MMA:ML:RLMA:MMA><HFI:GR=H>L<HG=N<MMA>

           ;NLBG>LL:LBM<HBGFBGBG@ :GRHN>QIE:BGMA:MMHF>

           *0*/(,",;C><MBHG

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 266 of
                                      434

                                                                         -:@>
             .!B=LHF>MABG@<A:G@>
             &=HGHMA:O>:GR<:K>:;HNMPA:M!:O>
             L:B=ABL;NLBG>LLP:L
             . :GRHN@HPBMAF>MHI:@>H?MA>
             <HGMK:<MNIHGMA>MHII:@>
             6>L
   H         .!HPGMA>;HMMHF
                .!HPGMA>;HMMHF BML:RL K:B@0
             4KB@AMBLMA:MRHNKLB@G:MNK>
               4KB@AMBLMA:MRHNKLB@G:MNK>
             6>L
                6>L
            .%HP=HRHNDGHPMA:M!:O>(E>BF:GA:L
                .%HP=HRHNDGHPMA:M!:O>(E>BF:GA:L
            >GM>K>=BGMHMABL<HGMK:<M
               >GM>K>=BGMHMABL<HGMK:<M
            *0*/(,",;C><MBHGGLP>KB?RHN
            <:G
            1%"4&1+"004><HFFNGB<:M>=
            6*/#/""!*+
            .%HP=B=RHN<HFFNGB<:M>:;HNMBM
            L&A:O>GHM>=;>?HK> P>PHNE=M:ED
            HO>K&/ :G=0DRI>
            .0HRHNA:O>GHK><HK=H?MAHL>
            <HFFNGB<:MBHGL
            &=HGHMA:O>F:GRK><HK=LH?:GRMABG@
            ?KHFMA:MI>KBH=
            .,K:K><HK=H?MAHL><HFFNGB<:MBHGL
            &=HGHMA:O>:K><HK=H?IK:<MB<:EER
            :GRMABG@?KHFMA:MI>KBH=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 267 of
                                      434

                                                                         -:@>
            .!HRHNA:O>:K><HK=H?MA><HFFNGB<:MBHG

            ;>MP>>GRHNKL>E?:G=

            &=HGHMDGHP2GE>LLFRE:PR>KL

            .!K4KB@AM IE>:L>E>MF>?BGBLAMA>

            JN>LMBHG!HRHNA:O>:K><HK=H?MA><HFFNGB<:MBHG

            ;>MP>>GRHNKL>E?:G=!:O>(E>BF:GPA>K>A>:LL>GM>=MH

            MA>M>KFLH?MABL<HGMK:<M

            *0*/(,",;C><MBHG

            1%"4&1+"00&?FRE:PR>KLA:O>:GR

           K><HK=H?PA:MMA>RA:O>BF:@>= >M<>M>K: MA>GR>L

           HMA>KPBL>GH&=HGHMDGHP

           6*/#/""!*+

           . :GRHN@HPBMAF>MHI:@> IE>:L>

           *0*/(,"@:BG ?HKMA>K><HK= MA:M

           BLI:@>:MMA>MHI

           1%"4&1+"006>L

           6*/#/""!*+

  H        .
              . :GRHNEHHD:M ; H?I:K:@K:IA)>M

           F>DGHPPA>GRHNA:O>?:FBEB:KBL>=RHNKL>E?PBMABM
              F>DGHPPA>GRHNA:O>?:FBEB:KBL>=RHNKL>E?PBMABM

           6>L
              6>L
  F        .1ABLBLMA>P:EE>MMA:MP>L:PBG
              .1ABLBLMA>P:EE>MMA:MP>L:PBG

           MA><HGMK:<M
              MA><HGMK:<M

           6>L
              6>L

           .&GMA><HGMK:<MBMP:L;>BG@A>E=;R
              .&GMA><HGMK:<MBMP:L;>BG@A>E=;

            K:B@4KB@AM/!:L:<HEE:M>K:E
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 268 of
                                      434

                                                                         -:@>
  F         &G-:G:F:
               &G-:G:F: R>L

            . :GRHN>QIE:BGMHF>PARBMBL;>BG@

            K>E>:L>=MH K:B@4KB@AM/!B?MA>K>BLGH=>?:NEMHG

            MA><HGMK:<M

            *0*/(,",;C><MBHG

            1%"4&1+"001A><HGMK:<MLI>:DL?HK

            BML>E?

            6*/#/""!*+

            .&:FMKRBG@MHNG=>KLM:G=MA>G>@HMB:MBHG

           MA:MP>GMHG1A>P:EE>MP:L:<HEE:M>K:EBG:G=

           GHPBMBL;>BG@@BO>GMHMA>AHE=>KH?MA><HEE:M>K:E

           &=HGHMNG=>KLM:G=PAR4AR

           *0*/(,",;C><MBHG

           1%"4&1+"00&MBL:G>@HMB:MBHG BMBL

           :<HGMK:<M6HN:K>L:RBG@ PAR=B=P>G>@HMB:M>

           LHF>MABG@

           6*/#/""!*+

           .6>L&MP:LA>E=:L<HEE:M>K:E2LN:EER

           <HEE:M>K:EBLK>MNKG>=:MMA>?NE?BEEF>GMH?MA>

           <HGMK:<M4AR:K>RHND>>IBG@MA><HEE:M>K:E

           *0*/(,",;C><MBHG

           1%"4&1+"00&=B=GHMD>>IMA>

           <HEE:M>K:E

           6*/#/""!*+

           .4AHD>IMMA><HEE:M>K:E
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 269 of
                                      434

                                                                         -:@>
            @:BGRHNPBEEGHM>MA:M&:FGHMMA>

            I>KLHGA>K> LHKKR

            .6HNLB@G>=MA><HGMK:<M

            &LB@G>=?HK:E>@:E>GMBMR-E>:L>;>

            LI><B?B<

            .4AHHPG>= K:B@4KB@AM/!:MMA>MBF>

            RHNLB@G>=MABL<HGMK:<M         K:B@4KB@AM/!-:G:F::M

            MA>MBF>RHNLB@G>=MABL<HGMK:<M

            &=HGHMK>F>F;>K

           .%:O>RHN:GRP:RMHEHHDMA:MNI

           +HMGHP GH

           .4:LBM:MKNLM

           +H

           .&MP:LI>HIE>HK<HKIHK:MBHGL

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00 HFI:GB>L:K>:EP:RL

           I>HIE>

           6*/#/""!*+

           .+:MNK:EI>KLHGL

            HFI:GB>L:EP:RLA:O>G:MNK:EI>KLHGL&

           =HGHMDGHP:GRNGG:MNK:EI>KLHGLMA:M<:G:<MN:EER:<M

           .!K4KB@AM FRJN>LMBHGP:L =B=G:MNK:E

           I>KLHGLHPG K:B@4KB@AM/!-:G:F:

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&=HGHMK>F>F;>K&A:O>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 270 of
                                      434

                                                                         -:@>
            :EK>:=RLM:M>=&=HGHMA:O>:GRBGOHEO>F>GMPBMAMA>

            <HFI:GRLMKN<MNK>LHKPA:M>O>K>EL>:?M>K&A:O>L>M

            MA>FNI:G=A:G=>=MA>FH??MH;>FBQ>=NI:G=<K>:M>=

            LHMA:MP>A:O><HFI:GB>L

            6*/#/""!*+

            . :GRHNEHHD:MI:K:@K:IA : 

            6>L

            .4:LMA>           P>EE M>EEF>B?RHN

            :K>?:FBEB:KPBMA : :G=&<:G:LDRHNJN>LMBHGLHG

           BM

           &MBLKB@AMBG?KHGMH?F>

           . :GRHNM>EEF> =B=MABL 

           BM<HBG P:LBM>O>KMK:GL?>KK>=

           +H

           . :GRHNM>EEF> ;          =B= K:B@4KB@AM

           /!:<<>IMMA>I:I>KBM<HBGP:EE>M

           &:FGHM K:B@4KB@AM/!&<:GGHM

           LI>:D?HKHMA>KI>HIE>

           .!HRHNDGHPB? K:B@4KB@AM/!:<<>IM>=

           MA>I:I>KBM<HBGP:EE>M

           *0*/(,",;C><MBHG

           1%"4&1+"00&:FGHM K:B@4KB@AM/!

           &<:GGHMLI>:D?HKHMA>KI>HIE>

           6*/#/""!*+

           .&:FCNLM:LDBG@PA:MRHNKDGHPE>=@>BL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 271 of
                                      434

                                                                         -:@>
            !K4KB@AM-E>:L>M>EEF>HGERPA:MRHNKDGHPE>=@>BL

            &?RHNDGHP RHN=HGHMDGHP&?RHNDGHP E>MF>DGHP

            &=HGHMDGHP

  H         .
              . :GRHNEHHD:M < 

            6>L
              6>L

            .
              . :GRHNK>:=MA:M?HKF>

            1K:GL?>KMA>0
              1K:GL?>KMA>0 A:K=P:K>MHMA>

            INK<A:L>K
              INK<A:L>K

            .4A:MBL0
              .4A:MBL0 A:K=P:K>

           &MLAHNE=;>0&
              &MLAHNE=;>0& 

           .&MBL0&
              .&MBL0& FBGBG@A:K=P:K>

           *0*/(,",;C><MBHG
              *0*/(,",;C><MBHG

           1%"4&1+"006>L
              1%"4&1+"006>L

           6*/#/""!*+

           .4A:M0&
              .4A:M0& FBGBG@A:K=P:K>BLBMK>?>KKBG@

           MH
              MH

           &=HGHMDGHP
              &=HGHMDGHP

           .&ML:RLBG
              .&ML:RLBG = />E>:L>MA>LHNK<>

           <H=>MHMA>INK<A:L>K4A:MLHNK<><H=>BLBMM:EDBG@
              <H=>MHMA>INK<A:L>K4A:MLHNK<><H=>BLBMM:EDBG@

           MH
              MH

           1A:MP:L:O:KB>MRH?LHNK<><H=>MA:M
              1A:MP:L:O:KB>MRH?LHNK<><H=>MA:M

           &:EK>:=RA:=BGFRIHLL>LLBHG:LP>EE:LHMA>KLHNK<>
              &:EK>:=RA:=BGFRIHLL>LLBHG:LP>EE:LHMA>KLHNK<>

           <H=>MA:M&=B=GHM
              <H=>MA:M&=B=GHM

           .4A:MP:LMA>LHNK<><H=>RHNA:=BGRHNK
              .4A:MP:LMA>LHNK<><H=>RHNA:=BGRHNK
                                       A>

 F-H       IHLL>LLBHG
              IHLL>LLBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 272 of
                                      434

                                                                         -:@>
  F-H       1A:MBG<EN=>L:EEMA>MABG@LP>A:O>

            :EK>:=R=>M:BE>= &PHNE=G>>=MHEHHDMAKHN@AMA>EBLM

            MH@HMAKHN@APBMAHNMFBLLBG@:GRMABG@ ;NMBMBG<EN=>=

            MA><HO>KM<A:GG>ELH?MP:K> MA>K><HK=BG@LH?MP:K> MA>

            IHD>KLH?MP:K> >M<>M>K:

            .4>K>RHN:NMAHKBL>=MH>GM>K<HGMK:<ML

            ?HK K:B@4KB@AM/!-:G:F:

            6>L

            .%HP=B=RHN<HF>MH;>:NMAHKBL>=MH

           >GM>KBGMH<HGMK:<ML?HK K:B@4KB@AM/!-:G:F:

           *0*/(,",;C><MBHGNMRHN<:G

           :GLP>K

           1%"4&1+"00&L>MNIMA>LRLM>FLHMA:M

           &PHNE=;>

           6*/#/""!*+

           .6HNL>MNI K:B@4KB@AM/!-:G:F:

           *0*/(,",;C><MBHG

           1%"4&1+"001A:MBLGHMPA:M&L:B=

           6*/#/""!*+

           .6HNL:B=&L>MNIMA>LRLM>FLHMA:M

           &PHNE=;>

            HKK><M

           . :GRHNEHHD:M > 

           6>L

           . :GRHNK>:=BM?HKMA>K><HK= IE>:L>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 273 of
                                      434

                                                                         -:@>
            1K:GL?>KMA>3BLMHF:BE> F:BE:<<HNGM

            .4AB<A3BLMHF:BE> F:BE:<<HNGMBLBM

            K>?>KKBG@MH

            &MABGDBMP:L0:DNK:

            6*0*/(," :GRHNLI>EEMA:M B?

            RHN<:G

            1%"4&1+"00&MBLMA>G:F>H?MA>

            ':I:G>L>?EHP>KL MA>HG>LPBMAMA><A>KKR;EHLLHFLBG

            LIKBG@

           6*/#/""!*+

           .0:DNK:BLMA:M<HKK><M

           6>L &:FGHM@HBG@MKR:G=LI>EEBM

           .&MABGDBMBL0  ( 2 / 4A:MP:L

           0:DNK:NL>=?HK

           !BL<NLLBG@LHF>H?MA>PHKDMA:MP:L

           ;>BG@=HG>

           .RPAHF

           RI>HIE>BG-:G:F:

           .!B=RHN@>M:<<>LLMHMA>3BLMHF:BE

           > F:BE:<<HNGM

           &=B=

           .!HRHNLMBEEA:O>:<<>LLMHMA>0:DNK:

           3BLMHF:BE> F:BE:<<HNGM

           +H &=HGHM

           .4A:MA:II>G>=MHMA>:<<>LL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 274 of
                                      434

                                                                         -:@>
            +HHG>I:B=?HKMA>:<<HNGMLHBME:IL>=

            .G=3BLMHF:BE=>E>M>BMB?RHN=HGHM

            I:R

            &A:O>GHB=>:

            *0*/(,",;C><MBHG

            6*/#/""!*+

            .4A>G=B=BME:IL>

            &=HGMDGHP

            .%:O>RHNMKB>=MH@>MMA>:<<HNGM;:<D

           ?KHF3BLMHF:BE

           *0*/(,",;C><MBHG

           1%"4&1+"004ARPHNE=&=HMA:M

           6*/#/""!*+

           .><:NL>RHNA:O>;>>GLN>=BGMABL

           E:PLNBM

           *0*/(,",;C><MBHG

           1%"4&1+"006HN:K>L:RBG@RHNP:GMF>

           MHI:RMH@>M>OB=>G<>MA:MRHNP:GM

           6*/#/""!*+

   H       .EEKB@AM @HBG@;:<DMH <            =B=RHN

           H;M:BGMA>0& A:K=P:K>;:<D?KHFMA>INK<A:L>K

           +H &LI><B?B<:EER PA>G&P>GMMHMA>

           <HNKM >M<>M>K: L:B=&=HGHMK>:EER<:K>:;HNM

           :GRMABG@HMA>KMA:GMA>&- :G=L:B=MA:M:GRHG>MA>K>

           <HNE=D>>IBM;><:NL>&=HGHMP:GMBM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 275 of
                                      434

                                                                         -:@>
            .4A:MP:LMA>0& A:K=P:K>PHKMA

            &=HGHMDGHP

            .!B=RHN@>MMA>LHNK<><H=>;:<D

            *0*/(,",;C><MBHG

            1%"4&1+"00&A:=MA>LHNK<><H=>MA:M

            &A:=&=B=GHM@>M:GR>QMK:

            6*/#/""!*+

            . ?       <:GRHNK>:=MA:M?HKF> IE>:L>

            1K:GL?>K:EEK>L>:K<AF:M>KB:EL?KHFMA>

           ?HNK  !%0K>L>:K<AIKHC><MLMHMA>INK<A:L>KPBMA

           :EEGHM>L =:M::G=K>LNEML

           .!B=MABLMK:GL?>KH<<NK

           +H

           .4A:M:K>MA>?HNK!%0IKHC><MLMA:M

           :K>;>BG@K>?>KK>=MH

           1A>R:K>MA>HG>LMA:MA:O>;>>GGHM>=

           ;>?HK> 04*- MA>HMA>KLH?MP:K>KBLDHG>L >M<>M>K:

           .!B=!:O>;NBE=MAHL>HNM?HKRHN

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=6HN<:G:GLP>K

           1%"4&1+"00&=HGHMDGHP ;><:NL>

           &=B=GHM@>MBM

           6*/#/""!*+

  H        .
                . :GRHNEHHD:M ; ?HKF>

           6>L
                6>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 276 of
                                      434

                                                                         -:@>
    H        .1>EEF>PA>GRHN:K>?:FBEB:KPBMABM
             &MBLKB@AMBG?KHGMH?F>
             . K:B@4KB@AM/!BLMH:<<>IMMA>
             O>G=HKL K>F:BGBG@FBG>=BM<HBG:L:
             LM:D>BG:G>PO>GMNK> :G=MA:MO>GMNK>P:L<:EE>=
              HBG "Q<A:G@>BLMA:M<HKK><M
             6>L
             .!B=RHN@>MMA> BM<HBG
             +H
            .0HRHNP>K>GHP:P:K>MA:MMA>K>P>K>
             BM<HBGFBG>=;R!:O>(E>BF:G
            *0*/(,",;C><MBHG
            1%"4&1+"00%>A:=LM:M>=MA:M
H
            6*/#/""!*+
            .!B=A>NL>MA>0& FBGBG@A:K=P:K>
            LMKBD>MA:M1A>0& FBGBG@A:K=P:K>K>?>KK>=MH:M
             <   =B=RHNIKHOB=>MA:MMH!:O>(E>BF:G
            +H
            .!HRHNDGHPAHPA>H;M:BG>=MA:M
            A:K=P:K>
            &DG>PI>HIE>PAH=>O>EHI>=<ABIL:G=
            &INMMA>FBG<HGM:<MPBMA!:O>
            .4AH:K>MAHL>I>HIE>
            *0*/(,",;C><MBHG6HN<:G:GLP>K
            B?RHNDGHP
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 277 of
                                      434

                                                                         -:@>
            1%"4&1+"00&=HGHMK>F>F;>KMA>BK

            G:F>

            6*/#/""!*+

            .!HRHNK>F>F;>K:GRMABG@:;HNMMA>F

            6>L

            . :GRHNM>EEF>:GR<HGM:<M=>M:BELRHN

            A:O>:;HNMMA>F

            +H

            .!HRHNK>F>F;>K:GRB=>GMB?RBG@?>:MNK>L

           :;HNMMA>F

           *0*/(,",;C><MBHG)BD>:M:MMHH

           */#/""!*+'N=@BG@;R!K4KB@AML

           IK>OBHNL:GLP>KL B?&:LD>=ABFPA:MA>K>F>F;>K>=A>

           PHNE=E:NG<ABGMH:GBKK>E>O:GMMBK:=>:;HNM:EEDBG=L

           H?HMA>KMABG@L

           *//&3"/,-E>:L>:LDRHNKJN>LMBHGL

           6*/#/""!*+

           . :GRHN@HMHI:@>?HKF>

           6>L

           .1HIH?I:@>  =  :GRHNK>:=MA:M

           ?HKF>

           -KHOB=>  BG<:IBM:EBGMH

            HBG "Q<A-MR)M= MH;>?HKF>= :G=MA>LH?MP:K>

           =>O>EHI>=BGMA>IKBHKO>GMNK>

           .1ABLBL:GH;EB@:MBHG;R K:B@4KB@AM/!
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 278 of
                                      434

                                                                         -:@>
            MHIKHOB=>FBEEBHGMH HBG "Q<A:G@>

            &G<:IBM:E

            .!B= K:B@4KB@AM/!IKHOB=>FBEEBHG

            BG<:IBM:EMH HBG "Q<A:G@>

            6>L

            .%HP

            *0*/(,",;C><MBHG :GRHNMB>MABL

            MHHG>H?RHNKMHIB<LBGMA>L<HI>

            */#/""!*+4>:K>:EEHP>=MH:LD

           :;HNMMA>IKHC><MLBG"QAB;BML :G=1ABLBL

           "QAB;BM     

           *0*/(,"/B@AM ;NMMABLBLGHM:

           IKHC><M1ABLBL:<:IBM:EBG?NLBHGBGMH:<HFI:GRMA:M

           =B=GHM

           */#/""!*+&MBLI:KMH?MA>IKHC><M

           BMBLI:KMH?MA><HGMK:<MN:E:@K>>F>GMH?MA>IKHC><M

           1%"4&1+"00&MP:LGHMI:KMH?:

           IKHC><M

           *0*/(,"4A:MIKHC><M1ABLBLGHM

           K>?>KKBG@MH:IKHC><M LH<:GRHNMB>BM

           */#/""!*+1ABLBLMA> HBG "Q<A:G@>

           IKHC><M1ABLBL:G:@K>>F>GMPBMA HBG "Q<A:G@>

           1%"4&1+"001A>K>BLGHLN<AMABG@:L:

            HBG "Q<A:G@>IKHC><M

           *0*/(,"&M=H>LGHML:RMA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 279 of
                                      434

                                                                         -:@>
             HBG "Q<A:G@>IKHC><M

            */#/""!*+,D:R P>PBEEM:D>BMPBMA

            MA><HNKMB?RHNBGLMKN<MABFGHMMH:GLP>K0H CNLM

            <AHHL>B?RHNPBEEHKGHM

            *0*/(,"&:FGHMBGLMKN<MBG@ABFGHM

            MH:GLP>K&:F:LDBG@RHN

            */#/""!*+&:FGHM@HBG@MH:EM>KFR

            JN>LMBHGL:GRFHK>1A>JN>LMBHGBLPA:MBMBL

            *//&3"/,6HNA:O>MH@BO>MA><HNKM

           K>IHKM>K:;K>:D@:BG&:F:L@NBEMR:L>O>KRHG>

           >EL>

           1%"4&1+"00&:FLM:KMBG@MHL>>LFHD>

           6*/#/""!*+

           .%HP=B= K:B@4KB@AM/!IKHOB=>MA>

           FBEEBHGBG<:IBM:EMH HBG "Q<A:G@>

           *0*/(,",;C><MBHG

           1%"4&1+"006HNPHNE=G>>=MH@HMHMA>

           ?BG:G<B:EK><HK=L:G=:<<HNGMLH?MA><HFI:GB>L

           6*/#/""!*+

           .4AB<A<HFI:GB>L

           *0*/(,",;C><MBHG

           1%"4&1+"00 HBG "Q<A?HK:LM:KM

           6*/#/""!*+

           .4AHA:L:<<>LLMH HBG "Q<A:G@>K><HK=L

           &=HGHMDGHP
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 280 of
                                      434

                                                                         -:@>
            .0BMMBG@A>K>MH=:RRHNA:O>GHB=>:

            PA>MA>KHKGHM K:B@4KB@AM/!          AHP K:B@4KB@AM

            /!IKHOB=>=MA>FBEEBHGBG<:IBM:EMH

             HBG "Q<A:G@>

            *0*/(,",;C><MBHG

            1%"4&1+"00&?RHN@HMAKHN@AMA>

            K><HK=LRHNPBEE;>:;E>MHMK:<D:EEMA:M

            6*/#/""!*+

            .&=HGHMA:O>MA>K><HK=L&:FGHM

           :LDBG@RHN?HKPA:MBLBGMA>K><HK=L&:F:LDBG@RHN

           ?HKPA:MRHNK><HEE><M!HRHN

           *0*/(,",;C><MBHG3>E=HGHM

           M>LMB?R

           6*/#/""!*+

           .K>RHNLBMMBG@A>K>MH=:R:;E>MH

           K><HEE><M:GRMABG@:;HNMAHP K:B@4KB@AM/!

           MK:GL?>KK>=FBEEBHGBG<:IBM:EMH HBG "Q<A:G@>

           *0*/(,",;C><MBHG

           1%"4&1+"00&BGLMKN<MI>HIE>MH=H

           MABG@L1ABG@LA:II>G>=

           6*/#/""!*+

           .!B=RHNBGLMKN<MLHF>HG>MHMK:GL?>K

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&PHNE=G>>=MHEHHD:MMA>

           K><HK=L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 281 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .0BMMBG@A>K>MH=:R RHN=HGHMDGHP

            PA>MA>KMA:MFBEEBHGP:LIKHOB=>=

            *0*/(,",;C><MBHG

            1%"4&1+"001A:MBLGHMPA:M&L:B=

            6HN:K>:@:BGFBLLM:MBG@PA:M&L:B=&L:B=:EEH?

            MABLA:=;>>G<HFIE>M>= MA><HFI:GRA:=;>>GL>MNI&

            =HGHMDGHPMA>>Q:<MIKH<>LLH??MA>MHIH?FRA>:=&

            =HGHMMKR:G=K>F>F;>KFR?BG:G<>L&BGLMKN<MI>HIE>

           MH=HMABG@L1A>R@>MI:B=&BGLMKN<MFRE:PR>KLMH

           @>MI:B=*:@B<A:II>GL MA>R@>MI:B=

           6*/#/""!*+

           .4:LMA>FBEEBHGIKHOB=>=BG<:LAHK

           BGBM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00@:BG &PHNE=G>>=MHEHHD

           :MMA>:<<HNGML&=HGHMDGHPMA>;K>:D=HPGH?PA:M

           MA><:IBM:EI>K<HFI:GRP:L

           6*/#/""!*+

           . :GRHNM:D>:EHHD:M > ?HKF>

           6>L

           .)>MF>DGHPPA>GRHN:K>?:FBEB:KPBMA

           BM

           &:F?BG>PBMABM

           .1ABLBG=B<:M>LMA:MMA>0& FBGBG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 282 of
                                      434

                                                                         -:@>
            A:K=P:K>PBEE;>K>MNKG>=PBMAMABLMK:GL?>K6HNMHE=

            F> K:B@4KB@AM/!=B=GHMIKHOB=>BM

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHPPA:MA:II>G>=

            PBMA<HFI:GB>L6HN:K>:LDBG@PA>MA>K&=B=/>MNKG

            <:G;>M:D>GBGF:GRP:RL&M<HNE=;>K>MNKG>=MH

            HMA>KI>HIE>HKFRL>E?&=HGHMK>:EER<:K>&=B=

            GHM@>M BMP:LG>O>K@BO>G;:<D :G=B?RHNGHMB<>:M

            :LBM>DGHPGMH*K(E>BF:G PAH=B>=;>?HK>:GRMABG@

           H<<NKK>=2G?HKMNG:M>ER IHLMABL=>:MA*K(E>BF:GP:L

           GHM?HKMA<HFBG@BG@BOBG@NIMA:MBG?HKF:MBHG

           6*/#/""!*+

           .0H LBMMBG@A>K>MH=:R =HRHNDGHP

           PA>MA>KHKGHM K:B@4KB@AM/!IKHOB=>=*K(E>BF:G

           PBMA0& FBGBG@A:K=P:K>

           *0*/(,",;C><MBHG:LD>=:G=

           :GLP>K>=6HNF:R:GLP>K

           1%"4&1+"00&=HGHMDGHP&=HGHM

           EHHD:MMA>K><HK=LH?<HFI:GB>L&=HGHM;>EB>O>LH

           G=&=HGHM;>EB>O>MA:MK>MNKG>=F>:GLPA:MRHN:K>

           L:RBG@BM=H>LG=&MABGDRHN:K>FBL<:M>@HKBLBG@MA>

           <HGMK:<M

           6*/#/""!*+

           . :GRHN>QIE:BGMHF>PA:M ? F>:GL

           0HENMBHGLMHMA>@>GM:G=*>KDE>MK>>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 283 of
                                      434

                                                                         -:@>
            IKH;E>FL=>O>EHIF>GM;R-KH?>LLHK!:OB=/>>L>&MBL

            L:RBG@MA>O>G=HKLLA:EE=>EBO>KNI:G=BMF>:GLMA:M

            <>KM:BGIKH;E>FLMH=HPBMA:@>GM ;:L>=LH?MP:K>:G=

            *>KDE>MK>>IKH;E>FL PAB<A:K>F:MA>F:MB<:E<HGLMKN<ML

            MA:M<:G;>INMBGMH<H=> MA:MA:=HKB@BG:EER;>>G

            PHKD>=HG;R!:OB=/>>L>:G=P>K>MH;>?HKFNE:M>=BGMH

            <H=> !:OB=/>>L>A:OBG@PKBMM>GMA>L> GHMLHFN<AMA>

               BMP:L    &MABGDMA>E:G@N:@>P:L H HB?&K>F>F;>K

            BMKB@AM!K/>>L>HK-KH?>LLHK/>>L>A:=<K>:M>=

           LH?MP:K>BGF:MA>F:MB<LBG:E:G@N:@>>:KEB>K<:EE>=

            H H H HP:L:AHKK>G=HNL :P?NE :P?NEIB><>H?

           &PBEEGHM>O>G@HMA>K>        MA:MG>>=>=MH;><A:G@>=

           BGMHLHF>MABG@NL:;E>:G=<HGLMKN<M>=BGMHLHF>MABG@

           MA:M<HNE=:<MN:EER;>=>IEHR>=1A>K>:K>:GNF;>KH?

           BGM>K>LMBG@MABG@LMA:M<:G;>=HG>PBMA*>KDE>MK>>L

           0H MA>LHENMBHGLPHNE=;>M:DBG@LHF>MABG@MA:M

           !K/>>L>A:==>O>EHI>=:KHNG= ;:<DPA>GA>P:L:

           EHM LA:KI>K &:FGHMMKRBG@MHLHNG=F>:GHK:GRMABG@

           EBD>MA:M ;NMA>P:LHE=:MMA>>G= :G=MA>GM:D>G;R

           HMA>KL:G=<HGLMKN<M>=BGMHLH?MP:K>

           *0*/(,"&MABGDMA><HNKMK>IHKM>K

           G>>=L:;K>:D

           */#/""!*+)>MNLM:D>:;K>:D

           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL"G=H?OB=>H<:K=GNF;>K OHENF>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 284 of
                                      434

                                                                         -:@>
             BGMA>OB=>H=>IHLBMBHGH?!K K:B@4KB@AM

             0AHKMK>:D

            1%"3&!",$/-%"/1ABLBLMA>;>@BGGBG@

            H?OB=>H<:K=GNF;>K OHENF> BGMA>OB=>H

            =>IHLBMBHGH?!K K:B@4KB@AM$HBG@HGMA>K><HK=

            1A>MBF>BL1A:GDRHN

            6*/#/""!*+
   H        .!K4KB@AM
              .!K4KB@AM ;>?HK>MA>;K>:DP>P>K>

            EHHDBG@:M-E:BGMB??L"QAB;BM
              EHHDBG@:M-E:BGMB??L"QAB;BM :GRHNEHHD:MI:@>

           &:FEHHDBG@:M
              &:FEHHDBG@:M @ :MMA>O>KR;HMMHF

           *0*/(,"1A:MBL:MMA>MHI ?HK

           MA>K><HK=

           6*/#/""!*+

   H       .
              . :GRHNK>:=MA:ML>GM>G<>?HKF>

           BM<HBG:@>GMLH?MP:K>:G=LNBMH?
              BM<HBG:@>GMLH?MP:K>:G=LNBMH?

                  :G=-RMAHGEH<D<A:BGLH?MP:K>LHNK<><H=>L

           .!B=RHNK><>BO>MA>L>
              .!B=RHNK><>BO>MA>L>

           &:EK>:=RA:=MAHL>
              &:EK>:=RA:=MAHL>

           .4ARP>K>MA>RBG<EN=>=BGMA><HGMK:<M
              .4ARP>K>MA>RBG<EN=>=BGMA><HGMK:<M

           MA>G
              MA>G

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           B?RHNDGHP

           1%"4&1+"00><:NL> JNBM>LBFIER MA>

           ?:<MMA:MRHNHPG       LHRHNA:O>:<HIRH?LHNK<><H=>

           =H>LGHMF>:GMA:MRHNHPG<HIRH?LHNK<><H=>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 285 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .!H<MHK &PHNE=EBD>MHM:EDRHN:EBMME>

            ;BM:;HNM*L2R>G+@NR>G!HRHNDGHPPAH&:F

            K>?>KKBG@MHPA>G&L:RMA:M

            &=H

            .%HP=B=RHN?BKLMF>>MHK<HF>MHDGHP

            *L+@NR>G

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00&=HGHMK>F>F;>KPA>G

           &?BKLMF>MA>K&<:F>MHDGHPA>K;><:NL>LA>MK:<D>=

           F>=HPGP:R;:<D&<:GGHMK>F>F;>K>Q:<MERPA>G)BD>

            ><:NL>H?FR;:<D@KHNG=:G=ABLMHKRBG

           BG?HKF:MBHGL><NKBMR LA>P:GM>=MHE>:KG?KHFFRL>E?

           :G=!:O>0A>DG>P:;HNM:EEH?MA><HNKL>L&A:O>=HG>

           PBMA0+0 :EEH?MA>IN;EB<:MBHGL&A:=;>>G=HBG@ :G=

           <:F>MHMA>;>EB>?MA:M&P:L0:MHLAB

           6*/#/""!*+

           .*L+@NR>G=>=N<>=HGA>KHPGMA:MRHN

           P>K>0:MHLAB

           *0*/(,",;C><MBHG@:BGRHN:K>

           @HBG@;>RHG=MA>L<HI>-E>:L>M>EEF>PA:MMHIB<BMBL

           MA:MRHN:K>K>?>KKBG@MH

           */#/""!*+&:FMKRBG@MH=>M>KFBG>:

           K>E>O:GMPBMG>LL:G=PA:MA>KDGHPE>=@>BL

           *0*/(,"1A:MBLGHMPBMABGMA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 286 of
                                      434

                                                                         -:@>
            L<HI>1A>L<HI>H?GNF;>K PAB<ABLMA>HG>MA:MRHN

            :K>K>?>KKBG@MH1A>EH<:MBHG:G=>QBLM>G<>H?

            =H<NF>GML:EHG@PBMAMA>B=>GMB?B<:MBHGH?PBMG>LL>L

            BG<EN=BG@BG?HKF:MBHG:;HNMMA>BKPA>K>:;HNML :G=KHE>L

            BGMA>LN;C><MF:MM>KH?MA>IE>:=BG@L

            */#/""!*+/HE>LBGMA>LN;C><M

            F:MM>KH?MA>IE>:=BG@L

            *0*/(,"0H E>MF>L>>MA>JN>LMBHG

             -:NL> #BG> RHN<:G:GLP>KMA:MHG>&:F@HBG@MH

           @BO>RHNLHF>EBFBM>=L<HI>A>K> ;NME>MNLD>>IBM

           MB@AM>O>KRHG>

           1%"4&1+"00 :GRHN:LDMA:M:@:BG

           IE>:L>

           6*/#/""!*+

           .0NK>!B=*L+@NR>G=>M>KFBG>HGA>K

           HPGMA:MRHNP>K>0:MHLAB

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+

           .4A>G=B=LA>?BKLMF>>M           LHKKR PA>G

           =B=LA>?BKLM<HF>MHDGHP!:O>(E>BF:G

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           B?RHNDGHP

           1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 287 of
                                      434

                                                                         -:@>
            .6HNL:B=LA>K>:<A>=HNMMHRHN:G=!:O>

            (E>BF:GBGHK

            *0*/(,",;C><MBHG

            1%"4&1+"006>L

            6*/#/""!*+

            .%HP=B=LA>K>:<AHNMMHRHN;HMA

            *0*/(,",;C><MBHG

            1%"4&1+"00&:FGHMMKRBG@MHLHNG=

            KN=> ;NMMA>HGERP:RMHINMBMLA><R;>KLM:ED>=F>

           6*/#/""!*+

           . :GRHN=KBEE=HPGHGMA:M:EBMME>;BM

            R;>KLM:EDBG@BLP>EE=>O>EHI>=:L:LHKM

           H?=BL<BIEBG>0A>?HEEHP>=F>HG>O>KR;BMH?LH<B:E

           F>=B: > F:BE>=F>:EHM D>IM:LDBG@:G=M:EDBG@:;HNM

           PA:M&P:L=HBG@LD>=EHMLH?JN>LMBHGL

           .!B=*L+@NR>GA:O>:KHE>BG4(

           4(BLGHMFR<HFI:GR&<:GGHMM:ED

           :;HNM4(

           .0HRHN:K>GHM:P:K>H?:GRKHE>LA>

           IE:R>=PBMA4(

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           ABLM>LMBFHGR

           6*/#/""!*+

           .K>RHN:P:K>H?:GRKHE>LA>IE:R>=PBMA

           4(
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 288 of
                                      434

                                                                         -:@>
            &;>EB>O>LA>P:L:=BK><MHK

            .4:L*L+@NR>G>O>K:IIHBGM>=:L:

            =BK><MHKH?:GRH?RHNK<HFI:GB>L

            &;>EB>O>LH

            *0*/(,",;C><MBHG

            6*/#/""!*+

            .4AB<A<HFI:GB>L

            &PHNE=G>>=MHEHHD:MMA>K><HK=L

            .0BMMBG@A>K>MH=:R RHN:K>GHM:P:K>

           PAB<A<HFI:GB>LLA>P:L:=BK><MHKH?

           *0*/(,",;C><MBHG

           1%"4&1+"00&A:O>GHB=>:PA:MMA>

           =BK><MHKLABILH?>:<AH?FR<HFI:GB>LP>K>FNEMBIE>

           R>:KL:@H&=HGHMDGHPPA:MMA>=BK><MHKLABIH?

           G A:BGBLMH=:R

           6*/#/""!*+

           .!B=*L+@NR>G>O>K;><HF>:MKNLM>>?HK

           RHN

           *0*/(,",;C><MBHG

           1%"4&1+"00&GPA:ML>GL>

           6*/#/""!*+

           .4:LLA>>O>K:MKNLM>>MA:MRHNP>K>

           LMKBD>MA:M4:LLA>>O>KMA>MKNLM>>HO>K:MKNLMMA:M

           RHNP>K>MA>;>G>?B<B:KRH?

           4A:MLHKMH?MKNLM:K>P>M:EDBG@:;HNM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 289 of
                                      434

                                                                         -:@>
            .GR

            1A>GR>L

            . :GRHNM>EEF>PA:MMA:MMKNLMP:L

            :;HNM

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"001A:MMKNLMP:LAHE=BG@:

            GNF;>KH?LEB<>LH?>:KERBM<HBGD>RL

            6*/#/""!*+

            .!H>LMA:MF>:GMA:MBM<HGMKHEE>=

           BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H;H=R<HGMKHELBM<HBG

           6*/#/""!*+

           .!H>LMA:MF>:GBMHPG>=BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00+H MA:M=H>LGHMF>:GBM

           HPG>=BM<HBG

           6*/#/""!*+

           .4A:MP:LMA>G:F>H?MA>MKNLM

           4AB<AMKNLM

           .%HPF:GRP:L2R>G:MKNLMHG

           &=HGHMDGHP

           .%HPF:GR:K>RHN:P:K>H?A>K;>BG@:

           MKNLM>>HG

           ME>:LMHG>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 290 of
                                      434

                                                                         -:@>
            .4A:MBLMA>G:F>H?MA:MMKNLM

            1A>K>P:L:MKNLM<:EE>=MA>1NEBI1KNLM

            .&LMA:MMKNLMGHEHG@>KBG>QBLM>G<>

            1A>MKNLMP:L?HKF:EBL>=>:KERHG:G=BL

            GHMMA>BG?HKF:EMABG@?KHF

            .&:FGHM?HEEHPBG@4A>GP:LMA>

            1NEBI1KNLM<K>:M>=

            

            .4AH<K>:M>=BM

           *>

           .4AHP>K>MA>MKNLM>>LPA>GRHN<K>:M>=

           BM

           &=HGHMK>F>F;>K&PHNE=G>>=MHEHHD

           :MMA>=H<NF>GM

           .4A>K>:K>MA>=H<NF>GML

           &=HGHMA:O>MA>=H<NF>GML

           .4AHA:LMA>=H<NF>GML

           &=HGHMDGHP

           .4AHP>K>MA>;>G>?B<B:KB>LH?MA>

           1NEBI1KNLMBG

           &=HGHMA:O>MA>=H<NF>GM&<:GGHM

           :GLP>KMA:M

           .4A:M:LL>MLP>K><HGMKHEE>=;RMA>

           1NEBI1KNLMBG

            HFI:GB>LMA:M&AHE=HO>KL>:L LN<A:L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 291 of
                                      434

                                                                         -:@>
            4KB@AM&GM>KG:MBHG:E&GO>LMF>GMLMA:M&?HNG=>=BG

            :G=1NEBI1K:=BG@

            .4A:MBL1NEBI1K:=BG@

            &MBL:<HFI:GR

            .0H PA>GBMP:L?HNG=>=BG BMG>O>K

            <HGMKHEE>=MA>KB@AMLMH:GRBM<HBG

            *0*/(,",;C><MBHGO:@N>

            1%"4&1+"001A:MBLGHMPA:M&L:B=

            1A>KB@AML

           6*/#/""!*+

           .%HP=B=        LHKKR @H:A>:=

           1A>KB@AMLMHBM<HBG:G=<HGMKHEE>=:K>

           =B??>K>GM6HN:K>FBQBG@:EERHNK;BML:G=IB><>L

           R>L

           .!B=MA>1NEBI1KNLMHPG:GRBM<HBG:M

           :GRIHBGM?KHFNGMBE

           1A>MKNLM=H>LGHMHPG@>G>K:EER

           MKNLMAHE=LBGMKNLM

           .&=HGHMP:GMMH@>MBGMH:G:K@NF>GM

           PBMARHN:;HNMMA>LMKN<MNK>H?MKNLML &:FCNLMMKRBG@

           MH@>MMHMA>;HMMHFH? =B=MA>MKNLMA:O><HGMKHEHO>K

           BM<HBG

           4AB<ABM<HBG

           .GRBM<HBG

           6>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 292 of
                                      434

                                                                         -:@>
            .%HPFN<ABM<HBG=B=MA>MKNLM<HGMKHE

            ;>MP>>G:G=

            *0*/(,",;C><MBHG4A>K>BLMABL

            K>E:M>=MHMA>L<HI>H?MABL=>IHLBMBHG

            */#/""!*+*L+@NR>GBL:MKNLM>>H?

            MA>MKNLM:G=P>:K>:NMAHKBL>=NG=>KGNF;>K

            &GJNBKRBGMHMA>L<HI>H?DGHPE>=@>:G=BG?HKF:MBHG

            IHLL>LL>=;RMA>BG=BOB=N:EL0H &:FMKRBG@MH

            =>M>KFBG>PA:MA>KL<HI>H?DGHPE>=@>P:L

           *0*/(,"%>KL<HI>H?DGHPE>=@>BL

           GHMK>E:M>=MHAHPFN<ABM<HBGMA>MKNLM<HGMKHEE>=

           &?RHNPHNE=EBD>MH:LD =HRHNDGHPB?*L+@NR>G

           DGHPLAHPFN<ABM<HBGMA>MKNLM<HGMKHEE>= RHN<:G:LD

           MA:MJN>LMBHG:G=A><:G:GLP>KMA:MJN>LMBHG%HP>O>K

           &PBEEBGLMKN<MABFGHMMH:GLP>KMA>JN>LMBHG:L:LD>=

           */#/""!*+6HNBGLMKN<MAHPRHNG>>=

           MHBGLMKN<M

           .4:L!:O>(E>BF:G>O>KBGOHEO>=PBMAMA>

           1NEBI1KNLM

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00!:O>(E>BF:GP:LGHM

           BGOHEO>=BGMA>1NEBI1KNLM:LBMBL4A:MRHN:K>

           MKRBG@MH@>M:MP:L;><:NL>&:LD>=ABFMHAHE=

           =H<NF>GML?HK:PABE>=H>LMA:MF:D>ABFI:KMH?MA>

           MKNLM!:O>P:LG>O>K:;>G>?B<B:KRH?MA>MKNLM!:O>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 293 of
                                      434

                                                                         -:@>
            G>O>KINMFHG>RBGMHMA>MKNLM!:O>G>O>KA:=:GR

            BM<HBGBGMA>MKNLM!:O>G>O>KFBG>=:GRBM<HBGMA:M

            A:=:GRMABG@MH=HPBMAMA>MKNLM+HG>H?MA>BM<HBG

            P:L>O>KBGOHEO>=PBMA:GRFBGBG@BGMA>20+HBM<HBG

            P:LIHLM?KHFMA:MMKNLM+H<HFI:GR!:O>HPG>=

            P:LBGOHEO>=PBMAMA>MKNLM+HLA:K>L!:O>HPG>=P:L

            BGOHEO>=PBMAMA>MKNLM+HMABG@!:O>HPG>=P:L

            BGOHEO>=PBMAMA>MKNLM!:O>A:=GHKB@AMLMHMA>

            MKNLM GHHPG>KLABIH?MA>MKNLM GHDGHPE>=@>H?MA>

           L>M NIH?MA>MKNLM%>=B=GHMDGHP:;HNMMA>

           <HFI:GB>LBGMA>MKNLM%>=B=GHMDGHP:;HNM4KB@AM

           &GM>KG:MBHG:E&GO>LMF>GMLMA:M&L>MNIBG!:O>

           =B=GHMDGHP:;HNM:GRH?MAHL>=>M:BEL!:O>P:L:LD>=

           LBFIERMHAHE=:I:KMH?LHF>=H<NF>GML:G=D>RLMA:M

           P>K>LIEBMNLBG@0A:FBKL0><K>M0A:KBG@L<A>F>LHMA:M

           A>=B=GHM>O>GDGHPPA:MA>P:L:<MN:EERAHE=BG@

           *0*/(," :GRHNLI>EE0A:FBKL?HK

           MA><HNKMK>IHKM>K IE>:L>

           1%"4&1+"000 %  * & / 0

           6*/#/""!*+

           .!B=RHNINMBM<HBGBGMHMA>MKNLMBG

           

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00&?HNG=>=MA>MKNLM

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 294 of
                                      434

                                                                         -:@>
            .!B=RHNINMBM<HBGBGMHMA>MKNLMBG

            

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            .!B=RHNINMBM<HBGBGMHMA>MKNLMBG

            

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

           6*/#/""!*+

           .!B=RHN>O>KINMBM<HBGBGMHMA>MKNLM

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!B=:GRHG>>O>KINMBM<HBGBGMHMA>

           MKNLM

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!B=MA>1NEBI1KNLM>O>K<HF>MHAHE=

           IKBO:M>D>RLMHBM<HBGP:EE>ML

           +H

           .!B=BM>O>K<HF>MHHPGHKIHLL>LL

           IKBO:M>D>RLMHBM<HBG:==K>LL>L

           +H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 295 of
                                      434

                                                                         -:@>
            .4A:MBLMA>K>E:MBHGLABI;>MP>>GMA>

            1NEBI1KNLM:G=BM<HBG

            *0*/(,",;C><MBHG@:BG PA>K>:K>

            P>HGMA>MHIB<L

            1%"4&1+"004A:MMA>A>EE=H>LMA:M

            JN>LMBHG>O>GF>:G

            */#/""!*+4>:K>I>KFBMM>=MH

            >GJNBK>BGMH!K4KB@AML<HFI:GB>L

            1%"4&1+"001A:MBLGHM:<HFI:GR

           *//&3"/,%HE=HG !K4KB@AM1>EE

           NLPA:MMHIB<HKM>EENLPA>K>BGMA>MK:GL<KBIML

           ;><:NL>P><:GK>OB>PMA>MK:GL<KBIM

           */#/""!*++NF;>K

           *0*/(,"+NF;>K :GRHNIHBGM

           HNMPA>K>MA>1NEBI1KNLMBLK>?>K>G<>=BGMA>>QAB;BML

           MA:M:K>K>?>K>G<>=BGMHIB<&M<HNE=;>MA>K>

           &CNLM=HGHMK><:EE

           */#/""!*+4>CNLM=HGHMA:O>MBF>

           LH&@N>LLRHN:K>@HBG@MHBGLMKN<MABFGHMMH:GLP>K

           *//&3"/,&?P>=HGHM@>MLHF>

           <HGG><MBHG

           */#/""!*+1A><HNKMA:L:NMAHKBL>=

           NL&=HGHMDGHPPAB<AGNF;>KBMBL;><:NL>&=HGHM

           A:O>BMBG?KHGMH?NL&;>EB>O>*L*:KDH>A:L;>>G

           :MF:GRA>:KBG@LPA>K>MA><HNKMA:L:NMAHKBL>=NLMH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 296 of
                                      434

                                                                         -:@>
            >GJNBK>BGMH      E>MF>?BGBLA     !K4KB@AMLO:KBHNL

            >GMBMB>L:G=MKNLML0I><B?B<:EER:MMA>E:LMA>:KBG@

            A>:NMAHKBL>=NLMH=H;><:NL>*L*:KDH>K>?NL>=MH

            MNKGHO>K:<HFIBE:MBHGH?MAHL>>GMBMB>LHG

            PHKD IKH=N<M@KHNG=L:G=A>LI><B?B<:EER:NMAHKBL>=F>

            MH>GJNBK>BGMHMA>MKNLM:G=<HFI:GB>L

            *//&3"/,4BMAK>LI><M

            *0*/(,"/B@AM ;NM

            *//&3"/,)>MF>IE>:L>:==K>LL

            HNGL>EMH=:RA:LK>?>KK>=MH:KNE>MA:M=H>LGHM

           >QBLM%>A:LK>?>KK>=MHBMPBMAHNM:GNF;>K+HPA>

           K>?>KLMHMK:GL<KBIMLPBMAHNM:<>KM:BGI:@>GNF;>K

           &A:O>;>>GK>OB>PBG@MK:GL<KBIML&=HGHM?BG=MA>

           K>?>K>G<>2GE>LLMA>K>BL:;:LBL MA>BGLMKN<MBHGBL

           =HGHM:GLP>K)>MNLFHO>HGMHMA>G>QMJN>LMBHG

           */#/""!*+4>PBEECNLMFHO>HG4>

           PBEEK:BL>BMPBMAMA><HNKM

   H        -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG
                     B??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

           */#/""!*+#HKMA>K><HK=

           *K/BO>KH RHN<:GEHHDMABLHO>KE:M>K ;NMCNLMLH

           MA>K><HK=K>?E><ML BMBL:MMA>E:LMA>:KBG@

           MK:GL<KBIMI:@>L:G= :G=&PBEE@BO>RHNMA>

           *//&3"/,&A:O>MA>MK:GL<KBIM

           */#/""!*+&MBL?HKRHNKHPG

           DGHPE>=@>:G=?HKMA>K><HK= P><:GEHHD:MBM:G=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 297 of
                                      434

                                                                         -:@>
            =BL<NLLBME:M>K

            *//&3"/,+HPRHNA:O>B=>GMB?B>=:

            I:@>&PBEEK>OB>PBM:G=P>PBEE<HF>;:<DMHBM

            */#/""!*+4>PBEEK>MNKGMHBM

            *//&3"/,6>L

            6*/#/""!*+

  H         .!K4KB@AM =HRHNK><H@GBL>-E:BGMB??L

            "QAB;BMPAB<AA:L;>>GCNLMF:KD>=:G=IE:<>=;>?HK>

            RHN

           &K><H@GBL>MPH=H<NF>GMLCHBG>=

           MH@>MA>K R>L

           .4A:M:K>MA>MPH=H<NF>GMLMA:M:K>

           CHBG>=MH@>MA>K

           6HNA:O>=>>=H?EH:G:L:?KHGMI:@>

           -:@>H? H? H? H? H? H?H?:

           =H<NF>GM :G=MA>GI:@>H?H?:L>I:K:M>=H<NF>GM

           0H IHM>GMB:EERMPH B?GHMMAK>> =H<NF>GML INM

           MH@>MA>K:LHG>

           .-:@>H?;>EHG@LMHPA:M=H<NF>GM

           +HMMABLHG>

           .!HRHNDGHPPA:M=H<NF>GMBM=H>L;>EHG@

           MH

           &PHNE=G>>=MHEHHD:MK><HK=L&=H

           GHMDGHP

           .)HHDBG@:MMA>?BKLMLBQI:@>L PAB<ARHN
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 298 of
                                      434

                                                                         -:@>
            L:R:K>HG>=H<NF>GMBLMA:M<HKK><M

            1A>?BKLMLBQI:@>L RHNF>:GGHMMA>

            ?BKLMLBQ ;NMMA><HO>KI:@>=H>LGHMA:O>:MABG@ :G=

            MA>GMA:MLM:KML:MI:@>0H I:@> PAB<ABLHG

            A>K>:LI:@>H? I:@>H? I:@>H? I:@>

            H? I:@>H? :G=I:@>H?:K>I:KMLH?MA>

            L:F>=H<NF>GMMA:MBLGHM<HFIE>M>

            .0BMMBG@A>K>MH=:RRHNA:O>GHB=>:PA:M

            I:@>H?=H<NF>GMBL        LMKBD>MA:M0BMMBG@A>K>

           MH=:RRHNA:O>GHB=>:PA:MI:@>H?           LMKBD>MA:M

           :@:BG0BMMBG@A>K>MH=:RRHNA:O>GHB=>:PA:M

           =H<NF>GMI:@>H?;>EHG@LMHBLMA:M<HKK><M

           1A:MBLGHMPA:M&L:B=

           .4A:M=H<NF>GM=H>LI:@>H?;>EHG@

           MH

           =B??>K>GM=H<NF>GMMA:MBLGHMMABL

           HG>

           .4AB<A=H<NF>GM

           &=HGHMA:O>=H<NF>GMLBG?KHGMH?F>

           &<:GGHMF:M<AMA>F

           .0H LBMMBG@A>K>MH=:RRHN=HGHMDGHP

           PA:MMA:M=H<NF>GM       PA:MMA:MI:@>      PA:M=H<NF>GM

           MA:MI:@>;>EHG@LMH

           &<:GGHMF:M<AMA>F GH :G=I:@>H?

           BL:L>I:K:M>=H<NF>GM:LP>EE6HNPBEEGHMB<>GH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 299 of
                                      434

                                                                         -:@>
            I:@>GNF;>KLHK:GRMABG@EBD>MA:M LHMA:MBL:ELHHNM

            H?    LHMA>K>:K>IHLLB;ER?HNK=H<NF>GML<HGLMKN<M>=

            BGMHHG>

            .4AHA:L:EEMA>HKB@BG:ELH?MA>L>

            =H<NF>GML

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHP

            6*/#/""!*+

            .!HRHNA:O>MA>HKB@BG:ELH?MA>L>

           =H<NF>GML

           2GE>LLFRE:PR>KLA:O>@HG>MAKHN@A:G=

           ?HNG=MABG@LBG;HQ>L MA>G&=HGHMDGHP

           .!H>L*L+@NR>GA:O>MA>HKB@BG:ELH?

           MABL=H<NF>GM

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPPA:M

           *L+@NR>GA:L&A:O>GHMLIHD>GMH*L+@NR>GBG

           MAK>>IENLR>:KL

           6*/#/""!*+
   H       .
              . :GRHNEHHD:MI:@>H?
                              :GRHNEHHD:MI:@>H?

           6>L
              6>L

           .1A>K>BL:LB@G:MNK>:MMA>;HMMHFBL
              .1A>K>BL:LB@G:MNK>:MMA>;HMMHFBL

           MA:MRHNKLB@G:MNK>
              MA:MRHNKLB@G:MNK>

           6>L
              6>L

           .G=MA>K>BL:LB@G:MNK>:;HO>MA:MBL
                     .G=MA>K>BL:LB@G:MNK>:;HO>MA:MB
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 300 of
                                      434

                                                                         -:@>
  F         MA:M*L+@NR>GLLB@G:MNK>
              MA:M*L+@NR>GLLB@G:MNK>

            &;>EB>O>LH
              &;>EB>O>LH

            .1A>A:G=PKBMBG@HGMA>KB@AM
              .1A>A:G=PKBMBG@HGMA>KB@AM A:G=LB=>H?

            :EEMA>BM<HBGP:EE>MLEBLM>=MA>K>
              :EEMA>BM<HBGP:EE>MLEBLM>=MA>K> PAHL>A:G=PKBMBG@

            BLMA:M
              BLMA:M

            1A:MEHHDLEBD>FBG>
              1A:MEHHDLEBD>FBG>

            .!HRHNK><H@GBL>PA:MMABL:II>G=BQEBLM

            H?BM<HBGBL

            *0*/(,",;C><MBHGGLP>KB?RHN

           <:G

           1%"4&1+"00&MABGDRHN:K><HG?HNG=BG@

           MPH=B??>K>GMMABG@L1A>K>BL:K:G=HFGHM>M:EDBG@

           :;HNMP:EE>ML:G=:L>MH?:==K>LL>L4A>K>&M:ED

           :;HNMP:EE>ML P:EE>ML:K>?BE>L <HFINM>K?BE>L

           >M<>M>K: LHRHNA:O>=HG>:MRIB<:E>KKHKMA:MFHLM

           I>HIE>=HBG<:EEBG@BM<HBG:==K>LL>LP:EE>ML0H RHN

           A:O>M:D>GMPH<HFIE>M>ERL>I:K:M>MABG@L ;><:NL>

           &A:O>MABLA:;BMH?PKBMBG@PA>K>O>KMA>A>EE&?>>E

           EBD>BM NLN:EERHO>K=H<NF>GMLI>HIE><HFIE:BGMA:M

           &PKBM>HG ;><:NL>&PKBM>GHM>LPA>G>O>K&?>>EEBD>

           PKBMBG@GHM>L :G=L:RBG@MA:MMA>R:K>K>E:M>=

           6*/#/""!*+

           .0H BLBMRHNKM>LMBFHGRA>K>MH=:RMA:M

           MA>GHM>BGRHNKA:G=PKBMBG@HGMA>KB@AM A:G=LB=>H?

           MABL=H<NF>GMBL<HFIE>M>ERNGK>E:M>=MHMA>EBLMH?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 301 of
                                      434

                                                                         -:@>
            BM<HBG;EH<D:==K>LL>LHGMA>E>?M A:G=LB=>H?MA>

            =H<NF>GM

            *0*/(,",;C><MBHG

            1%"4&1+"00&<:GGHML:RPA:MBMBL

            &MBL:EEP:EE>ML :G=MA>GMA>K>BL:EBLMH?

            :==K>LL>L1A>R:K>MPH=B??>K>GMMABG@L&A:O>F:=>

            :GHM>&PHNE=G>>=MHEHHD:MK><HK=LMH;>:;E>MH

            F:M<ANIPA:MMA:MP:L&A:O>E>?MFRL>E?:GHM>:M

            LHF>IHBGM&<:GGHMG><>LL:KBERL:RPA:MFRGHM>P:L

           6*/#/""!*+

           .!HRHNA:O>MAHL>K><HK=LMA:MRHN<HNE=

           EHHDMA:MNI

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00*RE:PR>KLA:O>:EEMA>

           K><HK=L&A:O>&?:GRMABG@BLBGMA>K>MA:M@H>LMH

           ?NKMA>K MA>GMA:MPHNE=;>MA>K>

           6*/#/""!*+

           .!B=RHNA:O><HNGL>EA>EIRHN=K:?MMABL

           =H<NF>GM

           *0*/(,",;C><MBHG%>A:L:EK>:=R

           M>LMB?B>=MA:MMABL:II>:KLMH;>:<HFIBE:MBHGH?

           FNEMBIE>=H<NF>GMLMA:MP>K>INMMH@>MA>KBG>KKHK

           6*/#/""!*+

           .!B=<HNGL>EA>EIRHN=K:?MI:@>H?MA>

           =H<NF>GM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 302 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHGGLP>KB?RHN

            <:G

            1%"4&1+"001A>K>BLGHI:@>H?MA>

            =H<NF>GM1ABLBL:<HFIBE:MBHGH?FNEMBIE>=H<NF>GML

            6*/#/""!*+

            ."QAB;BM!B=<HNGL>EA>EIRHN=K:?MI:@>

            H?MA>>QAB;BM

            *0*/(,"%>BLK>?>KKBG@MHI:@>:M

            MA>MHI

           1%"4&1+"00R<HNGL>E =HRHNF>:G

           FRE:PR>KL

           6*/#/""!*+

           .6>L

           -HLLB;ER&A:=EBLMLH?=B??>K>GM

           :==K>LL>L=HG>;RE:PR>KL:M=B??>K>GMMBF>L

           .4AB<AE:PR>KL<K>:M>=EBLMLH?=B??>K>GM

           :==K>LL>L

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&=HGHMDGHPPAB<AE:PR>KL

           IKH=N<>==B??>K>GMEBLML:M=B??>K>GMMBF>L&A:O>A:=

           FHK>E:PR>KLMA:G;BKMA=:RL

           6*/#/""!*+

           . :GRHNEBLM:EEMA>E:PR>KLMA:MRHN

           A:O>A:=MA:MA>EI>=RHN=K:?MEBLMLH?BM<HBG

           :==K>LL>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 303 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG6HN<:G:GLP>K

            MHMA>>QM>GMRHNK>F>F;>K

            1%"4&1+"001A:MPHNE=;> E:RMHG2MS

            1A>K>PHNE=;>*(1A>K>PHNE=;>MA>LIEBMH???KHF

            *(MA:M&<:GGHMK>F>F;>KMA>G:F>H?           HG>H?MA>*

            (I:KMG>KLLIEBMH??:G=?HKF>=ABLHPG?BKF             :G=

            &NL>=;HMAMAHL>?BKFL1A>K>PHNE=;>%B@A0><NK>=

            1A>K>PHNE=;>      &LAHNE=K>F>F;>KMA>G:F>1A>FHLM

            ?:FHNLE:P?BKFBG-:G:F:MA:M@HMBGMHMA>-:G:F:

           I:I>KL &NL>=MA>FMHH

           6*/#/""!*+

           .!HRHNK><:EEMA>G:F>

           +H &=HGHM&LAHNE==H ;><:NL>BM

           P:L:;B@MABG@H?=BL<NLLBHGBG<EN=BG@>O>KRHG> :G=

           &MABGD&;EH<D>=BMHNMH?FRFBG=;><:NL>H?MA:M

           1A>K>P>K>FHK>E:P?BKFLMA:G&<:K>MHK>F>F;>K

  H        . :GRHNM>EEF>PA:MRHNF>:GM;RRHNK

           A:G=PKBMM>GGHM>L:@K>>=EEP:EE>ML4A:M

           =HRHNF>:GEEP:EE>ML

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00EEP:EE>MLF>:GL:EE

           P:EE>ML :LBG?BE>L <HFINM>K?BE>L HKHMA>KLN<A

           MABG@L MA:MAHE=BM<HBG

           6*/#/""!*+

           .G=RHNL:RL:@K>>=@K>>=PBMA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 304 of
                                      434

                                                                         -:@>

Auth-H       PAH
               PAH

             &PHNE=G>>=MHEHHD:MMA>K>LMH?MA>
               &PHNE=G>>=MHEHHD:MMA>K>LMH?MA>

             =H<NF>GM&:FGHM@HBG@MHLI><NE:M>PA:M:I:@>HNM
               =H<NF>GM&:FGHM@HBG@MHLI><NE:M>PA:M:I:@>HNM

             H?:FRLM>KBHNL=H<NF>GM
               H?:FRLM>KBHNL=H<NF>GM PA>K>MABLBLI:@>H?MA:M

             A:L;>>G:MM:<A>=BG<HKK><MERMH:=B??>K>GM=H<NF>GM
               A:L;>>G:MM:<A>=BG<HKK><MERMH:=B??>K>GM=H<NF>GM

             F>:GL
               F>:GL

             .0H
               .0H LBMMBG@A>K>MH=:RRHN=HGHMK><:EE

             PA:ML:@K>>=F>:GLBLMA:M<HKK><M
               PA:ML:@K>>=F>:GLBLMA:M<HKK><M

             *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            ABLM>LMBFHGR

            1%"4&1+"00&NG=>KLM:G=PA:M
               1%"4&1+"00&NG=>KLM:G=PA:M

            L:@K>>=F>:GL
               L:@K>>=F>:GL

            6*/#/""!*+

            .6HN=HGHMK><:EEPAHMA>:@K>>F>GMP:L
               .6HN=HGHMK><:EEPAHMA>:@K>>F>GMP:L
Auth-H
            F:=>PBMA
               F:=>PBMA

            1ABLBL:GHM>PKBMM>GHG:MABG@MA:M
               1ABLBL:GHM>PKBMM>GHG:MABG@MA:M

            F:RHKF:RGHMA:O>:GRK>E:MBHGLABIMHMA>HKB@BG:E
               F:RHKF:RGHMA:O>:GRK>E:MBHGLABIMHMA>HKB@BG:E

            =H<NF>GM
               =H<NF>GM MA:M&A:O>HG>I:@>H?:==K>LL>L MA:M&=H

            GHMF>FHKBL>:EEMA>:==K>LL>L?KHF
               GHMF>FHKBL>:EEMA>:==K>LL>L?KHF MA:MA:L;>>G

            <HGLMKN<M>=;>MP>>G?HNKHMA>K=H<NF>GML:G=A:G=>=MH
               <HGLMKN<M>=;>MP>>G?HNKHMA>K=H<NF>GML:G=A:G=>=MH

            F>
               F>

            .G=A>E=BG2(BGMKNLMK>

            RHN:P:K> LBMMBG@A>K>MH=:R H?FHOBG@P:EE>MLMH;>

            A>E=BG:2(MKNLM

            *0*/(,",;C><MBHGGLP>KB?RHN
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 305 of
                                        434

                                                                           -:@>
               <:G

               1%"4&1+"00+H2(MKNLMP:L>O>KL>M

               NI

               6*/#/""!*+

               . :GRHN@HMHI:@>H??HKF>:MMA>

               MHI

               6>L

Auth-F-H       .!HRHNL>>PA>K>BML:RLMA>E:LMI:KMR
                 .!HRHNL>>PA>K>BML:RLMA>E:LMI:KMR

               !>G:KBNS0>R<A>EE>L1KNLM
                 !>G:KBNS0>R<A>EE>L1KNLM

              6>L
                 6>L

              .4AH:K>MA>MKNLM>>LH?MABLMKNLM
                 .4AH:K>MA>MKNLM>>LH?MABLMKNLM

              &=HGHMDGHP
                 &=HGHMDGHP

              .4AH:K>MA>;>G>?B<B:KB>LH?MABLMKNLM
                 .4AH:K>MA>;>G>?B<B:KB>LH?MABLMKNLM

              GHMA>KMKNLM
                 GHMA>KMKNLM

              .4A:MBLMA>MKNLMLG:F>MA:MBL:
                 .4A:MBLMA>MKNLMLG:F>MA:MBL:

              ;>G>?B<B:KR
                 ;>G>?B<B:KR

              &PHNE=G>>=MHEHHD:MK><HK=L
                 &PHNE=G>>=MHEHHD:MK><HK=L

              .!HRHNA:O>MAHL>K><HK=L
                 .!HRHNA:O>MAHL>K><HK=L

              +HMHGF>
                 +HMHGF>

              .%:O>RHN@BO>GMAHL>K><HK=LMHRHNK

              E:PR>KL

              &A:O>:;HQH?        P>EE :<MN:EER &A:=

              &=HGHMDGHPAHPF:GR;HQ>L1A>K>P>K>F:GR F:GR

              ;HQ>LMA:MMA>RLI>GMF:GR=:RL@HBG@MAKHN@A :G=B?BM

              BLBGMA>K> BMPHNE=;>MA>K>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 306 of
                                      434

                                                                         -:@>
            .G=B?BMBLGHMMA>K>

            4A>GMABG@L@>M<EHL>==HPG MA>

            K>JNBK>F>GMBL?HKNLMK:EB:GK><HK=LMH;>D>IM?HK:

            GNF;>KH?R>:KL:?M>KP:K=L:G=KBMBLAK><HK=LMH;>

            D>IM?HK:GNF;>KH?R>:KL:?M>KP:K=L1A>0>R<A>EE>L

            K><HK=LK>JNBK>F>GMBLNG=>K:R>:K :G=HG<>:GRMABG@

            ABML:I>KBH=H?HG>R>:K :G=MA>0>R<A>EE>LMKNLMBL

            GHFHK> BM@H>LMA>P:RH?:GRMABG@MA:MBLGHEHG@>K

            G>>=>=MH;>A>E= PAB<A@>G>K:EERF>:GLMA>LAK>==>K

           .1A>!>G:KBNS0>R<A>EE>L1KNLM =H>LBMGH

           EHG@>K>QBLM

           &MGHEHG@>K>QBLML

           .4A>G=B=BM<>:L>MH>QBLM

           -KH;:;ER:KHNG=!><>F;>K

           .G=MA>P:EE>M>QBLM>= PA:M:LL>ML=B=

           BMAHE=

           @:BG &<HNE=GHM:GLP>KMA:M

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .0H LBMMBG@A>K>MH=:R RHNA:O>GHB=>:

           PA:M:LL>MLMA>!>G:KBNS0>R<A>EE>L1KNLMA>E=

           0BMMBG@A>K>MH=:R &<HNE=GHM:GLP>K

           PA:M:LL>MLMA><HFI:GB>L&?HNG=>=AHE=

           .,D:RMMA>MHI !>LB@G;R%NF:G)M=

           6>L
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 307 of
                                      434

                                                                         -:@>
            .4A:MBLMABL

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00&MBL:<HFI:GRG:F>

            6*/#/""!*+

            .4:LBM:MKNLM

            &MBL:<HFI:GR

            .!B=BM>O>K<A:G@>BMLG:F>

            6HNA:O>:EK>:=R<HO>K>=MA:MHG>6>L

            !>LB@G;R%NF:GA:=<A:G@>=BMLG:F>

           .1H4A:M=B=BM<A:G@>BMLG:F>MH

           @:BG &=HGHMK>F>F;>KPAB<AHG>BL

           PAB<A4><HO>K>=MA:M:LP>EE&=HGHMK>F>F;>K

           PAB<AI:KMB<NE:KHG><A:G@>=BMLG:F>MH +HK

           !>G:KBNS LH&PHNE=G>>=MA>K><HK=LMH<A><DMAHL>

           ?:<ML HMA>KPBL>&PBEE;>L:RBG@BM<A:G@>=MH +

           PA>GBG?:<MBM<A:G@>=MH!>G:KBNS:G=&PBEE@>MBM

           PKHG@ :G=&=HGHMP:GMMH=HMA:M

  R        .!K4KB@AM RHND>>IL:RBG@RHN<A><D>=

           MA>K><HK=L;NMMA>GM>EEF>MA:MRHN=HDGHPPA>K>MA>

           K><HK=L:K>4A:MPHNE=RHN=HB?RHNG>>=>=MH?B@NK>

           MABLBG?HKF:MBHGHNM

           &=HGHMG>>=MH?B@NK>MABLBG?HKF:MBHG

           HNM

           .4ARGHM

           *0*/(,",;C><MBHG6HN<:G:GLP>K
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 308 of
                                        434

                                                                           -:@>
               1%"4&1+"00><:NL>P>:K>M:EDBG@
Auth-F-H
               :;HNM<HFI:GB>LMA:MA:O>;>>GEBJNB=:M>=:G=GHEHG@>K
                :;HNM<HFI:GB>LMA:MA:O>;>>GEBJNB=:M>=:G=GHEHG@> K

               G>>=MHAHE=K><HK=L

               6*/#/""!*+
      R        .1A>:LL>MLA>E=;RMA>!>G:KBNS

               0>R<A>EE>L1KNLMPA>K>:K>MA>R<NKK>GMERA>E=

               *0*/(,",;C><MBHG

               1%"4&1+"00@:BG &=HGHM>O>GDGHP
      R
               PA>K>MA><NKK>GM:LL>MLH?FR<NKK>GMMABG@LMA:M

              &A:O>?HNG=>=A:II>GMH;>KB@AMGHP0HRHN:K>

              :LDBG@F>PA>G&=HGHMDGHPFR<NKK>GM<HFI:GR :G=

              PA:MBMAHE=LBG?HNK<HGMBG>GML PA>K>=B=MABLHMA>K

              MKNLMMA:MA:LGHP@HG>R>:KL:@H PA>K>=H>LBMA:O>

              :LL>MLMA:MRHN<:GGHM>O>GM>EEF>PA:MMA>R:K>

              6*/#/""!*+

              .2G=>KMABLMKNLM=H<NF>GM !K4KB@AM

              RHN:K>>GMBME>=MH;HKKHP BM<HBGBLMA:M

              KB@AM

              *0*/(,",;C><MBHG

              1%"4&1+"004AB<AMKNLM=H<NF>GM

              1A>K>BLGH?NEE=H<NF>GMA>K>

              6*/#/""!*+

              .0HKKR
                 .0HKKR &FBLLIHD>&LMKBD>MA:M2G=>K
                                      &FBLLIHD>&LMKBD>MA:M2G=>
Auth-F-H
              MABL=>>=H?EH:GRHN:K>>GMBME>=MH;HKKHPNIMH
                 MABL=>>=H?EH:GRHN:K>>GMBME>=MH;HKKHPNIMH

              
                  BM<HBGBLMA:M<HKK><M
      Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 309 of
                                            434

                                                                               -:@>

Auth-F-H-MIS       1A>I:KMB:E=>>=H?EH:G
                       1A>I:KMB:E=>>=H?EH:G R>L

                   .!B=RHNBG?:<M;HKKHP
                       .!B=RHNBG?:<M;HKKHP BM<HBG

                   *0*/(,",;C><MBHG

                   1%"4&1+"00%HP=H>LMABLK>E:M>MH
                     1%"4&1+"00%HP=H>LMABLK>E:M>MH

                   :GRMABG@
                     :GRMABG@ LHKKR

                   6*/#/""!*+

                   .!K4KB@AM
                     .!K4KB@AM IE>:L>:GLP>KMA>JN>LMBHG

                   NGE>LLRHN:K>BGLMKN<M>=HMA>KPBL>;RRHNK<HNGL>E
                     NGE>LLRHN:K>BGLMKN<M>=HMA>KPBL>;RRHNK<HNGL>E

                   &=B=GHM;HKKHP
                     &=B=GHM;HKKHP BM<HBG

                  .%HPFN<A=B=RHN;HKKHP
                     .%HPFN<A=B=RHN;HKKHP

                  *0*/(,",;C><MBHG
                     *0*/(,",;C><MBHG

                  1%"4&1+"00&=HGHMDGHPAHPFN<A
                     1%"4&1+"00&=HGHMDGHPAHPFN<A

                  &:<MN:EER;HKKHP>=
                     &:<MN:EER;HKKHP>=

                  6*/#/""!*+

                  .1HM:D>MA>L>EH:GL
                     .1HM:D>MA>L>EH:GL =B=RHNA:O>MH

                  <HFFNGB<:M>PBMA*L+@NR>G
                     <HFFNGB<:M>PBMA*L+@NR>G

                  +H
                     +H

                  .4AHP:LMA>HG>PAHRHNLIHD>MHBGHK=>K
                     .4AHP:LMA>HG>PAHRHNLIHD>MHBGHK=>K

                  MHM:D>MA>EH:GL
                     MHM:D>MA>EH:GL

                  &=HGHMK>F>F;>KABLE:LMG:F>%>
                     &=HGHMK>F>F;>KABLE:LMG:F>%>

                  PHKD>=?HK:<HFI:GR<:EE>=%B@A0><NK>=%BL?BKLMP:L
                     PHKD>=?HK:<HFI:GR<:EE>=%B@A0><NK>=%BL?BKLMP:L

                  *:KD
                     *:KD

                  .4:LBM*:KD#>KKB>K

                  +H%>A:=GHMABG@MH=HPBMA:GRMABG@

                  BG-:G:F: GHK=B=A>A:O>:GRMABG@MH=HPBMA%B@A
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 310 of
                                      434

                                                                         -:@>
            0><NK>=

            . :GRHN@HMHI:@>H??HKF>

            *0*/(,"MMA>MHI:@:BG?HKMA>

            K><HK=

            */#/""!*+6>L :MMA>MHI MA:GD

            RHN

            1%"4&1+"006>L

            6*/#/""!*+

            .!HRHNL>>MA>K>?>K>G<>:MMA>;HMMHFMH

           ->KF:G>GM0N<<>LL)BFBM>=

           6>L

           .4A:MP:L->KF:G>GM0N<<>LL)BFBM>=

           <HFI:GR

           .4:LBMK>E:M>=MH:MKNLMBG:GRP:R

           &=HGHMDGHP

           . :GRHNE>MF>DGHPPA:MBML:RL:MMA>

           ;HMMHFMA>K> :G=:EEK>E:M>=MKNLMLPA:M=H>LMA:M

           F>:G

           *0*/(,",;C><MBHG

           1%"4&1+"00&MF>:GL:GRK>E:M>=

           MKNLML

           6*/#/""!*+

           .4>K>MA>K>MKNLMLK>E:M>=MH->KF:G>GM

           0N<<>LL)BFBM>=

           *0*/(,",;C><MBHGKNE>H?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 311 of
                                      434

                                                                         -:@>
            <HFIE>M>G>LL

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00&=HGHMDGHP&<:GGHM

            M:D>I:KMH?:=H<NF>GM :G=I:KMH?HMA>KMABG@L :G=

            BG<HFIE>M>K><HK=L:G=MA>G<HGLMKN<M>O>KRMABG@RHN

            >QI><MF>MHDGHPL&A:O>LM:M>=;>?HK> &=HGHM

            DGHPMA>LMKN<MNK>H?&1 HKG A:BGHKG A:BG%HE=BG@L

            HK:GRHMA>K<HFI:GRMA:M>QBLMLKB@AMGHP LH&<:GGHM

            :<MN:EER>O>GM>EERHNPA:M&A:O>GHP :G=R>MRHN:K>

           L:RBG@ 4A:MA:II>G>=R>:KL:@H

           6*/#/""!*+

           .!HRHNA:O>:GRP:RH?<HGM:<MBG@*:KD

           ?KHF%B@A0><NK>=

           %>BLBG:?>=>K:EI>GBM>GMB:KRBGMA>

           20

           .4AB<A?>=>K:EI>GBM>GMB:KR

           &=HGHMDGHP&=B=GHM?HEEHPABL

           <:L>

           .&LMA>K>:P:RRHN<:G=>M>KFBG>ABLE:LM

           G:F>:G=E>MNLDGHPPA:MBMBLE:M>K

           *0*/(,",;C><MBHG

           1%"4&1+"006HN<:G=HL>:K<A>LHG%B@A

           0><NK>=1A>K>BLMABLMABG@<:EE>=$HH@E>6HN@H

           BGMHMABLM:LD;:K RHNMRI>BG%B@A0><NK>= :G=

           L>:K<A
      Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 312 of
                                            434

                                                                               -:@>
                   6*/#/""!*+
Auth-F-H-MIS       .!B=RHNI:R;:<DMA>EH:GLMA:MRHNMHHD

                   NG=>KMABL=>>=H?EH:G

                   *0*/(,",;C><MBHG6HNF:R:GLP>K

                   1%"4&1+"00+HG>H?RHNK$H==:FG

                   ;NLBG>LL1ABLA:LGHMABG@MH=HPBMA:GRMABG@MA>K>

                   !H>LBML:RMA:MBMA:LMH;>I:B=;:<D!H>LBML:R

                   PA:MBMBL6HN:K>:LDBG@:;HNMMA>F:G:@>F>GMH?:

                   MKNLMMA:MA:LGHK>E:MBHGLABIMH*K(E>BF:G GH

                  K>E:MBHGLABIMH:<HFI:GR!:O>(E>BF:GA:LPHKD>=?HK

                  GHK>E:MBHGLABIMH:GRHG>PAHA:L>O>K;>>GBGMA>20

                  :L:K>LB=>GMHK:<BMBS>G:M:GRIHBGMBGANF:G

                  ABLMHKR GHK>E:MBHGLABIMH:GRHG>PAHA:L;>>GBG+HKMA

                  F>KB<:?KHF*>QB<HNIBGANF:GABLMHKR MA:M>GMBK>

                  <HGMBG>GM+HI>KLHGPAHA:L>O>K;>>G:GRMABG@MH=H

                  PBMAK>LB=BG@HK<BMBS>GLABIBGMA:MI:KMH?MA>PHKE=

                  A:LA:=:GRMABG@:M:EEMH=HPBMAMABLMKNLM :LL>MLBG

                  MABLMKNLM F:G:@>F>GMH?MABLMKNLM <HGMKHEH?MABL

                  MKNLM >M<>M>K:G=MA>GRHNP:GMF>MHM:ED:;HNM

                  BG<HFIE>M>K><HK=LMA:MA:O>;>>G<HGLMKN<M>=BG;BML

                  :G=<AN<D>=MH@>MA>K?KHF?HNK=B??>K>GM=H<NF>GML:LB?

                  MABLBLK>:E>OB=>G<>

                  6*/#/""!*+

                  .!B=RHNI:R;:<DMA>EH:GLMA:MRHNMHHD

                  ?KHFNG=>KMABL=>>=H?EH:G !K4KB@AM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 313 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHN<:G

            1%"4&1+"00&=HGHMA:O>:GRK><HK=L

            BG?KHGMH?F>&=HGHMA:O>MA>K>LMH?MA>K><HK=L

            ?HKMABL LH

            6*/#/""!*+

            .0H HNE=RHN?BGBLARHNKK>LIHGL>

            IE>:L>

            0HPA>GRHN<:G@BO>F>:EEMA>?BG:G<B:E

           K><HK=LH?MABG@L &PBEE:GLP>K:@:BGLMMA>F

           *0*/(,",;C><MBHG,D:R PBMA=K:PG

           &LMKBD>FRHPG

           6*/#/""!*+

           .!HRHN@HPA>K>*L+@NR>GBLGHP

           !K4KB@AM

           ":KMA

           .!HRHNDGHPPA>K>HG>:KMALA>BL

           &:F:LLNFBG@E:G=

           .!K4KB@AM &PHNE=:IIK><B:M>B?RHN

           PHNE=<H HI>K:M>PBMAF>LHP><HNE=@>MMABL=HG>!H

           RHNDGHPMA>PA>K>:;HNMLH?*L+@NR>G

           &LM:M>=>:KEB>K&A:O>GHMA:=:GR

           <HGM:<MPBMA*L+@NR>G?HKHO>KMAK>>R>:KL1A:M

           PHNE=@>G>K:EERF>:G&=HGHMA:O>:GRDGHPE>=@>&<:G

           K>LM:M>BGHMA>K?HKFLB?RHNP:GMHK&<:G;>G:KDR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 314 of
                                      434

                                                                         -:@>
            :;HNMBM

            .!H>L*L+@NR>GLMBEEF:BGM:BG:MKNLM

            KHE>BGK>E:MBHGMH<HFI:GB>LMA:M:K>K>E:M>=MHRHN

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"00+H

            6*/#/""!*+

            .0A>BLGHEHG@>K:MKNLM>>H?:GRMKNLML

            K>E:M>=MHRHN

            *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"001A:MBLPA:M&CNLML:B=

           6*/#/""!*+

           .4A>G=B=LA>LMHI;><HFBG@:MKNLM>>H?

           MKNLMLK>E:M>=MHRHN

           

           .!B=RHNA>EI*L+@NR>G=BL:II>:K

           *0*/(,",;C><MBHG

           1%"4&1+"006HN:K>IK>LNFBG@MA:MLA>

           A:L=BL:II>:K>=&=HGHMDGHP6HN:K>:LDBG@F>

           :;HNMLHF>HG>&A:O>GHMA:=<HGM:<MPBMA*RLBLM>K

           &A:O>GHMA:=<HGM:<MPBMAFRHE=>KLBLM>KBG?HNK

           R>:KL0A>A:LGHM=BL:II>:K>=0A>BL:ABIIR :G=

           &:F:ARI>K<:IBM:EBLM4>@>MHGEBD>HBE P:M>K

           I>MKHE:G=:F:M<ANMFRFHMA>KPHNE=DGHPLHLA>A:L

           GHM:<MN:EER=BL:II>:K>=

   H        -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 315 of
                                      434

                                                                         -:@>
   H        6*/#/""!*+
              6*/#/""!*+

            .!K4KB@AM
              .!K4KB@AM &:FA:G=BG@RHNPA:MA:L

            ;>>GF:KD>=GHP:L-E:BGMB??L"QAB;BM1ABLBLLHF>
              ;>>GF:KD>=GHP:L-E:BGMB??L"QAB;BM1ABLBLLHF>

            >Q<A:G@>H?>
              >Q<A:G@>H?> F:BEL;>MP>>GRHN:G=&K:(E>BF:G=HRHN

            K><H@GBL>MA:M
              K><H@GBL>MA:M

            6>L
              6>L

            . :GRHN@HMHH?H?MA>=H<NF>GM

            6>L

            .!HRHNL>>MA>K>:MMA>;HMMHFBML:RL

            $& 0/1KNLMBG>EBS>

           6>L

           . :GRHN>QIE:BGMHF>PA:MMA>$& 0/

           MKNLMBG>EBS>BL

           &MP:L:MKNLML>MNIBG>EBS>

           .RPAHF

           &=HGHMDGHP

           .4AR=B=RHN@BO>MABLBG?HKF:MBHGMH&K:

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .4ARP:LMABLBG?HKF:MBHGK>E>O:GMMH&K:

           *0*/(,",;C><MBHG

           */#/""!*+6HN<:G:GLP>K

           1%"4&1+"001A>K>P:L:I>KLHG

           &MAHN@AMPHNE=;>BGM>K>LM>=BG!:O>LI:LM PAB<AP:L

           ABL?:MA>K PAHMA>GINMF>HGMH&K: PAHP:L:@K>>=R
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 316 of
                                      434

                                                                         -:@>
            I>KLHGPAHPBLA>=GHMMHA:O>LA:K>LMA:MPHNE=O>LM

            HO>K:EHG@MBF>;NMBGLMKN<M>=F>MHAB=>:LL>ML

            ;><:NL>A>PHNE=A:O>MHI:RM:Q0H &LMHII>=M:EDBG@

            MH&K:;><:NL>;:LB<:EER&A:=MABL?K:N= <HGF:G

            MKRBG@MHM:D>FHG>RMA:MA>P:LGHMHP>=:G=MKRBG@MH

            AB=>MABG@L?KHFMA>M:QH??B<>BGF>KB<::G=ERBG@:G=

            <A>:MBG@:G=PA:M>O>K>EL>MHF:D>NIMABG@LMHMKR:G=

            @>MFHK>

            6*/#/""!*+

           .!K4KB@AM &=HGHMNG=>KLM:G=AHPMA:M

           BLK>E:M>=MHFRJN>LMBHG LHE>MNLMKR

           &MBLK>E:M>=I>K?><MERP>EE

           .)>MNLMKRHG>FHK>MBF>!B=!:O>

           (E>BF:GA:O>:GRMABG@MH=HPBMAMA>$& 0/MKNLMBG

           >EBS>

           6>L

           .4A:MP:LABLK>E:MBHGLABIMHMA>$& 0/

           MKNLMBG>EBS>

           4>HK@:GBL>=INMMBG@BG?HKF:MBHGHGMH

           <HFINM>KL;><:NL>H?BM

           .&:FLHKKR PA:MMRI>H?BG?HKF:MBHG

           1ABLBL :@:BG LHF>MABG@P>PBEEG>>=MH

           M:ED:;HNMPBMAMA>CN=@>

           *0*/(,",D:R1A:MBL@HBG@MH;>

           HG>H?MA>BG<:F>K:<HGO>KL:MBHGL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 317 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .,D:R !K4KB@AM :K>MA>K>K>:LHGL

            4A:M&PBEEL:RBLMA>K>:K>:LHGB?RHN

            EHHD:MMA>$& 0/P>;LBM>MA:MNL>=MH;>NIBGMA>

            I:LM BMA:=!>I:KMF>GMH?%HF>E:G=0><NKBMR +0:G=

            HMA>KMABG@LHGMA>P>;LBM>

            .!HRHNDGHP!>;HK:A(H;S:?KHF$& 0/

            *0*/(," :GRHNLI>EEMA:M?HKMA>

            <HNKMK>IHKM>K

           */#/""!*+! "  , /  %            &<HNE=

           GHMM>EERHN( ,  7  &MABGD

           1%"4&1+"00+HMI>KLHG:EER

           6*/#/""!*+

   H       . :GRHNEHHD:MI:@>H? IE>:L>

           6>L

           . :GRHNEHHD:MMA>F>LL:@>MA:M<HF>L

           ?KHF&K:MHRHN:M*:K<AG=  :GRHNK>:=MA:M

           ?HKMA>K><HK=

           #KHF          

           .!K4KB@AM IE>:L>CNLMK>:=MA>;H=RH?

           MA>> F:BE

           'NLMMH<E:KB?RHGMAHN@AML?KHF

           IK>OBHNL> F:BE&GHG>H?MA>>F:BE>Q<A:G@>L;>MP>>G
                         F:BE&GHG>H?MA>>F:BE>Q<A:G@>L;>MP>>

           !:O>:G=RHN A>F>GMBHG>=MA:MRHNA:=FBEEBHG

           BM<HBGLBGMA>MKNLM:G=LBG<>RHNL:B=A>A:L
              BM<HBGLBGMA>MKNLM:G=LBG<>RHNL:B=A>A:L 
                                                                  
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 318 of
                                      434

                                                                         -:@>
   H        :LABLI:KM&P:L?B@NKBG@MA>HMA>K
              :LABLI:KM&P:L?B@NKBG@MA>HMA>K BLRHNKL

            &LMA:M<HKK><M&K:
              &LMA:M<HKK><M&K:

            .
              . :GRHNK>:=:;HO>MA:MRHNKK>LIHGL>:M

            *:K<ALM
              *:K<ALM :MIF

            *BG>KHNG=MA:M*BGNLPA:MP:L
              *BG>KHNG=MA:M*BGNLPA:MP:L

            G>>=>=?HKMA><HFI:GRLNL>
              G>>=>=?HKMA><HFI:GRLNL>

            .0H PA>K>BLMA> MA:M;>EHG@>=MH

            !:O>

            *0*/(,",;C><MBHG :GRHNMB>MA:M

           MHHG>RHNKMHIB<L IE>:L>

           */#/""!*+1A>EH<:MBHG:G=

           =NK:MBHGH?!:O> 4(:G= K:B@LFBGBG@H?BM<HBG?KHF

           NGMBE

           *0*/(,"6HN:K>GHMM:EDBG@:;HNM

           FBGBG@GHP RHN:K>M:EDBG@:;HNM:<MN:EBM<HBG1AHL>

           :K>MPHL>I:K:M>MHIB<L1ABL=H>LGHMK>E:M>MHGNF;>K

           

           */#/""!*+,D:R LH>BMA>KBGLMKN<M

           ABFGHMMH:GLP>KHK:EEHPMA>JN>LMBHG

           *0*/(,"&:F@HBG@MHBGLMKN<MABF

           GHMMH:GLP>K

           6*/#/""!*+

    H      .
              . :GRHN@H=HPGMHMA>#>;KN:KRMA

           >
              > F:BE

           *FF
              *FF AFF
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 319 of
                                      434

                                                                         -:@>
   H        .6HNL:R1A>MKNLM!:O>L>MNILAHNE=

            A:O>:KHNG= !HRHNL>>MA:M

            6>L

            .&LMA:M BM<HBG

            6>L

            .4A>K>BLMA>MKNLM!:O>L>MNI

            !:O>L>MNI:L>KB>LH?MKNLML:LP>EE

            ,G>P:LBG>EBS> PAB<AP:LGHM$& 0/ A>:ELHA:=HG>

            BG-:G:F::G=<HFI:GB>LBG HLM:/B<:

           .!HRHNA:O>:GRBG?HKF:MBHGHGPAHA>EI>=

           ABFL>MMAHL>NI

           +H

           . :GRHNK>:=MA>G>QML>GM>G<>?HKF>

           4>FHO>=>O>KRMABG@H??LAHK>:L:K>LNEM

           H?FR>:KER?B@AMPBMAMA>1:QH??B<>1ABLP:L;:<DBG

           1A>1 PHNE=;>HG:L>KO>KHGA:K==KBO> CNLM

           MA>KB@AML:K>HO>KL>:L

           .%>K>RHNL:R4>FHO>=>O>KRMABG@

           H??LAHK>

           &NL>:KHR:EP>:EEMA>MBF> LHB?

           RHN:K>M:DBG@P> P>K:K>ERF>:GL ?HKF> FNEMBIE>

           I>HIE>&M:EDLFRE:PR>KLD>>IBGLMKN<MBG@F>

           LMHIL:RBG@P>

           *0*/(,",;C><MBHG

           1%"4&1+"00&L:RP>:EEMA>MBF>
                   1%"4&1+"00&L:RP>:EEMA>MBF>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 320 of
                                      434

                                                                         -:@>
            *0*/(,"!H@HBGMHPA:MP>M:ED>=

            :;HNM

            1%"4&1+"000HKKR

            *0*/(,",NK<HGO>KL:MBHGL:K>

            IKBOBE>@>=G=MA>K>BLCNLM:<HKK><MBHG

            1%"4&1+"00&P:LGHMM:EDBG@CNLM

            :;HNMRHN

            *0*/(,"+HG>MA>E>LL :GR

            <HGO>KL:MBHGLRHNA:O>PBMAE:PR>KL:K>IKBOBE>@>= MA>

           <HGM>GMLMA>K>H?

           *//&3"/,*HO>MHLMKBD>RHNK<EB>GML

           M>LMBFHGR

           */#/""!*+GRFHO>MHCNLMLMKBD>BL

           H;C><M>=MH

           *0*/(,"ELH &PHNE=CNLMEBD>MH

           IHBGMHNMMA:MMA>K>BL:G>KKHKBGMA>MK:GL<KBIM&M

           L:RLK>:EERF>:GL :G=A>L:B=K:K>ERF>:GL

           6*/#/""!*+

   H       .0HBLBMRHNKM>LMBFHGRA>K>MH=:R

           !K4KB@AM MA:MPA>GRHNNL>=P>A>K> RHNP>K>

           K>?>KKBG@HGERMHRHNKL>E?

           &G=>I>G=>GMER!:O>L>MNIABLHPGMKNLM

           .&:FM:EDBG@:;HNMRHNKNL>H?MA>PHK=

           P>

           &:FM:EDBG@ :G=>QIE:BGBG@MABL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 321 of
                                      434

                                                                         -:@>
   H        &FHO>=FRMABG@L
              &FHO>=FRMABG@L !:O>FHO>=ABLMABG@L BG=>I>G=>GMER
                                                       BG=>I>G=>GMER

            4>=B=GHM=HBMMH@>MA>K&MP:L:JNB<D
              4>=B=GHM=HBMMH@>MA>K&MP:L:JNB<D ?EBII:GM

            >
              > F:BEMH:<HGF:GPAHPBEEM:D>MABG@LHNMH?<HGM>QM
                F:BEMH:<HGF:GPAHPBEEM:D>MABG@LHNMH?<HGM>QM

            :LB<:EER
              :LB<:EER :LMABLL:RL 1 PHNE=;>HG:L>KO>KHK

            A:K==KBO>*RLNLIB<BHGBLMA:MBMBLMA>HG>!:O>A:=
              A:K==KBO>*RLNLIB<BHGBLMA:MBMBLMA>HG>!:O>A:

            PBMAABF:MG>:KER:EEMBF>
              PBMAABF:MG>:KER:EEMBF>

            . :GRHN@HMHI:@>?HKF> :GRHN

            EHHD:M MHP:K=MA>;HMMHFH?MA>I:@> BML:RL)HHD

            NI4HMMR BMBLGHM:FBLM:D>=HRHNL>>MA:M

           6>L

           .4A:MBL4HMMR

           &MBL:PHK=

           .4ARBLBMGHM:FBLM:D>

           *0*/(,",;C><MBHG

           1%"4&1+"004A:M=HRHNF>:G PARBLBM

           GHM:FBLM:D>

           6*/#/""!*+

           .1ABLBL:G> F:BEMA:M!:O>(E>BF:GL>GM

           MHRHNBLMA:M<HKK><M

           1A:MBLPA:MBM:II>:KLMH;>

           .!B=RHNDGHPPA:M!:O>(E>BF:GF>:GMPA>G

           A>PKHM>MHRHN)HHDNI4HMMR BMBLGHM:FBLM:D>

           *0*/(,",;C><MBHGGLP>KB?RHN

           <:G

           1%"4&1+"00&:F;>BG@MHE=MHEHHDNI
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 322 of
                                      434

                                                                         -:@>
            MA>PHK=4HMMR

            6*/#/""!*+

            .!B=RHNDGHPPA:M!:O>(E>BF:GF>:GMPA>G

            A>MHE=RHNMABL

            6>L A>:LD>=F>MHEHHDNIMA>PHK=

            4HMMR

            .!B=RHNNG=>KLM:G=MA>BFIEB<:MBHGH?

            PA:MMA:MF>:GM

            6>L BMF>:GM&PHNE=@HMHIKH;:;ER

           OHENF>H?MA>,Q?HK=@K>:M>K=B<MBHG:KR

           .!K4KB@AM &F>:GPA:M!:O>(E>BF:G

           F>:GMPA>GA>      E>MF>IAK:L>BM:GHMA>KP:R4AR=B=

           !:O>(E>BF:GP:GMRHNMHEHHDNIMA>PHK=4HMMR

           *0*/(,",;C><MBHGGLP>KB?RHN

           <:G

           1%"4&1+"006HN:K>:LDBG@F>PAR

           LHF>HG>>EL>:LD>=F>MHEHHDNILHF>MABG@

           6*/#/""!*+

           .!HRHNDGHP&?MA>:GLP>KBLGH MA>G

           CNLML:RGH

           ><:NL>A>=B=LBEERMABG@LEBD>MA:M:G=

           LH=B=&0H FRLNLIB<BHGBLPBMAHNMEHHDBG@BMNI:G=

           MKRBG@MH?B@NK>HNM ;><:NL>&<:GGHMK>F>F;>KPA:M

           4HMMR:<MN:EERBL &PHNE=G>>=MHEHHDNIMA>PHK=

           :@:BG:G=MKR:G=@N>LLPA:MA>P:LL:RBG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 323 of
                                      434

                                                                         -:@>
            */#/""!*+ :GP>M:D>:?BO> FBGNM>

            ;K>:D&G>>=:=KBGDH?P:M>K

            *0*/(,"0NK>

            1%"3&!",$/-%"/$HBG@H??MA>K><HK=

            1A>MBF>BL

             0AHKMK>:D

            1%"3&!",$/-%"/1ABLBLMA>;>@BGGBG@

            H?OB=>H<:K=GNF;>K OHENF> BGMA>OB=>H

            =>IHLBMBHGH?!K K:B@4KB@AM$HBG@HGMA>K><HK=

           1A>MBF>BL1A:GDRHN

           6*/#/""!*+

           .!K4KB@AM PAHBL&:G$KB@@

           &:G$KB@@BL:I>KLHG<NKK>GMERBGOHEO>=

           PBMAMA><KRIMH<NKK>G<R<:EE>=",0

           .%:O>RHN>O>KF>M&:G$KB@@

           6>L

           .!B=&:GA:O>:GRBGOHEO>F>GMBGMA>

           =>O>EHIF>GMH?MA>BM<HBGIKHMH<HEHKMA>0:MHLAB

           <EB>GM

           &GOHEO>F>GM :L&L:B= BL:;B@PHK=

           &:G$KB@@PKHM>:PAHE>EHMH?MABG@L EBD>/B<:K=B:G

           <HGMK:<ML&A:O>NL>=LHF>H?&:G$KB@@LPKBMBG@L

           &A:O>NL>=<HGM:<ML&@HM?KHF&:G&A:O>NL>=HMA>K

           LN<AMABG@LBM<HBGP:LGHM=>O>EHI>=;><:NL>H?&:G

           ;NM&NL>=LHF>H?MA>MABG@LMA:M&:GA:=IN;EBLA>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 324 of
                                      434

                                                                         -:@>
            .!B=RHN<HGO>KL>=BK><MERPBMA&:G;>?HK>

            MA>IN;EB<IHLMBG@HGMA>0:MHLAB<EB>GM

            *0*/(,",;C><MBHG ;NMRHN<:G

            :GLP>K

            1%"4&1+"00&M:ED>=MH&:GBGMA>

            L PAB<AA:=GHMABG@MH=HPBMABM<HBG

            6*/#/""!*+

            .!B=RHNM:EDMH&:G:;HNM           LMKBD>MA:M

            4:L&:G:P:K>MA:MRHNP>K>0:MHLAB+:D:FHMH

           *0*/(,",;C><MBHG?HNG=:MBHG

           1%"4&1+"00&<:GGHMLM:M>ABLLM:M>H?

           FBG=

           6*/#/""!*+

           .!B=RHNK>O>:ERHNKL>E?:L0:MHLAB

           +:D:FHMHMH&:G$KB@@

           *0*/(,",;C><MBHG

           1%"4&1+"00&=B=GHMK>O>:EFRL>E?MH

           :GRHG>&MP:LK>O>:E>=

           6*/#/""!*+

           .!B=RHNM>EE&:G$KB@@MA:MRHNP>K>MA>

           <K>:MHKH?BM<HBG

           *0*/(,",;C><MBHG

           1%"4&1+"00&=B=GHMM>EE:GRHG>NGMBE

           MABLR>:KMA:M&P:LMA><K>:MHKH?BM<HBG

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 325 of
                                      434

                                                                         -:@>
            .!HRHNDGHPPA>G&:G$KB@@<:F>MHE>:KG

            MA:MRHNP>K>0:MHLAB+:D:FHMH

            *0*/(,",;C><MBHG

            1%"4&1+"000MKBD>MA>E:LMHG>

            &A:O>M:ED>=MHFRPB?> ;NMMA:MBL:=B??>K>GM

            F:MM>K :G=&A:O>M:ED>=MH!:O> LHMA>R:K>:GRHG>L

            ;NM &F>:G HNMLB=>H?MA>I>HIE>MA:MP>:K>GHM

            M:EDBG@:;HNM @>G>K:EER BGIN;EB< &=B=GHMM:EDMH

            :GRHG>&:G$KB@@<:F>MH;>EB>O>MA:MLHF>MBF>HGABL

           HPG&=HGHMK>F>F;>KMA>>Q:<MMBFBG@H?MA:M

           &DGHP&A:=;>>GM:EDBG@MHABF:;HNMBM<HBG;>?HK>

           :EEMA>HNMBG@ >M<>M>K:&=HGHMDGHPPA>GA>=><B=>=

           MA:M&P:L

           6*/#/""!*+

           .!HRHNDGHPPA>MA>K&:G$KB@@DG>P!:O>

           (E>BF:G

           &;>EB>O>A>=B=&=HGHMDGHP

           .!HRHNDGHPPA>MA>K&:G$KB@@:G=!:O>

           (E>BF:GA:=:GR=BK><M<HKK>LIHG=>G<>

           &=HGHMDGHP!:O>P:LDGHPG;R

           IK:<MB<:EER>O>KRHG>BGMA>BG=NLMKR

           .1HRHNK;>LMDGHPE>=@> =H>L&:G$KB@@

           A:O>:GRI>KLHG:EDGHPE>=@><HG<>KGBG@MA>NL>H?MA>

           0:MHLAB> F:BE:==K>LL>L

           &=HGHMDGHPPA:M&:GDGHPL&A:O>GHM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 326 of
                                      434

                                                                         -:@>
            M:ED>=MH&:GLBG<>A>LM:KM>=;EHH=R",0

            .4A>GRHN?BKLMF>M'HL>IA3:N@AG->KEBG@

            =B=RHNBGMKH=N<>RHNKL>E?:L0:MHLAB+:D:FHMH

            &=HGHMK>F>F;>KPA:M&L:B=&P:L

            &NL>=:GNF;>KH?LBEERIL>N=HGRFLBGMA>I:LM 0:MHLAB

            ;>BG@HG>H?MA>F 1HLAB;>BG@:GHMA>KHG> 1HLAB$:MB

            ;>BG@:GHMA>KHG>6>L &NL>=:EHMH?':I:G>L>

            IL>N=HGRFL

            .!B=*K3:N@AG->KEBG@A:O>:GR

           BGOHEO>F>GMBGMA>=>O>EHIF>GMH?MA>0:MHLAB<EB>GM

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHPPA:MA>=B=

           HGEBG>&;>EB>O>A>IKH;:;ER=B=%>P:LO>KR

           BGM>K>LM>=BGMABL%>P:LHG>H?MA>K>:LHGLMA:M

           &LM:R>=L><K>M:LEHG@:L&=B=

           6*/#/""!*+

           .*K3:N@AG->KEBG@DG>PRHNP>K>0:MHLAB

           ;>?HK>MA>PHKE==B=

           *0*/(,",;C><MBHG

           1%"4&1+"001A:MBLGHMPA:M&L:B=

           6*/#/""!*+

           .!B=*K3:N@AG->KEBG@DGHPRHNP>K>

           0:MHLAB+:D:FHMH;>?HK>MA>PHKE==B=

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 327 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .!HRHNDGHPPA>MA>K*K3:N@AG->KEBG@

            DGHPL2R>G+@NR>G

            *0*/(,",;C><MBHG

            1%"4&1+"00&;>EB>O>A>=H>L

            6*/#/""!*+

            .!HRHNDGHPPA>GMA>R<:F>MHF>>M

            &=HGHMDGHPMA:M

            .!HRHNDGHPPA>MA>K*K3:N@AG->KEBG@

           DGHPL:;HNMMA>1NEBI1KNLM

           &;>EB>O>A>=H>L

           .&L*K3:N@AG->KEBG@:MKNLM>>H?MA>

           1NEBI1KNLM

           +H A>BLGHM

           .&LA>:MKNLM>>H?:GRMKNLMK>E:M>=MH

           RHN

           +H

           .!HRHNDGHP:@>GME>F:GG:F>=$*:KD

           %:K=R

           $*:KD%:K=R1A>G:F>BL?:FBEB:K

           .!HRHN>O>K> F:BEPBMAABF

           &?&A:O>BGMA>I:LM &=HGHM:GRFHK>

           .!HRHNDGHPPA>MA>K$*:KD%:K=RBL:

           MKNLM>>H?:GRMKNLMK>E:M>=MHRHN

           %>BLGHM,A *:KD%:K=RA>BL?KHFMA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 328 of
                                      434

                                                                         -:@>
            M:QH??B<>

            .+H MABLBL:=B??>K>GM*:KD%:K=R$

            *:KD%:K=R&:FM:EDBG@:;HNM

            $*:KD%:K=R

            .!B=+B<D0S:;HA:O>:GRBGOHEO>F>GMBG

            MA>=>O>EHIF>GMH?MA>BM<HBGIKHMH<HE

            *0*/(,",;C><MBHG

            1%"4&1+"00+B<D0S:;H

            6*/#/""!*+

           .)>MF><E:KB?RMA:MMAHN@A;>?HK> :G=&

           =HGHMF>:GMA:MRHNNL>=ABLIKBHKPHKD&F>:G =B=

           +B<D0S:;HA:O>:GR=BK><MBGOHEO>F>GMBGMA>IKH@K:FBG@

           H?MA>0:MHLAB<EB>GM

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           B?RHN<:G

           1%"4&1+"00+B<D0S:;H<HNE=GHM

           IKH@K:FABFL>E?HNMH?:P>MI:I>K;:@B?A>P:L@BO>G

           ABL<ABE=K>G:;HNMMH;>ANG@:G=A>A:=MHL:O>ABFL>E?

           ;R@>MMBG@HNMH?MA>P>MI:I>K;:@ :G=A:OBG@MHMRI>

           :LBFIE>HG> EBG> <H=>%>=B=GHMA:O>:GRMABG@MH

           =HPBMABM<HBG%>=H>LGHMNG=>KLM:G=BM<HBG%>

           A:LGH<EN>:;HNMPA:MBM<HBGBL AHPBMPHKDLHK

           :GRMABG@FHK>%>BLIKH;:;ERMA>FHLM<EN>E>LL@NRPAH

           A:LE:M<A>=HGMHBM<HBG>O>K

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 329 of
                                      434

                                                                         -:@>
            .F&NG=>KLM:G=BG@RHN<HKK><MER MA:M

            0:MHLAB+:D:FHMHPHNE=A:O>MHA:O>:=>>ING=>KLM:G=BG@

            H? <HFINM>KE:G@N:@>

            *0*/(,",;C><MBHG

            1%"4&1+"00          

            6*/#/""!*+

            .       BLMA:M<HKK><M

            6>L

            *0*/(,",;C><MBHG

           6*/#/""!*+

           .!B=RHN>O>K> F:BEPBMA'>??$:KSBD

           :;HNMMA>0:MHLAB<EB>GM

           6>L

           .>?HK>BMP:LK>E>:L>=HK:?M>KBMP:L

           K>E>:L>=

           &=HGHM;>EB>O>'>??P:L> F:BE>=;>?HK>

           BMP:LK>E>:L>=&=HGHMMABGDA>P:LHGMA:MEBLM

           .!B=MA>K><HF>:MBF>           LMKBD>MA:M

           !B=*K$:KSBDE>:KGRHNP>K>0:MHLAB;>?HK>MA>PHKE=

           E>:KG>=RHNP>K>0:MHLAB

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP&=B=GHM

           >O>KM>EEABF

           6*/#/""!*+

           .!B=RHN>O>K=BL<NLLMA>:FHNGMH?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 330 of
                                      434

                                                                         -:@>
            BM<HBGRHNA:=PBMA*K$:KSBD

            *0*/(,",;C><MBHG

            1%"4&1+"00+H

            6*/#/""!*+

            .!B=RHN>O>K=BL<NLLMA>1NEBI1KNLMPBMA

            *K$:KSBD

            +H

            *0*/(,",;C><MBHG

            6*/#/""!*+

           .!B=RHN=BL<NLL:GRMKNLMPBMA

           *K$:KSBD

           +H

           .!HRHNDGHPPA>MA>K*K$:KSBD:G=!:O>

           (E>BF:GA:=:GR=BK><M<HFFNGB<:MBHG;>MP>>G:G=

           

           !:O>P:LHG&/ @KHNILMA:M'>??P:LHG

           *HK>MA:GMA:M &<HNE=GHML:R

           .%:O>RHN>O>KF>MPBMA$:OBGG=K>L>G

           &A:O>

           .!B=RHN>O>KLI>:DPBMA$:OBGG=K>L>G

           :;HNMRHN;>BG@0:MHLAB+:D:FHMH

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"00&=B=

           *0*/(," K:B@ CNLM@BO>F>:FBGNM>

           MHH;C><M;>?HK>RHN:GLP>KLHP>:K>GHM=KBOBG@MA>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 331 of
                                      434

                                                                         -:@>
            <HNKMK>IHKM>K<K:SR IE>:L>

            1%"4&1+"000HKKR R>L

            6*/#/""!*+

            .!B=RHN>O>K=BL<NLLMA>:FHNGMH?

            BM<HBGMA:MRHNA:O>PBMA*KG=K>L>G

            *0*/(,",;C><MBHG6HNF:R:GLP>K

            1%"4&1+"00+H

            6*/#/""!*+

            .!B=RHN>O>K=BL<NLLMA>1NEBI1KNLMPBMA

           *KG=K>L>G

           &=HGHM;>EB>O>LH

           .!B=RHN>O>K=BL<NLL:GRHMA>KMKNLML

           PBMA*KG=K>L>G

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00+H :G=&=HGHM=BL<NLLFR

           MKNLMLPBMA:GRHG>HNMLB=>FR?:FBER NGE>LL&:F

           K>JNBK>=MH;RE:P

           6*/#/""!*+

           .!HRHNDGHPB?2R>G+@NR>G>O>KK>:<A>=

           HNMMH*KG=K>L>G

           *0*/(,",;C><MBHG?HNG=:MBHG

           1%"4&1+"00+H

           6*/#/""!*+

           .!HRHNDGHPB?LA>PHNE=A:O>:K>:LHGMH

           K>:<AHNMMH*KG=K>L>G
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 332 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG?HNG=:MBHG

            1%"4&1+"00&=HGHMDGHP

            6*/#/""!*+

            .!H<MHK &P:GMMH=BK><MRHNK:MM>GMBHG

            MA>NLMK:EB:G1:Q,??B<>BGO>LMB@:MBHGL%HPF:GR

            BGO>LMB@:MBHGLP>K>NG=>KM:D>G;RMA>M:QH??B<>H?

            RHNKL>E?I>KLHG:EER

            &=HGHMDGHP

            .%HPF:GRBGO>LMB@:MBHGLP>K>NG=>KM:D>G

           ;RMA>M:QH??B<>H?RHNK<HFI:GB>L

           &=HGHMDGHP

           .K>RHN        E>MF>K>IAK:L>MA:MJN>LMBHG

           %HPF:GRBGO>LMB@:MBHGL:K>RHN:P:K>MA:MMA>M:Q

           H??B<>A:L<HG=N<M>=:@:BGLMRHNKL>E?

           &=HGHMDGHP&=HGHMDGHP

           .G=:K>RHN:P:K>H?AHPF:GR

           BGO>LMB@:MBHGLMA>M:QH??B<>A:L<HG=N<M>=:@:BGLMRHNK

           <HFI:GB>L

           +H4A:M&=HDGHPBL ?HKBGLM:G<> HG

           FRL>E? MA>RA:O>M:D>GF>MH<HNKMFNEMBIE>MBF>L :G=

           FNEMBIE>MBF>LMA>RA:O>;>>G?HK<>=;:LB<:EERMH

           :IHEH@BL>*NEMBIE>MBF>LMA>RA:O>=H<MHK>=K><HK=L

           1A>RA:O><HGLMKN<M>=K><HK=L1A>RA:O>=HG>:GRMABG@

           IHLLB;E> LBG<>MA>MBF>&MHE=MA>F:;HNMBM<HBG

           ;>?HK>BMP:L<:EE>=BM<HBG MH;:LB<:EER?BG=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 333 of
                                      434

                                                                         -:@>
            LHF>MABG@MH@>MF>HG><:NL>EBMME>MABG@LEBD>

            PA>K>&L:B=BM<HBGF>:GLP>=HGHMG>>=:LF:GR

            :N=BMHKL;><:NL>BM@>MLKB=H??K:N= F>:GLMA:MMA>R

            =HGHMEBD>PA:MBMBL

            .!K4KB@AM RHNLPHK>MHMA><HNKMBGMA>

            0HNMA>KG!BLMKB<MH?#EHKB=:MA:MRHN=HGHMA:O>:GR

            NLMK:EB:G1:Q,??B<>=H<NF>GML=HRHNK><:EEMA:M

            +H &=HGHM :GRHNLAHPF>MA>

            =H<NF>GM

           */#/""!*+0NK>)>MNLM:D>:

           ;K>:D&PBEE@H@>MBM?HKRHN

           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL

            0AHKMK>:D

            -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

           1%"3&!",$/-%"/$HBG@;:<DHGMA>

           K><HK=1A>MBF>BL1A:GDRHN

           6*/#/""!*+

           .!K4KB@AM ;>?HK>MA>;K>:DP>P>K>

           =BL<NLLBG@:LPHKGLM:M>F>GMRHNLN;FBMM>=MHMA><HNKM

           :G=GHPRHNA:O>PA:MA:L;>>GF:KD>=:L-E:BGMB??L

           "QAB;BM

           &=H

           .&?RHNPHNE=MNKG IE>:L> MHI:@>

           -:@>H?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 334 of
                                      434

                                                                         -:@>
            .,D:R&?RHNK>:=?HKF>

            *0*/(,"G=MA:MBL:MMA>MHI

            <HKK><M

            6*/#/""!*+

            .!HRHNK><H@GBL>MABL:LRHNKLPHKG

            LM:M>F>GM

            &=H

            .!HRHNK><H@GBL>MA:M:MMA>O>KR

            ;>@BGGBG@H?MABLLM:M>F>GMRHNLPHK>&  K:B@

           4KB@AM =><E:K>NG=>KI>G:EMRH?I>KCNKRNG=>KMA>E:PL

           H?2GBM>=0M:M>LH?F>KB<:MA:MMA>?HEEHPBG@BLMKN>

           :G=<HKK><M

           &=H

           .G=B?RHNL>>HGI:@>H?MABL

           =H<NF>GM I:K:@K:IA <:GRHNK>:=MA:M?HKF>

           0HKKR GNF;>K

           .+NF;>K

           &A:O>GH=H<NF>GMLBGFR

           IHLL>LLBHG?KHF:GR1,BGO>LMB@:MBHG1HMA>>QM>GM

           MA:MFR:MMHKG>RLA:O>:GR=H<NF>GML?KHF:GR1,

           BGO>LMB@:MBHGK>E:M>=MHF> MAHL>=H<NF>GMLPHNE=;>

           EH<:M>=BGNLMK:EB:

           .0H !K4KB@AM A>K>RHNA:O>LPHKGMA:M

           RHNA:O>GH=H<NF>GMLBGRHNKIHLL>LLBHG?KHF:GR1,

           BGO>LMB@:MBHGBLMA:M<HKK><M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 335 of
                                      434

                                                                         -:@>
            1A:MBL<HKK><M

            .NMMA:MBLGHM>GMBK>ERMKN>BLMA:M

            GHMKB@AM

            *0*/(,",;C><MBHG

            1%"4&1+"00&:FLHKKR &H;C><MMHMA>

            ?:<MI>KLHG:EERMA:MRHN:K>BFIERBG@MA:M&A:O>

            I>KCNK>=FRL>E?HKEB>=&=HGHMA:O>=H<NF>GML?KHF

            :GR1,BGO>LMB@:MBHG:M:EE&=HGHMA:O>MA>FGHP

            &=B=GHMA:O>MA>FBGMA>I:LM

           6*/#/""!*+

           .!K4KB@AM :K>RHN:P:K>MA:MRHNK

           E:PR>KLA:O>IKH=N<>==H<NF>GML?KHFMA>NLMK:EB:G1:Q

           ,??B<>BGO>LMB@:MBHGMA:MMA>R<HEE><M>=?KHFRHNK

           AHNL>

           *0*/(,",;C><MBHG

           1%"4&1+"00+H MA>RA:O><HKIHK:M>

           =H<NF>GML:G=> F:BEL;:<D:G=?HKP:K=L?KHFMA>1,

           6HN:K>L:RBG@MA:M&A:O>BGO>LMB@:MBHG?BE>L&=H

           GHM

           6*/#/""!*+

           .,D:R LH&:FMKRBG@MHNG=>KLM:G=

           >Q:<MERPA:MRHNA:O>:G=PA:MRHN=HGHMA:O> :GRHN

           M>EEF>PA:MBMBLRHN=HA:O>BGK>@:K=LMHMA>

           NLMK:EB:G1:Q,??B<>BGO>LMB@:MBHG

           &A:O>PA:MFRE:PR>KLA:O> PAB<ABLGHM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 336 of
                                      434

                                                                         -:@>
             1,=H<NF>GML HK=H<NF>GML?KHF:GBGO>LMB@:MBHG
             .&GMABLRHNL:RMA:MMHMA>>QM>GMMA:M
             RHNK:MMHKG>RLA:O>=H<NF>GML?KHFMA>1, MAHL>
             =H<NF>GMLPHNE=;>EH<:M>=BGNLMK:EB:4AB<A
             :MMHKG>RL:K>MAHL>
             *0*/(,"6HN<:GB=>GMB?RMA>G:F>L
             H?MA>:MMHKG>RL6HN<:GGHMB=>GMB?RMA><HGM>GMLH?
             MA><HGO>KL:MBHGL
             1%"4&1+"00&=HGHMDGHPPAB<A
            =H<NF>GMLPHNE=;>PBMAPAB<A:MMHKG>RL
            6*/#/""!*+
            .6HNLPHK>MA:MRHNA:O>GH=H<NF>GMLBG
            RHNKIHLL>LLBHG?KHF:GR1,BGO>LMB@:MBHG4A:M
            =H<NF>GML=B=RHNF>:GMA:MRHN=HGHMA:O>:G=PA:M
            =H<NF>GML=HRHNA:O>
            *0*/(,",;C><MBHG<HFIHNG=
            6*/#/""!*+
            .4A:M=H<NF>GML=HRHNGHMA:O>BGRHNK
            IHLL>LLBHG?KHFMA>1,
            *0*/(,",;C><MBHG
            &:F:L<B>GMBLM &<:GGHM:GLP>K:
            G>@:MBO>&=HGHMDGHPPA:M=H<NF>GML&=HGHMA:O>
            6*/#/""!*+
            .6HNL:B=&A:O>GH=H<NF>GMLBGFR
            IHLL>LLBHG?KHF:GR1,BGO>LMB@:MBHG4A:M=B=RHN
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 337 of
                                      434

                                                                         -:@>
            F>:G

            G1,BGO>LMB@:MBHGBLPA>K>:@KHNIH?

            ?>=>K:EBGO>LMB@:MHKL=><B=>MHBGO>LMB@:M>1A:MPHNE=

            ;>F:M>KB:E?KHFPA:MMA>1,A:L1A:MPHNE=;>MABG@L

            LN<A:LK><HK=LH?MA>1,1A>R<:G;>@BO>GMHRHN

            :?M>K:GBGO>LMB@:MBHGA:LA:II>G>=6HN<:G:LD?HK

            MA>F#HKBGLM:G<> &<HNE=A:O> PA>G&PHGMA><:L>

            BG :LD>=?HKK><HK=L&=B=GHM

            .0HRHNA:O>MA>:;BEBMRMH:LDMA>

           NLMK:EB:G1:Q,??B<>?HKK><HK=L

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR

           6*/#/""!*+

           .!HRHNA:O>MA>:;BEBMRMH:LDMA>

           NLMK:EB:G1:Q,??B<>?HKK><HK=L

           &:F:GNLMK:EB:G<BMBS>G:G=&A:O>FR

           KB@AMLNG=>KNLMK:EB:GE:PPAB<ABG<EN=>L:LDBG@

           @HO>KGF>GMH??B<B:EL BG<EN=BG@?K>>=HFH?BG?HKF:MBHG

           :G=I>KLHG:EK><HK=L MH;>=>EBO>K>=MHF> R>L

           .!B=RHN:LD?HKMAHL>K><HK=LMH;>

           <HEE><M>=?KHFMA>NLMK:EB:G1:Q,??B<>PA>GK>LIHG=BG@

           MH=BL<HO>KRK>JN>LMLBGMABLE:PLNBM

           *0*/(,",;C><MBHG

           1%"4&1+"00+H

           6*/#/""!*+
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 338 of
                                      434

                                                                         -:@>
            .&;>EB>O>MA>PBMG>LL:GLP>K>=MA>

            JN>LMBHG :GRHN:GLP>K:@:BG

            +H

            .!K4KB@AM A:O>RHN:LD>=RHNK:MMHKG>RL

            MH<HEE><M=H<NF>GML?KHF        A:O>RHN:LD>=RHNK

            :MMHKG>RLPA>MA>KMA>RAHE=:GRNLMK:EB:G1:Q,??B<>

            =H<NF>GML

            *//&3"/,,;C><MBHG

            *0*/(,",;C><MBHG&:FBGLMKN<MBG@

           MA>PBMG>LLGHMMH:GLP>K HFFNGB<:MBHGL;>MP>>G

           <HNGL>E:K>IKBOBE>@>=:G=:K>GHMMH;>=BL<EHL>=

           */#/""!*+/>JN>LMBG@PA>MA>KHKGHM

           ABLE:PR>KLA:O>=H<NF>GMLBGMA>BGO>LMB@:MBHG

           *0*/(,"6HNKJN>LMBHGP:L

           !K4KB@AM A:O>RHN:LD>=RHNK:MMHKG>RLMH<HEE><M

           =H<NF>GML1A:MBL

           */#/""!*+&=BL:@K>> ;NME>MF>L>>

           B?&<:GF:D>BMLHRHN=HGHMH;C><M

           .!K4KB@AM A:O>RHN<HGM:<M>=RHNK

           NLMK:EB:G<HNGL>EMH=>M>KFBG>PA>MA>KMA>RA:O>

           =H<NF>GMLBGMA>BKIHLL>LLBHG?KHF:GNLMK:EB:G1:Q

           ,??B<>BGO>LMB@:MBHG

           +H

           *0*/(,",;C><MBHG

           1%"4&1+"00G=GHKPHNE=&;>LHKMH?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 339 of
                                      434

                                                                         -:@>
            :;E>MH:MMA>FHF>GM ;><:NL>&K>LB@G>=:L:=BK><MHK

            H?:EEMAHL><HFI:GB>L;>?HK>MA>>G=H?MAHL>

            <HFI:GB>L

            6*/#/""!*+

            .4AHMHHDHO>KMA>=BK><MHKLABI:?M>KRHN

            K>LB@G>=

            *0*/(,",;C><MBHG6HN<:GK>LIHG=

            B?RHNK><:EE

            1%"4&1+"001A:MPHNE=;>BGIN;EB<

           K><HK=L

           6*/#/""!*+

           .0HRHN=HGHMDGHPLBMMBG@A>K>MH=:R

           &=HGHM?HEEHP NIMA>L>MABG@L&=B=

           GHMEHHD:MMA>LA:K>AHE=BG@:?M>K&E>?M@:BG :L

           &L:B= &K>:EER=HGHM<:K>PA:MBMBL:?M>K&A:O>

           =HG>PA:M>O>K>EL> :LEHG@:LMABG@L@>MKNG:G=MABG@L

           A:II>G>=&=HGHM<:K>&MBLF:@B<

           .!K4KB@AM A:O>RHN>O>KF>M

           /HLL2E;KB<AMBGI>KLHG

           *0*/(,",;C><MBHG

           *//&3"/, :GP>:LDPA:M

           */#/""!*+&=>GMB?B<:MBHGH?MA>

           PBMG>LL>L:G=MA>BKDGHPE>=@>;:L>

           *0*/(,"&MA:L:EK>:=R;>>GIK>MMR

           P>EE>LM:;EBLA>=MA:M/HLL2E;KB<AMA:LGHK>E>O:G<>&
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 340 of
                                      434

                                                                         -:@>
            PBEE:EEHPABFMH:GLP>KMABLJN>LMBHG1K>:=EB@AMER

            IE>:L>

            1%"4&1+"006>L HG<>

            6*/#/""!*+

            .4A:MP:LMA:MF>>MBG@:;HNM

            *0*/(,",;C><MBHG6HN=HGHMG>>=

            MH:GLP>KMA:MJN>LMBHG

            6*/#/""!*+

            .!B=MA:MF>>MBG@BGOHEO>BM<HBG

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00&F>GMBHG>=BM<HBG

           6*/#/""!*+

           .&GPA:MP:R=B=RHNF>GMBHGBM<HBG

           *0*/(,",;C><MBHG&:F@HBG@MH

           BGLMKN<MMA>PBMG>LLGHMMH:GLP>K&M@H>L;>RHG=MA>

           L<HI> NGE>LLRHN<:GIHBGMF>MHLHF>MABG@

           */#/""!*+1H=>M>KFBG>

           /HLL2E;KB<AMLDGHPE>=@>&MBL<E>:KERPBMABGMA>

           L<HI>

           *0*/(,"&MM:EDL:;HNMABLKHE>BG

           MA>LN;C><MF:MM>K GHM:;HNMABL

           */#/""!*++H GH4A>K>BLMA>

           EBLM0HKKR MA:MBLMA>PKHG@HG> FR:IHEH@B>L

           &MBL0H MA>JN>LMBHGP:L&GPA:MP:R=B=RHN

           F>GMBHGBM<HBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 341 of
                                      434

                                                                         -:@>
            *0*/(,"/B@AM :G=&:FBGLMKN<MBG@

            ABF

            */#/""!*+6HN:K>BGLMKN<MBG@ABF

            GHMMH:GLP>K

            *0*/(,"&:FBGLMKN<MBG@ABFGHMMH

            :GLP>K

            6*/#/""!*+

            .4A>G=B=MABLF>>MBG@M:D>IE:<>

            *0*/(,"&?RHN<:GK><:EE RHN<:G

           :GLP>K

           1%"4&1+"00&=HGHMK><:EE>Q:<MER

           &MP:L:MMA>HG=B&<>;>K@L LHMA>K>?HK>&IK>MMRFN<A

           L:RGHMBGMA>FB==E>H?PBGM>K

           6*/#/""!*+

           .!HRHNDGHPPA:MR>:KBMP:L

           &MPHNE=;>H??MA>MHIH?FRA>:=

           .!B=!:O>DGHPRHN=BL<NLL>=BM<HBGPBMA

           /HLL2E;KB<AM

           *0*/(,",;C><MBHG

           1%"4&1+"00!:O>LGHMFRPB?>&=H

           GHMLBMMA>K>:G=@H %>R !:O> &=BL<NLL>=LHF>MABG@

           PBMAMABL@NRPAHHG>=:RPBEE;>?:FHNL?HK=HBG@LABM

           ;><:NL>A>BL:<KBFBG:E

           6*/#/""!*+

           .&CNLM:LD>=MA>JN>LMBHG !K4KB@AM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 342 of
                                      434

                                                                         -:@>
            PA>MA>KHKGHM!:O>DG>PRHNA:=LIHD>GPBMA/HLL

            2E;KB<AM:;HNMBM<HBG&?MA>:GLP>KBLGH BMBLGH

            &?BMBLR>L BMBLR>L-E>:L>:GLP>KMA>JN>LMBHG

            *0*/(,",;C><MBHG

            1%"4&1+"00&=HGHMDGHP

            *0*/(,"           RHN:K>:LDBG@ABFMH

            @>MBGMHLHF>HG>>EL>LA>:=%><:G:GLP>KB?A>

            DGHPL

            1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+

           .6HN=HGHMDGHPHD:R!B=RHN>O>KM>EE

           ABFRHNLIHD>MH/HLL2E;KB<AM:;HNMBM<HBG

           +H&=B=GHMEBD>/HLL2E;KB<AM

           .4AR=B=RHNGHMEBD>/HLL2E;KB<AM

           *0*/(,",;C><MBHG

           */#/""!*+%>L:B=A>=B=GHMEBD>

           ABF

           *0*/(,"&:F@HBG@MHBGLMKN<MMA>

           PBMG>LLGHMMH:GLP>K

           6*/#/""!*+

           .%:O>RHN>O>K<HFFNGB<:M>=PBMA/HLL

           2E;KB<AM;R> F:BEHKHMA>K<HFFNGB<:MBHGLIKHMH<HE

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00+H &=B=GHMEBD>ABF

           &=B=GHMK>:EERMKR:G=<HFFNGB<:M>PBMAI>HIE>&=H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 343 of
                                      434

                                                                         -:@>
            GHMEBD>

            6*/#/""!*+

            .!B=RHNNL>)B;>KMR/>L>KO>PBMA!:O>

            (E>BF:G

            +H

            .!B=RHN>O>KL>G=FHG>RMH!:O>(E>BF:G

            MAKHN@A)B;>KMR/>L>KO>

            &L>GMFHG>RMH:          P>EE &BGLMKN<M>=:

            @KHNIMHL>G=FHG>RMH:@KHNIMA:M!:O>(E>BF:GP:L

           BGOHEO>=

           .4AB<A@KHNI=B=RHNBGLMKN<M

            K:B@4KB@AM/!

           .4AB<AHG>

           -:G:F:

           .G=RHNBGLMKN<M>= K:B@4KB@AM/!

           -:G:F:MHL>G=FHG>RMHPAH

           !:O>L<HFI:GRBG-:G:F:

           .4AB<AP:L

           &<:GGHMK>F>F;>KH??MA>MHIH?FRA>:=

           &PHNE=G>>=MHL>>MA>K><HK=

           .4A>K>=HMAHL>K><HK=L>QBLM

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           B?RHNDGHP

           1%"4&1+"00&;>EB>O>MA>E:PR>KLA:O>

           M:D>G:<HIR
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 344 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .%HPF:GRMBF>L=B=RHNBGLMKN<M K:B@

            4KB@AM/!MHL>G=FHG>RMH!:O>L<HFI:GRBG-:G:F:

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            B?RHNDGHP

            1%"4&1+"00&=HGHMDGHP

            6*/#/""!*+

            .%HPFN<AFHG>R=B=RHNBGLMKN<M K:B@

            4KB@AM/!MHL>G=MH!:O>L<HFI:GRBG-:G:F:

           *0*/(,",;C><MBHG&LMABL:M:

           I:KMB<NE:KMBF>HKBLMABLHO>K:EEHKHO>KMA><HNKL>H?

           :I>KBH=MBF>6HNKJN>LMBHGBLNG<E>:K

           6*/#/""!*+

           .6HNL:B=MA:MRHNBGLMKN<M>= K:B@4KB@AM

           /! LH:M:EEMBF>L AHPF:GRMBF>L           P>EE RHNDGHP

           PA:M LMKBD>MA:M%HPFN<AFHG>RBGMHM:E=B=RHN

           BGLMKN<M K:B@4KB@AM/!MHMK:GL?>KMH!:O>L<HFI:GR

           BG-:G:F:BGMA>MK:GL:<MBHGRHNK>?>K>G<>=>:KEB>K

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           B?RHNNG=>KLM:G=

           1%"4&1+"00&=HGHMK>F>F;>KMA>>Q:<M

           :FHNGM&MP:LEBD> &MABGDBMP:L:;HNM20FBEEBHG

           6*/#/""!*+

           .4AR=B=RHNA:O> K:B@4KB@AM/!F:D>

           MABLMK:GL?>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 345 of
                                      434

                                                                         -:@>
            1HA:O>F:<ABG>L;NBEM

            .4A:MMRI>H?F:<ABG>L

            %- L

            .4A:MINKIHL>P>K>RHN;NBE=BG@%- L?HK

            1HM>LML<:EBG@

            .0<:EBG@?HKPA:M

            BM<HBG

            .G=PA>GRHNL:RL<:EBG@ =H>LMA:MF>:G

            ;B@@>K;EH<DL

           1A:MBLMA>HGERP:RBM<HBGL<:E>L

           .!B=!:O>F:D>MA>F:<ABG>L

           +H

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .4ARGHM

           *0*/(,",;C><MBHG

           6*/#/""!*+

           .!HRHNDGHPPAR!:O>=B=GHMF:D>MA>

           F:<ABG>L

           ><:NL>MHF:D>MA>F:<ABG>LPHNE=

           ;:LB<:EERF>:GMA:MRHNA:O>:<HFI:GRMA:M@H>LHNM

           MA>K>:G=LF>EMLBKHG:G=?HKFLMA:MBGMHLA:I>L:G=

           MA>GA:LLBEB<HG?:;L:G=

           .!K4KB@AM =B=A><:NL>MA>FMH;>F:=>

           &MABGDRHNNG=>KLMHH=PA:M&F>:GM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 346 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG6HN<:GGHM

            M>LMB?R:LMHPA:MHNK<EB>GMNG=>KLMHH=

            *//&3"/,G=RHN<:GGHM<NM H??MA>

            :GLP>K

            6*/#/""!*+

            .!B=!:O><:NL>MA>F:<ABG>LMH;>;NBEM

            6HNP:GMMHDGHPB?!:O>HK!:O>L

            <HFI:GR;HN@AMMA>F:G=&:F@HBG@MHA:O>MHBGM>KKNIM

            MABLP:R;><:NL>&<:GGHMLM:G=MABL:GRFHK>%>=B=

           GHM<:NL>MA>FMH;>;NBEM1A:MPHNE=;>:GBG<HKK><M

           <A:K:<M>KBL:MBHG ;><:NL><HFI:GB>LF:D>F:<ABG>L:G=

           MA>GMA>RL>EEMA>F%><:NL>=:GNF;>KH?F:<ABG>LMH

           ;>L>GMMAKHN@A@K>RF:KD>ML?KHF0$& :G=MA>GI>HIE>

           INMMA>FMH@>MA>K

           .G=PA:MA:II>G>=MHMAHL>F:<ABG>L

           1A>E:LM&DGHPH? MA>F>KB<:G

           @HO>KGF>GMA:LMA>F

           .%HP=B=MA>F>KB<:G@HO>KGF>GM<HF>MH

           IHLL>LLMA>F:<ABG>L

           1A>F>KB<:G@HO>KGF>GMLM:KM>=:GNF;>K

           H?BGO>LMB@:MBHGL,G>P:LBGMH%B@A0><NK>=PA>K>MA>R

           A:O>:KK>LM>=MA>?HNG=>KL :GHMA>KP:LBGMHKMANK

           N=HOLDRBG)B;>KMR/>L>KO> :G==N>MHFHG>RE:NG=>KBG@

           <A:K@>L :EHMH?I>HIE>P>K>:KK>LM>=

           .0H H?MA>FBEEBHGMA:MRHN<:NL>=MH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 347 of
                                      434

                                                                         -:@>
            ;>MK:GL?>KK>= =HRHNDGHP:IIKHQBF:M>ERAHPFN<AH?BM

            !:O>(E>BF:GLI>GMHGINK<A:LBG@MA>L>F:<ABG>L

            EEH?FRF:<ABG>L>G=>=NI<HLMBG@

            :KHNG=FBEEBHG

            .0HMA>?NEEFBEEBHGP:LLI>GM

            *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            MA>M>LMBFHGR

            6*/#/""!*+

            .4:LMA>?NEEFBEEBHGLI>GM

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           B?RHNNG=>KLM:G=

           1%"4&1+"00&PHNE=:LLNF>LH ;NM

           &=B=GHM:<MN:EER=HMA:M :G=!:O>H;OBHNLERF:G:@>=

           MH@>MLHF>MABG@LHF>PA>K>:G=HMA>KI>HIE>@HMFHG>R

           MH@>MA>KMHINM P>EE :EEMAHL>F:<ABG>LMH@>MA>K0H

           MA>K>?HK> LHF>HG>LI>GMFHG>R"BMA>KMA:MHKMA>K>BL

           :=>;M :G=PAB<A&=HGHM<:K>;><:NL>BMBLGHMFR

           <HFI:GR

             -E:BGMB??L"QAB;BMF:KD>=?HKB=>GMB?B<:MBHG

           6*/#/""!*+

           .*K4KB@AM &A:O>A:G=>=RHNPA:MA:L

           ;>>GF:KD>=GHP:L-E:BGMB??L"QAB;BM

           6>L

           .!HRHNK><H@GBL>PA:MMA>L>:K>

           6>L MA>R:K>:LM:M>F>GMH?<E:BF
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 348 of
                                      434

                                                                         -:@>
            .4AHBLMA>IE:BGMB??BGMABL:<MBHG

            1A>IE:BGMB??BL K:B@0M>O>G4KB@AM

            .&LMA:MRHNKL>E?

            6>L OB:

            *0*/(,",;C><MBHG6HN<:G:GLP>K

            1%"4&1+"006>L OB::;NLBG>LLMKNLM

            6*/#/""!*+

            .4A:M;NLBG>LLMKNLM

            1A>HG>:LLH<B:M>=PBMA+

           

           . :GRHN@HPBMAF>MHI:@>

           *0*/(,"K>P>M:EDBG@:;HNMHGMA>

           MHI

           */#/""!*+,GMA>MHI

           *0*/(,",GMA>MHI

           6*/#/""!*+

           .-:K:@K:IAL:RLMA:MMA>IE:BGMB??

            K:B@0M>O>G4KB@AM IKHOB=>=<HGMK:<ME:;HNKL>KOB<>L

           MHMA>=>?>G=:GM!HRHNL>>MA:M

           &L>>MA:M

           .4A:MP>K>MA>E:;HNKL>KOB<>LRHN

           IKHOB=>=

           1A>=H<NF>GMBL;:=ER=K:?M>=

           .4AH=K:?M>=MABL=H<NF>GM

           *RL>E?
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 349 of
                                      434

                                                                         -:@>
            .4A:M=H>LBMF>:GMHL:R HKPARBLBM

            ;:=ER=K:?M>=

            ><:NL>LHF>H?MA>MABG@LP>K>BG>KKHK

            BMP:LKNLA>= &P:LMKRBG@MH@>MMAKHN@A:=H<NF>GMLH

            MA:M&<HNE=LBFIERCNLMLM:M>MA>BGM>EE><MN:EIKHI>KMR

            MA:M&A:=:G=LM:KMFHOBG@?HKP:K=

            .0H BLMA>L>GM>G<> >MP>>G:G=

            MA>IE:BGMB??IKHOB=>=<HGMK:<ME:;HNKL>KOB<>LMH

            MA>=>?>G=:GMBG<HKK><M

           *0*/(,",;C><MBHG4A:MMHIB<:K>

           P>M:EDBG@:;HNMGHP

           */#/""!*+1A>L>:K>MA>NLMK:EB:G

           M:QIKH<>>=BG@L      LHKKR MA>NLMK:EB:G<HNKM

           IKH<>>=BG@L

           *0*/(,"1A>NLMK:EB:G<HNKM

           IKH<>>=BG@L LHMA:MPHNE=;>GNF;>K :EEHPLBGJNBKR

           BGMHBG=BOB=N:EL:G=>GMBMB>LB=>GMB?B>=BGMA>

           IKH<>>=BG@L :EHG@PBMAPA:M=H<NF>GML>QBLMK>E>O:GMMH

           MA>E:PLNBM:G=PA>K>MAHL>=H<NF>GML:K>A>E=1A>L>

           JN>LMBHGL=HGHM:==K>LLMAHL>MHIB<L

           */#/""!*+%>BLL:RBG@MA><HGMK:<M

           P:L;:=ER=K:?M>= LH&:FMKRBG@MHNG=>KLM:G=PA:MBM

           P:L:;HNMLH&<:G:LD

           1%"4&1+"00&=B=GHML:R<HGMK:<M

           */#/""!*+0HKKR LM:M>F>GMH?<E:BF
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 350 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG&:F@HBG@MH

            BGLMKN<MABFGHMMH:GLP>K6HNKBGJNBKR<:G;>EBFBM>=

            MHMAHL>LI><B?B<MHIB<L

            */#/""!*+,D:R

            . :GRHN@H=HPGMHI:K:@K:IA IE>:L>

            6>L

            .R<HGMK:<M=:M>=          <:GRHNK>:=

            I:K:@K:IA?HKF> IE>:L>

            R<HGMK:<M=:M>=':GN:KR MA>

           !>?>G=:GM:@K>>=MHI:RMA>-E:BGMB???HKIKHI>KMR:G=

           <HGLNEMBG@L>KOB<>LMH<HFIE>M>K>L>:K<A1A><HGMK:<M

           P:L;HG=>=:@:BGLMMA>BGM>EE><MN:EIKHI>KMRH?MA>

           =>?>G=:GM

           .4A>K>BLMA:M<HGMK:<M;>MP>>G K:B@

           0M>O>G4KB@AM:G=4(&G?H!>?>GL>/>L>:K<A

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00LLM:M>= MA>K>P:L:G

           >KKHKBG=K:?MBG@

           6*/#/""!*+

           .0HMA>K>BLGH<HGMK:<M

           *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

           MA>M>LMBFHGR6HNF:R:GLP>K

           1%"4&1+"00+H &A:O>MA>PKHG@=:M>

           6*/#/""!*+

           .4A:M=:M>P:LBMLNIIHL>=MH;>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 351 of
                                      434

                                                                         -:@>
             &=HGHMK>F>F;>KMA>=:M>H?MA>
             <HGMK:<M
             .&LBMHG>H?MA><HGMK:<MLP>EHHD>=:M
             MH=:R
             6>L
             .&LMA>K>:GRMABG@>EL>PKHG@PBMAMA>
             =H<NF>GM
             *0*/(,",;C><MBHG
             1%"4&1+"00&=HGHMDGHP&PHNE=
            G>>=MHK>:=MAKHN@A>O>KRMABG@EBG> ;R EBG>:G=F:M<A
            BM:EENI
            6*/#/""!*+
            . :GRHNEHHD:MI:K:@K:IA IE>:L>
            6>L
            . :GRHNK>:=BM?HKF>
            1A>IE:BGMB??<HG=N<M>=:IKHC><M?HK
            MA>=>O>EHIF>GMH?:BM<HBG0!(BG>Q<A:G@>
            .4A:MBL0!(
            0H?MP:K>=>O>EHIF>GMDBM
            .!H:GR=H<NF>GML>QBLM:LMHMABL
            =>O>EHIF>GM LH?MP:K>=>O>EHIF>GMDBM
            @:BG MABLBL:G>KKHK1A>IE:BGMB??
            BLFBQ>=NIPBMAMA>=>?>G=:GM
            .0H 4(<HG=N<M>=:IKHC><M?HKMA>
            =>O>EHIF>GMH?MA>BM<HBG0!(
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 352 of
                                      434

                                                                         -:@>
            @:BGPA:MRHN:K>=HBG@BLMA>BGBMB:E

            AHKKB;E> AHKKB;E>LM:M>F>GMH?<E:BFMA:M&A:=MH@H

            BGMH<HNKM:G=A:O>FNEMBIE>HMA>K=H<NF>GML=HG>MH

            <HKK><M;><:NL>P>P>K>GHM>QI><MBG@:GRMABG@?HN@AM

            BMP:LCNLMMH;:LB<:EER>G=:<HGMK:<ML:RBG@:GRMABG@

            MA:M4(A:LMA>R<:GD>>IMA>MABG@L&A:O>@HM

            &D>>I4>:EEFHO>HG A:IIR MA>>G=

            .0HBLBM?:BKMHL:RMA:MRHNP>K>MKRBG@

            MH@>MMABL=HG>:G=BMBLGHM:<<NK:M>

           *0*/(,",;C><MBHG

           1%"4&1+"001ABLBLI:KMH?:

           IKH<>>=BG@L

           6*/#/""!*+

           .4AR=B=RHN?BE>:LM:M>F>GMH?<E:BF

           MA:MP:LBG:<<NK:M>

           *0*/(,",;C><MBHG&:F@HBG@MH

           BGLMKN<MMA>PBMG>LLGHMMH:GLP>K6HN:K>EBFBM>=BG

           MABL=>IHLBMBHG6HN:K>@HBG@MH@>M:GHMA>K;BM>:M

           MABL:IIE>BGM>KFLH?:?NEEF>KBML=>IHLBMBHGH?

           !K4KB@AM*HO>HG)BFBMRHNKJN>LMBHGLMHMA>

           MHIB<LRHNB=>GMB?B>=MHMA><HNKM:G=MA><HNKM

           :IIKHO>=

           6*/#/""!*+

           . :GRHN@HMHI:@> IE>:L> ?HKF>:G=

           I:K:@K:IA
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 353 of
                                      434

                                                                         -:@>
            G=:@:BG MA>L:F>>KKHKLP>K>F:=>PA>G

            MA>L>P>K>?BE>=

            .&G>>=MHDGHPB?:GR=H<NF>GML>QBLM LH

            &:FMKRBG@MHNG=>KLM:G=PA:MBMBLK>:EERLNIIHL>=MH

            L:R0HRHNL:RBMBL:G>KKHK4A:MLAHNE=BML:R

            &=HGHMDGHPPA:MMA><HNKMF:RHKF:R

            GHMA:O>=H<NF>GM PBL>EHMH?=H<NF>GMLP>K>

            IKH=N<>=?HKMA><HNKMEHMH?<A:G@>LP>K>F:=>

            1A>K>@BLM>KK>JNBK>=MA:M&P>GM;:<DL>O>K:EMBF>L:G=

           <HKK><M>=MABG@L&A:G=>=:EEMAHL>=H<NF>GMLMHMA>

           K>@BLM>K&=HGHMDGHPPA:MMA><HNKMA:LHKA:LGHM

           D>IM

           .&P:GMMHDGHPPA:MRHNA:O>D>IM

           &?FRE:PR>KLA:O>BM &A:O>BM

           .4AB<AE:PR>KLPHNE=MABL;>

           1A>L>HG>LKB@AMA>K>

           . :GRHN@H=HPGMHI:K:@K:IA IE>:L>

           6HNL:B=     <:GRHNK>:=I:K:@K:IA

           *//&3"/,1ABL&MABGD

           */#/""!*+)>MNL@HH??MA>K><HK=

           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL

            0AHKMK>:D

           1%"3&!",$/-%"/$HBG@;:<DHGMA>

           K><HK=1A>MBF>BL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 354 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            . :G&=BK><MRHNK:MM>GMBHGMHI:K:@K:IA

            

            6>L

            .G=<:GRHNK>:=MA:M?HKF>

            @:BG MABLBLMA>L:F>>KKHK:L;>?HK>

            1A>PKHG@=:M>BLBGMABLO>KLBHGH?MA>LM:M>F>GMH?

            <E:BF

            .!B=RHNM:D>MA>MA,<MH;>K=:M>

           ?KHF:=H<NF>GM

           1A>K>BLGHMA,<MH;>K=H<NF>GM

           MA:M&DGHPH?&M<HNE=A:O>;>>GM:D>G?KHF:

           =B??>K>GM=H<NF>GM:G=INMBGBG>KKHK1ABL=H>LGHM

           K>?>KMHMA:M=H<NF>GM

           . :GRHN@HMH IE>:L> HGI:@>:M

           MA>MHI

           6>L

           . :GRHNK>:=?HKF>

           &G*:RMA>IKBF:KR=BK><MHKH?MA>

           =>?>G=:GM=B>=E>:OBG@MA>IKHC><MGHMMK:GL?>KK>=MH

           MA>IE:BGMB??:G=GHMK>MNKGBG@?NG=L1A>L>?NG=LP>K>

           K:M>=:L:11         

           .1A:MBL?BG>'NLM GHMMA>: ; <

           =1A>K>BLMA>G:EBLMH??NG=L;>EHPMA:MBG: ; <

           :G==BLMA:MGHM<HKK><M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 355 of
                                      434

                                                                         -:@>
            6>L

            .!H:GR=H<NF>GML>QBLMMA:MO:EB=:M>MA:M

            MA>L>?NG=LP>K>IKHOB=>=

            *0*/(,",;C><MBHGFBL<A:K:<M>KBL>L

            MA>=H<NF>GM:G=PA:MBMLM:M>L6HN<:G:GLP>K

            */#/""!*+6HN<:G:GLP>K

            1%"4&1+"00:LB<:EER MABLL:RL?NG=L

            P>K>F>:GMMH;>@BO>G?KHF!>I:KMF>GMH?%HF>E:G=

            0><NKBMRB?!:O>A:=@HG>MAKHN@APBMAMABG@L

           2G?HKMNG:M>ER!:O>=B=GHM<HGMBGN>PBMAMA>?BEBG@

           :?M>KA>P>GMBGMHAHLIBM:E LHMA>I:RF>GME:IL>=

           1ABLP:LGHM?NG=L?KHFF> MABLP:L?NG=LMA:MPHNE=

           A:O>;>>G<HFIE>M>=&<HFIE>M>=MAHL>MABG@L MA>

           I:I>KL:K>IN;EBLA>= :G=MA>HMA>KF:M>KB:EP:L

           IKH=N<>=

           6*/#/""!*+

           .6HNL:B=MA>I:RF>GME:IL>=4A:M

           I:RF>GM:K>RHNK>?>KKBG@MH

           *0*/(,",;C><MBHG6HN<:G:GLP>K

           1%"4&1+"001A>!>I:KMF>GMH?%HF>E:G=

           0><NKBMR?NG=MA:M!:O>P:LMA>K> PAB<AP:L;><:NL>A>

           P:L:O>M>K:G+HG>H?MA:M<:G;>?BE>=HG:O>M>K:G

           PAHBL=>:= :G=&;>EB>O>I:KMH?MA>IKH;E>FP:LA>

           =B=GHM?BE>:GRM:Q>L:M:EEBG:GRH?MA><HFI:GB>L

           PAB<ABGO:EB=:M>=:GRH?MA>MABG@LA>P:L@HBG@?HK
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 356 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            . HNE=RHNEHHD:M?HKF>

            6>L

            . :GRHNK>:=BM?HKMA>K><HK=

            1A><HGMK:<ML>MMA>BGM>K>LMK:M>:M

            <:E<NE:M>=:GGN:EER

            . :GRHNM>EEF>PA:M<HGMK:<ML>MLMA>

            BGM>K>LMK:M>:M:GGN:EER

            *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"004A>GRHN:K>M:EDBG@:;HNM

           +>P0HNMA4:E>L MA>+>P0HNMA4:E>L<HGMK:<MK:M>P:L

           :;HNM&M?EN<MN:M>L;>MP>>G:G=1ABLBL:

           <HNKMIKH<>>=BG@ MRI>MABG@:G=B?RHN:K>M:EDBG@:;HNM

           L>MMBG@@HO>KGF>GMF:G=:M>=MABG@LP>A:O>AB@ABGM>K>LM

           K:M>LBGNLMK:EB:;><:NL>P>A:O>:<K:IIR;:G:G:

           K>IN;EB< MRI>><HGHFB<

           6*/#/""!*+

           .0H MA><HGMK:<MBLGHM:K>?>K>G<>MH

           MA>:<MN:E<HGMK:<MMA:MBL;>MP>>GRHN:G=4(

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"004A>GRHN:K>LM:MBG@MA:M

           <>KM:BGMABG@L:IIER:LBGCNKBL=B<MBHGBGNLMK:EB::G=

           MABLLHKMH?5 6 7 MA>GBM:ELHBFIEB>LBGM>K>LM

           PAB<A PA>GRHN:K>INMMBG@BGM>K>LM           PA>GRHN:K>

           =HBG@MABLLHKMH?LMN?? A:LMH;>INMBGMH<HNKM?HK
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 357 of
                                      434

                                                                         -:@>
            LM:M>F>GMH?<E:BF

            6*/#/""!*+

            . :GRHNEHHD:M?HKF> IE>:L>

            6>L

            . :GRHNK>:=BM?HKMA>K><HK=

            1A>&-BLLH?MP:K>:G=<H=>NL>=;RMA>

            20*BEBM:KR 8!>I:KMF>GMH?%HF>E:G=0><NKBMR9:G=HMA>K

            :LLH<B:M>=I:KMB>L

            .!H:GR=H<NF>GML>QBLMMA:MLN;LM:GMB:M>

           MA:MMABL

           &PBEEA:O>MHM:D>MABLH??EBG>

           .!H>LMABLK>E:M>MHMA>F:MM>KLRHNP:GM

           MHLI>:DMHMA><HNKM:;HNMBG<:F>K:

           6>L

   H       .
              . :GRHN@HMHI:@>?HKF>1A>

           LB@G:MNK>BGMA>FB==E>H?MA>I:@>
              LB@G:MNK>BGMA>FB==E>H?MA>I:@> BLMA:MRHNK

           LB@G:MNK>
              LB@G:MNK>

           6>L
              6>L

           .
              . :GRHN@HMHI:@>?HKF>&LMA:M

           LB@G:MNK>BGMA>FB==E>H?MA>I:@>RHNKLB@G:MNK>
              LB@G:MNK>BGMA>FB==E>H?MA>I:@>RHNKLB@G:MNK>

           6>L
              6>L

           */#/""!*+&G>>=:=KBGD:G=:

           ;:MAKHHF;K>:D&?P><HNE=

           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 358 of
                                      434

                                                                         -:@>
             0AHKMK>:D

            1%"3&!",$/-%"/$HBG@;:<DHGMA>

            K><HK=1A>MBF>BL1A:GDRHN

            1%"'2!$" R1>E>IAHG> ,D:R <HNGL>E

            PA:M<:G&=H?HKRHNMH=:R

            */#/""!*+6HNK%HGHNK MABLBL

            *K#K>>=F:G4>A:=:<HNIE>H?JN>LMBHGLMA:MMA>

            PBMG>LLA:L>BMA>KCNLMK>?NL>=MH:GLP>KHKA:L;>>G

            BGLMKN<M>=GHMMH:GLP>K :G=MA>K>BLHG>I:KMB<NE:K

           BLLN>MA:M&PBEEE>M=>?>G<><HNGL>EM:EDMHRHN:;HNM

           ;NM

           1%"'2!$",D:R

           */#/""!*+            B?&<HNE=K:BL>MA>

           JN>LMBHGLMA:MMA>PBMG>LLA:LK>?NL>=MH:GLP>KHKA:L

           ;>>GBGLMKN<M>=GHMMH:GLP>K1A>K>:K>HGER:<HNIE>

           H?MA>F

           1%"'2!$"0NK>

           */#/""!*+4>:LD>=!K4KB@AM

           :G= RHNK%HGHNK CNLMLHRHN:K>:P:K>!K4KB@AMBL

           A>K>BGMA>KHHF

           1%"'2!$",D:R%>EEH !K4KB@AM

           1%"4&1+"00%>EEH%HP:K>RHN

           */#/""!*+4>:LD>=!K4KB@AMAHP

           FN<ABM<HBGA>FBG>=?KHF':GN:KRH?NGMBE

           !><>F;>KH? PAB<AP:LABLM>LMBFHGRHGMA>MBF>A>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 359 of
                                      434

                                                                         -:@>
            FBG>=BM<HBG%>P:LBGLMKN<M>=GHMMH:GLP>KMA>

            JN>LMBHG4>;>EB>O>MABL@H>LMHMA>MK:<BG@?HKP:K=

            BLLN>:G=P>P>K>MHE=MABLFHKGBG@MA:MP>P>K>GHM

            K><>BOBG@MA>EBLMH?BM<HBGP:EE>MLP>P>K>LNIIHL>=

            MHK><>BO>;>?HK>MA>=>IHLBMBHG4>G>O>K@HMMA>

            EBLM

            1%"'2!$",D:R LH&:F<E>:K MA>

            JN>LMBHGBL AHPFN<ABM<HBG=B=A>FBG>BG:G=

            

           */#/""!*+ HKK><M1A:MBLMA>

           ?BKLMJN>LMBHG

           1%"'2!$"4AR=HRHNGHM@BO>F>:EE

           MA>JN>LMBHGL1A:MP:R&<:GA:O>*K/BO>KHHK

           *L*:KDH>K>LIHG=MH:EEH?MA>F MA>G&PBEEA:O>RHN

           :==K>LL:EEH?MA>F:G=MA>G&PBEE<HF>MH:<HG<ENLBHG

           :;HNM:EEH?MA>F

           */#/""!*+0NK>

           *//&3"/,'N=@> CNLM;>?HK>MA>

           EBLMBG@     MABLBLG=KUL/BO>KH       &;>EB>O>;R

           M>E>IAHG>:LP>EEP>A:O>*KK>GG>K:G=*K*<=:FL

           PAH:K>E:PR>KL:MHB>L0<ABEE>K:G= :ME>:LM:LH?

           LHF>IHBGM=NKBG@MA>=>IHLBMBHG MA>IE:BGMB??&K:

           (E>BF:G:ELH;RM>E>IAHG>

           *//"++"/1A:MBLKB@AM1ABLBL

           G=K>PK>GG>K?HKHB>L0<ABEE>K;RM>E>IAHG>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 360 of
                                      434

                                                                         -:@>
            */* !*0'HAG*<=:FL;RM>E>IAHG>

            */()"&*+ R1>E>IAHG> &K:(E>BF:G

            1%"'2!$"1A:GDRHN:EEO>KRFN<A

            */#/""!*+1A>L><HG=JN>LMBHG RHNK

            %HGHNK P:L =B=RHN>O>KM>EE!:O>(E>BF:GAHPFN<A

            BM<HBGRHNA:=FBG>= :G=MA>PBMG>LLP:LBGLMKN<M>=

            GHMMH:GLP>K1A>PBMG>LLBG?HKF>=NL

            1%"'2!$"&:FLHKKR P:LMA>K>:

            MBF>?K:F>:MM:<A>=MHMA:MJN>LMBHG!NKBG@PA:MMBF>

           I>KBH==B=A>FBG>BMHKCNLM@>G>K:E

           */#/""!*+&PHNE=A:O>MH<A><DMA>

           K><HK= RHNK%HGHNK ;NMMA>JN>LMBHGBLCNLM?KHF

           NGMBE ;><:NL>!K4KB@AMLM>LMBFHGRP:LMA:MA>

           LMHII>=FBGBG@:G=MA>G=B=GHM;>@BG:@:BGNGMBE

           PA>G!:O>(E>BF:GP:L:EK>:=R=>:=

           1%"'2!$",D:R

           */#/""!*+1A>MABK=JN>LMBHGP:L

           MA:M!K4KB@AMA:=M>LMB?B>=MA:MABL>Q PB?> )RGG>

           4KB@AM A:=;>>GHG> F:BE<HFFNGB<:MBHGLPBMA!:O>

           (E>BF:G:;HNMMA>?HNG=BG@H?4( ;NMMA>GK>?NL>=MH

           :GLP>K:GRJN>LMBHGL:;HNM)RGG>4KB@AM=N>MH             :G=B?

           &:FFBLLM:MBG@MABLIE>:L><HKK><MF>=>?>G<>

           <HNGL>E     :GH:MAMA:MA>?BE>=PBMAMA><HNKMLBG

           NLMK:EB:GHMMHM:ED:;HNMABL>Q PB?>

           1%"'2!$",D:R
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 361 of
                                      434

                                                                         -:@>
            */#/""!*+G=MA>G!K4KB@AM:ELH

            K>?NL>=MH:GLP>K:GRJN>LMBHGL:;HNMABL<NKK>GMPB?>

            *L/:FHG:4:MML PAHBLEBLM>=:L:=BK><MHKH?F:GR

            =B??>K>GM<HFI:GB>L%>P:LGHMBGLMKN<M>=GHMMH

            :GLP>K A>CNLMK>?NL>=MH:GLP>KMA>JN>LMBHGL

            1%"'2!$",D:R

            */#/""!*+1AHL>:K>MA>?HNK

            JN>LMBHGLMA:M=HGHMMHN<AHGMABLHMA>KBLLN>

            KB>?ER MA>K>:K>HMA>KJN>LMBHGLMA:M!K4KB@AMA:L

           K>?NL>=MH:GLP>K HGG:MBHG:EL><NKBMR@KHNG=L :G=

           =>?>G<><HNGL>EA:LK>JN>LM>=:GBG<:F>K:=BL<NLLBHG

           PBMARHN:;HNMMA>F&PBEEE>MMA>FM:EDMHMA:M ;NM

           MAHL>?BKLM?HNK:K>MA>JN>LMBHGLMA>IE:BGMB??BL

           K:BLBG@GHP

           1%"'2!$"@:BG LHHNKK><HK=BL

           <E>:K MA>IE:BGMB??BL:LDBG@F>MH<HFI>E!K4KB@AM

           MHIKHOB=>MKNMA?NE:GLP>KLMHMAHL>?HNK:K>:LH?

           JN>LMBHGBG@

           */#/""!*+ HKK><M

           1%"'2!$",D:R)>MF>A>:K?KHF

           <HNGL>E?HK!K4KB@AM

           *0*/(,"6HNK%HGHNK MABLBL7:A:K:A

           *:KDH>%HP:K>RHNMABL:?M>KGHHG#HKNLO>KRE:M>

           BGMA>>O>GBG@

           1%"'2!$"&:F?BG> *L*:KDH>1A:GD
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 362 of
                                      434

                                                                         -:@>
            RHN$HH=:?M>KGHHG

            *0*/(,"$HH=:?M>KGHHG6HNK

            %HGHNK BMBLHNKIHLBMBHGMA:MMABLBL:

            EBFBM>= BG L<HI>=>IHLBMBHG IKBF:KBERM:K@>M>=:M

            =BL<HO>KRBLLN>L HI>GBG@=HHKL <EHLBG@=HHKL MA>

            EH<:MBHGH?=H<NF>GML :G=MA>EH<:MBHG:G=

            B=>GMB?B<:MBHGH?PBMG>LL>L PBMALHF>E>>P:R PAB<AP>

            ;>EB>O>P>A:O>;>>GFHK>MA:G?:BKBGIKHOB=BG@

            4BMAK>@:K=MHMA>?BKLMJN>LMBHG PAB<A

           BLAHPFN<ABM<HBG=B=!K4KB@AMFBG>;>MP>>G:G=

            MA:M@H>L;>RHG=MA>L<HI>4>:EEHP>=ABFMH

           :GLP>KJN>LMBHGL:;HNMMA>EH<:MBHGH?MA><HFINM>KL

           MA:MP>K>NL>=MHFBG> :G=P>:ELH:EEHP>=ABFMH

           :GLP>KJN>LMBHGL:;HNMPA>MA>KHKGHMA>FBG>=BG:GR

           P:RBG<HGCNG<MBHGPBMA>BMA>K!:O>(E>BF:GHK4(G=

           MA>:GLP>KP:LMA>K>P:LGHFBGBG@PBMA!:O>(E>BF:GHK

           PBMA4(1A>K>?HK> BMBLHNKIHLBMBHGMA:MAHPFN<A

           A>FBG>=HGABLHPG;>MP>>G:G=BL;HMA;>RHG=

           MA>L<HI>:G=?NKMA>KBKK>E>O:GM

           1%"'2!$",D:R%BLM>LMBFHGRP:LMA:M

           A>G>O>KFBG>=:GRMABG@PBMA*K(E>BF:G

           *0*/(," HKK><M

           1%"'2!$",D:R

           *0*/(,"4BMAK>@:K=MHMA>L><HG=

           JN>LMBHG =B=RHN>O>KM>EE!:O>(E>BF:GAHPFN<A
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 363 of
                                      434

                                                                         -:@>
            BM<HBGRHNFBG>=;>MP>>G:G= :@:BGMABLBL:

            EBFBM>= BG L<HI>=>IHLBMBHG :L&NG=>KLMHH=BM&MBL

            GHM@HBG@MHMA>F>KBML:G=P>;>EB>O>MA:MMA:M

            JN>LMBHGP>GMMHH?:KBGMHMA>F>KBML :G=BLGHM

            :IIKHIKB:M>?HKMABL=>IHLBMBHG

            1%"'2!$",D:R

            *0*/(,"4BMAK>@:K=MHMA>JN>LMBHGL

            :;HNM)RGG>4KB@AM &;>EB>O>LI><B?B<:EERHG>H?MAHL>

            JN>LMBHGLP:LAHP=B=MA>RF>>M : MA:MBLBKK>E>O:GM

           :G=MA>G  ;     !K4KB@AMA:LM>LMB?B>=BGMABL

           =>IHLBMBHGMA:MA>A:LBGABL=BOHK<>L>MME>F>GM

           :@K>>F>GM:@K>>=GHMMH=BL<NLL)RGG>4KB@AM LHA>

           ;>EB>O>LA>BL;HNG=;RMA:M:@K>>F>GM :G=MA:M=BOHK<>

           L>MME>F>GM4BMAK>@:K=MHABL<NKK>GMPB?> ABL

           IHLBMBHGBLMA:MA>F:=>:GH:MAMHABLPB?>GHMMH

           =BL<NLLA>K LHA>PHNE=EBD>MHAHGHNKMA:MH:MA

           @:BG HG>H?MA>LI><B?B<JN>LMBHGLMA:MP:LH;C><M>=

           MH?NKMA>K@H>L;>RHG=MA>L<HI>BGM>KFLH?AHP=B=A>

           F>>M1A>L>PBMG>LL>LA:O>:EK>:=R;>>GB=>GMB?B>=

           1A>K>BLGH?NKMA>KBG?HKF:MBHGMA:MBLK>JNBK>=:LBM

           K>E:M>LMHMABL=>IHLBMBHG PAB<A:@:BGEBFBM>=BG

           L<HI>0H MA:MBLFRK>LIHGL>MHMAHL>?HNKJN>LMBHGL

           1%"'2!$")>MF>LM:KMH??PBMAHG>HK

           MPH?HEEHP NIJN>LMBHGL&A:O>?HKRHNLMHABL

           <NKK>GMPB?> /:FHG:4KB@AM :K>RHNBGOHDBG@:GRLHKM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 364 of
                                      434

                                                                         -:@>
            H?F:KBM:EIKBOBE>@>NG=>K20E:PHK:K>RHNLBFIER

            K>ERBG@NIHGLHF>HMA>K;:LBLNIHGPAB<AA>BLE>@:EER

            ;HNG=

            *0*/(,"&;>EB>O>BM=>I>G=LHGMA>

            JN>LMBHG&MABGDMA:MMA>K>P>K>:<HNIE>H?JN>LMBHGL

            MA:MP>GMBGMHLIHNL:E<HFFNGB<:MBHGL <>KM:BGER :G=

            :@:BG:L&L:B= &MABGDMA:MMA>JN>LMBHGK>@:K=BG@AHP

            MA>RF>M<>KM:BGERBL  :        BKK>E>O:GM :G= ; @H>L

            ;>RHG=MA>L<HI>H?MABL=>IHLBMBHG

           1%"'2!$",D:R INM:LB=>MA>LIHNL:E

           <HFFNGB<:MBHGL :K>RHN:ELHBGOHDBG@MA>LIHNL:E

           M>LMBFHGB:EIKBOBE>@>

           *0*/(,"6>L

           1%"'2!$"&GM>KFLH?ABL>Q PB?>

           )RGG>4KB@AM      :G=&NG=>KLM:G=MA>K>F:R;>LHF>LHKM

           H?<HNKMIKH<>>=BG@BGNLMK:EB:MA:MA>?>>EL;HNG=

           ;R    PA:MBLRHNKIHLBMBHG:LMHPA>MA>K&<:GHK=>K

           ABFMH=HLHF>MABG@>O>GB?MA>NLMK:EB:G<HNKMA:L

           L:B=HKABL:@K>>F>GMBGNLMK:EB:L:B=MA:MA><:GGHM

           >O>GB?&A:O>MA:M:NMAHKBMR

           *0*/(,"&MPHNE=;>HNKIHLBMBHG

           MA:MRHN=HGHMA:O>MA:M:NMAHKBMR RHNK%HGHNK

           K>LI><M?NEER H?<HNKL>

           1%"'2!$"1A:MBLPAR&:F:LDBG@

           4A:M:;HNMMA>BLLN>       P>A:O>A:=LHF:GRA>:KBG@LBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 365 of
                                      434

                                                                         -:@>
            MABL<:L>MA:M&=HGHMK>F>F;>K>O>KRMABG@ ;NM&=H

            K><:EEMA:M&A:=HK=>K>=MA>IKH=N<MBHGH?:EBLMH?

            BM<HBG4:LMA:MGHM=HG>

            *0*/(,"6HNK%HGHNK RHNA:=HK=>K>=

            IKH=N<MBHGH?:EBLMH?ABLBM<HBG:M:I:KMB<NE:K

            IHBGMBGMBF>HK:EEHPNLMA>HIIHKMNGBMRMHF:D>:G

            H;C><MBHGIKH;:;ER;R?HKF:EFHMBHG:LMH

            ;NK=>GLHF>G>LL4>PBEEIKH;:;ER;>?BEBG@MA:MFHMBHG

            LHHG1A>K>BLGHLN<A=H<NF>GMMA:M>QBLMLK>@:K=BG@

           ABLEBLMH?IN;EB<:==K>LL>L:M &;>EB>O>BMP:L

           !><>F;>KLM  :G=MH<HFIBE>MA:MEBLMPHNE=;>

           BG<K>=B;ER;NK=>GLHF>4>PBEE;>?BEBG@:FHMBHGMH

           MA:M>??><M

           %HP>O>K FHK>BFIHKM:GMER PBMAK>@:K=MH

           MA>JN>LMBHGLMA:MP>K>:MBLLN>BGMABL=>IHLBMBHG

           MA>R=B=GHMK>E:M>MH:==K>LL>L1A>JN>LMBHGLP>K>

           :;HNMAHPFN<ABM<HBG!K4KB@AMFBG>=:G=PA>MA>KA>

           >O>KMHE=!:O>(E>BF:GAHPFN<ABM<HBGA>FBG>= :G=BM

           P:LHNKIHLBMBHG :G=K>F:BGLHNKIHLBMBHG MA:MMAHL>

           @H;>RHG=MA>L<HI>H?MABL=>IHLBMBHG

           1%"'2!$",D:R&A:O>A>:K=RHNHG

           MA:M)>MF>MNKG;:<DMH*K#K>>=F:G;>?HK>&F:D>FR

           KNEBG@L*K#K>>=F:G

           */#/""!*+6HNK%HGHNK MABLBL

           *K#K>>=F:G#BKLMH?:EE &=HGHMDGHPB?MA><HNKM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 366 of
                                      434

                                                                         -:@>
            K><:EEL ;NMMA><HNKML>M:=>:=EBG>HGPA>GMA:M

            FHMBHG?HK;NK=>GLHF>G>LLPHNE=A:O>A:=MHA:O>;>>G

            ?BE>=:G=BMP:LINKIHL>ERL>MBG:=O:G<>LHMA:MMABL

            BLLN><HNE=;>=>:EMPBMABG:=O:G<>H?MABL=>IHLBMBHG

            1A>FHMBHGP:LG>O>K?BE>=4>MAHN@AMBMPHNE=;>

            <HFBG@1A>EBLMG>O>K<:F>

            *0*/(,"&PHNE=EBD>:IHBGMH?

            <E:KB?B<:MBHG4>A:=:<MN:EER:LD>=*K#K>>=F:G?HK

            :G>QM>GLBHGH?MBF>MH?BE>MA:MFHMBHG ;><:NL>MA:M

           FHMBHGP:L<HGM>FIE:M>=MH;>?BE>=:?M>KHNKE:LM

           A>:KBG@*K#K>>=F:GG>>=>=MHFHO>MA:ME:LMA>:KBG@

           ?HKK>EB@BHNLINKIHL>L:G=P>:<<HFFH=:M>=MA:MK>JN>LM

           4>:LD>=?HK:LBFBE:K>QM>GLBHGH?MBF>PBMAK>@:K=MH

           ?BEBG@HNKFHMBHG1H;>?K:GD *K#K>>=F:GG>O>K@HM

           ;:<DPBMANL:G=&MABGDMABLBLCNLMLHF>MABG@MA:M

           LEBII>=MAKHN@AMA><K:<DL

           1%"'2!$"+HIKH;E>F&DGHP<HNGL>E

           BGMABL<:L>A:O>:EHM@HBG@HG:G=:K>PHKDBG@O>KR

           A:K=&A>:KRHN:LMHMA:M ;NMMA>?:<MBLBMP:LGHM

           R>MIKH=N<>=:G=RHN:K>:LDBG@?HKE>:O>MH?BE>:

           FHMBHG&NG=>KLM:G=MA>LMKN<MNK>H?PA>K>P>:K>

           *K#K>>=F:G BLMA>K>:GRMABG@>EL>RHNP:GMMH:==K>LL

           HGMA>F>KBMLH?MA>L>?HNKMABG@L          :K>:L

           */#/""!*+6>L RHNK%HGHNK

           :;LHENM>ERLMA><HNKMBL:P:K> BMBLHNK<HGM>GMBHG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 367 of
                                      434

                                                                         -:@>
            MA:MMA>BM<HBGFBG>=;R!K4KB@AM?KHF :G=A>

            M>LMB?B>LNGMBEMA>>G=H? P:L=HG>BGI:KMG>KLABI

            PBMA!:O>(E>BF:G :G=LHMA>:FHNGMH?BM<HBGMA:MP:L

            FBG>==NKBG@MA:MI>KBH=BLK>E>O:GMMHIE:BGMB??L

            <E:BFL4A>MA>KHKGHMA>BG?HKF>=!:O>(E>BF:G:;HNM

            MABL:FHNGMBLK>E>O:GM :@:BG MHMA>I:KMG>KLABI:G=

            BGI:KMB<NE:K?HKMABL=>IHLBMBHG PA>MA>KMAHL>

            <HFFNGB<:MBHGLLMBEE>QBLM:GRPA>K>

            LMHJN>LMBHGL:;HNM*L4KB@AM MA>K>

           P>K>BGBMB:EJN>LMBHGL:;HNMAHPMA>RA:=F>MMH

           =>M>KFBG>MA>MBF>?K:F>H?PA>GLA><:F>BG,;OBHNLER

           &:FA:IIRGHMMH:LDMAHL>JN>LMBHGL1A>INKIHL>

           PHNE=;>MHNG=>KLM:G=PA:MLA>DGHPL:;HNM:G=PA:MLA>

           =H>LGHMDGHP:;HNMMHL>>PA>MA>KHKGHMLA>BL:

           PBMG>LL?HKMA><:L>

           LMHJN>LMBHGL:;HNM*L4:MML

           H;OBHNLERB?<HNGL>EBGOHD>LLIHNL:EIKBOBE>@>MA:MBL

           HG>MABG@ ;NMJN>LMBHGLP>K>GHM:;HNM<HFFNGB<:MBHGL

           MA>RP>K>JN>LMBHGL:;HNMPA:M<HFI:GB>LLA>P:L:

           =BK><MHKHG &;>EB>O> :G=<>KM:BGERP>PHNE=>QIEHK>

           MA:MMHIB< ;NM:?M>K:LDBG@:?>PJN>LMBHGL:G=;>BG@

           @BO>GMA>L:F>F:GMK: &PBEEGHM=BL<NLL:GRMABG@

           :;HNMFRPB?> P>FHO>=HG LHP>G>O>K@HM:<A:G<>MH

           ?NEER>QIEHK>MAHL>MHIB<L

           1%"'2!$",D:R MA:GDRHNGRMABG@
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 368 of
                                      434

                                                                         -:@>
            ?NKMA>K *K#K>>=F:G

            */#/""!*++H RHNK%HGHNK

            1%"'2!$"1A:GDRHN)>MF>KNE>L

            MHMA>?BKLM:K>: PAB<ABL>GJNBKBG@H?!K4KB@AM

            NG=>KH:MAAHPFN<ABM<HBGA>FBG>=BG

            &PBEE=>?>KMA:M&PBEEGHMK>JNBK>ABFMH:GLP>K

            MA:MJN>LMBHGMH=:R;><:NL>&;>EB>O>B?&=>M>KFBG>

            MA:M:L:IKHI>KLN;C><MF:MM>K:K>: MA:M<:G;>

            K>LIHG=>=MHMAKHN@A:M:K@>M>=BGM>KKH@:MHKR:G=B?

           &=>M>KFBG>MA:MBMBLK>E>O:GM &PHNE=K>JNBK>ABFMH

           K>LIHG=MHMA:MBGM>KKH@:MHKRNG=>KH:MA:LB?A>P>K>

           :LD>=MA>JN>LMBHGEBO>0BG<>MA:MBLLBFIER:?:BKER

           LMK:B@AM?HKP:K=JN>LMBHGH?AHPFN<ABM<HBGMA:MLAHNE=

           GHM;>MHH;NK=>GLHF>MHK>LIHG=MH ;NM&PBEE=>:E

           PBMAMA:MBGMA><HGM>QMH?:GRFHMBHG:G=&PBEE@K:GM

           E>:O>?HKMA>=>?>G<>MH?BE>:FHMBHGK>E:MBG@MH

           IKHOB=BG@:EBLMH?MA>BM<HBG ;><:NL>:@:BGH;OBHNLER

           B?&HK=>KABFMHIKHOB=>MA>EBLMRHN:K>@HBG@MH@>M

           :EHMFHK>=>M:BEMA:GCNLMMA>?BG:EGNF;>K0H :LMH

           MA:MBLLN> &PBEEGHMK>JNBK>ABFMH:GLP>KMAHL>

           JN>LMBHGLMH=:R

           LMHMA>:K>:H?JN>LMBHGBG@:;HNM

           PA>MA>KA>MHE=!:O>(E>BF:GAHPFN<AA>FBG>= &PBEE

           =BK><MABFMH:GLP>KMAHL>JN>LMBHGL&;>EB>O>MA:M

           BLGHMNG=NER;NK=>GLHF>&;>EB>O>BMBLK>E>O:GMMH
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 369 of
                                      434

                                                                         -:@>
            MA>IE:BGMB??LMA>HKRMA:MMA>K>P:L:I:KMG>KLABI

            A>K> :G=ABL:GLP>KL:K>PA:MMA>R:K>&?A>MHE=

            *K(E>BF:GPA:MA>P:L=HBG@A>LAHNE=:GLP>KMA:M:G=

            B?A>=B=GHMA><:G:GLP>KMA:M

            LMHMA>BLLN>LK>E:MBG@MHMA>>Q PB?>

            )RGG>4KB@AM &PBEE:EEHPMA>=>?>G<>MH?BE>:

            ;KB>?BG@:LMHPA>MA>K :L:F:MM>KH?E:P &:F

            IK><EN=>=?KHF<HFI>EEBG@MABLM>LMBFHGR&PBEEGHM

            HIBG>:LMHPA>MA>K       &PHNE=IKH;:;ER;>BG<EBG>=MH

           <HFI>EMA>M>LMBFHGRB?MA>E:P:EEHPLF>MH=HLH ;NM

           &<:GGHM<E:BFMH;>:G>QI>KMHGNLMK:EB:GE:PHKMA>

           BGM>K:<MBHGL;>MP>>G20E:P:G=NLMK:EB:GE:PHGMABL

           BLLN>$BO>GMA:M&A:O>:EK>:=RL:B=MA:M!K4KB@AM

           <:G;>=>IHL>=:L><HG=MBF> &PBEE=>?>KMA:MBLLN>

           :G=:EEHPMA>=>?>G<>MBF>MH?BE>:GRFHMBHGMA>RP:GM

           MH?BE>HGMA:M

           *RKNEBG@PBEE;>MA>L:F>:LMHMA>

           JN>LMBHGLK>E:MBG@MH:GR<HFFNGB<:MBHGLHKM>LMBFHGR

           K>E:MBG@MHABL<NKK>GMPB?>@:BG&PBEE:EEHPMA>

           =>?>G<>MH?ENLAHNM:GRIKBOBE>@>:K@NF>GMLMA>RP:GM

           MHF:D>&PBEE:EEHPMA>IE:BGMB??LMHK>LIHG=HGERMH

           :GRIKBOBE>@>:K@NF>GML:LMH>BMA>KMA><NKK>GMHKI:LM

           PB?>:G=&PBEEKNE>HGMA:M:M:E:M>KMBF>

           &MABGD&A:O>GHP=>:EMPBMAMA>?HNK

           :K>:LMA:MP>K>K:BL>=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 370 of
                                      434

                                                                         -:@>
            &GM>KFLH?MA>G:MBHG:EL><NKBMR

            BLLN>L    LHKKR *K#K>>=F:G GHMP:BOBG@:GR

            H;C><MBHGLMHFRKNEBG@ P>K>MA>K>:GRHMA>KBLLN>L

            MA:MRHNK>JNBK>F>MHKNE>HGHKRHNK>JN>LMMA:M&

            KNE>HGMABL:?M>KGHHG

            */#/""!*+'NLMMA>G:MBHG:EL><NKBMR

            LMN?? RHNK%HGHNK

            *0*/(,"G=RHNK%HGHNK?HKMA:M

            LHKKR @H:A>:=

           1%"'2!$" :GRHN:LDF>MA><HGM>QM

           MA>DBG=LH?JN>LMBHGL?HKPAB<AMA>G:MBHG:EL><NKBMR

           BLLN>L:K>@HBG@MHK>E:M>)>MNLLM:KMPBMAMA:M

           *0*/(,"&;>EB>O>BM<:F>NIBG?HNK

           <HGM>QML,G>K>E:M>=MHMA>         P>EE MPHJN>LMBHGL

           K>E:M>=MHMA>B=>GMBMRH?I:KMB<NE:KI>HIE>&;>EB>O>

           HG>K>E:M>=MH:MKNLM<:EE>=$& 0/ :G=MA>MABK=

           K>E:M>=MH"QAB;BM LB< MHMA><HFIE:BGM :G=BMBL

           &;>EB>O> I:@>H? HGI:K:@K:IA1A>&-BL

           LH?MP:K>:G=<H=>NL>=;RMA>20*BEBM:KR !%0:G=HMA>K

           :LLH<B:M>=I:KMB>L >KM:BGER*K#K>>=F:GLAHNE=

           <HKK><MF>B?&>BMA>KFBLLM:M>=HKFBLL>=:@>G>K:E

           MHIB<:K>:

           1%"'2!$",D:R RHNL:B=MA>K>P>K>

           ?HNK ;NMMA>K>:K>HGERMPH*:R;>RHN:K>F>K@BG@

           MA>FMH@>MA>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 371 of
                                      434

                                                                         -:@>
            *0*/(,"0HHG>P:LMA>B=>GMBMRH?

            I:KMB<NE:KI>HIE>PAHF:RA:O>A:=BGOHEO>F>GMBG

            I:KMB<NE:KIKHC><ML1PHP:LK>E:M>=MH:MKNLM<:EE>=

            $& 0/1A>MABK=P:LK>E:M>=MH"QAB;BM LB<             :G=

            MA>GF:R;>&FBLLIHD>PA>G&L:B=?HNK &<HNE=A:O>

            FBLLIHD>G

            1%"'2!$",D:R

            *0*/(,"&A:O>MAK>>

            1%"'2!$"&A:O>GHM<HFFBMM>=:

           <HFIE:BGMHG:EEH?BML:MM:<AF>GMLMHF>FHKR :GRHN

           A>EIF>HNMPBMAPA:MBLHGI:@>H?:MI:K:@K:IA

           

           *0*/(,"6>L&ML:RL1A>&-

           :G=MABLBLK>@:K=BG@MA>+>P0HNMA4:E>LLM:M>F>GMH?

           <E:BF    BLLH?MP:K>:G=<H=>NL>=;RMA>20*BEBM:KR

           !%0:G=HMA>K:LLH<B:M>=I:KMB>L

           1%"'2!$",D:R*K#K>>=F:G

           */#/""!*+6>L RHNK%HGHNK &MABGD

           *K*:KDH>E:B=BMHNM ;NMCNLMMH@BO>:EBMME>;BMH?

           @EHLLHGBM MA>B=>GMBMRH?MA>?BKLMI>KLHGP:LPA>G

           !K4KB@AM?BKLMK>:<A>=HNMMH)HNBL(E>BF:G PAB<ABL

           !:O>:G=&K:L?:MA>K%>L:B=MHABF6HNKLHG!:O>

           :G=&:K>MPHH?MA>MAK>>D>RI>HIE>;>ABG=BM<HBG

           4>:LD>=MA>B=>GMBMRH?MA>MABK=I>KLHG:G=P>K>MHE=

           P>P>K>GHM:;E>MHDGHPMA:MBG?HKF:MBHG?HKG:MBHG:E
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 372 of
                                      434

                                                                         -:@>
            L><NKBMRK>:LHGL

            1A>L><HG=BLMA:MBGK>LIHGL>MH:G

            BGM>KKH@:MHKRK>JN>LMMA:MMA><HNKMHK=>K>=!K4KB@AM

            MHK>LIHG=MH:MMA>E:LMA>:KBG@ !K4KB@AMPKHM>

            1A>K>P:L:GBG=BOB=N:EPAHA>EI>=F>BGMA>O>KR>:KER

            LM:@>LH?FRK>L>:K<A P>EE;>?HK>MA>K>E>:L>H?MA>

            BM<HBGIKHMH<HEL?:K:L&DGHP MA:MBG=BOB=N:E

            G>O>KF>MHKBGM>K:<M>=PBMA!:O>(E>BF:GG=MA>

            =>?>G=:GMK>?NL>=MHB=>GMB?RMA:MBG=BOB=N:EHG

           G:MBHG:EL><NKBMR@KHNG=L

           1%"'2!$",D:R

           */#/""!*+1A>LM:M>F>GMH?<E:BF

           MA:M*L*:KDH>P:LM:EDBG@:;HNMBLMA>NLMK:EB:G

           LM:M>F>GM     :E:PLNBMPA>K>!K4KB@AMLN>=4(:G=

           <HEE><M>=BML<HGL>GMCN=@F>GMHGBMLBGM>EE><MN:E

           IKHI>KMRO:EN>=:MM>GLH?FBEEBHGLH?=HEE:KL :G=:L

           I:KMH?MA:MLM:M>F>GMH?<E:BFL:B=MA:MI:KMH?MA>&-

           :MBLLN>P:L&-H?LH?MP:K>:G=<H=>NL>=;RMA>20

           *BEBM:KR !%0:G=HMA>K:LLH<B:M>=I:KMB>L&MP:L

           BGM>EE><MN:EIKHI>KMRMA:MMBME>P:LM:D>G :L

           &NG=>KLM:G=BM ?KHF4(INKLN:GMMHMA>L><HGL>GM

           CN=@F>GML :G=LHBMBL=BK><MERK>E>O:GMMHMA>

           BGM>EE><MN:EIKHI>KMR<E:BFLMA:MIE:BGMB??A:O>;KHN@AM

           BGMABL<:L>

           1A>G?BG:EER &=HGHMA:O>MA>> F:BEBG
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 373 of
                                      434

                                                                         -:@>
            ?KHGMH?F> RHNK%HGHNK ;NMPA>G&K:(E>BF:GP:L

            <HGO>KLBG@PBMA!K4KB@AM;>?HK>MA>E:PLNBMP:L

            BGBMB:M>= !K4KB@AMMHE=ABFMA:MMA>K>P:L:$& 0/

            MKNLMMA:MPHNE=;>K>E:M>=MH!:O>LBM<HBGAHE=BG@L

            HKBGM>EE><MN:EIKHI>KMR        &=HGHMA:O>BMBG?KHGMH?

            F>    :G=PA>G!K4KB@AMP:LJN>LMBHG>=:;HNMMA>MKNLM

            :G=PAHL>MBMNI A>K>?NL>=MH:GLP>KJN>LMBHGLHG

            G:MBHG:EL><NKBMR@KHNG=L

            *0*/(,"'NLMHG>IHBGMH?<E:KBMR

           4>;>EB>O>MA:M*K#K>>=F:GBG<HKK><MERLM:M>=MA:M

           MBME>P:LM:D>G&MBLGHMJNBM>MA:MLBFIE> :G=BMBL

           <>KM:BGERGHM>GMBK>ER:<<NK:M> ;NMMA:MBLMA>HGER

           <E:KB?B<:MBHG&A:O>?HKMA>FHF>GM

           1%"'2!$",D:RGR?NKMA>K:K@NF>GM

           *L*:KDH>

           *0*/(,"+H P>CNLMK>JN>LMMA:M

           !K4KB@AM;>I>KFBMM>=MHLI>:DPBMARHNBG<:F>K:BG:

           L>I:K:M>KHHF PBMAHNM<HNGL>E?HKIE:BGMB??LIK>L>GM

           PBMAHNMIE:BGMB??HGMA>IAHG> :G=PBMAHNMMA><HNKM

           K>IHKM>K:G=RHN<:G@>MFHK>BG?HKF:MBHG:;HNMMABL:G=

           MA>GK>G=>KRHNK=><BLBHG

           1%"'2!$",D:R&PBEEK>LI><M?NEER

           =><EBG>MHA:O>:GH?? MA> K><HK=<HGO>KL:MBHGPBMA

           !K4KB@AM1A>L>:K>:EEMHIB<LMA:MB?&=>M>KFBG>

           MA:MMA>BG?HKF:MBHGG>>=LMH;>MNKG>=HO>K BM<:G
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 374 of
                                      434

                                                                         -:@>
            >BMA>K;>MNKG>=HO>KBGMA>G:MNK>H?:GBGM>KKH@:MHKR

            K>LIHGL> HK:<HGMBGN:MBHGH?MABL=>IHLBMBHG;ROB=>H

            M>E><HG?>K>G<> HKBGMA>LN;L>JN>GM=>IHLBMBHGH?

            !K4KB@AM4A:M&:F@HBG@MH=HBL&:F@HBG@MHGHM

            KNE>HG:GRH?MA>L>G:MBHG:EL><NKBMR:K@NF>GML

            ;><:NL>&MABGDMA>K>BLHG>:G=HGERHG>I>KLHG&G>>=

            MHA>:K?KHF:LMHPA>MA>KMA>K>BL:G:MBHG:EL><NKBMR

            BGM>K>LMA>K> :G=BMBLGHM!K4KB@AM BMBLMA>

            2GBM>=0M:M>L$HO>KGF>GM

           0H &PBEE=>?>KKNEBG@ &PBEE@BO>MA>

           =>?>G<>E>:O>MH?BE>:FHMBHGPBMA:GRLHKMH?

           LNIIHKMBG@:??B=:OBMLHKPA:M>O>K>EL>RHNP:GMMH

           LNIIERF>PBMAMA:M<HF>L?KHF:K>LIHGLB;E>I:KMRH?

           MA>20@HO>KGF>GMPAHM>EELF>MA:M20G:MBHG:EL><NKBMR

           BGM>K>LMLK>JNBK>MA:MMA>L>JN>LMBHGLGHM;>:GLP>K>=

           1A:MH;OBHNLERBLGHM@HBG@MHA:II>GMH=:R

           &MABGD&A:O>GHPKNE>=HG:EEMA>

           BLLN>LMA:MP>K>IK>L>GM>=MABL:?M>KGHHG&DGHPRHN

           :EEPHKD>=O>KRA:K=MH@>MMABL:<<HFIEBLA>=:G=@>MBM

           =HG>:G=&:IIK><B:M>>O>KRHG>L>??HKML HNGL>E PA>G

           RHN:K>;:<DBGMA><HNGMKRHKPABE>RHN:K>MA>K>:G=

           RHNA:O>LHF>MBF> M:ED:;HNMAHPFN<AMBF>RHNMABGD

           BL:IIKHIKB:M>?HKMA>?BEBG@H?MA>FHMBHGLMA:MP>

           =BL<NLL>=MH=:R :G=PA>GRHN@>M;:<DP><:G=H:JNB<D

           IAHG><:EE:G=&<:G>GM>K:GHK=>KPBMA:GHI>K:MBHG:E
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 375 of
                                      434

                                                                         -:@>
            L<A>=NE>

            &LMA>K>:GRMABG@?NKMA>K&G>>=MHKNE>

            HGMABL:?M>KGHHG*K#K>>=F:G

            */#/""!*++H RHNK%HGHNK

            1%"'2!$"*L*:KDH>*K/BO>KH

            *//&3"/,+H RHNK%HGHNK :G=MA:GD

            RHNLHFN<A?HKA>EIBG@NLPBMAMA>L>BLLN>L

            1%"'2!$"+H EBD>&L:B= MA:GDLMH

            MA>I:KMB>L&DGHPMABLBL:K>:EERA>:OR>??HKMMH

           @>MMABL=HG>;NM&K>:EERMABGDBMBL@HBG@MHA>EI

           FHO>MABL<:L>?HKP:K=&PBEE@>MH??MA>IAHG>6HN

           <:G<HGMBGN>PBMAPA:M>O>KBLE>?MH?MA>=>IHLBMBHG

           "O>KRHG>A:O>:L:?>MKBIAHF>:G=P>PBEE;>BGMHN<A

           PA>GRHN@>M;:<D1A:GDRHN

           *0*/(,"1A:GDRHN RHNK%HGHNK

           *//&3"/,1A:GDRHN

           */#/""!*+&MABGDMA>HGERMABG@P>

           :K>>GMBME>=MH:LD:;HNMGHPBLPA>MA>K!K4KB@AM

           <HFFNGB<:M>=      HD:R

           *0*/(,"%HPFN<ABM<HBGA>FBG>=

           R>L

           *//&3"/,,G>LN;C><M

           */#/""!*+,G>LN;C><M R>L

           *//&3"/,!:O>(E>BF:G=B=0HE>MNL

           =HMABL><:NL>MA>RA:O>;>>GKNGGBG@           &MABGDBM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 376 of
                                      434

                                                                         -:@>
            P:LE>?M:MMA:MMBF>4AR=HP>GHMCNLMKNG              BM

            BL@HBG@MH;>      :L:F:MM>KH??:<MCNLM:LDRHNK

            JN>LMBHG:G=BMBLFBGNM>L

            */#/""!*+&A:O>FBGNM>L&:F

            @HBG@MHNL>FBGNM>L

            *//&3"/,+H GH &:FGHM@HBG@MH

            <HNGM

            *0*/(,")>MNLCNLMFHO>HGLHMA:M

            P><:G@>M>O>KRHG>HNMH?A>K>

           *//&3"/,'NLM=HBM:G=P>PBEEL:R

           BMBLFBGNM>L

           *0*/(,")>MNLCNLM@>MBM=HG>

           6*/#/""!*+

           .!K4KB@AM =B=RHN>O>KM>EE!:O>

           (E>BF:GAHPFN<ABM<HBGRHNFBG>=

           +H

           *//&3"/,FBGNM>LE>?M

           */#/""!*+FBGNM>L HD:R

           *0*/(,"

           6*/#/""!*+

           .!K4KB@AM =HRHNA:O>:MKNLMMA:MBL

           ;:L>=BG0BG@:IHK>

           +H

           .%:O>RHN>O>KA:=:MKNLMMA:MBL;:L>=

           BG0BG@:IHK>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 377 of
                                      434

                                                                         -:@>
            +H &A:O>G>O>KA:=:0BG@:IHK>MKNLM

            .!HRHNA:O>:MKNLM;:L>=BGMA>

            0>R<A>EE>L

            6>L

            .%HPF:GR

            &=HGHMDGHP

            .!K4KB@AM =HRHNK>F>F;>KM>EEBG@&K:

            (E>BF:GMA:MRHNA:O>;:<D NI?BE>LH?!:O>L=KBO>L

            +H &MHE=&K:(E>BF:GMA:MA>G>>=>=MH

           D>>I;:<D NI?BE>LH?!:O>L=KBO>L

           *//&3"/,'NLM:IHBGMH?HK=>K

           &A:O>@HMFBGNM>L ;NM:K>RHN@HBG@MHK>L>KO>LHF>

           MBF>:@:BGLM:KNEBG@;RMA><HNKM

           */#/""!*+&=HGHMMABGDMA:MPHNE=

              GH

           *//&3"/,0HRHNKIHLBMBHGBLRHN@>M

           MABLMBF>IENLFHK>MBF>

           */#/""!*+&MABGDB?MA><HNKMKNE>L

           P>@>MFHK>MBF> R>L

           *//&3"/,&=HGHM:@K>>

           */#/""!*+,D:R2G=>KLMHH=+HM>=

           *//&3"/,4>H;C><M:G=P>MABGDRHN

           LAHNE=K>L>KO>MBF>BG<:L>RHNPBGLHF>MABG@

           6*/#/""!*+

           .!K4KB@AM =HRHNA:O>:1PBMM>K
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 378 of
                                      434

                                                                         -:@>
            :<<HNGM

            +HM:GRFHK> GH

            .!B=RHNA:O>:1PBMM>K:<<HNGM

            6>L

            .4A:MP:LBM<:EE>=

            *0*/(,",;C><MBHG6HNF:R:GLP>K

            1%"4&1+"00&A:O>A:=FNEMBIE>1PBMM>K

            :<<HNGML

            6*/#/""!*+

           .4A:MP:LMA>E:LM1PBMM>K:<<HNGMRHN

           A:=

           !K K:B@04KB@AM

           .4A:MA:II>G>=MH!K K:B@04KB@AM

           1PBMM>K:<<HNGM

           &@HMLNLI>G=>=:?M>K&MAK>:M>G>=':<D

           PBMA!* OBHE:MBHGL

           .4AHBL':<D

           ,G>H?MA>?HNG=>KLH?1PBMM>K

           .4A:MP:LMA>G:F>H?MA:MA:G=E>4:LBM

           :M

           MIKH;:;ER!K K:B@04KB@AM&=HGHM

           K>F>F;>K>Q:<MER&=HGHMMRI>MA>MABG@LBG

           .!H>LMA:M-KH?#:NLMNLF>:G:GRMABG@

           &MP:L;>?HK>MA:M R>L

           .>?HK>!K K:B@04KB@AMRHNA:=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 379 of
                                      434

                                                                         -:@>
            -KH?#:NLMNL

            -KH?>LLHK#:NLMNL R>L

            .G=PA:MA:II>G>=MH-KH?>LLHK#:NLMNL

            &LM:KM>=<HFIE:BGBG@:;HNMMA>?:<MMA:M

            &A:=;HMLHGMA>:<<HNGM

            .,D:RG=

            G=1PBMM>KPBEEGHMM:D>MA>F=HPG:G=

            &LM:KM>=<HFIE:BGBG@:G=GHP&A:O>LNLI>G=>=:<<HNGML

            .0H1PBMM>KLNLI>G=>=RHNK-KH?#:NLMNL

           :<<HNGM

           1A>:<<HNGMP>GMNI =HPG :G=:EEHO>K

           MA>IE:<> LH&=HGHMDGHPPA:MBLA:II>GBG@PBMABM

           :G=&=HGHMI:KMB<NE:KERP:GM:G:<<HNGM?NEEH?;HML

           ;:<D

           .!B=RHNM:D>=HPGMA>:<<HNGM

           *0*/(,",;C><MBHG6HNF:R:GLP>K

           1%"4&1+"00&MAK>:M>G>=1PBMM>KPBMA:

           E:PLNBM

           6*/#/""!*+

           .G=1PBMM>KLNLI>G=>=RHNK:<<HNGM

           &=HGHMDGHPPA:MA:LA:II>G>=PBMAMA:M

           :<<HNGM&<:GGHM:<<>LLBM

           .!B=RHNL:O><HIB>LH?RHNK=BK><M

           F>LL:@>LBGMA:M:<<HNGM

           +H
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 380 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            6*/#/""!*+

            .!B=RHN@BO>RHNKE:PR>KL<HIB>LH?MA>

            =BK><MF>LL:@>LBGMA:M:<<HNGM

            +H

            *0*/(,",;C><MBHG

            6*/#/""!*+

            .!B=RHNL:O>F>LL:@>LBGMA>!K K:B@0

            4KB@AM:<<HNGM

           &MP:LNI?HK:=:R1A>K>P:LGH=BK><M

           F>LL:@>LMA:M&DGHPH?

           .4A>G=B=MA>-KH?#:NLMNL:<<HNGMLM:KM

           &MP:LHKB@BG:EERLM:KM>= &MABGD BG

            ;NMGHIHLMLP>K>=HG>NGMBE

           .!B=RHNA:O>:1PBMM>K:<<HNGMPA>G!:O>

           (E>BF:GP:L:EBO>;>?HK>

           6>L

           .4A:MP:LBM<:EE>=

           !K K:B@04KB@AM &;>EB>O>

           .!HRHNLMBEEA:O>:<<>LLMHMA:M:<<HNGM

           +H1A:M:<<HNGMP:L<:G<>EE>=BG

           !><>F;>KPA>G&P:L>QIHL>=MHMA>F>=B:

           .!K4KB@AM =HRHN:GBG=BOB=N:E<:EE>=

           *:K<HB:G<AB

           *:K<HBL:?:FBEB:KG:F>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 381 of
                                      434

                                                                         -:@>
            *0*/(,"1A:MBLFRG:F>

            6*/#/""!*+

            .4:LMA>K>:*:K<HB:G<ABPAHA>EI>=RHN

            L>MNIMKNLML

            4A:MMKNLML LHKKR

            .K>RHN?:FBEB:KPBMA:*:K<HB:G<AB

            A>EIBG@RHNL>MNI:GRMKNLML

            +H

            .!K4KB@AM =HRHNA:O>:LNI>K<HFINM>K

           <:EE>= +

           +H

           .!HRHNA:O>:GRLNI>K<HFINM>K

           +H

           .%:O>RHN>O>KA:=:LNI>K<HFINM>K

           *0*/(,",;C><MBHG

           1%"4&1+"006>L

           6*/#/""!*+

           .4A>G=B=RHNA:O>:LNI>K<HFINM>K

           :<DBG0HKKR >G=H? ;NMBM

           P:LGHMPHKDBG@  

           .4A:MP:LBM<:EE>=

           1NEBI:G= +1A>K>P>K>MPH

           .0H RHN=B=A:O>:LNI>K<HFINM>K<:EE>=

            +

           1A:MBLPA:M&CNLML:B=
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 382 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"006HN;>?HK>MA:ML:B==H

            &A:O>!B=&A:O>:G==H&A:O>:K>=B??>K>GM

            6*/#/""!*+

            .4A>G=B=RHN@>MKB=H?MA>L>

            LNI>K<HFINM>KL

            *0*/(,",;C><MBHG

            1%"4&1+"00&=B=GHM

            6*/#/""!*+

           .6HNLMBEEA:O>MA>F

           &=HGHMA:O>MA>F

           .4AHA:LMA>F

           &=HGHMDGHP

           .4A:MA:II>G>=MHMA>F:MMA>>G=H?

           *0*/(,",;C><MBHG

           1%"4&1+"00&=HGHMDGHP

           6*/#/""!*+

           .!B=RHN>O>K=BL<NLLRHNKLNI>K<HFINM>KL

           PBMA!:O>

           !:O>;:LB<:EER=B>=;>?HK>&A:=

           >O>KRMABG@;NBEM:G=HI>K:MBG@ LH&=BL<NLL>=<K>:MBG@

           MA>F ;NMBMBLA:K=MH=BL<NLLLHF>MABG@ &=HGHM

           ;>EB>O>BGL>:G<>L PBMA=>:=I>HIE>

           .!K4KB@AM BGRHN<:F>?HKP:K=:G=

           <E:BF>=MH;>0:MHLAB+:D:FHMHBLMA:M<HKK><M
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 383 of
                                      434

                                                                         -:@>
            *0*/(,",;C><MBHG

            1%"4&1+"00&=B=GHM<HF>?HKP:K=

            6*/#/""!*+

            .6HN@:O>:GBGM>KOB>PMHMA> PA>K>

            RHNL:B=RHNP>K>0:MHLAB+:D:FHMHBLMA:M<HKK><M

            *0*/(,",;C><MBHG :GRHNMB>MABL

            MHHG>HNKMHIB<L IE>:L>

            */#/""!*+6>L K>JN>LM?HK

            IKH=N<MBHG@H>LBGMHMA>K>E:MBHGLABIPBMA

           /H;>KM*:<$K>@HK:G=MA><HNKML:B=P>LAHNE=:LD:;HNM

           MA>=>?>KK>=KNEBG@BG:=O:G<>H?MA>=>IHLBMBHG

           *//&3"/,%>:KBG@MK:GL<KBIM

           <BM>F>GML

           */#/""!*+&=HGHMA:O>MBF>)HHD

           ?HKBMB?RHN<:G?BG=BM  

           *//&3"/,4AB<A=:M>

           *0*/(,"&MBLMABLHG>

           */#/""!*+):LMHG>&GMA>F>:GMBF>

           P>PBEED>>IFHOBG@

           .L:<HGL>JN>G<>H?<HFBG@HNM RHN

           IKHOB=>=<KRIMH@K:IAB<IKHH?MA:MRHNP>K>BG?:<M

           0:MHLAB+:D:FHMH

           *0*/(,",;C><MBHG@H>L;>RHG=MA>

           L<HI>

           1%"4&1+"00&=B=GHM<HF>HNM
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 384 of
                                      434

                                                                         -:@>
            6*/#/""!*+

            .G=I>HIE>A:O>MKB>=MH=>;NGDRHNK

            <E:BFH?;>BG@0:MHLAB+:D:FHMH

            *0*/(,",;C><MBHG@H>L;>RHG=MA>

            L<HI>

            */#/""!*+K>RHNBGLMKN<MBG@ABF

            GHMMH:GLP>K

            *0*/(," :GP>CNLM@>MHNMH?A>K>

            4BEEBMF:D>BMFHO>?:LM>KB?A><:G:GLP>K

           */#/""!*+6>L BMBL@HBG@MH@H

           IK>MMRJNB<D

           *0*/(,"1ABLBL;>RHG=MA>L<HI>

           &MBLIN;EB<BG?HKF:MBHG1ABLBL:<HEHLL:EP:LM>H?

           HNKMBF>

           */#/""!*+&=HGHM:@K>>

           *0*/(,"NMB?RHNPHNE=EBD>RHN

           F:R:GLP>K

           1%"4&1+"001A>K>BLIN;EB<BG?HKF:MBHG

           MHL:RMA:M

           6*/#/""!*+

           .G=MA>RA:O><:EE>=RHN#:D>MHLAB

           ;><:NL>H?MA:M

           *0*/(,",;C><MBHG#BKLMH?:EE

           &:F@HBG@MHBGLMKN<MABFGHMMH:GLP>K6HN:K>

           A:K:LLBG@ABFGHP&MBLH??>GLBO>&MBLO>KRE:M>
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 385 of
                                      434

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            6HNA:O>EBFBM>=MHIB<L1ABL=H>LGHM@HMH:GRH?

            MA>L>MHIB<L

            *//&3"/, :G&L:R:GHMA>KMABG@ *L

            *:KDH>"LI><B:EER@BOBG@MA:MRHN:K>GHMK>L>KOBG@

            MBF>:@:BGLM=BLINM>L MABLDBG=H?A:K:LLF>GMBLGHM

            :IIKHIKB:M>4>:K>@HBG@MH:K@N>O>KR?HK<>?NEERMA:M

            RHNP:LM>=MBF>RHN<HNE=A:O>K>L>KO>=?HKMABG@LMA>

            <HNKMF:RKNE>HG

            */#/""!*+4>PBEEK>L>KO>MA>K>LM

           H?HNKMBF> MA>G1A:GDRHN

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           )>MNLGHM>BMHGMA>K><HK=

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           *//, %"1A:MBLPA:M&A:O>

           */#/""!*+$K>:M

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           *//&3"/,4>:K>H??MA>K><HK=

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           1%"3&!",$/-%"/$HBG@H??MA>K><HK=

           1A>MBF>BL"G=H?MA>A>:KBG@<:K=GNF;>K

           OHENF>1ABLBLMA>>G=H?OHENF>OB=>H=>IHLBMBHG

           H?!K K:B@4KB@AM

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Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 386 of
                                      434

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             &  K:B@0M>O>G4KB@AM :FMA>=>IHG>GMBG
             MA>?HK>@HBG@=>IHLBMBHG&A:O>K>:=MA>
             ?HK>@HBG@=>IHLBMBHG:G= A:OBG@F:=>LN<A<A:G@>L
             :G=<HKK><MBHGL:L&=>LBK>= &<>KMB?RMA:MMA>
             MK:GL<KBIMBL:MKN>:G=:<<NK:M>K><HK=H?FR
             K>LIHGL>LMHMA>JN>LMBHGLINMMHF>HGMAIKBE
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Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 387 of
                                      434

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                       & -:NE:#HE>R <<K>=BM>= HNKM/>IHKM>K

             =HA>K>;R<>KMB?RMA:M&MHHDMA>0M>GH@K:IA+HM>L

             H?MA>?HK>@HBG@ :G=MA:MMA>MK:GL<KBIMMA>K>H?

             BL:MKN>:G=:<<NK:M>K><HK=MK:GL<KB;>=MHMA>

             ;>LMH?FRLDBEE:G=:;BEBMR

         

                       &?NKMA>K<>KMB?RMA:M&:FG>BMA>K

            <HNGL>E?HK K>E:M>=MH GHK>FIEHR>=;R:GRH?

            MA>I:KMB>LMHMA>:<MBHGBGPAB<AMA>=>IHLBMBHG

            P:LM:D>G:G=MA:M&:FGHM:K>E:MBO>HK>FIEHR>>

            H?:GR:MMHKG>RHK<HNGL>E>FIEHR>=;RMA>I:KMB>L

            A>K>MH GHK?BG:G<B:EERHKHMA>KPBL>BGM>K>LM>=BG

            MA>HNM<HF>H?MA>:<MBHG

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            0B@G>=

                      -:NE:#HE>R

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Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 388 of
                                      434

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              -E>:L>F:D>:GR<HKK><MBHGLA>K>
             GHMBGMA>MK:GL<KBIM
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  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 389 of
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                      133?==?41D54          13AE9B5          14=9>9CDB1D?BC       1<97>54  
12945                                13AE9B54                       1<9F5   
129<9D95C          133?=@<9C854                            4=9DD54                 
129<9DI                             13D           14F1>35        <<1>  
             133?E>D          13D9>7                                   
                                 13D9?>           16653D         1<<575  
12<5                                       166941F9DC       <<5>  
                         13D9F9DI         1669B=1D9F5        1<<?G      
                           13DE1<           6B931                  
                                             16D5B>??>             
                             41=                          
                                                        
                                                          
$                                          175                  
12C5>35                    144                  175>395C          1<<?G54  
12C?<ED5<I                   144B5CC        175>D                 
                                                            
                                         175>D21C54               
                                              17?           1<<?G9>7  
12CDB13D9?>                                            1<<?GC  
12EC9>7                                                       
13145=93                                                  1<?>7C945 
1335@D                                           17B55        1<D5B 
                    133?E>D1>D                           1<D5B>1D5   
1335@D54                                                 1<D5BC 
1335CC            133?E>D1>DC                            1<D?75D85B 
                                                1=1CC54 
                                                           1=5>454  
               133?E>D9>7                                      =5B931  
            133?E>DC         144B5CC5C       17B554                
                                                    
                                                   =5B931>  
                                                              
                                 17B55=5>D           
                                              =5B931>C  
                                                =5B931C  
                                                  1=?E>D       
                                                                
              33B549D54                  18514                 
              133EB1D5                                         
                                                           
                                                                        
1335CC54                             14:?EB>=5>D           194                 
1335CC9>7                                            1<             1=?E>DC 
                  13;>?G<54754          14=9>9CDB1D?B         1<7?B9D8=C           
                                                            1<91C            1>1<IC5  
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 390 of
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                                                1@@B?F54  
1>1<IC54                                                  
1>1<IC9>7                                  1@@B?H9=1D5  
                                                        
1>1<IC9C                                            1@@B?H9=1D5<I
                                                      
>4B5C5>                             1>CG5B9>7               
                                                   
                                                      
>4B5G                          1>CG5BC               
                                                    
                                                    @B9<   
>4BLC                                                   
                                                            
$(K)                            1>D939@1D9>7           
>7                                                   
>>                                  1>D9D85C9C      1B51     
                                          >D9B1E4             
1>>?I54                            1>I2?4I               
1>>?I9>7                                            1B51C  
1>>E1<<I                      1>I?>5C               
1>?>I=?EC                           1@1BD        1B7E5    
                                                             
                                 1@?<?795C       1B7E9>7  
1>?>I=?ECC@553                                       1B7E=5>D  
                                        1@?<?79C5                
1>CG5B                                         1B7E=5>D1D9F5
                                                
                                 1@@51B             1B7E=5>DC  
                          1@@51B1>35C                
                                                    B=?>; 
                           1@@51BC         1BB1>75=5>D  
                                           1BB5CD54  
                               1@@5>49H          BD8EB  
                             1@@<5           1BD93<5    
                                            )   
                           1@@<95C       )         
                                  1@@<I                
                                              
                                     1@@?9>D54                 
                                 1@@B5391D5                 
                                                              
                 1>CG5B54                        )C  
                             1@@B?@B91D5         
                                                1C945  
                                                 1C;54    
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 391 of
                                        434
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                                             213;    
              1CC5>D54          1DDB92ED12<5                     
               1CC5D         1E49D                      
              1CC5DC                                                  
                                       1ED8?B54               
                         1E49D54          1ED8?B9C54           
                                                        
                                                               
                         1E49D9>7                             
                                          1ED8?B9C5C             
                     1E49D?B          1ED8?B9C9>7          
                          1E49D?BC          1ED8?B9DI              
               1CC9CD1>35                                       
                1CC?391D54        1E49DC        1F19<12<5              
                                                         
                                 E7ECD                            
                                                              
                                 EB?B1                                   
          1CCE=5                             1F5B175                 
                               1EC@935C        1F?94                    
              1CCE=5C         ECC95C          1G1B5               
                                     ECDB1<91                          
1C;9>7             1CCE=9>7                                       
                1CCE=@D9?>                                 
                                                                 
              1CCEB1>35                                        
                                                              
                                                                   
               *%                                            
                                                  
                                                       213;5>4 
                                      1G1B5>5CC          213;7B?E>4   
                                         1G6E<          213;E@      
                                      1        214    
              1DD138                     2              
               1DD13854         ECDB1<91>                          214<I    
                                            $                  
              1DD138=5>DC                    )            217   
                                        1 =                  17>??   
                 1DD5>D9?>                                           
                                                                    
              1DD5CD1D9?>               2             
                                                        
             1DD?B>5I                                      
              1DD?B>5IC                                         
1C@53DC                                         21>1>1  
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 392 of
                                       434
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21>>54            2581<6                    29D38                   
21B                         25>569391BI   9D3?9>                   
21B5<I           25<956                                     
21B719>           25<95F5         25CD                           
21C5                                                   
21C54                                                  
                                                  
                                                           
21C93                           25D                                   
21C931<<I                   25DD5B                              
                                                   
                        25DD9>7                            
                      25I?>4                         
                                                             
                                                    
                                                
                                                   
                                                         
21C9C                                                   
                                                
                                                         
                                                       
21D8B??=                                               
                                                     
                                                         
%                                                 
                                                  
                      &                                    
                          91>389                                
51B                                                  
                     297                           
                                                    
                                29775B                             
251B4          25<95F54        9<<9D?>                          
251D                      29BD8                           
253?=9>7         25<95F5C       29BD841IC                         
               5<9J5          29D                           
2571>                                                  
                                                   
               25<?>7                                         
2579>>9>7                                                      
            25<?>754                                        
                                                            
           25<?>7C           *                                
                               9D1C8                         
2579>C        25>569391B95C                                    
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 393 of
                                       434
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          2<?3;                       B9D9C8                 
                                                            
                        2?E78D                                  
                     2?E>4                                   
                               2B?E78D                 
                             2B?GC5B                  
                                *               
                                                              
                2<?3;3819>                2E3;5DC                  
                                      E4?FC;I              
9D3?9>C                    2?H             2E775B                 
                        2?H5C        2E9<4                     
                                              2E9<49>7                 
9D3?9>D1<;                                  2E9<D           
                         2B5138                        
                                                     31<<9>7     
                        2B51;            E>71<??            
                                               2EB45>C?=5            31<<C    
9D3?9>D1<; 3?=      2<?3;3819>21C54                              
                                                 2EB45>C?=5>5CC        31=5B1   
9D3?9>B5<1D54      2<?3;54                                                
                 2<?3;C                       2EC9>5CC                 
9D3?9> 3?=                                                        
                2<??4I                                   
                                                             
9D3?9> ?B7       2<?CC?=C                       2EC9>5CC5C         31>35<<54   
           <F4                          $%%           31@139DI  
            2?4I                                         31@9D1<  
                                             (                
29D5             2?4IC                               9D?9>               
9D=5CC175        ?95C       2B51;4?G>                             
                    2B51;9>7                                31@9D1<9C54  
                      2B51D8                             31@9D1<9C9>7  
                               B5>>5B       3              
          2?>454                                     31@DEB5  
9D=5CC175C         ?>49                                   31@DEB54  
                  2??;;55@5B       2B9569>7                            
29DC        2?B>             2B956<I                      31B4      
                2?BB?G                                         
<13;                       2B9>7                                 
                  2?BB?G54                       31<3E<1D54               
<13;$5D      2?DC             2B9>79>7          31<<                 
              2?DD?=                                           31B5       
<13;C                       2B9>7C                                
2<18                         B9C21>5                            
2<1>;                            B9D19>         31<<54              
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 394 of
                                        434
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                 381>35            389<4                              ??   
            381>75            389<4B5>          <1ID?>           3?45   
                                  389<4B5>C       3<51>                     
31B56E<<I                        89>1           3<51B                
1B?<                            89>5C5                              
1BD5C91>                                                         
31C5                            389@C                               
              381>754          38??C5                              
                                                         
                        8B9CD91>C                         
                           38B?>?<?7I                          
                                                                
               381>75C             38E3;54         3<51B1>35                
                                           3<51B<I                  
                               39B3<5            3<95>D             
31C5C                                  9B3EC                          
31C8          381>>5<            39D1D9?>                          
                   81?C                                      3?45B   
31C9>?C           381B13D5B       39D54                        3?45C  
31D38               381B13D5B9C1D9?>      39D5=5>DC                          
31EC5                              39D5C                        3?49>7  
           381B13D5B9C5          39D9J5>                          ?9>H38  
                                         3<95>DC            
31EC54         381B754          39D9J5>C89@     3<?C54        ?9>H381>75
351C5          381B75C          39DI              3<?C9>7                 
               381B9D12<5        9F9<         3<?E4            
351C54              381B9D95C         3<19=                       
35>D              381B9DI                                   
35>D1EB          381D                            3?<<12?B1D5 
35>DB5                                                           
35>DEBI             381DC                                   
35BD19>                                               3?<<12?B1D54
                          3<19=54                          
                                                        3?<<12?B1D9?>
                                    3<19=9>7                          
35BD19><I          3851D9>7           3<19=C            <?E43B?6D                
                 3853;                                         3?<<12?B1D9?>C
                            3<1B96931D9?>                    
                                                     3?<<1D5B1<  
                                                 3<E5                   
(**            3853;54           3<1B96I           3<E5<5CC               
                                              3?138                    
35BD96I           385BBI          3<1B9DI            3?1389>7           3?<<53D  
                      85C89B5         3<1B9DIC         ?281=             3?<<53D54  
%                    3<1CC96I                       
3819>                                3<1EC5                          3?<?CC1<   
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 395 of
                                       434
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3?=                                            3?=@<19>C           3?>35@D  
3?=5                                        3?=@<19>D          3?>35@DC  
                                                      3?>35B>9>7  
                                     3?=@<19>DC        3?>39C5<I  
                                    3?=@<5D5           3?>3<EC9?>  
             3?==E>931D9?>C       3?=@1>I                           3?>4E3D  
                                            3?=@<5D54           3?>4E3D54  
                                                               
                                           3?=@<5D5<I           
                                                3?>4E3DC  
                                                       3?>65B5>35  
                                                     
                                     3?=@<5D5>5CC          
                                      3?=@<5H                
                                   3?=@?C9D9?>            
3?=5C                                 3?=@?E>4                
                                                               
3?=9>7           3?==E>9D95C                                              
                                         3?=@B?=9C54           3?>65B5>354  
3?==5>D            3?==E>9DI                                     3?>65B5>35C  
                                            3?=@ED5              
3?==5B391<                                                           
3?==9DD54          3?=@1>95C                      3?=@ED54          3?>6945>D91<  
3?==?>                                     3?=@ED5B          
                                                         3?>6945>D91<9DI
?==?>G51<D8                                                        
                                                          3?>697EB1D9?>C
3?==E>931D5                                                    
                                                 3?>69B=  
                                                 
                                                         3?>69B=54  
                                        3?=@ED5BC           3?>6?E>4  
                          3?=@1>IC                     3?>6?E>49>7
                          3?=@5<                          
                                                 3?>6EC5  
                        3?=@5<<9>7                             
                         3?=@9<1D9?>                        3?>6EC54  
3?==E>931D54                                              
                    3?=@9<5            3?=@ED9>7         3?>:E>3D9?>  
                                                         3?>>53D  
                       3?=@<19>                               
                                                     
                               3?=@<19>54                       
3?==E>931D9>7                                                      3?>>53D54  
                              3?=@<19>9>7           3?>            3?>>53D9?>  
3?==E>931D9?>                                                             
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 396 of
                                        434
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                                                                      
?>>?B                                                          
3?>C5>D                                                     
3?>C5AE5>35                             3?>DB?<C                         3?EBC5C   
                  3?>D9>E9>7                                       3?EBD      
3?>C945B         3?>DB13D           3?>F5BC1D9?>                           
                                                     
3?>C945B54                                               
                                                               
3?>C9CD5>D                                                          
3?>CDBE3D                  3?>F5BC1D9?>C      3?BB53D54                
3?>CDBE3D54                                                       
                                          3?BB53D9?>           
                         3?>F5BC5          3?BB53D9?>C               
                       3?>F5BC9>7                                    
                           3?>F5BD            3?BB53D<I               
3?>CDBE3DC                    3??;95                         
3?>CE<D                     3??;95C            3?BB5C@?>45>35            
3?>CE<D9>7                 3?@954                             
3?>D13D                                        3?CD                      
                   3?@95C          ?CD1                
                                                           
                                                                          
                           3?@I           3?CD9>7                
                                  3?E>C5<               
3?>D13D54                                                      
                                                             
3?>D13D9>7       3?>DB13D54                                           
3?>D13DC            3?>DB13D9>7       3?B5                               
                 3?>DB13DC                                           
3?>D19>C                         3?B>5B                                
3?>D5=@<1D5                        3?B@?B1D5                       
                              3?B@?B1D9?>C                               
3?>D5=@<1D54          3?>DB13DE1<                                           
                 3?>DB1BI         3?BB53D          3?E>D                   
3?>D5>D9?>       3?>DB92ED5                    3?E>DB95C            
3?>D5>DC         3?>DB92ED9?>C                                         
                                                        3?EBDC  
3?>D5CD          3?>DB?<                          3?E>DBI               
3?>D5HD                                              3?EBDC 
                                                            3?F5B  
3?>D5HDC                                      3?E@<5         3?F5B54  
3?>D9>5>D                                                 
3?>D9>5>DC                                                 3?F5B9>7  
3?>D9>E1D9?>       3?>DB?<<54                                      3?F5BD   
3?>D9>E5                                 3?EBC5           3??@5B1D5  
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 397 of
                                        434
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3B13;C                                                     
B197                     3ECD?491<                       
                     3ED                         
                                                                 
          3B51D54         3ED?66                        
                       3I25BCD1<;54                          
                        I25BCD1<;9>7        41D54               
                                                            
                                  41D5C            
                                                    
                         $        1F5           
                                               
                                        
            3B51D9>7                                  
                                         
                                         
             3B51D9?>                                  
                                                    
                                             
                                                    
                                              
           3B51D?B                              
           3B545>D91<C                                  
                                                          
           3B549D?BC                                   
           3B9=5                                              
                                                           
           3B9=9>1<        4                        
                    19                       
            3B9D931<                            
          3B9D9AE5                                 
              3BI@D?3EBB5>3I       41=>                         
                                41B;                            
B197C          3BI@D?7B1@893        41D1                         
                                                      
3B197 GB978D9>6      3BI@D?7B1@8I                                   
                                                         
3B1@               BI@D?>1ED                                      
3B1@@I                                                
3B1JI             )-                                             
3B51D5           3EBB5>3I                                
                 3EBB5>D        41D5                            
                                                   
                                              
             3EBB5>D<I                                     
                                                      
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 398 of
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                         4565>35          45@<?I54          45D19<    
             41IC                     45@?>5>D           
            45                           45@?C54           45D19<54   
            4514                    45@?C9D54        45D19<9>7  
                            4565>41>D                          45D19<C   
            4514<9>5                         45@?C9D9>7             
           451<                 45@?C9D9?>             
                                                          
                              565>C5                            
              451<9>7                                  
                                                         
          451<D          4565B                      45D5B=9>1D9?>
                                                     
                              4565BB54                    45D5B=9>5  
             451D8          4569>5                           
                                                          
               52?B18                                         
           452D                                         
        452D?BC                                             
            452E>;            4569>54                            45D5B=9>9>7  
          535=25B                                   45F5<?@ 
                       4569>9D5<I                       
                                          45F5<?@54   
                                                       
                      4569>9D9?>                          
                                                       
          453945                                           
                          4569>9D9?>C                    5F5<?@5BC  
                         456?B=1D9?>       45@?C9D9?>D1;9>7     45F5<?@=5>D  
             4539454            457B55                                    
                                            5B9F1D9F5                 
                            45<5D5                            
1F5C           4539C9?>         45<9F5B         45C3B925                
              453<1B5         45<9F5B54                                  
              453<9>5                            45C3B929>7            
              454E354           45=?>CDB1D5          5C97>        45F5<?@=5>D (5C
                4554                                   
                          5>1B9EJ                         45F935    
            455=                         45C97>54            45F935C    
           455=54                        45C97>5B              
               455@              5@1BD=5>D       45C9B54                  
                   4561=1D9?>                  45C9B5C               
1F94              4561=9>7                           5C=?>4            ,$  
             4561E<D        45@5>49>7         5C@9D5          4545C97>1D5  
41I             45653D9F5         45@5>4C           45CDB?I            )     
                                               45CDB?I54                
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 399 of
                                        434
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               49B53D<I                                       
491<?7E5                           49C3ECC9>7                       
493D1D54         49B53D?B                                         
493D9?>1BI                                                
                                                           
4954                            49C3ECC9?>                      
               49B53D?BC                                   4?<<1BC  
                 49B53D?BC89@                                     
                            49C3ECC9?>C                      4?=19> 
49665B5>35        49B53D?BC89@C                                          
49665B5>D                           49C9<<EC9?>54                        
            49C17B55                                          
                                    49C=9CC                                 
                49C1@@51B       49C@?C1<                               
            49C1@@51B54          49C@?C9D9?>                     
                       49C@ED5                          
                                        4?3E=5>D9>7       4?=19>C  
            49C1@@?9>D=5>D       49C@ED5C            4?3E=5>DC           
                               49CD9>3D9?>                   4?>1D5  
             49C39@<9>5                                       4?>1D54  
              49C3<?C54        49CDB92ED5                         4??B    
                                49CDB92ED54                  4??BC    
             49C3?>>53D9>7                                            ?B91>  
                         49CDB92ED9?>                     
             49C3?F5BI                                    4?D     
                          9CDB93D                  4?E2<5  
              49C3B5@1>3I                                    4?E2<53853;  
               49C3ECC        49F5                            
49665B5>D<I                    49F9C9?>                   4?E2D  
49665BC                      49F?B35                 4?G><?14  
496693E<D                                            4?G><?1454  
                                  49F?B354                B     
496693E<D95C                   #                              
                                 4?3;5D                          
4979D1<                                                      
                              4?3D?B             4?3E=5>DG9C5             
4979D1<<I                                                                
49B53D                                  4?9>7                     
                                                                  
                         4?3D?B54                            
                             4?3E=5>D                       
               49C3ECC54                                  
                                                       
49B53D54                                                          
                                                            
49B53D9F5                                                        
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 400 of
                                       434
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                                                       5>DBI  
            4B9>;          549D54          5>4C                     
                                          5>79>55BC           5>F9C9?>54 
           4B9>;9>7      549D9>7        >7<1>4               
             4B9F5                          >7<9C8             %)    
                         549DC        5>81>354           5AE9@=5>D  
                                                  B>CD    
             4B9F5C       56653D                              5BB?B    
                         56653D9F5<I        5>AE9B5                    
                                                                   
             4B9F9>7       56653DC            5>AE9B9>7                 
         4B?F5           566?BD             5>CEB5                
         4BE>;         566?BDC                              5BB?BC  
          4E2254         59D85B         5>CEB54              C@5391<<I   
        4E5                  5>D5B              )'  
          4EB1D9?>                                    5CD12<9C8 
                                      5>D5B54                 
            %(                                     5CD12<9C854 
                                                                 
         )#%$                     5>D9B5                
                                                          
                                                   CD1D5  
                                            5>D9B5<I            5D    
                        5<53DB?>93                        5D35D5B1   
                                                            
         51B<95B                       5>D9B5DI                
                       <<5>           5>D9D95C                     
                       5<C5C                               
                           5=19<                                   
           51B<I        5=?D9?>                                    
                   5=@<?I54                           
                                                                 
                                        5>D9D<54              5D85B  
4B16D       51B>       5=@<?I55                        D85B5E= 
                                                             EB?@51>  
         51B>54         5=@<?I55C      5>D9DI             5F5>9>7  
               51BC                                        5F5>D 
4B16D54      51BD8       5=@<?I5B                        5F5>DE1<<I  
              51C95B     5=@<?I=5>D                            
4B16D9>7                  $                                  
                1CD5B>         5>12<5                          
4B16DC      51CI                                           F5BI41I 
               53?>?=93       5>12<54                      5F5BI?>5C   
4B1>;                                                5F945>35  
B514                       5>13D54                                 
4B9<<         549D       5>454                                 
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 401 of
                                        434
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                        5H@<?9D1D9?>             61=?EC 
                               5H@<?B5                      
5H13D                             5H@<?B5B                       61B    
                          5H@?C54           5=19<9>7          
                        5H@B5CC                                
                          5HD5>C9?>       5=19<C        
                                5HD5>D                  61CD5B  
                5H8929DC                               61D85B  
                                                               
            5H9CD           5HDB1                        61E<D  
5H13D<I                   5HG965                    1ECDEC  
                                                 
                                                            651DEB5C 
                           5I5C                                52BE1BI  
                       531C8                        
                       5=19<                        6545B1<    
                                      612C              
                                       1352??;         
               5H9CD54                          6554213;   
                                       6139<9D1D5    655<           
            5H9CD5>35                      613D             
                                                   
                                               655<C  
                                                         655C  
5H1=9>1D9?>        5H9CDC                                5BB95B  
5H1=@<5                                                     692B5     
5H381>75       5H?4EC                                    693D9?>   
              5H@53D                        613DC          
                                                6978D  
           5H@53D54                    619<54       6978DC  
          5H@53D9>7                                     697EB5   
           5H@53DC                     619<C             
         5H@5BD                            619B           
                                                                 
5H381>754        5H@<19>                           619B<I      697EB54 
5H381>75C                                                 697EB9>7  
5H3EC5                                        1;5D?C89     69<5    
5H5B39C5                                61<C5          
5H5B39C54                                  61=9<91B            
5H8929D                                                    
                  5H@<19>54                                   
           5H@<19>9>7                                      
             5H@<1>1D9?>                    61=9<91B9C5   69<54    
                                           61=9<91B9C54        
                              5=19<54           61=9<I            
           5H@<939D                            69<5C   
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 402 of
                                        434
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                          6<E66I          6?B=1D9?>         
             69B5G1<<54                                    6?EB    
                  69B=          6<EC8                                
69<9>7                    $              6?B=54               
            69B=C           6?3EC                               
                  69BCD        ?<5I                               
69>1<                                                 
69>1<<I                          6?<;C                        
69>1>35                                                          
                                                                   
                           6?<<?G             6?B=5B            
69>1>35C                                                  &C  
69>1>391<                                                     6B1>;  
                             6?<<?G54          6?B=C          6B1E4    
                                                                6B1E4E<5>D  
69>1>391<<I                     6?<<?G9>7        6?B=E<1D54        B554=1>    
69>1>395B                                6?BD8                     
                            6?<<?GE@         6?BD83?=9>7                 
                                                                     
69>4                           6??<9C8           6?BE=             
                       6??<9C8>5CC                               
                         6?B354           6?BE=C           
                           6?B356E<<I                                
                              6?B531CD9>7        6?BG1B4                
                         6?B57?9>7                       
                                                                   
                                6?B597>                            
69>5                       6?B5>C93                                   
             69D            6?B5>C93C         6?BG1B4C             
               69DC                6?B75D       6?E78D                
                 69F5           6?B7?DD5>        6?E>4              
69>9C8           69F5=9>ED5       6?B=                             
            69H54                                              
             "                            6?E>41D9?>           
             6<1C89>7                                          
69>9C854         <5H9D55;                                          
9>>5I          <5H>5B                                      
                                                      
         6<9@                             6?E>454            
           6<9@@1>D                                          
              <?B941         6?B=1<                          
                                                       
                                6?B=1<9C54                          
69B54                     6?B=1<<I          6?E>45BC             
                    6<?G5BC                                                       
69B5G1<<         6<E3DE1D5C       6?B=1D         6?E>49>7             
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 403 of
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                                     
                                       
                                            
                                           
                                   
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                                       
                                          
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                                        
                                                  
                                        
                                               
                                            
                                           
                                       
                                           
                                             
                                                
                                            
                                         
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                                   
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                                            
                                         
                                                   
                                                
                                      
                                       
                                          
                               
                                             
                                             
                                          
                                             
                                          
                                      
                                      
                                            
                                                  
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                                               
                                    
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 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 404 of
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                                                                
6B554?=                                                   
6B5AE5>3I                                                 
                                                          
           719>54                                                      
                  71=9>7       79F5>                              
6B5AE5>D<I                                                     
              1BJ9;                                        
6B95>4                                                    
          1D9                                          
6B95>4C           1F9>                                        
          751BC                                         
6B?>D          75>5B1<                                           
                                                   
                                                      
                75>5B1<<I                                   
                                                               
                           79F9>7                                  
                                               ?4                
            75>5C9C                        7?4C                 
6E3;54                                        7?5C               
6E3;9>7                          7<1CC                                
6E<69<<=5>D       75>D<5=1>         7<?CC                                
6E<<                            #.                        
            75DD9>7                                   
                                                      
                         7?                           
                                                       
6E<<I                                                             
6E<<D9=5          )(                                  
6E<C?=5                                7?9>7            
                                                           
6E>3D9?>C                                                     
                  79F5                                      
6E>4                                                  
6E>49>7                                                         
                                                              
6E>4C                                                   
                                                   
6EBD85B                                           ?<45>    
                                               7??4    
                                                               
                                               
                                                          
2                                                        
                                                                7??4C    
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 405 of
                                       434
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??7<5            2                                 85B5D?  
                                                                 5I    
7?DD5>                                          851B4               
7?F5B>=5>D       8129D                               9  
          13                         851B9>7       8945  
         819BC         81@@5>9>7                 8978    
           1<          81@@5>C                             
                    81@@I            851B9>7C          
                                            
                              851BD             
                                       851F9<I            
7?F5B>=5>DC                                     851FI             89785B 
?H                         81B1CC9>7       85<4            8978C@554   
&+             81<6       81B1CC=5>D               9<<      
B1>75B       81<6G1I         81B4                    89@@I  
          81<6DBED8                            89B5  
           81>4                               89CD?BI    
B1>75BC                                              
7B1>D                                                         
7B1@893          81>42??;                    85<<         89DC 
7B51D            81>454         81B4G1B5                         8?<4         
                               5<<?                    
7B51D5B                                                
                                      85<@              
7B554I                                                    
B55;                                                  
7B5I            81>49>7                                    
B977                  1B4I                         
        81>4<5                                
                                                 8?<45B  
B977C              1B525<<                     8?<49>7  
7B?E>4C                            1BBI                      
            81>4C                                         
                   81>4GB9D9>7   81D5                               8?<49>7C 
7B?E@                     81D54          85<@54            
              81>4GB9DD5>        8514                     8?<4C  
                                                    
7B?E@C                                                  
7E5CC        81@@5>                                 8?<45= 
                                                  8?=5    
                                     85<@6E<               
7E5CC9>7                                 85<@9>7               
7E9<DI                                                         ?=5<1>4  
7EI         81@@5>54       8514AE1BD5BC        85<@C            
                                    5>BI               
7EIC                851B                          8?>5CD<I  
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 406 of
                                       434
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?>7                                                                 
8?>?EB         8I@5B<9>;        945>D96I9>7        9>3?BB53D<I       9>6EC9?>  
        8I@?D85C9C                                            9>9D91<    
                               945>D9DI         9>3B51C5              
                                      9>3B5492<I            
            1>                       9>45@5>45>D        9>9D91<<I  
                     9<<571<           9>45@5>45>D<I             
               9=175                      9>9D91D54   
8?@5               9=1754           9>4931D5C         9>AE9BI  
                                                     
8?@54                                   9>49F94E1<              
8?@56E<<I                 9=@<5=5>D54                      
8?@9>7          3525B7C                                   9>CD1>35  
8?BB5>4?EC      9451         9=@<931D9?>                         
8?BB92<5                   9=@<95C         9>49F94E1<<I       
8?C@9D1<                9=@<I             9>49F94E1<C         9>CDBE3D   
                     9=@<I9>7                              
8?CD54                     9=@?BD                                  
8?CDC                       9=@?BD1>D                                  
?DG9B5                                    9>4ECDBI                       
                   9=@?BD1>D<I                         
                      9=@?CC92<5        9>5669395>D            
?DG9B5C                   9=@B?F54        >6?                  
                                                           
8?D851454                  9>133EB1D5                         
8?EB                                       9>6?B=                   
8?EBC                         9>1@@B?@B91D5      9>6?B=1<                  
8?EC5                        9>3<9>54           9>6?B=1D9?>               
           9451C           9>3<E45                               
               945>D931<       9>3<E454                              
8?EC5;55@9>7                                                       
                 945>D96931D9?>   9>3<E45C                       
8?EC5C                                                        
&                              9>3<E49>7                           
&C                                                       
C                                                            
*#"                                                     
8E=1>                                                   
                                                       
             945>D96954      9>3?=@<5D5                          
                                                            
E=1>C                      9>3?B@?B1D5C                      9>CDBE3D54  
8E>4B54         945>D96I                                         
8E>7                      9>3?B@?B1D9?>                        
E>71BI                                                           
8I@5B31@9D1<9CD                 9>3?BB53D       9>6?B=54                
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 407 of
                                        434
                                                                                                   -:@>

                                                         
                                 9>F5CD971D?BC                        
9>CDBE3D9>7             9>D5B5CD54       >F5CD=5>DC                       
                                                            
                 9>D5B5CD9>7        9>F?;5C                          :?9>54  
                                 9>F?;9>7                     :?9>D   
                  9>D5B5CDC                                        ?C5@8  
                            9>F?<F5                              
                     9>D5B>1<                   9B?>             :E475   
9>CDBE3D9?>                                          9BB5<5F1>D                      
                  9>D5B>1<<I        9>F?<F54                            
                >D5B>1D9?>1<                                      
9>CDBE3D9?>C                                                               
>D575BC           9>D5B>5D                       9CCE5                 
9>D5<<53DE1<                                                  
                                                                  
                                                        
                                                                   
                                                                   
           9>D5BB?71D?BI         9>F?<F5=5>D           9CCE54                   
                                 9CCE5C                 
                                                                  
             9>D5BBE@D                                   E479>7  
          9>D5BBE@D54                               :E47=5>D   
           9>D5BF95G                                                 :E47=5>DC   
                                 9>F?<F5C          *%"        :E=@  
            9>DB?4E35                                           E>5 
                              &          *%"           :EB9C493D9?>  
            9>DB?4E354                                          :EBI  
              9>DE9D9F5                
                9>F1<941D5                     13;                      !
              9>F1<941D54                  1=95            !    
                     9>F5>D                                            ;55@    
9>D5>4                9>F5CD971D5                         1>E1BI                   
                   9>F5CD971D5C                                      
9>D5B13D                           B1                              
               9>F5CD971D9?>                                      
                                                      
                                                                
9>D5B13D54                               1@1>5C5              
                                                          ;55@9>7  
9>D5B13D9>7                                    566           ;55@C  
9>D5B13D9?>                                                     !5>I1    
9>D5B13D9?>C        9>F5CD971D9?>C                          5GC                  
                             B1C             :?2               ;5@D     
9>D5B5CD                       (           ?8>                 
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 408 of
                                        434
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                                            
                                              
;5I                                                  
                                             
;5IC                                                
                                                
                                                 
                                                 
;9>4                                            ;>?G9>7  
;9>4<I                                          ;>?G<5475   
;9>4C                                                 
                                                             
!9>74?=                                                     
;9D                                                    
!<59=1>                                               
                                                 
                                                  
                                            ;>?G>   
                                             
                                            
                                                  ;>?GC  
                                                  
                                         
                                           
                                      !?2J1 
                                            !?>7  
                                       !&#  
                                         
                                 !*  
                                             !I<5    
                                           !%0  
                                       
                                                           "
                                           "   
                                                    
              !<59=1>C                                
                                               <12?EB   
                                                  
               ;>5G                                  <13;C  
                                                    <194      
                                    <1>4  
                                          <1>7E175  
                                              
          ;>?G                               <1@C5  
                                           <1@C54   
                                                   
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 409 of
                                       434
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<1B75        <51F5                         <9D5B1<<I          <?>7    
<1B75B                                                                 
<1D3854                                    <9D5B1D5                
<1D5        <51F9>7                         <9D971D9?>              
<1E>38             <5475B                                            
                  <55G1I         <9=9D549>C3?@5       <9DD<5                
<1E>3854                                                           
<1E>389>7                   <9>5                               
<1E>45B9>7                                                     <?>75B   
<1G                                                             
            <56D                                               
                                         <9F5               
                            <9>51B                            <??;      
                         <9>5C         <9F9>7                 
                                                             
            <56D81>4                                             
              <571<                            ""                   
                  <9>52I<9>5                    
<1GC                        <9>;              ""&              
<1GCE9D                        <9AE941D54                               
                                      <?1>               
                                                             
                   <571<<I         <9AE941D9?>       <?1>C                
<1GI5B                                                           
<1GI5BC     <57C                 <9CD             <?31<                 
        <5>7D8                                        
             "5?>                                             
                 <5F5<                         "?31<9D3?9>C              
            "925BDI                                            
                                      <?31D5                
                                      <?31D54              
              "92I1                                           
              <954                                                     
        <965                            <?31D9?>                 
        <978D<I                                          
            <9;512<5                                               
          <9;54                                            
            <9=9D                           <?31D9?>C             
                      <9CD54                              
                                                                    
<1I                                              <?7                
<514            <9=9D1D9?>       <9CD9>7                                
<514C           <9=9D54                               <?779>7               
<51B>                   <9CDC                           
                                 "?>4?>             
<51B>54                       <9D                                 <??;54        
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 410 of
                                        434
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            #13B57?B                                
              =1389>5                                     
<??;9>7        =1389>5C                               
                                                  
                           =1B;54                          
                                                       
<??;C                                              
<??C5                                                       
<??C5<I                                              
<?C5                                        
<?CD                                                
<?D         #13AE1B95                                     
           =1793           =1B;5D                       
                                                    
            =17931<<I        =1B;5D@<135                        
            #17>1                                    
                              =1B;5DC                          
             =1945>                                         
             =19<                                              
            =19<2?H             #1B;?5                      
             =19<9>7                                        
                                                  
                                                     
            =19>                                    
              =19>D19>                                  
<?DC                                               
                                                         
<?E4            =1>                                     
"?E9C                                                 
                 =1>1754                                   
<?G                                                        
<?G5B           =1>175=5>D                                 
<E>38                                               
                  =1>41D54                             
"E>385?>        =1>>5B                                  
<I9>7            =1>DB1                                
"I>>5        #1B38                                   
                                                   
                                                    
                                                        
                  #1B3?                               
                                                                   
        #            =1B9D1<                             
#                                               
#13?>1<4         =1B;                                       
                                                      
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 411 of
                                      434
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                                   =1DD5B                
                                               
                                            
                                                 
                                                     
                                  =1DD5BC          =51>D  
                                                  
                           #1DD85GC            
                          =1H9=E=               
                              #1I E>5                
                             #341=C          
                                           #51CEB5C  
                                             =5491    
                             =51>               
                                                      
                                                 
                                                 =54931D9?>   
                                              =5495F1<  
                                        =55D   
                                                
                                              
                                             
                                              
                                                
                                            
                                                  
                   #1B;C                            
               =1BB9175                           
                                                      
                    =1BB954                  =55D9>7  
                    =1CD5BC                            
                                             #5<2?EB>5  
                     =1D38                         =5=25B  
                                              
                                                  
                     =1D3854                       =5=25BC  
                   =1D5B91<                       =5=?B9C5  
                                           =5=?BI  
                   =1D5B91<C                         
                   =1D85=1D931<                        =5>D9?>  
                                   =51>9>7           =5>D9?>54 
                   =1D85=1D9391>                          
                                  =51>C                 
                  =1D85=1D93C                      =5B79>7   
                                             =5B9DC  
                  =1D8C                             
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 412 of
                                       434
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                                        =9CC@5<D          
#5B;<5                          =9>9>7           =9CC@?;5         =?>9D?B9>7  
                                                     =?>D8    
=5CC                                             =9CC@?;5>                
=5CC175                                                   
                                    =9CCD1D5           
=5CC175C                                   =9CCD1D54         
           =9<<9?>C                                  =?>D8C  
#5CDB5                                        =9CCD1D5C             
=5D                                                         =?B>9>7  
          =9<<9C53?>4C                =9CCD1D9>7          
             =9>4                                     =?D85B    
                                  =9CD1;5          
                                               =?D85BC  
                                         =9CD1;5C         =?D9?>   
            =9>5                   =9CE>45BCD1>49>7C       
                                                            
                                       =9CE>45BCD??4             
                                                              =?D9?>C   
=5D141D1                                 =9C39D5         =?ED8  
#5D1>5D                                     =9H         =?F5 
=5D5B54                   #9>EC                               
                    =9>ED5         =9H54                   
                     =9>ED5C        =9H9>7                  
=5D8?4                               #==8==                
                                                     
                                =9B13<5                         
=5D8?4C                     =9C31D57?B9C9>7                           
                                     =>5=?>93C             
                 =9>54             =9C381B13D5B9C5C    #?45<<9>7            
#5H93?                                =?45<C                
#91=9                                 =?=5>D          =?F54  
=93                                                          
#93815<                                                   
                                                              
#93895                                                
#93B?C?6D                                              
                                                   =?F9>7  
                                           =?>5I              
=944<5                                                   #D  
                                           =E<D9@<5  
#9<9D1BI                       =9CB5@B5C5>D1D9?>                     
                                                                 
                                =9CC54                        
=9<<9?>      =9>5B                                          
          =9>5BC        =9CC9>7                        
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 413 of
                                       434
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                                                               >?D5   
                                                               
                                                    
                                                           
=EDE1<                                                  
=EDE1<<I                                                          
=ICD5B9?EC                                                >?D54  
                    >1=54                                            
         $                                                   
$           >1=5C                                            
>141                                        >5G         >?D5C  
$1;1=?D?                                               
                                                       
                                                             >?D935    
                                               >?D9>7 
                                        $7EI5>          >?D9?>  
                                                     $)  
                                                  >E<< 
           >1=9>7                                  >E=25B    
           >1B;I                                               
>1=5        >1D9?>1<                                     
                                                        
                                                     
                                        $7EI5>C                
                                           $938?<1C             
            >1DEB1<          >55454              $938?<1CC            
                                                               
        >1DEB5                       $93;             
                                           >93;>1=5                  
                                        >978D                        
                    >554C            >9>5                 
                                         >?4454                     
     >819>                              >?45           
                    >571D9F5                           
                         >57?D91D5                             
                         >57?D91D9?>                                
            >51B<I                              >?45C        >E=25B9>7  
            >52E<?EC          >59D85B                             >E=25BC  
                                                >?=9>1<<I                 
             >535CC1B9<I     >5DG?B;C          >?>49C3<?CEB5        $/ 
                              >5F5B              
             >535CC1BI                     >?><9>51B                %
       >554                                             ?1D8  
                                       >?>@E2<93               
                                  $?BD8                
                                                        
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 414 of
                                       434
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                                                
?2:53D                                            
                                               
                                         
                                              
                                               
                                                   
                                             
                                                     
?2:53D54                                              
                                                
                                                
?2:53D9>7                                                 
                                           
?2:53D9?>                                            
                                             
                                                      
                                             
                                               
                                              
                                              
                                            
                                             
                                              
                                                
                                                      
                                           ?2:53D9?>12<5
                                               
                                    ?2:53D9?>C  
                                                       
                                                
                                         ?2<971D9?>  
                                             ?2C?<5D5  
                                              ?2CDBE3D 
                                   ?2D19>       
                                                
                                            
                                      
                                 ?2D19>54  
                                           
                                        ?2F9?EC<I 
                                           
                                            
                                               
                                      ?33EB  
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 415 of
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                               ?@5>54                             
?33EBB54                       ?@5>9>7          ?F5B1<<            
                             ?@5B1D9>7        ?F5B2B?14           
                               ?@5B1D9?>1<     ?F5BC51C         
%3D?25B                                                     
                                               ?G54              
?665>C9F5                     ?@5B1D9?>C      ?G>54           
?665B54                                             
                                                
?66935                                                  
                                                    
                          ?@9>5                           
                        ?@9>9?>C                     
                          ?@@?BDE>9DI                   
                            ?@@?C54                             
                              ?@D931<             ?G>5B                 
             ?<4         ?B45B                        @175C     
                                           ?G>5BC89@         
                                                 @179>1D9?>C  
                                                          @194     
                          ?B45B54                      
                                                                  
                   ?<45B         ?B7                                 
?66935C       ?<45CD       ?B71>9C1D9?>      ?G>C      &1>1=1    
                ?>35                                              
?669391<                       ?B71>9C1D9?>C                         
?669391<C                                        %H6?B4            
                             ?B71>9C54                       
?66<9>5                     ?B979>                                
                                                   ?3<?3;           
?66C8?B5                       ?B979>1<     %171>               
?66D85B53?B4         ?>5C                                          
                                                       @1@5B  
%8                                                               
                                 ?B979>1<<I                 &            
?9<                                        &                  
?;1I                ?>5<9>5                           &                  
            ?><9>5         ?B979>1<C         @175         
                                                            
                                ?B979>1D5C                  
                                              
                                 %)*                          
              ?@5>         ?ED3?=5                         
                                 ?ED9>7                       
                               ?EDC945                         
                                                              
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 416 of
                                       434
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         @1BD93E<1B<I      @1I9>7                    @5BC?>1<<I  
       @1BD95C            @1I=5>D                         
                            @5?@<5C             
                                      @5B35>D            @5BC?>C   
                                     @5B653D<I           
                @1BD>5B         &C                             @5BC?>C  
@1@5BC                      @5>1<DI                         @5D12ID5C 
               @1BD>5BC     @5>49>7       @5B9?4         @5DB?<  
                                                 &89<145<@891  
              @1BD>5BC89@      @5>9D5>D91BI                     &89<9@    
                                              &8?<EC    
@1B17B1@8                    @5?@<5                    @8?>5    
                                                      
                                                        
                                    @5B9?4C                 
                                             @5B:EB5            @8?>54  
             @1BDC                         @5B:EB54          @8B1C5  
                                @5B:EBI         @8IC931<<I  
                                     &5B<9>7              
              @1BDI                             
                                                      @93;  
@1B17B1@8C                                    &5B=1>5>D       @9535  
             @1CC54                             
                @1CCG?B4C                              
@1BD             @1D5>D                                  @9535C  
                                     @5B=9CC9?>            
                                   @5B=9DD54        @9<5  
             @1D5>D9>7                                  &9B1D5   
                                              @9JJ1C  
                                                        @<135   
            @1D5>DC                     @5BC?>                
               &1E<                                      
           &1E<1                                      
                                                 
                                                @<1354 
                @1EC5                                 @<135C  
@1BD91<                                               
@1BD93E<1B                                                @<19>D966  
                                                
                                                             
             @1I                                         
                                                    
                                                           
                                             @<19>D966C   
                                     @5BC?>1<                 
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 417 of
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                                          @B5@1B54              
@<19>D966C                                                 
                                              @B5C5>35           @B9F9<5754  
                            @?CC5CC           @B5C5>D                   
                                                                 
                             @?CC5CC54            @B5C5>D1D9?>C         &B?  
                                   @?CC5CC9?>                        @B?2129<9D95C
                  @<5>DI                          @B5C5>D54            
             @<EC                                        @B?2129<9DI  
           @?9>D                      @B5C5BF5           @B?212<5  
                                                             @B?212<I  
                             @?CC929<9DI     @B5C5BF54                     
@<1>5D                          @?CC92<5          @B5CC                    
@<1>>9>7                                        @B5CC9>7                
&<1CD9AE5                                     @B5CE=5               
@<1I54                                                            
@<1I9>7                                                          
@<5149>7C                                        @B5CE=9>7           
                                @?CC92<I          @B5CE=@D9?>       @B?2<5=   
@<51C5                                  @B5DDI                
                                                         @B?2<5=C  
                            @?CD            @B5F9?EC              
                                                           
                                          @B5F9?EC<I           
                                                             &B?354EB5  
                                @?CD54              @B9=1B9<I           
                @?9>D9>7                                        &B?3554  
              @?;5B         @?CD9>7                              @B?35549>7  
                                         @B9=1BI            @B?35549>7C  
                           @?CDC                         
                                                                      
               @?;5BB5<1D54         @?D5>D91<         @B9>D54          @B?35549>7DI@5
                                                                   
             &?<935           @?D5>D91<<I          @B9>D?ED         @B?35CC        
             &?>35              &?-               @B9?B                
              @??<        @?G5B                                 
              @??<C          @B13D931<                            
                           @B13D931<<I       @B9F1D5        @B?4E35  
             &?BD                                             @B?4E354  
           @?BD9?>           @B53<E454                        
                @?BD9?>C          @B54931D5                             
                                                                   @B?4E39>7  
               @?C54            @B54931D521C54        @B9F1D5<I         @B?4E3D  
                                                                             
               @?C9D9?>            @B565B            @B9F9<575           
                                                   @B?4E3D9?>  
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 418 of
                                        434
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                   @C5E4?>I=                         
@B?4E3D9F5                                   @EB@?BD9>7      AE1BD5B  
@B?65CC9?>1<                         @EB@?BDC            AE5CD9?>  
&B?65CC?B                              @EB@?C5              
                          @C5E4?>I=C                      
&B?61ECDEC                                                         
                         &DI                                  
                            @E2                        
@B?7B1=                            @E2<93                       
               @B?@?C54                                         
                   @B?D53D                                  
@B?7B1=54         @B?D53D54                                    
@B?7B1=5B         @B?D?3?<                                           
@B?7B1=9>7                             @EB@?C5<I                  
                                                  
@B?8929D54                           @EB@?C5C                  
@B?8929D9>7                                                
@B?8929D9F5                                  @EBCE1>D            
@B?:53D           @B?D?3?<C                      @ED            
                                                 
            @B?F5                                
                                                          
         @B?F945                                   
@B?:53D9?>                                              
@B?:53DC                                                  
                                                   
                            @E2<931D9?>C                            
                                                             
                         @E2<93<I                      
                                                                 
@B?<9693         @B?F9454                                  
@B??6                                                    
                    @E2<9C854                       
                                                               
@B?@5B                                @EDC                
@B?@5B<I                                         @EDD9>7            
@B?@5BDI                        @E2<9C85C                       
            @B?F945B       @E2<9C89>7                      
                         @E<<54          &ID8?>                  
                                                &%"+)            
             @B?F945C       @EB381C54                              
             @B?F949>7      @EB381C5B        @ =                     
                                  & &                  
                            @EB381C9>7                                
          @B?F9C9?>       @EB5                         '             
                         @EB@?BD54         'E1>D96931D9?>          
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 419 of
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           AE?D5                                        
           AE?D54                                             
             AE?D9>7                                      
                                                             
                        (                                         
AE5CD9?>54         (                                          
AE5CD9?>9>7                  B5149>7                                 
                                                                  
                         B514I               B531<<54                 
AE5CD9?>C          B19C5          B51<           B531<<C                 
                                     B5359F5                 
            B19C54                                               
              B19C9>7                                              
          B1=2E>3D9?EC       B51<9C5                                
                              B51<9DI        B5359F54                 
           (1=?>1       B51<<I                                    
                                         B5359F9>7              
                                            B539@5               
               B1>4?=                      B539@95>DC                 
                                        B53?7>9C5                 
               B1>75                                          
              B1B5<I                                            
                                                               
                  B1D5                                     
             B1D54                                               
             B1D5C         B51C?>           B53?<<53D                 
          B1DC                                            
           (1I                                  
                                                     B53?B454  
          B5138     B51C?>C             B53?<<53D9?>            
                                            B53?B49>7  
                      B531<<                        
            B513854                                    B53?B49>7C   
                                                    B53?B4C    
                                                           
                B51389>7                                             
AE93;                                   B53?>C945B                 
              B514                   B53?B4                 
AE93;5B                                                     
AE93;<I                                                   
                                                            
AE9D5                                                  
                                                   
                                                      
                                                             
                                                            
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 420 of
                                        434
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            B565BC                           B5=19>9>7               
               B56<53DC                          B5=19>C                
          B56B5C8                      B5=5=25B               
              B56B5C854                                  
            B56EC54                                 
                                                              
                                                 
                                                          
          B56EC9>7                                        
                                                             
             B571B4           B5<1D5C                             
                                               
                                                
             B571B49>7                                     
                                                       B5=5=25B54
B53DE=                                                          
(55C5         B571B4C        B5<1D9>7                     B5=5=25B9>7  
                                                              B5=9>4   
B565B            B579CD5B                                        
                               B5<1D9?>                      B5=?F1< 
B565B5>35                                                        B5=?F5  
                              B5<1D9?>C89@                     
              B579CD5B54                                         B5>1=5  
                                                        B5>1=54  
B565B5>354                                                   B5>1=5C  
             B579CD5B9>7                               B5>45B   
                B579CDB1>D                                        B5>45B54  
           B579CDB1D9?>      B5<1D9F5                           B5@51D   
B565B5>39>7                         B5<51C5                           
                                                           B5@51D54  
B565BB54                               B5<51C54                        B5@51D54<I  
               B57E<1B                               B5@8B1C5   
                               B5<5F1>35                         
              B5:53D54                                    B5@<954   
                                                        (5@?BD54  
B565BB9>7        B5<1D5                                       B5@?BD5B    
                          B5<5F1>D                            
                                                          
                                                         
                                                          
                                                     
                             B5<979?EC                           
                             B5<I                                       
                               B5<I9>7                                
              B5<1D54         B5=19>                                
                              B5=19>54                                
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 421 of
                                        434
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                  B5C5BF9>7          B5F51<9>7                        
B5@?BDC           B5C5D                                           B?<<9>7 
B5@B5C5>D        B5C9454            B5F95G                        B??=  
B5@B5C5>D1D9?>        B5C945>35                                      
             B5C945>D                                 B??=C  
B5@B5C5>D1D9F5      B5C945C           B5F95G54                     (?CC   
B5@B5C5>D54        B5C949>7         B5F95G9>7                               
B5@B5C5>D9>7       B5C97>54         B5G1B4                                
                   B5C?<F5             B5549D                       B?E78 
B5@E2<93DI@5         B5C@53D             B5@?9>D                         B?E>4   
                 B5C@53D6E<<I     (931                        B?ED5  
B5AE5CD                                                 B?ED9>5  
           B5C@?>4                                               
                        (931B491>                    B?ED9>5<I 
                                B94                            B?I1<  
                                                             BE45 
B5AE5CD54                            B978D                        BE<5    
            B5C@?>454                                        
                                                                 
(5AE5CD9>7        B5C@?>49>7                                       
B5AE5CDC                                                              
                  B5C@?>C5                                               
B5AE9B5                                                     
                                                        
                                                                  
B5AE9B54          B5C@?>C5C                                          BE<54   
                                                          BE<5C    
                                                                      
B5AE9B5=5>D       B5C@?>C92<5                                     
                            B978DC                    BE<9>7    
B5AE9B5C                                                               
                B5CD                                      
B5B514                                                    BE<9>7C  
B5C51B38         B5CD1BD54                             BE>     
                B5CD1D5                                         
              B5CDB??=                                        
                                                      BE>>9>7  
              B5CE<D                                                 
(5C51B38 45F5<?                                     B?14                
                  B5CE<DC           B978D81>4          (?25BD                
B5C5BF5          B5DEB>                          (?25BDC           BE>C 
            B5DEB>54           B9@@54            (?385         BEB1<   
                          B9C;                            BEC854  
              B5DEB>9>7                    B?<5          (ECC91  
B5C5BF54            B5F51<                                           
(5C5BF5C         B5F51<54          (9F5B?       B?<5C         (I45  
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 422 of
                                       434
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                                                  C55=9>7<I  
                                                         C5<<  
                       C31<5                     C5<<9>7  
                   C31<5C                          C5>4    
                        C31<9>7          C53?>4<I                 
                                   C53?>4C                
                   C3854E<5           C53B5D                 
                     C385=5                              
            C1D?C891>?>I=        )389<<5B       C53B5D1B91<               
                                                         
         C1F5                                            
                                     C53B5DC            
                        C38?<1B          C53D9?>                 
                                  C395>D9CD        )53EB54                 
        C1G          C3?@5                            
                                            C5>4C  
                                                  C5>C5  
            C1I9>7                                C5>D 
(C                                                               
                                                   C53EB9DI                
          )                                              
)                                                            
                                                       
                                                      
C165                                                        
                                                 
C1;5                                                    
)1;EB1                                                C5>D5>35  
                                          C55                  
)1<9>75B                 C3B51=I                          
)$)                        C3B55>                      C5@1B1D5  
C1D9C6954                                                            
)1D?C89                    )!                             
      C1IC            C5                                
                    C51<54                     C5B95C   
                            C51>35C                    C5B9?EC<I  
                       C51B38                       C5BF5  
                                           C5BF54  
                                              C5BF5B  
                         C51B385C                             
                                                   
                  C53?>4                                  
                                  C559>7                
                                      C55;9>7            C5BF5BC   
                                                                 
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 423 of
                                        434
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                   )81=9BC                    C9CD5BC                  
C5BF935           C81@5C           C9789>7          C9D                 
C5BF935C        C81B5         C97>                                
                               C9D5                 
                                    C9D5C               
                               C97>1DEB5                            
                              C9DD9>7            C?<5<I 
             C81B54                               C?<ED9?>  
              C81B58?<49>7                                  C?<ED9?>C   
                                                             
                                                  C?=52?4I  
               C81B5C                                  C?=5?>5C  
C5BF9>7                                    C9H           C?>     
C5CC9?>            C81B9>7                                   C?>C  
C5CC9?>C                            C97>1DEB5C                      C??> 
               C81B@5B                                      C?BBI   
C5D           )8581495         C97>54                                 
                                        C9J5               
             C89D                  C9J5C                         
                               C;9<<                     
           C8?BD                           C;9@                  
                            C97>96931>D       );I@5                  
                              C97>9>7           C<935C                    
                                 C<9@@54               
                      C9<93?>         )<?G                   
                                )9<;              C=1<<                   
              C8?BD5B            C9<<I                              
                  )8?BD<I           C9=9<1B         C=5<DC                
C5DC           C8?BD39B3E9D        C9=@<5           C=?;5                  
                   C8?D                     )>55J9>7                
C5DD9>7          C8?G                     C?391<               
C5DD<5                         C9=@<I                                
C5DD<54                                      C?6DG1B5              
C5DD<5=5>D                                                   
                                                                
C5DE@                                 C9=E<D1>5?EC<I                         
C5DE@          C8?G54                                            
              C8?G9>7           )9>71@?B5                         
)5I385<<5C                                                  
                C8?G>          C9>7<5                            
           C8B5445B                                         C?BD   
              C8ED                                                     
                    C93                                         
)                                                             
                 C93;          C9B                            
C81;5              C945          C9CD5B                      
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 424 of
                                        434
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                                                 CD?@@54   
         C@5396954                                 
             C@5396I                                        
C?BDC          C@53E<1D5           CD175                        
C?E78D                                                          
C?E>4                                                     CD?@@9>7  
C?E>4C           C@53E<1D9?>                                          CD?B175    
C?EB35                            CD175C       CD1D5=5>DC           
                                 CD1;5            CD1D5C                
              C@53E<1D9F5        CD1>4                       
              )@5538                                                 
                              CD1>49>7                         
          C@554                                               CD?B175C    
                  C@5<<              CD1BD                     
)?ED8                                                    
                                                      
                                               CD?B5  
)?ED85B>                                                        
                  C@5<<C                                               CD?B54  
C@135             C@5>4                           CD1D9>7                
)@1B;<9>7        C@5>D                                                   
C@51;                      CD1BD54     CD1D9CD9391>       CD?B9>7  
                                           CD1I          CD?BI     
             C@<9D                    CD1I54        CDB1978D6?BG1B4
           C@?;5                        )D5                  
                                      )D561>          CDB55D     
                                           )D5>?7B1@8              
                            CD1BD9>7       CD5>?7B1@85B      CDB5D38 
                                        CD5@                CDB93D   
                          CD1BDC         CD5@@54           CDB9;5   
                            CD1D5       )D5F5>                 
                                                              
C@51;9>7                                                           
              C@?;5>                        )D93;                        
                                               CD9@E<1D9?>C           
C@51;C                                      CD?<5             
                   )@?BDC2??;C            CD1D54          CD?@               
C@5391<                                                       
C@539693                                                               
               C@?DC                                        
             C@?EC1<                                 
                                                                
                  C@B9>7                                           
C@5396931<<I       )AE1B5                                               
            CD166                                             
                            CD1D5=5>D                           
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 425 of
                                        434
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              CE9D                                          D1B75D54  
CDB9;9>7          )E9D5                       D1;5>               
CDB9@             CE@5B3?=@ED5B                               D1C;     
CDBE3;                                         D1DD??  
CDBE3DEB5          CE@5B3?=@ED5BC                              D1H    
                                                             
               CE@5BC53B5D      CICD5=C                            
                 CE@5BF9C5                                          
CDBE3DEB5C      CE@5BF9C54                D1;5C                   
            CE@@<I                        D1<;                  
CDE66          CE@@?BD9>7       CICD5=C                          
             CE@@?C54          )J12?                            
                                                              
                            )!+(                          
                                                                
            CEB5            )#()                           
                                                                D1H5C  
CDE@94                            )                       D538>931<   
                                            D1<;54               
CDE@94<I                                                       D538>?<?7931<
CE2                                          *                         
CE2:53D                      *                              D538>?<?795C  
                          D12<5D                   D538>?<?7I  
                       D1;5                         
                                                        
CE2:53DC                                 D1<;9>7                
CE2=9CC9?>                                                 
CE2=9DD54                                                      
CE2C5AE5>D        CEBB?E>49>7                                    
                                                            D5<53?>65B5>35
CE2CD1>D91D5        CEC@5>454                                   
CE2D?@93C                                                    D5<5@8?>5  
)E335CC          CEC@939?>                                       
                                                              
         )-#&                                           
                                                              
CE335CC6E<       CG1@@54                                    D5<5@8?>931<<I
                 CG1D85                                      
CE339>3D<I        CG51B                                     D5<<    
CE54           CG9D38                                                
                  CG9D3854                                       
CE66935C          CG?B5                                      
CE775CD                                                        
                    CG?B>                                     
CE775CD9>7                                                  
CE775CD9?>          CICD5=                       D1<;C                
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 426 of
                                        434
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                                                     D8B55<5DD5B  
                                      D89>;        D8B?G  
                                                           *8EBC41I  
                                               D95         
                                                      
                                                 D978D   
                                                      D9<<    
                         D89>7C                      D9=5       
                                                            
                                                        
                D5CD9>7                                            
                                                               
           D5CD>5D                                      
                                                        
                                                               
              D5CDC                                         
D5<<9>7           *5H1C                                            
                      D5HD                                               
D5<<C              D81>;                                            
D5>                                                   
                                                              
                                                                 
D5>C                                                        
D5B12ID5                                                      
D5B=                                                           
D5B=C                                D89>;9>7              
                                                                  
                                                          
                                           D89B4                
D5BB92<I                                                 
*5C<1                                                  
D5CD                                                
               D81>;C                                        
D5CD96954                                                        
              D85?B5D931<<I                  D8?E78D               
D5CD9695C                                                          
D5CD96I        D85?BI                                       
D5CD9=?>91<       D85B5?6                                     
D5CD9=?>I                                                        
           *85I=?C                 D8?E78DC                
                                          D8B51D5>54               
               D89>7                                        
                                            D8B55                 
                                                          
                                                              
                                                        
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 427 of
                                        434
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                                                             
                                *B149>7           DB9@    
           D9=9>7                                          
           D9B145                         DB19<           DB9@C    
              D9D<5                   DB1>C13D9?>           
                                                             
                             D?@93                     DB?<<  
           D?41I                             DB?E2<5  
                                         DB1>C13D9?>C      DBE5  
                                                    
                                          DB1>C3B9254             
                                                         DBECD    
                                    DB1>C3B9@D             
                                                          
                          D?@93C                           
                                                       
                               DB1>C3B9@DC           
                                                        
                                        DB1>C65B                
                                                     
                                                  
D9=53819>                                                        
            *?41IC                                           
            D?<4                        DB1>C65BB54             
                                                            
                                                                       
                                                        
                                   DB1>C65BC           
                                                             
D9=53819>B5<1D54                             DB1C8               
                                  *?B          DB1C854                
D9=56B1=5                    *?C89           DB1F5<            
                            D?D1<                          
                                                               
D9=5C                        D?D1<<I                             
                             D?E38                        
          D?@                                       
                                            DB1F5<<54            
                        D?E3854                               
                          *?E38L                                 
                   D?G>              DB1F5<<9>7               
                             DB139>7            *B514            DBECD54    
                       DB13;           DB55             
                                           DB55C            DBECD55   
                           DB13;54           DB954                
                          DB145                            
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 428 of
                                        434
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                        E>12<5           E@41D54       F17E5    
DBECD55C                                          E@41D5C             
                 DEB>9>7         E>1G1B454       E@41D9>7           
DBECDC            *G935         E>3<51B          E@85<4          
               DG9CD                       E@<?1454     F1<94    
            *G9DD5B                       E@<?14 15        
                        E>45BCD1>4                 F1<941D5  
                                  E@@5B           F1<E12<5  
                                           E@C5D             
DBECDC          DG?                    +("             F1<E5   
DBED8                           +)               
                                                  
DBED86E<                                                    
DBI                                  EC12<5        F1<E54   
                                EC5    F1<E5<5CC  
                                       F1<E5B  
                                              
                                           F1B95DI    
                                                   
                                                 F1B9?EC       
                                              
                                                   ,1E78>  
DBI9>7           DI@5          E>45BCD1>49>7                      
                                                      
                                                   ,5<     
                      E>45BCD??4                          
                                                   
                                                    ,","  
            DI@54                                    F5>4?B  
                                E>45BD1;5>               F5>4?BC   
                 DI@5C                                        F5>4?BC   
             DI@931<       E>4E<I           +C5>5D        F5>DEB5   
                              E>6?BDE>1D5<I       EC5B           
                    +                                F5B21<<I 
               +!                        ECE1<<I        F5BC9?>  
**                       +>9D54                            
*E<9@                            +)             
                         +DJ                
                              +I5>           
                                               
                                      F5BC9?>C  
               +<2B938D                           
DEB>                                                   
                         E>>1DEB1<                          F5BCEC    
            +<2B938DC     E>B5<1D54               ,            
DEB>54           E<D9=1D5<I      E@41D5            F       F5CD  
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 429 of
                                        434
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F5D                                              G945    
                                                               
F5D5B1>       F?<E=5C                    G1IC            
,935                                                              G945B 
F935F5BC1                  -                                G965    
F945?           -                                                 
         G166<I                         G51B9>7            
            G19D                      G52                  
             G19F9>7                   -52#?>5I             
            -1<5C                   G52C9D5           
                     G1>D54          G52C9D5C            
                              G55;          
             G1<;                                       
                             G1CD5             G55;C           G965C   
                G1<<                        -59            
        G1<<5D                             -9;9"51;C 
                   G1CD54                       -9<C?>  
                      G1CD9>7        G5<3?=5          
                                                  -9=2<54?> 
                      G1D5B       G5>D              
                                                            G9>  
                              -1DDC                G9>4?G  
F945?7B1@85B                                      G9>D5B  
            G1<<5DC                                G9@5    
                                                   G9@54    
                        G1I                                     
                                 G5D               
                                 G85B512?EDC     G9C5  
                                                    G9C8    
                                   G89D5          
                                                 G9C854  
          G1>;5B                              -9D84B1G  
             G1>D                               G9D84B1G9>7  
,945?D1@5                                        G9D84B1G> 
F95G                                              
F9?<1D9?>C                                   G9D>5CC         
,9CD?=19<                                              
                                                           
                                                    
                                                       
                                                
                                                      
F?<E=5                                                          
                                        -8?9C           
                                                  
                                                      
Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 430 of
                                      434
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                                    -"  
                                        G?=1>  
                                               G?> 
                                           G?B4    
                                            
                                        
                                            
                                               
                                         G?B4C     
                                    
                                    
                                    G?B;    
                                           
                                            
                                              
                                     
                                         
                                              
                                         
                                              
                                             
                                                    
                                           
                                           
                                           
                                       
                                                
                                                    
                                       
                                             G?B;54  
                                           
                                                  
                                                    
                                                    
                                        
                                            
                                                    
                                G9D>5CC54        G?B;9>7  
                                                  
                               G9D>5CC5C           
                                            
                                               
                                                    
                                                 
                              G9D>5CC9>7       G?B;C       
                           G9J1B4               
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 431 of
                                       434
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                                      -!C                      
G?B;@B?4E3D                                                      
                         GB9D9>7                                      
G?B<4                                             .
                                                                                          
                                      .                
                                                   
                               GB9D9>7C        .5?>                    
G?BD8                   GB9DD5>        .                        
                                          .              
                                       .C                     
                        GB?>7  
-?DDI                                    /
                          /                 C  
-B978D                         I51B              
                                          
                                        
                                             
                    GB?D5                              
                                                         
                                 I51BC                   
                                                            
                      -!                                 
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                                                     
                                                
                                                    
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                                                        
                                                    
                                           
                                                     
                            I5<<I              #)+  
                                 /?B;                   
                                 /?E>7          C  
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                                                            0181B18                 
                       
                                                                          
                         
                                                                               
        -B978DC?>           
                                                                                 
                              
                                                                                 
      -B978DC               
                                                                               
                          
                                                                                    
                             
                                                            J5B?                     
                              
      GB9D5                                                          
 Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 432 of
                                       434
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                                                        
                                                   
                                                     
                                                                
                                                   
                                                     
                                                         
                                                         
                                                 
                                                    
                                                 
                 1                                   
                                                         
                                                                
                                                       
                                                          
                                                         
                                                            
                                                                        
                                                                 
                                                         
  8                                                       
  D8                                                     
                                                      
                                                    
                                                        
                      @8                                  
                                                            
                                                    
                                                           
                                                         
                                                      
                                                                        
                                                               
                                                       
                                                        
                                                           
                                                    
                                                        
              >4                                               
                                                          
                                                    
                                                  
                   I51B                                        
D8                                                           
                                                     >4 
  Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 433 of
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                                                          
                  CD                                       
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Case 9:18-cv-80176-BB Document 600-5 Entered on FLSD Docket 06/26/2020 Page 434 of
                                        434
                                     ERRATA
                VIDEOTAPTED DEPOSITION OF CRAIG STEVEN WRIGHT
                          CASE NO. 9:18-cv-80176-BB/BR
                               Thursday, April 4, 2019


           Page/Line #               Original             Correction          Reason for Change
               5:3                     loose                 lose              Spelling correction
              19:4                       lit                  list             Spelling correction
              15:12                   Lynne                 Lynn              Spelling Correction
              16:16                   Lynne                 Lynn              Spelling Correction
              17:14                   Lynne                 Lynn              Spelling Correction
     39:24-40:6, 43:25-44:21   The referred to        The referred to      Contextual error by the
                               videoconference        videoconference      witness who answered
                               occurred in 2011       occurred in 2010     these questions after
                                                                           stating that he took a trip
                                                                           to the United States in
                                                                           2009/2010, and then
                                                                           responded to a question
                                                                           about whether he
                                                                           travelled to the United
                                                                           States in 2011, he
                                                                           travelled to the United
                                                                           States about a year after
                                                                           the trip he had just been
                                                                           discussing.
             68:25             Context                Contacts             Transcription error
             102:13            Cheshire               Chesher              Transcription error
             104:22            Cheshire               Chesher              Spelling correction
         105:5, 9, 15, 18      Cheshire               Chesher              Spelling Correction
             126:21            Is it one of those     This is one of       Transcription error
                               things?                those things.
             183:16            Strict                 Instruct             Transcription error
             186:21            There were mining      There were no        Transcription error
                               pools,                 mining pools,
             206:11            addresses that you     addresses that you   Transcription error
                               knew controlled?       knew Dave
                                                      controlled?
            251:14             Libya Reserves         Liberty Reserve      Transcription error
            289:21             Trust                  Trustee              Transcription error
            320:11             your client’s          the client’s         Transcription error
           360:18, 21          Lynne                  Lynn                 Spelling correction
           363:8, 12           Lynne                  Lynn                 Spelling correction
            364:15             Lynne                  Lynn                 Spelling correction
             369:6             Lynne                  Lynn                 Spelling correction




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